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                                Exhibit D

        Appendix of Exhibits to Amended Complaint

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 Medication Abortion Up to 70 Days of Gestation _ ACOG
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                               EXHIBIT 28

     Mary Gatter et al., Efficacy and safety of medical
    abortion using mifepristone and buccal misoprostol
                     through 63 days




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                                                          Contraception xx (2015) xxx – xxx


                                                               Original research article

   Efficacy and safety of medical abortion using mifepristone and buccal
                     misoprostol through 63 days☆,☆☆
                                     Mary Gatter a , Kelly Cleland b , Deborah L. Nucatola a,⁎
                                         a
                                          Planned Parenthood Los Angeles, 400 West 30th St., Los Angeles, CA 90007
                                b
                                    218 Wallace Hall, Office of Population Research, Princeton University, Princeton, NJ 08544
                                            Received 24 June 2014; revised 7 January 2015; accepted 7 January 2015



Abstract

Objective: The aim of this study was to report on the safety and efficacy of an evidence-based medical abortion regimen utilizing 200 mg of
mifepristone orally followed by home use of 800 mcg misoprostol buccally 24–48 h later through 63 days estimated gestational age.
Study design: We analyzed outcomes in women presenting for medical abortion between April 1, 2006, and May 31, 2011, using an
evidence-based alternative to the United States Food and Drug Administration (FDA)-approved regimen. Cases were identified for this
descriptive study from our electronic practice management (EPM) database, and our electronic database on adverse events was queried for
information on efficacy and safety. The primary outcome was successful abortion. Logistic regression was used to identify predictors of
successful abortion.
Results: Among the 13,373 women who completed follow-up, efficacy of the regimen was 97.7%. Efficacy was highest at 29 to 35 days
(98.8%) and 36 to 42 days (98.8%) of gestation and lowest at 57 to 63 days (95.5%). The odds of needing aspiration for any reason were
greatest at higher gestational ages. Rates of infection requiring hospitalization and rates of transfusion were 0.01 and 0.03%, respectively.
Conclusions: An evidence-based regimen of 200 mg of mifepristone orally followed by home use of 800 mcg of buccal misoprostol 24–48 h
later is safe and effective through 63 days estimated gestational age. Further, the need for aspiration for any reason was low, and
hospitalization was rare.
Implications: This study reinforces the safety and efficacy of the evidence-based regimen for medical abortion (200 mg mifepristone orally
followed by home use of 800 mcg of misoprostol buccally 24–48 h later) through 63 days estimated gestational age, and contributes to the
existing evidence against restrictions requiring use of the FDA-approved regimen.
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Keywords: Medical abortion; Mifepristone; First-trimester abortion; Evidence-based regimen; Buccal misoprostol; Efficacy



1. Introduction                                                                     of three visits to the healthcare provider. Six hundred
                                                                                    milligrams of mifepristone was taken orally at Visit 1, followed
   The United States Food and Drug Administration (FDA)                             in 2 days by misoprostol 400 mcg, also taken orally. A third
approved the use of mifepristone and misoprostol for                                follow-up visit was required in 14 days to ensure that the
pregnancy termination in 2000. The regimen, labeled for use                         abortion was complete. The efficacy of this regimen ranged
through 49 days estimated gestational age, required a minimum                       from 92 to 97% [1–3]. Publications soon followed providing an
                                                                                    evidence base for alterations to the regimen. Alterations
                                                                                    included a lower dose of mifepristone, different routes of
   ☆
       Funding source: Planned Parenthood Federation of America (MG and             administration of misoprostol, variations in the timing of
DN) and Eunice Kennedy Shriver National Institute of Child Health and               misoprostol administration, home use of misoprostol, and
Human Development, grant no. 2R24HD047879 (KC).                                     increasing the gestational age limit for the regimen [4–11]. A
 ☆☆
      Disclaimer: The findings and conclusions in this article are those of the     recent publication confirmed the low rate of significant adverse
authors and do not necessarily represent the views of Planned Parenthood
                                                                                    events with use of the evidence-based regimen [11].
Federation of America Inc.
    ⁎ Corresponding author at: 400 W. 30th Street, Los Angeles, CA 90007.               In 2008, a prospective study was published describing the
Tel.: +1 212 261 4632; fax: +1 818 986 5035.                                        use of 200 mg of mifepristone followed in 24 to 36 h by 800
      E-mail address: deborah.nucatola@ppfa.org (D.L. Nucatola).                    mcg of buccal misoprostol for pregnancy termination to 63
http://dx.doi.org/10.1016/j.contraception.2015.01.005
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                                                                                                                                 App. 000600
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days of gestation with a success rate for the regimen of 96.2%             We also maintain a separate electronic database of adverse
[8]. Despite the growing literature supporting evidence-based              events including ongoing pregnancy, aspiration for symptoms
provision of medical abortion, some providers are required by              and/or retained products of conception, infection requiring
law to limit the provision of medical abortion to that regimen,            hospitalization, and hemorrhage requiring transfusion.
which was FDA-approved more than a decade ago [12]. The
goal of the current study was to assess, in a much larger cohort of        2.2. Statistical methods
patients, the safety and efficacy of an evidence-based medical
abortion regimen utilizing 200 mg of mifepristone orally                      Bivariate and multivariate logistic regression were used to
followed by home use of 800 mcg of misoprostol buccally                    assess predictors of successful medical abortion. Covariates
24–48 h later through 63 days estimated gestational age.                   available in our data set were poverty level, race/ethnicity,
                                                                           gestational age, and patient age; other patient-level data were
                                                                           not available. Results were considered statistically signifi-
2. Materials and methods                                                   cant at p b .05. Statistical analysis was performed using
                                                                           Stata/SE 11.2 (College Station, TX).
2.1. Medical abortion protocols and monitoring                                The primary outcome of interest was successful abortion. A
    Our large network of urban healthcare centers includes 19              successful abortion was defined as expulsion of the pregnancy
health centers providing approximately 15,000 abortions per                without the need for aspiration. Patients who required
year, of which about 30% are medical abortions. Demo-                      aspiration for an ongoing pregnancy or symptoms such as
graphic information, treatment dates, and diagnostic codes                 pain or bleeding were considered to have had unsuccessful
for all patients were retrieved using the electronic practice              medical abortions. We queried our adverse events database to
management (EPM) billing system. Some clinical informa-                    identify continuing pregnancies (those pregnancies with
tion was retrieved from an electronic medical records (EMR)                documented fetal growth or cardiac activity seen at the
system, which was gradually implemented across all study                   follow-up), all cases of aspiration, and hospitalization for
sites between 2008 and 2010. All patients undergo an                       either infection or transfusion. We cross-checked this against
ultrasound examination for pregnancy dating prior to                       the list of postprocedure visits in our EPM system in order to
abortion. The clinician administering the medication abor-                 ensure that all cases had been identified.
tion performed and interpreted the ultrasound. All clinicians                 Institutional review board (IRB) approval was obtained
had undergone the same standardized training and were                      from the Ethical and Independent Review Service of
monitored regularly to ensure accuracy and to maintain                     Independence, MO, and an exemption for analysis of the
consistency. Ultrasound machines using a Hadlock scale                     existing data was granted by the Princeton University IRB.
calculated gestational age in days; herein, we analyze and
report gestational age in 7-day increments (e.g., 22 to 28
days). Since April 2006, our medical abortion regimen has                  3. Results
consisted of 200 mg of mifepristone taken orally at the health             3.1. Sample description
center followed by 800 mcg of buccal misoprostol used by
the patient at home 24 to 48 h later. Medical protocols during                For this descriptive study, we queried our EPM database
the study period allowed for repeat doses of misoprostol for               and identified 15,890 patients who had a medical abortion
patients who had an incomplete medical abortion. Data on                   between April 1, 2006, and May 31, 2011. During the period
which patients received a repeat dose are not available from               under review, medical abortions were provided at 14
the EPM system, but only in the EMR system; therefore, for                 different clinic sites belonging to our network in one urban
patients seen at sites that had not yet implemented EMR at                 area, all using the same evidence-based protocol. There were
the time of treatment, information on whether a repeat dose                2470 (15.5%) patients who failed to return for a follow-up
of misoprostol was given is not available. For the first 3 years           visit and were excluded from analysis. An additional 20
of the study period, the upper gestational age limit for this              patients were excluded from the analysis due to missing data
regimen was 56 days. In February 2009, based on newly                      on gestational age, and a further 27 patients were excluded
published data, the upper limit was increased to 63 days [8].              because they did not complete the medical abortion (these
All patients were scheduled to return in 7 to 14 days for a                patients either changed their mind and chose a surgical
postabortion evaluation. Beginning in 2007, all patients also              abortion, were ineligible for a medical abortion because they
received routine antibiotic coverage beginning on the day of               were beyond the 63-day gestational limit, or began the
the mifepristone administration. The standard antibiotic                   regimen but did not take all of the medications). This left
regimen was a 7-day course of doxycycline (100 mg twice a                  13,373 patients for analysis.
day), with an alternative regimen of one dose of azithromycin                 Demographic characteristics of the 13,373 women who
(1 g) for cases in which doxycycline was contraindicated.                  had a medical abortion between April 1, 2006, and May 31,
    Our EPM database contains information on all patients                  2011, and who returned for follow-up are shown in Table 1.
undergoing medical abortion, including patient demo-                       Half of the women were between the ages of 18 and 24, and
graphics and the ultrasound-determined gestational age.                    small proportions were under the age of 18 (4.5%) or 40 or


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Table 1                                                                    infection or hemorrhage requiring transfusion was very low
Demographic characteristics of women having a medical abortion with        (Table 3). In total, six women required hospitalization for
mifepristone 200 mg and misoprostol 800 mcg buccally (N=13,373)
                                                                           any reason (two women were hospitalized for infection, and
                                       n                        %          four were hospitalized for transfusion), and incidence was at
Gestational age (days)                                                     or below 0.1% among all gestational ages.
  22–28                                 554                      4.1          In a multivariate logistic regression model (Table 4),
  29–35                                1080                      8.1
                                                                           poverty level and race/ethnicity were not significant
  36–42                                2495                     18.7
  43–49                                4816                     36.0       predictors of successful abortion. Certain categories of
  50–56                                3142                     23.5       gestational age were significantly associated with success;
  57–63                                1286                      9.6       compared with the reference category (43 to 49 days), those
Poverty level (% FPL)                                                      at 36 to 42 days of gestation had greater odds of success,
  0–100                                9679                     72.4
                                                                           whereas those at 50 to 56 days and 57 to 63 days had lower
  N 100                                3694                     27.6
Race/ethnicity                                                             odds of success. Compared with the reference category (18
  Hispanic/Latino                      6215                     46.5       to 24), those in the middle three age groups had significantly
  White                                3235                     24.2       lower odds of success, but differences for those in the
  African American                     1263                      9.5       youngest (17 and under) and highest (40 and older) age
  Asian                                1172                      8.8
                                                                           groups were not significant.
  Other/declined                       1487                     11.1
Patient age (years)
  b 18                                  605                      4.5       3.3. Loss to follow-up
  18–24                                6684                     50.0
  25–29                                3317                     24.8          A comparison of patients who completed follow-up and
  30–34                                1613                     12.1       those who were lost to follow-up is presented in Table 5.
  35–39                                 855                      6.4       Compared with patients at 43 to 49 days of gestation,
  40 +                                  299                      2.2
                                                                           patients at higher gestational ages were more likely to be lost
                                                                           to follow-up. For patients with incomes at or below the
older (2.2%). Nearly half of women identified as Hispanic                  Federal Poverty Level (FPL), the odds of being lost to
or Latino, and 72% reported an income at or below the                      follow-up were greater than those above FPL. Odds of being
poverty line. The most frequent gestational age in our data                lost to follow-up were greater for those younger than 18
set was 43 to 49 days (36.0%), and the least frequent was                  (compared with those 18 to 24) and lower for those aged 40
22 to 28 days (4.1%).                                                      and older.


3.2. Frequency and predictors of successful abortion
                                                                           4. Discussion
    Termination of pregnancy with 200 mg of oral mifepris-                 4.1. General implications
tone followed by 800 mcg of buccal misoprostol 24–48 h
later was successful among 97.7% of women who completed                        This study demonstrates that the evidence-based regimen
follow-up. Only 307 (2.3%) of the 13,373 women included in                 for medical abortion (mifepristone 200 mg orally followed by
this study underwent aspiration for any reason. Specifically, 70           home use of misoprostol 800 mcg buccally 24–48 h later) is
(0.5%) women had a continuing pregnancy, and 237 (1.8%)                    highly effective through 63 days estimated gestational age,
women required aspiration for reasons other than continuing                with an overall success rate of 97.7%. This is higher than the
pregnancy, most commonly due to reported symptoms of pain                  efficacy rates reported in two pivotal trials used in submission
and/or bleeding. Data on the need for a repeat dose of                     for FDA approval of mifepristone,[1,2] yet utilizes one-third
misoprostol were available from a subset of women from                     the dose of mifepristone (200 mg rather than 600 mg) and
clinics in which the EMR system was used, which included                   buccal administration and home use of misoprostol rather than
7335 women (54.8% of the total sample). Of these 7335                      oral administration in the clinic. Repeat dosing of misoprostol
women, 87 (1.2%) received a repeat dose of misoprostol.                    was administered in only 1.2% of patients for whom this
   Table 2 shows the proportion of patients requiring                      information is available, and given the way in which the EMR
aspiration for ongoing pregnancy or for symptoms, such as                  system was implemented across study sites, we can assume
heavy bleeding, by gestational age. The proportion with                    that this rate would be representative of the entire sample.
ongoing pregnancy ranged from 0.15% for those at 36 to 42                  Although efficacy is lower at later gestational ages, even in the
days of gestation to 1.63% at 57 to 63 days of gestation.                  57- to 63-day range, this evidence-based regimen was still
Compared with the reference category (43 to 49 days), odds                 more effective than rates reported in the FDA-approved
of ongoing pregnancy were greater for those at the highest                 regimen, which sets the upper gestational age limit at 49 days.
gestational age. The proportion of women treated with                      Furthermore, the rates of unsuccessful abortion in this study
aspiration for symptoms, not ongoing pregnancy, ranged                     are lower than the rates reported in the two trials that were
from 0.65 to 2.49%. The incidence of hospitalization for                   initially submitted to the FDA for approval of mifepristone.


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Table 2
Aspiration for ongoing pregnancy, symptoms or any indication among those who completed follow-up, by gestational age.
Gestational       Aspiration for        OR           95% CI              Aspiration         OR         95% CI           Aspiration for      OR          95% CI
age               ongoing pregnancy                                      for symptoms                                   any reason ⁎
                  n (%)                                                  n (%)                                          n (%)
22–28 days        4 (0.72)              2.69         0.87–8.27           11 (1.99)          1.39       0.73–2.65        15 (2.71)           1.39        0.80–2.43
29–35 days        5 (0.46)              1.72         0.61–4.83           7 (0.65)           0.45       0.21–0.98        13 (1.20)           0.61        0.34–1.10
36–42 days        4 (0.16)              0.59         0.19–1.82           25 (1.00)          0.70       0.44–1.10        30 (1.20)           0.61        0.40–0.92
43–49 days        13 (0.27)             ref                              69 (1.43)          ref                         94 (1.95)           ref
50–56 days        23 (0.73)             2.72         1.38–5.39           64 (2.04)          1.43       1.01–2.02        97 (3.09)           1.60        1.20–2.13
57–63 days        21 (1.63)             6.13         3.06–12.28          32 (2.49)          1.76       1.15–2.80        58 (4.51)           2.37        1.70–3.31
Totals            70 (0.5)                                               237 (1.8)                                      307 (2.3)
OR: odds ratio; CI: confidence interval
  ⁎ This column includes 29 cases wherein reason for aspiration is unknown.

This study adds to the growing literature supporting provision                       loss of follow-up of 18 to 45% [14–17]. We found that loss to
of medical abortion using evidence-based regimens, and                               follow-up was significantly more common among those at
supports the conclusion that legislative efforts to restrict                         higher gestational ages; given that odds of success are lower
medical abortion to the FDA regimen are based on political                           among those with more advanced pregnancies, it is possible that
goals to restrict abortion services, not efficacy or patient safety.                 this study underestimates the true odds of unsuccessful abortion.
                                                                                     Loss to follow-up was significantly higher among the youngest
4.2. Limitations                                                                     age group and lower among the oldest age group, but as these
                                                                                     age categories were unrelated to whether the abortion was
    Our study has some limitations. It is retrospective in
                                                                                     successful, we do not believe that these differences would
nature and relies on the accuracy of our EPM database.
                                                                                     systematically bias our results.
However, review of our EPM system has shown a high
degree of accuracy when compared with patient records [13].                          4.3. Conclusion
In addition, we are not a closed system, and it is possible and
even likely that some patients who experienced complica-                               In summary, an evidence-based regimen of mifepristone
tions did not return to us for care. However, since many                             200 mg orally followed by misoprostol 800 mcg buccally
patients need to pay for aftercare obtained outside our
system, but not within our system, it is more likely than not
that the patients who did not return for follow-up did so because                    Table 4
                                                                                     Factors associated with successful medical abortion in women using
they did not feel that they needed follow-up, rather than that they                  mifepristone 200 mg and misoprostol 800 mcg buccally (N=13,373)
were experiencing a complication. In that case, excluding them
                                                                                                              Successful        Unsuccessful     OR     95% CI
from our analysis would have tended to overestimate, rather than
                                                                                                              n (%)             n (%)
underestimate, the need for aspiration in our population. We
                                                                                     Gestational age (days)
based our analysis of efficacy only on those patients who did
                                                                                       22–28                     539 (97.3)      15 (2.7)        0.72   0.41–1.25
return for a follow-up visit, so we cannot exclude the possibility                     29–35                    1067 (98.8)      13 (1.2)        1.68   0.94–3.01
of additional visits or treatment elsewhere.                                           36–42                    2465 (98.8)      30 (1.2)        1.65   1.09–2.50
    Loss to follow-up is common in studies of medical abortion,                        43–49                   4722 (98.1)       94 (2.0)        Ref
as many patients may determine on their own that their abortion                        50–56                   3045 (96.9)       97 (3.1)        0.62   0.47–0.83
                                                                                       57–63                   1228 (95.5)       58 (4.5)        0.42   0.30–0.58
is complete and that follow-up is not needed. The rate of loss to
                                                                                       Total patients         13,066 (97.7)     307 (2.3)
follow-up in this study (15.5%) is lower than loss to follow-up                      Poverty level (% FPL)
found in other clinical medical abortion studies, which report                         0–100                    9466 (97.8)     213 (2.2)        0.95   0.74–1.23
                                                                                       N 100                    3600 (97.5)      94 (2.5)        Ref
Table 3                                                                              Race/ethnicity
Hospitalizations for infection or transfusion in women having a medical                Hispanic/Latino          6074 (97.7)     141 (2.3)        Ref
abortion with mifepristone 200 mg and misoprostol 800 mcg buccally                     White                    3163 (97.8)      72 (2.2)        1.02   0.76–1.37
(N= 13,373)                                                                            African American         1228 (97.2)      35 (2.8)        0.90   0.62–1.31
                                                                                       Asian                    1146 (97.8)      26 (2.2)        1.02   0.67–1.57
Gestational age         Patients        Infections            Transfusions
                                                                                       Other/declined           1454 (97.8)      33 (2.2)        1.08   0.74–1.59
                        n               n (%)                 n (%)
                                                                                     Patient age (years)
22–28 days               554            0 (0.00)              1 (0.18)                 b 18                      597 (98.7)       8 (1.3)        1.44   0.70–2.98
29–35 days              1080            1 (0.09)              0 (0.00)                 18–24                    6560 (98.1)     124 (1.9)        Ref
36–42 days              2495            0 (0.00)              0 (0.00)                 25–29                    3233 (97.5)      84 (2.5)        0.72   0.54–0.96
43–49 days              4816            1 (0.02)              0 (0.00)                 30–34                    1556 (96.5)      57 (3.5)        0.51   0.37–0.70
50–56 days              3142            0 (0.00)              3 (0.10)                 35–39                     829 (97.0)      26 (3.0)        0.58   0.37–0.89
57–63 days              1286            0 (0.00)              0 (0.00)                 40 +                      291 (97.3)       8 (2.7)        0.68   0.33–1.40
  Total                 13,373          2 (0.01)              4 (0.03)
                                                                                     OR, odds ratio; CI, confidence interval.



                                                                                                                                    App. 000603
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                                                      M. Gatter et al. / Contraception xx (2015) xxx–xxx                                                    5

Table 5                                                                                doses of misoprostol (vol 40, pg 85, 1995). Int J Fertil Menopausal
Loss to follow-up analysis among women having a medical abortion with                  Stud 1996;41:56.
mifepristone 200 mg and misoprostol 800 mcg buccally (N=13,373)                    [3] Spitz I, Bardin C, Benton L, Robbins A. Early pregnancy termination
                                                                                       with mifepristone and misoprostol in the United States. N Engl J Med
                          Completed       Lost to         OR a    95% CI
                                                                                       1998;338:1241–7.
                          follow-up       follow-up
                                                                                   [4] Schaff E, Eisinger S, Stadalius L, Franks P, Gore B, Poppema S. Low-
                          n (%)           n (%)
                                                                                       dose mifepristone 200 mg and vaginal misoprostol for abortion.
Gestational age (days)                                                                 Contraception 1999;59:1–6.
  22–28                    554 (85.1)       97 (14.9)     1.00    0.79–1.25        [5] World Health Organization Task Force on Post-Ovulatory Methods of
  29–35                   1080 (86.3)      172 (13.7)     0.91    0.76–1.08            Fertility Regulation. Comparison of two doses of mifepristone in
  36–42                   2495 (85.6)      419 (14.4)     0.96    0.84–1.09            combination with misoprostol for early medical abortion: a randomised
  43–49                   4816 (85.1)      845 (14.9)     Ref                          trial. Br J Obstet Gynaecol 2000;107:524–30.
  50–56                   3142 (83.0)      645 (17.0)     1.17    1.05–1.31        [6] Schaff E, Fielding S, Westhoff C, Ellertson C, Eisinger S, Stadalius L,
  57–63                   1286 (81.7)      288 (18.3)     1.28    1.10–.48             et al. Vaginal misoprostol administered 1, 2, or 3 days after
Poverty level (% FPL)                                                                  mifepristone for early medical abortion—a randomized trial. JAMA
  0–100                   9679 (83.7)     1887 (16.3)     1.24    1.12–1.38            2000;284:1948–53.
  N 100                   3694 (86.5)      579 (13.6)                              [7] Schaff E, Fielding S, Westhoff C. Randomized trial of oral versus
Race/ethnicity                                                                         vaginal misoprostol at one day after mifepristone for early medical
  Hispanic/Latino         6215 (84.1)     1173 (15.9)                                  abortion. Contraception 2001;64:81–5.
  White                   3235 (83.4)      643 (16.6)     1.05    0.95–1.17        [8] Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AA,
  African American        1263 (82.8)      262 (17.2)     1.10    0.95–1.27            Gonzales J, et al. Two distinct oral routes of misoprostol in
  Asian                   1172 (91.1)      115 (8.9)      0.52    0.43–0.64            mifepristone medical abortion: a randomized controlled trial. Obstet-
  Other/declined          1487 (84.5)      273 (15.5)     0.97    0.84–1.12            rics & Gynecology 2008;112:1303–10.
Patient age (years)                                                                [9] Winikoff B, Dzuba IG, Chong E, Goldberg AB, Lichtenberg ES, Ball
  b 18                     605 (80.0)      152 (20.0)     1.42    1.17–1.71            C, et al. Extending outpatient medical abortion services through 70
  18–24                   6684 (84.9)     1186 (15.1)                                  days of gestational age. Obstet Gynecol 2012;120:1070–6.
  25–29                   3317 (83.7)      646 (16.3)     1.10    0.99–1.22       [10] Fjerstad M, Sivin I, Lichtenberg ES, Trussell J, Cleland K, Cullins V.
  30–34                   1613 (84.8)      289 (15.2)     1.01    0.88–1.16            Effectiveness of medical abortion with mifepristone and buccal
  35–39                    855 (84.6)      156 (15.4)     1.03    0.86–1.23            misoprostol through 59 gestational days. Contraception 2009;80:282–6.
  40 +                     299 (89.0)       37 (11.0)     0.70    0.49–0.99       [11] Cleland K, Creinin MD, Nucatola D, Nshom M, Trussell J. Significant
                                                                                       adverse events and outcomes after medical abortion. Obstet Gynecol
OR, odds ratio; CI, confidence interval.
  a                                                                                    2013;121:166–71.
     OR represents odds of being lost to follow-up.
                                                                                  [12] Boonstra H. Medication abortion restrictions burden women and
                                                                                       providers—and threaten US trend toward very early abortion.
48–72 h later is safe and effective through 63 days estimated                          Guttmacher Policy Rev 2013;16:18–23.
gestational age. Further, need for aspiration for any reason                      [13] Steward R, Melamed A, Kim R, Nucatola D, Gatter M. Infection and
was low, the chance of needing aspiration increased with                               extramural delivery with use of digoxin as a feticidal agent.
                                                                                       Contraception 2012;85:150–4.
gestational age at the time of medical abortion, and the
                                                                                  [14] Grossman DA, Grindlay K, Buchacker T, Potter JE, Schmertmann CP.
frequency of hospitalization was rare. This study reinforces                           Changes in service delivery patterns after introduction of telemedicine
the safety and efficacy of the evidence-based regimen for                              provision of medical abortion in Iowa. Am J Public Health
medical abortion, and contributes to the evidence against                              2013;103:73–8.
restrictions that require use of the FDA-approved regimen.                        [15] Clark W, Bracken H, Tanenhaus J, Schweikert S, Lichtenberg ES,
                                                                                       Winikoff B. Alternatives to a routine follow-up visit for early medical
                                                                                       abortion. Obstet Gynecol 2010;115:264–72.
                                                                                  [16] Horning EL, Chen BA, Meyn LA, Creinin MD. Comparison of
References                                                                             medical abortion follow-up with serum human chorionic
                                                                                       gonadotropin testing and in-office assessment. Contraception
 [1] Peyron R, Aubeny E, Targosz V, Silvestre L, Renault M, Elkik F, et al.            2012;85:402–7.
     Early termination of pregnancy with mifepristone (RU-486) and the orally     [17] Haimov-Kochman R, Arbel R, Sciaky-Tamir Y, Brzezinski A, Laufer
     active prostaglandin misoprostol. N Engl J Med 1993;328:1509–13.                  N, Yagel S. Risk factors for unsuccessful medical abortion with
 [2] Aubeny E, Peyron R. Termination of early pregnancy (up to and after               mifepristone and misoprostol. Acta Obstet Gynecol Scand
     63days of amenorrhea) with mifepristone (RU 486) and increasing                   2007;86:462–6.




                                                                                                                               App. 000604
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                                 EXHIBIT 29

              2019 Citizen Petition of AAPLOG to FDA




                                                                   App. 000605
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                                              Citizen Petition

    March 29, 2019

    The undersigned submit this petition to request the Commissioner of Food and Drugs to:
    (I) restore and strengthen elements of the Mifeprex regimen and prescriber requirements
    approved in 2000, and (II) retain the Mifeprex Risk Evaluation and Mitigation Strategy
    (REMS), and continue limiting the dispensing of Mifeprex to patients in clinics, medical
    offices, and hospitals, by or under the supervision of a certified prescriber.

                                            A. Action Requested

        I. RESTORE AND STRENGTHEN ELEMENTS OF THE MIFEPREX REGIMEN
           AND PRESCRIBER REQUIREMENTS APPROVED IN 2000.

        Current language and requested language for the Mifeprex Label and the Mifeprex
    Risk Evaluation and Mitigation Strategy (REMS) are included in Exhibit A.1 Requests
    include:

        A. Indications and Usage. Mifeprex, in a regimen with misoprostol, for the
           termination of intrauterine pregnancy, should be limited to 49 days’ gestation.

        B. Dosage and Administration.

            1. Mifeprex should be administered by or under the supervision of a physically
               present and certified physician who has ruled out ectopic pregnancy.

            2. The use of Mifeprex and misoprostol for the termination of pregnancy should
               require three office visits by the patient.

        C. Contraindications. Mifeprex use is contraindicated for patients who do not have
           convenient access to emergency medical care.

        D. Adverse Event Reporting. Certified prescribers, emergency medical personnel,
           physicians treating complications, and Danco Laboratories should report to
           FDA’s MedWatch Reporting system any deaths, hospitalizations, blood
           transfusions, emergency room visits, failures requiring surgical completion,
           ongoing pregnancy, or other major complications following the use of Mifeprex
           and misoprostol.

    1
     Other documents will require corresponding modifications, including the Mifeprex Medication Guide,
    Prescriber Agreement Form, and Patient Agreement Form.


                                                      1
                                                                                              App. 000606
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       E. Additional studies. The Mifeprex REMS should require a formal study of
          outcomes for at-risk populations, including: patients under the age of 18; patients
          with repeat Mifeprex abortions; patients who have limited access to emergency
          room services; and patients who self-administer misoprostol.

       II.      RETAIN THE MIFEPREX RISK EVALUATION AND MITIGATION
                STRATEGY (REMS), AND CONTINUE LIMITING THE DISPENSING OF
                MIFEPREX TO PATIENTS IN CLINICS, MEDICAL OFFICES, AND
                HOSPITALS, BY OR UNDER THE SUPERVISION OF A CERTIFIED
                PRESCRIBER.

       A. Retain the Mifeprex REMS.

       B. Continue limiting the dispensing of Mifeprex to patients in clinics, medical
          offices, and hospitals, by or under the supervision of a certified prescriber.

             1. Mifeprex should be dispensed only in clinics, medical offices, and hospitals.

                    a. The “TelAbortion” Direct-to-Consumer Mifeprex Study

                    b. The Mifeprex through Pharmacy Dispensing Study

                    c. Beyond the Current Studies

             2. Mifeprex Prescribers Should be Certified.




                                                 2
                                                                                    App. 000607
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                                          B. Statement of Grounds

        I.   RESTORE AND STRENGTHEN ELEMENTS OF THE MIFEPREX REGIMEN
             AND PRESCRIBER REQUIREMENTS APPROVED IN 2000.2

         A. Indications and Usage. Mifeprex, in a regimen with misoprostol, for the
            termination of intrauterine pregnancy, should be limited to 49 days’ gestation.

        In 2016, FDA increased the maximum gestational age for Mifeprex use for abortion
    from 49 days (7 weeks) to 70 days (10 weeks), and changed the method of administration
    of misoprostol from oral to buccal (i.e., in the cheek pouch). However drug-induced
    abortion3 regimens demonstrate an increase in complications and failures after 49 days’
    gestation.

        In a 2011 study of thousands of patients, the majority of whom had a drug-induced
    abortion using what is now the Mifeprex regimen, the rate of infection and the rate of
    failure requiring surgical intervention increased with gestational age.4 The American
    College of Obstetricians and Gynecologists (ACOG) has stated: “the risk of clinically
    significant bleeding and transfusion may be lower in women who undergo medical
    abortion of gestations up to 49 days compared with those who undergo medical abortion
    of gestations of more than 49 days.”5

       Further, a 2015 meta-analysis examined all the existing publications on buccal
    administration of misoprostol, 20 studies in all, from November 2005 through January
    2015. The failure rate of the buccal misoprostol regimen increased as the gestational age

    2
      The FDA approved Mifeprex for use in the United States on September 28, 2000, with safeguards
    considered necessary to ensure patient safety. The drug’s initial approval was for termination of pregnancy,
    in a regimen with misoprostol, through 49 days of pregnancy. FDA significantly modified the drug’s label
    at the application of the manufacturer, Danco Laboratories, in 2016, extending approved use to 70 days of
    pregnancy. Additional changes included: a new dosage of both Mifeprex and misoprostol; permitting home
    administration of Mifeprex and misoprostol; a new route of administration for the misoprostol (buccal, in
    the cheek pouch); permitting non-physicians to become certified prescribers; a decrease from 3 to 1
    mandatory office visits by the patient; and reduced reporting requirements. U.S. Gov’t Accountability
    Office, GAO-18-292, Food and Drug Administration: Information on Mifeprex Labeling Changes and
    Ongoing Monitoring Efforts 4-7 (2018); Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf; Mifeprex
    Medication Guide, https://www.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
    3
      The terms “Medication abortion,” “medical abortion,” “chemical abortion,” and “drug-induced abortion”
    [or termination of pregnancy] share the same meaning and refer to the use of abortion-inducing drugs,
    rather than surgery, to induce abortion. The current FDA-approved regimen uses two drugs, mifepristone
    (a.k.a. Mifeprex or RU-486) and misoprostol.
    4
      Mentula MJ, Niinimaki M, Suhonen S, Hemminki E, Gissler M, and Heinkinheimo O, Immediate Adverse
    Events after Second Trimester Medical Termination of Pregnancy: Results of a Nationwide Registry Study,
    Human Reproduction 26(4), 927-932 (2011).
    5
      ACOG Practice Bulletin 143: Medical Management of First-Trimester Abortion, p. 5 (Mar. 2014,
    reaffirmed 2016).


                                                         3
                                                                                                   App. 000608
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    increased, especially at gestational ages greater than 49 days.6 The current FDA label also
    acknowledges this fact.7

        Given the serious risks of failure, hemorrhage, infection, and ongoing pregnancy that
    increase as pregnancy advances, the gestational limit for the Mifeprex regimen should
    have never been increased.

        B. Dosage and Administration.

        1. Mifeprex should be administered by or under the supervision of a physically
           present and certified physician who has ruled out ectopic pregnancy.

        The 2000 Mifeprex regimen required Mifeprex to be “provided by or under the
    supervision of a physician” who meets qualifications discussed in this section below.8
    However, the 2016 regimen replaced “physician” with “healthcare provider,” thus
    permitting non-physicians to apply to be certified prescribers.9 Given the regimen’s
    serious risks, the FDA should limit the ability to prescribe and dispense Mifeprex to
    qualified, licensed physicians. Physicians are better trained to diagnose patients who have
    contraindications to Mifeprex and to verify gestational age.

        The current Mifeprex Risk Evaluation and Mitigation Strategy (REMS), discussed in
    Section II below, continues to provide that “Mifeprex must be dispensed to patients only
    in certain healthcare settings, specifically clinics, medical offices, and hospitals, by or
    under the supervision of a certified prescriber.” 10 Yet, abortion providers today are
    promoting and performing “telemedicine abortions,” where the certified prescriber’s
    “supervision” of the dispensing of Mifeprex is limited to a videoconference. 11 This
    practice demonstrates a flagrant disregard for FDA safeguards.

        To ensure true supervision, the FDA should require certified prescribers to be
    physically present when Mifeprex is dispensed so that they can appropriately examine
    patients and rule out contraindications to the use of Mifeprex. This requirement would be
    consistent with other requirements in the Mifeprex Label and REMS.


    6
      Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical Abortion, Obstet. Gynecol 126
    (1) July 2015 12-21.
    7
      Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    8
      Mifeprex 2000 label, Dosage and Administration, emphasis added.
    9
      Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    10
       Mifeprex 2016 REMS, emphasis added,
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.
    11
       See Planned Parenthood Releases New Educational Video on Telemedicine Abortion (Feb. 6, 2018),
    https://www.plannedparenthood.org/about-us/newsroom/press-releases/planned-parenthood-releases-new-
    educational-video-on-telemedicine-abortion.


                                                      4
                                                                                             App. 000609
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        In the Mifeprex Label, the FDA emphasizes that “Mifeprex is available only through
    a restricted program under a Risk Evaluation and Mitigation Strategy (REMS)” because
    of the drug’s “risks of serious complications.” In a bold-print box, the FDA states that
    before prescribing Mifeprex, a provider must inform a patient: about the risks of serious
    events; whom to call and what to do if certain symptoms occur; and to take the
    Medication Guide with her if she visits an emergency room or healthcare provider who
    did not prescribe Mifeprex, so that she receives appropriate, informed care.12

       Further, a provider must sign a Provider Agreement Form, attesting that he or she
    can:

    •    Assess the duration of pregnancy accurately. 13 Failures and complications of
         Mifeprex abortion increase with increasing gestational age. Mifeprex use is approved
         through 70 days’ gestation.14 FDA should strengthen this requirement by mandating
         that gestational age be accurately assessed by ultrasound in order to both ensure
         compliance with FDA restrictions and adequately inform the patient of gestational
         age-specific risks, which rise with increasing gestational age.

    •    Diagnose ectopic pregnancies15 (i.e., extrauterine pregnancy; pregnancy outside the
         uterus), which Mifeprex cannot end. When an ectopic pregnancy progresses, it can
         rupture the fallopian tube, causing bleeding, severe pain, or death. If a woman with an
         extrauterine pregnancy is given Mifeprex, she may believe the symptoms for ectopic
         pregnancy are simply the side effects of drug-induced abortion, which are similar. As
         of December 31, 2017, at least 97 women with ectopic pregnancies in the United
         States had been given Mifeprex.16 Of these women, at least two bled to death from an
         undiagnosed ectopic pregnancy.17 They likely did not recognize that their cramps,
         abdominal pain, and perhaps vaginal bleeding were dangerous—not side effects
         expected in a Mifeprex abortion.18


    12
       Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    13
       Mifeprex Prescriber Agreement Form,
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
    29_Prescriber_Agreement_Form.pdf.
    14
       See Section I.A, supra.
    15
       Mifeprex Prescriber Agreement Form,
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
    29_Prescriber_Agreement_Form.pdf.
    16
       Mifepristone U.S. Post-Marketing Adverse Events Summary through 12/31/2017, RCM # 2007-525,
    NDA 20-687,
    https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProvid
    ers/UCM603000.pdf).
    17
       Id.
    18
       Donna Harrison, M.D. & Michael J. Norton Testimony before the Iowa Board of Medicine, p. 3 (Aug.
    21, 2013), citing Postmarket Drug Safety Information for Patients and Providers, Questions and Answers
    on Mifeprex,


                                                      5
                                                                                              App. 000610
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    •   Provide surgical intervention if needed, or has made plans to provide such care
        through others.19 He or she must assure patient access to medical facilities equipped
        to provide blood transfusions and resuscitation, if necessary.20

         Clearly, a provider who does not physically meet with and examine a patient, but
    simply consults with the patient over the Internet, is not capable of fulfilling these
    requirements, or of ruling out additional contraindications (i.e., circumstances that make
    a treatment or medication unadvisable) to Mifeprex use. These physical contraindications
    include pelvic infections, ovarian masses, cardiac arrhythmias, and liver abnormalities.21
    A physician bears responsibility to diagnose and rule out contraindications prior to
    Mifeprex use. It is inadequate to entrust this critical care to another healthcare provider
    who is not trained in diagnosis. Further, a healthcare provider who is not physically
    accessible to a patient cannot provide adequate follow-up care to patients, as required by
    the FDA Mifeprex regimen.

        Thirty-four states permit only physicians to prescribe Mifeprex,22 with nineteen states
    requiring the provider to be physically present with the patient.23 For example, the law in
    Alabama states that the physical presence and care of a physician are necessary because
    “the failure and complications from medical abortion increase with advancing gestational
    age, because the physical symptoms of medical abortion can be identical to the symptoms
    of ectopic pregnancy, and because abortion-inducing drugs do not treat ectopic
    pregnancies but rather are contraindicated in ectopic pregnancies.”24

        Lawmakers in these states recognize that abortion providers cannot diagnose
    contraindications and cannot adequately care for their patients through a
    videoconference. Fundamentally, telemedicine “may be legitimate when it comes to
    discrete, document-based tasks such as reading X-rays,” but it “is not the standard of care
    when it comes to abortion or the management of miscarriage.”25




    https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm492
    705.htm.
    19
       Mifeprex Prescriber Agreement Form,
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
    29_Prescriber_Agreement_Form.pdf.
    20
       Id.
    21
       Harrison & Norton Testimony, p. 3.
    22
       Donovan MK, Self-Managed Medication Abortion: Expanding the Available Options for U.S. Abortion
    Care, Guttmacher Policy Review, Vol. 21, p. 44 (2018).
    23
       Id.
    24
       Ala. Code § 26-23E-7.
    25
       Harrison & Morton Testimony, p. 19.


                                                    6
                                                                                          App. 000611
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         2. The use of Mifeprex and misoprostol for the termination of pregnancy should
            require three office visits by the patient.

        The 2016 regimen significantly diminished doctor-patient interaction. While the 2000
    Mifeprex label required three patient visits with the abortion provider, women may now
    obtain Mifeprex at a clinic and self-administer it at home. They are no longer required to
    return to the clinic for the administration of misoprostol, which prevents abortion
    providers from ensuring that they take the drugs at the correct times. Further, providers
    may now “confirm” that a patient’s drug-induced abortion was successful without a clinic
    visit,26 increasing the threat that Rh-negative patients will not receive administration of
    Rhogam, which is necessary to prevent serious risks in subsequent pregnancies.

        The 2016 regimen directs that patients be given or prescribed misoprostol to take 24
    to 48 hours after taking Mifeprex. However, without monitoring, a patient may take
    misoprostol before 24 hours have passed since she consumed Mifeprex, rendering the
    regimen ineffective and increasing the likelihood that she will experience a failed drug-
    induced abortion and require surgery.

        Using buccal misoprostol sooner than 24 hours after administering mifepristone leads
    to a significantly increased failure rate. In one study investigating the timing of buccal
    misoprostol after mifepristone, nearly one out of every three to four women who took
    buccal misoprostol shortly after mifepristone failed to abort.27 The failure rate ranged
    from 27% to 31%, depending on the pregnancy gestation.28 Given these results, the
    authors of this study strongly recommended that buccal misoprostol not be taken
    immediately after mifepristone because of the very high abortion failure rate.29 However,
    with home administration of misoprostol, healthcare providers have no control over when
    their patients consume the drug.

        A woman may also choose to swallow misoprostol rather than keep the pill between
    her cheek and gum for 30 minutes, converting a “buccal” administration into an “oral”
    administration. An oral administration of misoprostol following the lower dose of
    mifepristone in the current regimen is not as effective in ending the pregnancy.

       Further, waiting until 24 hours after Mifeprex to administer misoprostol does not
    guarantee success, and the failure rate of buccal misoprostol is higher than that under the
    2000 regimen. A comprehensive systematic review and meta-analysis of the existing

    26
       See Mifeprex 2016 label,
    https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    27
       Lohr PA, Reeves MF, Hayes JL, Harwood B, Creinin MD, Oral Mifepristone and buccal misoprostol
    administered simultaneously for abortion: a pilot study, Contraception 76 (2007) 215-220.
    28
       Id.
    29
       Id.


                                                     7
                                                                                           App. 000612
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    studies of the 2016 regimen found that women who take misoprostol earlier than 48 hours
    after mifepristone are more likely to fail the regimen.30

       Under the 2000 regimen, doctors were also able to provide care to patients during the
    most challenging and painful time in the drug-induced abortion. According to the World
    Health Organization, up to 90% of women will abort within 4-6 hours after taking
    misoprostol.31 The 2000 regimen permitted a patient to be in a clinic for this period of
    time, during which she would be under the observation and care of medical personnel.
    This observation period is for “both patient safety and compassion. . . . This is the time
    when women should be in a place where their bleeding can be monitored, their vital signs
    can be observed by trained medical personnel, and they can receive sufficient pain
    medication during the most difficult part of the expulsion.”32

        Abortion complications are also more frequent when women abort at home, without
    the oversight of a healthcare provider. A 2018 combined retrospective and longitudinal
    follow-up study of complications related to induced abortion in Sweden determined that
    “[t]he complication frequency [of drug-induced abortion] was significantly higher among
    women <7 gestational weeks who had their abortions at home.”33

        In-person contact with a healthcare provider is critical to post-abortion care as well.
    Abortion providers should perform a “follow-up [physical exam] after the use of
    mifepristone in order to confirm abortion and rule out life-threatening infection.” 34
    Before FDA approved the 2016 regimen, the follow-up visit was considered “very
    important to confirm by clinical examination or ultrasonographic scan that a complete
    termination of pregnancy has occurred.”35 In fact, the 2000 label provided that “[e]ach
    patient must understand the necessity of completing the treatment schedule, including a
    follow-up visit approximately 14 days after taking Mifeprex.”36 ACOG’s current policy
    explains that:

            Women are not good candidates for medical abortion if they … desire
            quick completion of the abortion process [or] are not available for follow-
            up contact or evaluation….37

    30
       Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical Abortion, Obstet.Gynecol 126
    (1) July 2015 12-21.
    31
       World Health Organization, Safe Abortion: Technical and Policy Guidance for Health Systems 45.
    32
       Donna Harrison, M.D., Aff. Okla. Coalition for Reproductive Justice v. Cline, Case No. CV-2014-1886
    (Feb. 24, 2015) ¶ 136.
    33
       Carlsson I, Breding K, and Larsson PG, Complications Related to Induced Abortion: a Combined
    Retrospective and Longitudinal Follow-up Study, BMC Women’s Health (2018) 18:158, p. 4 (emphasis
    added).
    34
       Harrison & Norton Testimony, p. 18.
    35
       Mifeprex 2000 label, Day 14: Post-Treatment Examination.
    36
       Mifeprex 2000 label, Information for Patients.
    37
       ACOG Practice Bulletin 143, p. 6.


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        In addition to ensuring for all drug-induced abortion patients that the uterus has been
    emptied of retained tissue and that they are not suffering from infection, the follow-up
    examination is particularly critical for Rh-negative patients. These patients must be
    administered Rhogam in order to prevent Rh isoimmunization in subsequent pregnancies.
    Without follow-up, women will not receive the Rhogam after the abortion, greatly
    increasing their risk of subsequent Rh isoimmunization, which can endanger future
    pregnancies.38

        Nonetheless, abortion advocates strongly supported the reduction in required visits,
    and continue to advocate for the elimination of direct provider-patient contact. Gynuity
    Health Projects (an organization that “has been at the forefront of efforts to increase
    women’s access to medical abortion in settings throughout the world”)39 has conducted at
    least three domestic and five international studies40 on eliminating pelvic ultrasound or
    exam after drug-induced abortion. Following one study, researchers determined that
    “[s]emi-quantitative pregnancy tests … could be used in lieu of transvaginal ultrasound
    and/or serum hCG at clinic-based follow-up or by women themselves for home-based
    follow-up.”41

        In a more recent study, researchers asserted that the “common practice of scheduling
    a clinical contact after every medical abortion may not be necessary to ensure safety;
    enabling patients to determine for themselves whether or not a contact is needed can be a

    38
      ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017);
    and SOGC Clinical Practice Guidelines: Prevention of Rh Alloimmunization (No. 133, Sept. 2003).
    39
       See Gynuity Health Projects, Medical Abortion, https://gynuity.org/programs/medical-abortion. Founded
    by Beverly Winikoff, M.D, M.P.H., in 2003, Gynuity outlines on its “Medical Abortion” page the
    organization’s research projects, including efforts to: “Develop innovative service delivery systems through
    telemedicine; Simplify and de-medicalize medical abortion services; Expand access to medical abortion in
    the 1st and 2nd trimesters of pregnancy; Conduct clinical research to develop new abortion medications;
    Develop a ‘missed menses pill’/menstrual regulation method; Develop additional clinical indications for
    mifepristone.” Gynuity has launched a “coalition to expand access to mifepristone in the United States,”
    co-created a “medical abortion commodities database,” “introduce[d] medical abortion in new settings,”
    “incorporate[ed] new clinical evidence into service guidelines,” and “expanded medical abortion access
    through education and local champions.”
    40
       See, e.g., Self-Assessment of Medical Abortion Outcome Using Serial Multi-level Pregnancy Tests
    [NCT02570204] (Sept. 2015 – Dec. 2016),
    https://www.clinicaltrials.gov/ct2/show/NCT02570204?term=Self-
    Assessment+of+Medical+Abortion+Outcome+Using+Serial+Multi-level+Pregnancy&rank=1; Exploring
    the Role of At-home Semi-Quantitative Pregnancy Tests for Medical Abortion Follow-up [NCT01150279]
    (Aug. 2009 – May 2014),
    https://www.clinicaltrials.gov/ct2/show/NCT01150279?term=Exploring+the+Role+of+At-home+Semi-
    Quantitative+Pregnancy+Tests+for+Medical+Abortion+Follow-up&rank=1; De-Medicalizing Mifepristone
    Medical Abortion [NCT00120224] (May 2005 – Apr. 2007),
    https://www.clinicaltrials.gov/ct2/show/NCT00120224?term=De-
    Medicalizing+Mifepristone+Medical+Abortion&rank=1.
    41
       Lynd K, et al., Simplified Medical Abortion Using a Semi-Quantitative Pregnancy Test for Home-Based
    Follow-up, Int J Gynaecol Obstet. 2013 May;121(2):144-8.


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    reasonable approach.”42 They reached this conclusion even with 26% of participants
    failing to provide sufficient follow-up information.43

        Gynuity researchers also conducted a recent systematic review of existing studies on
    “the accuracy and acceptability of a strategy for identifying ongoing pregnancy after
    medical abortion treatment using a low-sensitivity pregnancy test (LSPT).” While the
    researchers acknowledged that “the LSPT strategy had moderate sensitivity for
    identifying ongoing pregnancy” and “the LSPT itself had a limited role in the detection of
    treatment failures [i.e., ongoing pregnancy] in the studies,” they stated that the “LSPT
    strategy shows promise for reducing the need for in-person follow-up after medical
    abortion. A range of home-based options should be validated to meet the varied needs of
    women and abortion providers in diverse settings.”44

        In reality, a de-emphasis on follow-up care increases risks of post-abortion
    complications. As discussed above, the 2000 regimen’s requirement that women return
    approximately 14 days after ingesting mifepristone was considered necessary to ensure
    that all pregnancy tissue had been passed. 45 This determination is crucial, because
    retained pregnancy tissue can lead to continued bleeding and serious intrauterine
    infections. The return visit permits healthcare providers to ensure that a patient is not
    experiencing these or other complications from the abortion procedure, and that Rh
    negative patients are administered Rhogam to protect future pregnancies.

        Abortion advocates argue that three clinic visits make accessing abortion-inducing
    drugs more difficult for patients with transportation challenges; however, as noted above,
    ACOG acknowledges that drug-induced abortion is contraindicated for patients who “are
    not available for follow-up contact or evaluation.”46 Surgical abortion is a better choice
    for these patients, because it “[d]oes not require follow-up in most cases.”47

        Drug-induced abortion is a longer process that requires more attention and care from
    healthcare providers. Three visits to a physician in the interest of patient safety should not
    be sacrificed for the convenience of healthcare providers or even their patients.




    42
       Raymond EG, et al., Self-assessment of Medical Abortion Outcome Using Symptoms and Home
    Pregnancy Tests, Contraception 97 (2018) 324-28.
    43
       Id.
    44
       Raymond EG, et al., Low-sensitivity Urine Pregnancy Testing to Assess Medical Abortion Outcome: A
    Systematic Review, Contraception (2018), https://doi.org/10.1016/j.contraception.2018.03.013 (emphasis
    added).
    45
       Mifeprex 2000 label, Day 14: Post-Treatment Examination.
    46
       ACOG Practice Bulletin 143, p. 6.
    47
       Id.


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         C. Contraindications. Mifeprex use is contraindicated for patients who do not have
            convenient access to emergency medical care.

         The 2000 Mifeprex Label stated:

            Because it is important to have access to appropriate medical care if an
            emergency develops, the treatment procedure is contraindicated if a
            patient does not have adequate access to medical facilities equipped to
            provide emergency treatment of incomplete abortion, blood transfusions,
            and emergency resuscitation during the period from the first visit until
            discharged by the administering physician.48

        This critical language was excluded from the 2016 Mifeprex Label. Yet, studies
    comparing the outcome of surgical versus drug-induced abortion “have clearly
    demonstrated that Mifeprex abortions have a greater risk of hemorrhage, infection,
    continued pregnancies, retained tissue and need for emergency reoperation than surgical
    abortions.” 49 ACOG acknowledges that “[c]ompared with surgical abortion, medical
    abortion takes longer to complete, requires more active patient participation, and is
    associated with higher reported rates of bleeding and cramping,” and has lower success
    rates.50

        Drug-induced abortion is optional. If a woman does not meet the criteria necessary to
    use abortion-inducing drugs, then surgical abortion is still an option. For women with
    transportation difficulties, an abortion provider can complete surgical abortion “in a
    predictable period of time,” and the procedure “[d]oes not require follow-up in most
    cases.”51

         Efforts to promote abortion-inducing drugs to women in rural areas where access to
    emergency medical care is scarce are detrimental to women’s health. It is better for a
    patient in a remote region to have a surgical abortion, “which requires a single visit, and
    is less likely to result in serious or life-threatening complications.”52




    48
       Mifeprex 2000 label, Contraindications.
    49
       Harrison Aff. ¶ 115.
    50
       ACOG Practice Bulletin 143, p. 3 & Box 1.
    51
       Id.
    52
       Harrison & Norton p. 9.


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         D. Adverse Event Reporting. Certified prescribers, emergency medical personnel,
            physicians treating complications, and Danco Laboratories should report to
            FDA’s MedWatch Reporting system any deaths, hospitalizations, blood
            transfusions, emergency room visits, failures requiring surgical completion,
            ongoing pregnancy, or other major complications following the use of Mifeprex
            and misoprostol.

        The 2016 regimen dramatically reduced accountability for Mifeprex providers by
    limiting adverse event reporting (AER) requirements, a critical safety mechanism.53
    While prescribers were required to report any serious adverse event associated with
    Mifeprex under the 2000 label, they are now required to report only deaths associated
    with Mifeprex.

        Even with the 2000 regimen requirements, collecting accurate and complete adverse
    event information was highly difficult. Adverse events were often not reported or were
    interpreted by emergency health care providers as the results of spontaneous abortion.54
    The Mifeprex label instructs prescribers to “[a]dvise the patient to take the Medication
    Guide with her if she visits an emergency room or a healthcare provider who did not
    prescribe Mifeprex, so that the provider knows that she is undergoing a medical
    abortion.” 55 Yet, many Mifeprex prescribers violate FDA protocol, instructing their
    patients to lie to emergency medical personnel. The organization Aid Access instructs
    patients that if they need to go to an emergency room:

            You do not have to tell the medical staff that you tried to induce an
            abortion; you can tell them that you had a spontaneous miscarriage.
            Doctors have the obligation to help in all cases and know how to handle a
            miscarriage. The symptoms of a miscarriage and an abortion with pills are
            exactly the same and the doctor will not be able to see or test for any
            evidence of an abortion, as long as the pills have completely dissolved.56

    Such deception prevents emergency healthcare providers from appropriately caring for
    their patients, and further decreases the likelihood that adverse events will be reported.

        With reduced AER reporting requirements under the 2016 label, what was previously
    difficult is now virtually impossible. The FDA cannot adequately assess the safety of the
    current Mifeprex regimen without comprehensive information on adverse events. AERs
    are the only objective means by which FDA has any data whatsoever on the effects of the

    53
       Mifeprex 2016 label.
    54
       See GAO-18-292, pp 24-25.
    55
       Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
    56
       Aid Access, How do you know if you have complications, and what should you do?,
    https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-what-should-you-do.


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    Mifeprex regimen on women, and the voluntary and minimal nature of the current AERs
    means that FDA has no accurate information about the actual number of women injured
    by drug-induced abortion, or the nature of complications caused by this drug.

        After prescribing Mifeprex and misoprostol, certified prescribers should at minimum
    be required to report the following directly to the FDA Medwatch reporting system,
    copying Danco Laboratories: deaths, hospitalizations, blood transfusions, emergency
    room visits, failures requiring surgical completion, ongoing pregnancy, or other major
    complications. Detailed information must also be included, such as pulse, blood pressure,
    temperature, pre- and post-transfusion hemoglobin/hematocrit, white blood count,
    number of units of blood transfused, surgeries, and any other pertinent laboratory or
    hospital course information, as well as emergency room and hospital discharge
    diagnoses.

       Further, FDA should provide guidance to emergency healthcare providers and
    physicians responsible for treating complications so that they know how to distinguish
    complications following drug-induced abortion from complications following
    spontaneous miscarriage. The guidance should also instruct these providers on how to
    report adverse events.57

        The abysmal quality of the current AERs received from Danco Laboratories shows
    the lack of concern that Danco has demonstrated for the safety of the women who have
    undergone drug-induced abortion. Responsible reporting is a fundamental safety
    mechanism that should not be sacrificed in the interest of convenience for abortion
    providers.

         E. Additional Studies. The Mifeprex REMS should require a formal study of
            outcomes for at-risk populations, including: patients under the age of 18; patients
            with repeat Mifeprex abortions; patients who have limited access to emergency
            room services; and patients who self-administer misoprostol.

        Mifeprex was approved for use in the pediatric population in 2000 after the FDA
    waived, without explanation, the requirement for studies in the pediatric population. The
    developmental stage of puberty involves a complex interplay of both progesterone and
    estrogen effects on the developing female reproductive system. The use, and especially
    the potential multiple use, of Mifeprex, which is a powerful progesterone blocker, is

    57
      The Self-Induced Abortion Legal Team has created a document titled “Self-Induced Abortion and the
    Law: What Emergency Room Staff Need to Know.” This document heavily emphasizes patient privacy
    requirements, including the penalties that healthcare providers may face if they disclose patient
    information. While these concerns are valid, emergency healthcare providers should also have training on
    public health reporting requirements and how such reporting does not violate HIPAA or other laws
    regarding patient privacy. See, https://www.sialegalteam.org.


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    likely to significantly impact the developing reproductive system of the adolescent
    female.58 It is irresponsible to allow the continued uninvestigated use of Mifeprex in the
    pediatric female population 59 without requiring long-term studies on the impact of
    Mifeprex use on pubertal development.

        More than one out of every three abortions in the U.S. is a repeat abortion.60 The
    repeat use of Mifeprex has been associated in some studies with adverse reproductive
    health outcomes in future wanted pregnancies.61 This concern requires further study.

        The adverse events of hemorrhage, retained tissue, and infection are common after
    Mifeprex use. The hemorrhage is often significant enough to warrant transfusion. When
    patients lack access to emergency medical facilities, such complications could easily
    translate to deaths. Thus a study of deaths and of severe hemorrhages requiring
    transfusion should be done to compare outcomes in women with and without access to
    emergency medical facilities.

         II.   RETAIN THE MIFEPREX RISK EVALUATION AND MITIGATION
               STRATEGY (REMS), AND CONTINUE LIMITING THE DISPENSING OF
               MIFEPREX TO PATIENTS IN CLINICS, MEDICAL OFFICES, AND
               HOSPITALS, BY OR UNDER THE SUPERVISION OF A CERTIFIED
               PRESCRIBER.

           A. Retain the Mifeprex REMS.

        Mifeprex, when used for abortion, is subject to a Food and Drug Administration
    (FDA) Risk Evaluation and Mitigation Strategy (REMS) with elements to assure safe use
    (ETASU). FDA determined that the Mifeprex REMS is necessary to ensure the safety
    and efficacy of the drug, because it carries risks of life-threatening hemorrhage, infection,
    continued pregnancy, retained tissue, need for emergency surgery, and death. The
    approved Mifeprex regimen includes the use of another potent drug, misoprostol, which
    carries its own risks.

        Under the Mifeprex REMS with ETASU, a healthcare provider must be certified to
    prescribe Mifeprex by reviewing the prescribing information and completing a

    58
       Arain M, et al., Maturation of the adolescent brain, Neuropsychiatric Disease and Treatment, 2013:9
    449-461.
    59
       Because of their immaturity, minors are also less likely to understand the importance of following
    prescriber instruction or of recognizing when they need to seek emergency medical treatment.
    60
       Jones R, et al., Which Abortion Patients Have Had a Prior Abortion? Findings from the 2014 U.S.
    Abortion Patient Survey, Journal of Women’s Health, DOI: 10.1089/jwh.2017.6410 (2014).
    61
       Fang L, et al., Repeated Abortion Affects Subsequent Pregnancy Outcomes in BALB/c Mice, PLoS ONE
    7(10): e48384. doi:10.1371/journal.pone.0048384 (2012).



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    “Prescriber Agreement Form,” attesting that they can: assess the duration of pregnancy
    accurately; diagnose ectopic pregnancies; and provide surgical intervention in cases of
    incomplete abortion or severe bleeding, or designate someone else to provide that care.
    Further, they must agree to follow the guidelines for use of Mifeprex.

        The REMS also requires Mifeprex to “be dispensed to patients only in certain
    healthcare settings, specifically clinics, medical offices, and hospitals, by or under the
    supervision of a certified prescriber.” Mifeprex may not be distributed or dispensed
    through retail pharmacies. Also, a patient must sign a “Patient Agreement Form” and be
    fully informed of the risks by a certified prescriber. She must receive the Mifeprex
    Medication Guide, informing her that she needs a “follow-up assessment” 7 to 14 days
    after she has taken Mifeprex to ensure that she is well and has terminated her
    pregnancy.62

        The REMS remains the lone safeguard to monitor and mitigate the risks of death and
    adverse events from the Mifeprex regimen. Gynuity Health Projects and researchers from
    the University of California, San Francisco (UCSF) obtained approval from FDA through
    Investigational New Drug Applications (INDs) to conduct studies that do not comply
    with the Mifeprex REMS. They intend to use the results of these studies to press for the
    elimination of the Mifeprex REMS.63 [See Section II.B, below.]

        The Mifeprex Medication Guide acknowledges that serious risks accompany FDA’s
    approved regimen for drug-induced abortion, which includes the use of Mifeprex and
    another potent drug, misoprostol. The document improperly downplays the risks,
    however, stating that “rarely, serious and potentially life-threatening bleeding, infections,
    or other problems can occur following . . . medical abortion.” Specifically, “in about 1
    out of 100 women [administered Mifeprex and misoprostol] bleeding can be so heavy
    that it requires a surgical procedure.”64

       In fact, the internationally used criteria for reporting complications from drugs
    demonstrate that complications from drug-induced abortions are common, not rare. The
    Council for International Organizations of Medical Sciences (CIOMS)65 defines the word
    62
       GAO-18-292, pp 4-7 (2018); Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf; 21 U.S.C. §
    355-1; Mifeprex Medication Guide, https://www.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
    63
       See Daniel Grossman, MD, Research Protocol: Alternative Provision of Medication Abortion via
    Pharmacy Dispensing, Version #:1.3 (July 17, 2018) p. 14.
    64
       Mifeprex Medication Guide, https://ww.w.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
    65
       The Council for International Organizations of Medical Sciences (CIOMS) is an international, non-
    governmental, nonprofit organization established jointly by WHO and UNESCO in 1949. Through its
    membership, CIOMS is representative of a substantial proportion of the biomedical scientific community.
    In 2013, the membership of CIOMS included 49 international, national, and associate member
    organizations, representing many of the biomedical disciplines, national academies of sciences, and
    medical research councils.


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    “rare” in adverse event reporting as an event that happens in between “1 out of 1,000” to
    “1 out of 10,000” uses. “Common” is the uniform term used for events that happen in
    between “1 out of 10” to “1 out of 100” uses.66 Given that “about 1 out of 100 women”
    using Mifeprex/misoprostol require surgery, serious complications are common, not
    rare.67

        Also, as discussed in Section I.C above, Mifeprex abortions carry greater risks than
    surgical abortions.68 A study of over 42,000 women in Finland who had abortions from
    2000 to 2006 found that “overall, medical abortion had roughly four times the rate of
    adverse events than surgical abortion, and hemorrhaging was experienced by 16 percent
    of medical abortion patients compared with 2 percent of surgical abortion patients.”69

        A combined retrospective and longitudinal follow-up study of complications related
    to induced abortion in Sweden published in 2018 determined that the share of
    complications related to drug-induced abortions at less than 12 weeks increased
    significantly during 2008-2015 without an evident cause. The increase was from 4.2% in
    2008 to 8.2% in 2015, with incomplete abortion as the most common complication
    related to drug-induced abortions at less than 12 weeks.70

        Abortion advocates are also attacking the REMS by advocating for mifepristone use
    in spontaneous miscarriage management. In a small recent study, researchers compared
    the efficacy and safety of using mifepristone with misoprostol for the management of
    early miscarriages to using misoprostol alone.71 Notably, 6-10% of study participants had
    a gestational age of “4-5 weeks gestation.” 72 It is not clear from the authors how
    participants of that gestational age could meet the published guidelines for diagnosis of
    non-viable pregnancy recently published by the Society of Radiologists in Ultrasound
    multispecialty consensus panel.73 The panel requires the crown-rump length cutoff to 7
    mm for embryos without a heartbeat and the mean sac diameter cutoff to 25 mm for




    66
       CIOMS training manual on medicine safety,
    http://www.who.int/medicines/areas/quality_safety/safety_efficacy/trainingcourses/definitions.pdf.
    67
       See Mifeprex Medication Guide; CIOMS training manual on medicine safety, supra.
    68
       See Harrison Aff. ¶ 115; ACOG Practice Bulletin 143, p. 3 & Box 1.
    69
       GAO-18-292, p. 25, discussing Niinimaki M, et al., Immediate Complications after Medical Compared
    with Surgical Termination of Pregnancy, Obstetrics & Gynecology, vol. 114, no. 4 (October 2009): 795-
    804.
    70
       Carlsson I, Breding K, and Larsson PG, Complications Related to Induced Abortion: A Combined
    Retrospective and Longitudinal Follow-up Study, BMC Women’s Health (2018) 18:158.
    71
       Schreiber CA, et al, Mifepristone Pretreatment for the Medical Management of Early Pregnancy Loss, N
    Engl J Med 2018; 378:2161-70.
    72
       Id. Table 1.
    73
       Doubilet PM, Benson CB, Bourne T, et al., Diagnostic criteria for nonviable pregnancy early in the first
    trimester, N Engl J Med 2013; 369:1443–1451.


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    “empty” sacs, in order to minimize interventions that “interrupt a pregnancy that
    otherwise would have had a normal outcome.”74

        The authors admit that the study “was not powered to show differences between
    groups in the proportions of serious adverse events,”75 an important consideration prior to
    recommending a change in spontaneous abortion management protocols. Yet, the authors
    incorrectly stated “such events were rare.”76 Table 3 gives a total number of serious
    adverse events as 3.4% for the mifepristone pretreatment group, and 2.0% for the
    misoprostol alone group.77 Under the CIOMS criteria for reporting complications from
    drugs, discussed above, the rate of 2%-3.4% of adverse events in each study arm
    demonstrates clearly that adverse events are common, not rare, in both misoprostol alone
    and mifepristone + misoprostol miscarriage management.

        Further, the Mifeprex + misoprostol arm raises a concern about the need for further
    study of adverse events, especially hemorrhage. Mifepristone is known to inhibit
    endometrial hemostasis (i.e., arrest of bleeding),78 as demonstrated by many reports of
    hemorrhage with transfusions reported to the FDA after use of mifepristone and
    misoprostol for elective abortions.79

        Of additional concern is the vaginal route of administration of misoprostol. After
    reports of overwhelming sepsis following vaginal administration of misoprostol, Planned
    Parenthood changed the route of administration of misoprostol from vaginal to buccal,80
    with subsequent decrease in reported infections. Animal studies have demonstrated that
    both mifepristone81 and misoprostol82 can profoundly suppress innate immunity and the
    ability to fight infections.


    74
       Hu M, Poder L, Filly R, Impact of New Society of Radiologists in Ultrasound Early First-Trimester
    Diagnostic Criteria for Nonviable Pregnancy, J Ultrasound Med 2014; 33:1585–1588.
    75
       Schreiber, supra p. 2168.
    76
       Id.
    77
       Id. p. 2169.
    78
       Miech RP, Pathopharmacology of excessive hemorrhage in mifepristone abortions, Ann Pharmacother
    2007 Dec; 41(12):2002-7.
    79
       Gary MM, Harrison DJ. “Analysis of severe adverse events related to the use of mifepristone as an
    abortifacient.” Ann Pharmacother. 2006 Feb;40(2):191-7; Food and Drug Administration “Mifepristone
    U.S. Postmarketing Adverse Events Summary” 2011,
    https://www.minnpost.com/sites/default/files/attachments/Mifeprex_April2011_AEs.pdf.
    80
        Fjerstad M, Trussell J, Sivin I, Lichtenberg ES, Cullins V, Rates of Serious Infection after Changes in
    Regimens for Medical Abortion, N Engl J Med 2009; 361:145-51.
    81
       Sternberg EM, Hill JM, Chrousos GP, Kamilaris T, Listwak SJ, Gold PW, Wilder RL, Inflammatory
    mediator-induced hypothalamic-pituitary-adrenal axis activation is defective in streptococcal cell wall
    arthritis-susceptible Lewis rats, Proc Natl Acad Sci U S A. 1989 Apr;86(7):2374-8; Miech RP,
    Pathophysiology of mifepristone-induced septic shock due to Clostridium sordellii, Ann Pharmacother.
    2005 Sep;39(9):1483-8. Epub 2005 Jul 26.
    82
       Aronoff DM et al., Misoprostol impairs female reproductive tract innate immunity against clostridium
    sordellii, 180 J. Immunol. 8222-8230 (2008).


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         Despite the clear methodological errors, including a failure to accurately diagnose
    fetal death according to accepted criteria as well as lack of adherence to the stated
    inclusion criteria, and despite the absence of power to evaluate safety, abortion advocates
    are calling for the routine use of mifepristone to manage spontaneous miscarriages.83 Any
    change in spontaneous miscarriage management with mifepristone should require an
    FDA New Drug Application (NDA) with two randomized controlled trials (RCTs)
    comparing the arms of mifepristone and misoprostol, misoprostol alone, surgical
    management, and expectant management. Without blinded RCTs to evaluate not only
    efficacy but also safety, it is premature to remove the REMS for Mifeprex to facilitate
    mifepristone access for spontaneous miscarriage management.

       Despite the presence of serious risks and contraindications to the Mifeprex regimen,
    Gynuity, the University of California, San Francisco (UCSF), and other abortion
    advocates want the FDA to eliminate the remaining safeguards that were enacted to
    ensure the safety and efficacy of Mifeprex. They are pursuing their goals through
    publication, advocacy, litigation,84 and/or controversial research enabled by FDA.85

       Further, as Section II.B below explains, lifting the REMS is only the starting point for
    abortion advocates.

         B. Continue limiting the dispensing of Mifeprex to patients in clinics, medical
            offices, and hospitals, by or under the supervision of a certified prescriber.

            1. Mifeprex should be dispensed only in clinics, medical offices, and hospitals.

        The Mifeprex REMS requires that Mifeprex “be dispensed to patients only in clinics,
    medical offices and hospitals, by or under the supervision of a certified prescriber.” That
    prescriber must be capable of assessing the duration of a pregnancy accurately,
    diagnosing ectopic pregnancies, and providing or referring for surgical intervention in
    cases of incomplete abortion or hemorrhaging.86

        Abortion advocates, however, want the FDA to permit healthcare providers to
    prescribe Mifeprex to pregnant patients over the Internet or phone, with the drug
    available at pharmacies or through the mail, and through advance provision (i.e., before a
    patient is pregnant). Eliminating or relaxing the REMS to facilitate Internet or telephone
    prescriptions would be dangerous to women and adolescent girls. Healthcare providers

    83
       Molly Walker, Mifepristone: Better for Managing Early Miscarriage, Medpage Today, (June 6, 2018),
    https://www.medpagetoday.com/obgyn/pregnancy/73336.
    84
       Chelius v. Azar. CIV. NO. 1:17-cv-00493-DKW-KSC (Dist. Ct. HI 2018).
    85
       See Section II.B, below.
    86
       Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.


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    prescribing abortion-inducing drugs over the Internet or phone or before a patient is even
    pregnant cannot adequately evaluate patients for contraindications to the drugs.87 Further,
    as discussed above, Rh-negative patients must be administered Rhogam in order to
    prevent Rh isoimmunization in subsequent pregnancies. Without direct patient contact,
    women will not receive the Rhogam after the abortion, greatly increasing their risk of
    subsequent Rh isoimmunization, which can endanger future pregnancies.88 [See Section
    I.B.2, supra.]

        Telemedicine abortion further distances women from the practitioners responsible for
    caring for them, and approval by FDA would further absolve abortion providers of
    responsibility for the well-being of their patients. Promoting telemedicine abortion to
    women and adolescent girls in rural areas with limited access to healthcare is extremely
    dangerous—they will have little recourse if they face known and predictable emergency
    complications such as severe hemorrhage.89

        Nonetheless, Gynuity Health Projects and researchers from UCSF obtained approval
    from FDA through Investigational New Drug Applications (INDs) to conduct studies that
    do not comply with the Mifeprex REMS. They will use the results of these studies to
    press for the elimination of the Mifeprex REMS.

                 a. The “TelAbortion” Direct-to-Consumer Mifeprex Study

        Gynuity Health Projects is the sponsor of the study “Feasibility of Medical Abortion
    by Direct-to-Consumer Telemedicine.” 90 Gynuity filed an IND with the FDA.91 The
    status is listed as “recruiting,” with age eligibility that includes 11-year-old children and
    an estimated enrollment of 1,000 participants at five locations.92 The start date is listed as
    March 22, 2016, and the estimated completion date was extended from June 2018 to June
    2019.

        The study’s brief summary states: “This pilot study is designed to obtain preliminary
    data on the safety, acceptability, and feasibility of direct-to-consumer telemedicine

    87
       Harrison & Norton Testimony, p. 2.
    88
      ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017);
    and SOGC Clinical Practice Guidelines: Prevention of Rh Alloimmunization (No. 133, Sept. 2003).
    89
       Harrison & Norton Testimony, p. 9.
    90
       (NCT02513043), https://www.clinicaltrials.gov/ct2/show/NCT02513043?term=NCT02513043&rank=1.
    91
       Raymond EG, Chong E, & Hyland P, Increasing Access to Abortion with Telemedicine, JAMA Internal
    Medicine Vol. 176, N. 5 (May 2016).
    92
       Hawaii – University of Hawaii Women’s Options Center; Maine – Maine Family Planning; New York –
    Choices Women’s Medical Center (active, but not recruiting according to ClinicalTrials.gov, and not listed
    on TelAbortion.org); Oregon and Washington – Planned Parenthood Columbia Willamette; Oregon Health
    and Sciences University Women’s Health Research Unit. Washington State patients may also participate
    because an Oregon abortion provider is also licensed in Washington State. Claire Lampen, Webcam
    Abortion Services Offer Crucial Access—So What’s Stopping them? Gizmodo (Apr. 17, 2018).


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    abortion.”93 The study’s website states that “[a] TelAbortion involves all the same steps
    and procedures as a regular medical abortion, but you do them without going into an
    abortion clinic.”94

        Women who participate in the study have a video “evaluation” with the study
    abortion provider over the Internet, during which they can ask questions, provide medical
    history, and learn about the pre-abortion tests that they need. They also electronically
    sign consent forms for the study. Afterwards, they are required to obtain the tests and
    direct the reports to be sent to the study provider.

        Once a patient is determined eligible, the study provider will send her a package
    containing Mifeprex and misoprostol, with instructions that she must follow on her own.
    She is also instructed to have additional tests to verify that the abortion is complete, and
    later have another consultation with the study provider to review the results.95

        Obviously, a woman may not take the abortion drugs in the manner prescribed, nor
    obtain the follow-up care that is recommended. With a doctor-patient relationship limited
    to online chats, she has virtually no accountability or support as she navigates a
    complicated procedure. The responsibility of the provider of the drugs to follow up with
    the patient is obviated as well.

                b. The Mifeprex through Pharmacy Dispensing Study

            The University of California, San Francisco (UCSF) is the sponsor of the
    “Alternative Provision of Medication Abortion via Pharmacy Dispensing” study. 96
    Daniel Grossman, M.D., with UCSF is listed as the study’s “responsible party.”97 Like
    Gynuity, UCSF filed an IND with the FDA to obtain authorization for this study.98 The
    status is listed as “recruiting,” with July 2019 as the estimated completion date. The
    sponsors plan to recruit 300 patients at four study clinic sites and survey 50 pharmacists
    at associated study pharmacy sites.99




    93
       NCT02513043, https://www.clinicaltrials.gov/ct2/show/NCT02513043?term=NCT02513043&rank=1.
    94
      TelAbortion: The Telemedicine Abortion Study: FAQs, http://telabortion.org/faq/.
    95
       Id.
    96
       NCT03320057, https://www.clinicaltrials.gov/ct2/show/NCT03320057?term=NCT03320057&rank=1;
    Daniel Grossman, MD, Research Protocol: Alternative Provision of Medication Abortion via Pharmacy
    Dispensing, Version #:1.3 (JUL. 17, 2018) p. 5.
    97
       Id.
    98
       In a May 2018 phone conversation with a contact for the UCSF study, she stated that the study was
    approved through an IND application with FDA.
    99
       Grossman, pp. 5-7; 16-17.


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        The stated aim of the study is to “investigate the feasibility, acceptability, and
    effectiveness of pharmacy dispensing of Mifeprex; safety data will also be collected. . . .
    The results of this study eventually could lead to changes in the Mifeprex REMS. . . .”100

        The sponsors intend to measure “pharmacist satisfaction with dispensing Mifeprex
    and the proportion of pharmacists who refuse to dispense the medication to patients.”
    They secondarily intend to assess patient satisfaction, describe clinical outcomes,
    including effectiveness and adverse events, and compare pharmacists’ knowledge about
    medication abortion before and after.101

        Patients enroll at one of the study clinic sites on Day 1, where they choose medication
    abortion, have an ultrasound if one has not been done, and obtain pre-abortion
    counseling. They then are prescribed Mifeprex, misoprostol, and anything else necessary
    to be filled at the associated study pharmacy site.102 Some patients have serum hCG
    measured on the day of Mifeprex administration and again around eight days later “to
    assess for completion of the abortion.”103 The “follow-up” for patients “may include a
    follow-up visit or a phone call from clinic staff approximately 7-14 days after the initial
    visit.”104 However, as discussed extensively above, a clinician needs to perform an exam
    to rule out retained tissue—even if the patient has a negative serum hCG. A phone call
    that “may” be placed, or fail to connect, is not enough.

        Notably, “[a]ll except one of [the participating] pharmacies is [sic] located within the
    same building as the clinic….”105 While UCSF is using a community pharmacy not
    affiliated with the University, the other three study clinic sites are using affiliated
    pharmacies.106



    100
        Grossman, p.14 (emphasis added). The sponsors dubiously assert that “pharmacy dispensing could []
    help increase the number of clinicians willing and able to provide medication abortion by enabling them to
    avoid the associated costs and logistical challenges of stocking and dispensing the medication at their
    facilities.” They reference a survey of Fellows of the American College of Obstetricians and Gynecologists
    that sought to determine if doctors not presently practicing abortion would prescribe Mifeprex if their
    patients could obtain the drug at a pharmacy. Fifty-four percent responded to the survey. Seventy-seven
    percent of respondents do not perform abortions and nine percent perform surgical abortions only—of
    those, 19% said they would prescribe Mifeprex if it could be obtained at a pharmacy, and an additional
    18% said they were unsure. Based on this, the sponsors claim “the proportion of obstetrician-gynecologists
    providing [Mifeprex] would at least double (from 14% to 29%) “if the dispensing restriction in the REMS
    were removed and physicians could write a prescription for Mifeprex that could be dispensed at a
    pharmacy.” The fact that 46 percent of the fellows surveyed did not take the time to respond, however,
    places this conclusion in doubt. See Grossman, pp. 12-14.
    101
        Grossman, pp. 15-16.
    102
        Grossman, p. 23.
    103
        Grossman, p. 23.
    104
        Grossman, p. 24.
    105
        Grossman, p. 20.
    106
        Grossman, pp 16-17.


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        While the rationale for the study states that pharmacy dispensing of Mifeprex could
    “help facilitate provision of medication abortion through telemedicine,”107 the sponsors
    emphasize that the only difference between this study and FDA protocol “is that the
    patient would obtain the mifepristone directly from the pharmacist, rather than in a clinic
    facility.”108 In fact, the schedules for the participating pharmacists are “mapped” to
    “ensure that trained pharmacists are available to dispense to study participants during
    business hours.”109

        The following demonstrates the extensive assistance that the sponsors offer patients
    in obtaining the drugs from the participating pharmacies:

            [The patient] will be told that only a limited number of pharmacies are
            able to dispense Mifeprex and given information about how to get to the
            participating pharmacy (as well as the hours during which a participating
            pharmacist will be working, if needed). If there are any gaps in staffing at
            the pharmacy, the patient will be notified of the timing of those gaps in
            coverage before leaving the clinic via the pharmacy directions/handout. If
            this will be an issue for the patient, a solution will be found at the clinic
            before the patient leaves or she will not be enrolled in the study. Patients
            will be told that if they have any problems accessing the medications at
            the clinic, they should come back to the clinic [where they can obtain
            Mifeprex].110

        While this assistance may ensure that the study does not deviate dramatically from
    FDA protocol, the study certainly does not model the experience a patient would have
    outside of this controlled environment—particularly a patient who obtains Mifeprex
    through telemedicine and has no physical contact with her prescriber.

         The physical proximity of the study pharmacy sites to the study clinic sites, the
    probable professional associations between participating doctors and pharmacists, and the
    extensive assistance offered by the clinics to ensure that patients access abortion-inducing
    drugs at participating pharmacies, raise questions as to whether the study is
    fundamentally biased and will inaccurately forecast widespread behavior and experiences
    if the REMS is removed. Therefore, any results of the study cannot provide a justification
    for permitting pharmacy distribution of Mifeprex, much less abortion through
    telemedicine.



    107
        Grossman, p. 6.
    108
        Grossman, p. 6.
    109
        Grossman, p. 18.
    110
        Grossman, pp. 19-20.


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        Further, as discussed below, eliminating the REMS to enable pharmacy dispensing of
    Mifeprex is only the beginning of a long-term strategy to achieve over-the-counter status
    for Mifeprex, further diminishing patient care and abortion provider accountability.

                 c. Beyond the Current Studies

        A recent article by Dr. Grossman and colleagues reveals that they want Mifeprex
    access extended even beyond the parameters contained in their Pharmacy Dispensing
    study. They used an online survey to gauge women’s “personal interest in and general
    support for three alternative methods for accessing abortion pills: (1) in advance from a
    doctor for future use, (2) over-the-counter (OTC) from a drugstore and (3) online without
    a prescription.”111

        None of the options in the survey require a healthcare provider to provide patient care
    comparable to even the inadequate care provided in the two studies discussed above.
    Only the first option requires a prescription from a doctor; however, the doctor would not
    know in advance when his patient actually becomes pregnant and chooses to use the
    drugs. The survey disingenuously stated that “[m]edication abortion, or the abortion pill,
    is a safe and effective way to terminate a pregnancy up to 10 weeks,” without informing
    participants of a single risk associated with the regimen.112

       Further, in a November, 21, 2018 op-ed, Dr. Grossman advocated for providing
    abortion pills before women are pregnant. He stated:

            The idea is simple: Give women abortion pills before they need them –
            “advance provision,” as it’s known – so that they can take them as soon as
            they discover a pregnancy. Women could get the pills from their
            gynecologist at the time of their annual exam, say, or the pills could be
            made available online.113

        Incredibly, Dr. Grossman stated that he has “few medical concerns about handing out
    abortion pills in advance.”114 He asserts that evidence from advance provision research
    “could strengthen the case for making [abortion-inducing drugs] available without a
    prescription.”115


    111
        Biggs MA, et al, Support for and interest in alternative models of medication abortion provision among
    a national probability sample of U.S. women, Contraception (2018),
    https://doi.org/10.1016/j.contraception.2018.10.007.
    112
        See id.
    113
        Daniel Grossman, American women should have access to abortion pills before they need them, Los
    Angeles Times (Nov. 21, 2018).
    114
        Id.
    115
        Id.


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       In addition to his failure to address all of the dangers posed by abortion-inducing
    drugs, Dr. Grossman does not acknowledge the risk that women will share their abortion-
    inducing pills with other women. While an abortion provider may screen his patient for
    contraindications to Mifeprex, nothing will stop his patient from giving her stored
    Mifeprex to a friend who is unaware that she is Rh negative, for instance, which poses
    health risks for future pregnancies (See section I.B.2, supra).

        In fact, Dr. Grossman’s research program has listed a study titled “Alternative
    Provision of Medication Abortion Via Advance Provision” on ClinicalTrials.gov, with
    May 2019 listed as the estimated study start date.116 In the study, patients who are “at risk
    of unintended pregnancy and with a desire to avoid pregnancy will be assessed by a
    clinician and provided counseling on pregnancy recognition and testing, as well as how to
    administer [drug-induced abortion] at home.” They will then receive Mifeprex and
    misoprostol while not pregnant. If/when the patient becomes pregnant and wants to take
    the drugs, she is instructed to contact a study clinician for an “over-the-phone assessment
    of eligibility” for drug-induced abortion, “including evaluation of contraindications and
    gestational age” before taking the drugs, and “then attend a follow-up visit with the
    clinician.”117 However, it is impossible for the study sponsors to truly assess the patient
    for contraindications, verify gestational age, prevent patients from sharing the drugs with
    others, or ensure that patients attend a follow-up visit.

       In a 2018 Policy Review, the Guttmacher Institute also advocated for lifting the
    Mifeprex REMS. However, the article did not stop there. The author argues:

            [w]hile lifting the REMS on mifepristone would open new possibilities for
            medication abortion access, stopping there would fall short of realizing the
            full potential of this method, particularly when it comes to self-managed
            abortion care. In a self-management model, anyone who needs to
            terminate a pregnancy would be able to legally access mifepristone and
            misoprostol without a requirement to see a health care provider or
            pharmacist first. . . . To fully integrate self-managed medication abortion
            with existing abortion practices in the United States, misoprostol and
            mifepristone must first become available without a prescription.118

        These recent publications demonstrate how abortion advocates will continue to
    pressure FDA to eliminate the REMS and move towards over-the-counter access for
    Mifeprex. In spite of the serious risks and contraindications to the Mifeprex regimen,
    abortion advocates will not rest until Mifeprex is available to all, without a prescription
    116
        NCT03829696, https://clinicaltrials.gov/ct2/show/NCT03829696?term=NCT03829696&rank=1.
    117
        Id.
    118
        Donovan MK, Self-Managed Medication Abortion: Expanding the Available Options for U.S. Abortion
    Care, Guttmacher Policy Review, vol. 21 (2018).


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    or mandatory medical management of any kind. The FDA’s vigilance in protecting
    women from such negligence is critically important.

            2. Mifeprex Prescribers Should be Certified.

        The 2016 regimen requires Mifeprex prescribers to be certified as qualified. This is
    simply common sense—only healthcare providers qualified to prescribe an abortion-
    inducing drug should do so. The prescriber form attests that the healthcare provider must
    be able to assess pregnancy duration, diagnose ectopic pregnancy, and provide or refer
    for surgical intervention if necessary.

       Given that drug-induced abortion is contraindicated beyond 10 weeks’ gestation and
    when the pregnancy is not in the uterus, and that at least 1 out of 100 women using
    Mifeprex need surgery, 119 these qualifications are entirely logical. Yet, abortion
    advocates, ignoring the best interests of their patients, claim such restrictions are
    onerous.120

    CONCLUSION

        The Mifeprex REMS with ETASU remains critical for patient safety. Mifeprex
    carries risks of life-threatening hemorrhage, infection, continued pregnancy, retained
    tissue, need for emergency surgery, and death. The 2000 regimen provided significantly
    more protections for patients than the 2016 regimen. FDA should restore and strengthen
    elements of the Mifeprex regimen and provider requirements, including: limiting
    Mifeprex use to 49 days’ gestation; requiring that Mifeprex be administered only by or
    under the supervision of a physically present physician; requiring three office visits by a
    patient who has been prescribed Mifeprex; clarifying that Mifeprex use is contraindicated
    for patients who do not have convenient access to emergency medical care; expanding
    mandatory adverse event reporting; and requiring additional studies of Mifeprex use in
    at-risk populations.

        At the very least, FDA should not further erode patient protections. The agency
    should retain the Mifeprex REMS, and continue limiting the dispensing of Mifeprex to
    patients in clinics, medical offices, and hospitals, by or under the supervision of a
    certified prescriber.




    119
        Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
    https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.
    120
        Mifeprex REMS Study Group, Sixteen Years of Overregulation: Time to Unburden Mifeprex, N Engl. J.
    Med. 376;8 (Feb. 23, 2017).


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                                   C. Environmental Impact

    This petition is categorically excluded under 21 C.F.R. § 25.30.

                                      D. Economic Impact

    Available upon Commissioner’s request, pursuant to 21 C.F.R. §10.30(3).

                                        E. Certification

    The undersigned certify, that, to the best knowledge and belief of the undersigned, this
    petition includes all information and views on which the petition relies, and that it
    includes representative data and information known to the petitioners, which are
    unfavorable to the petition.

    Signature: /s/ Donna J. Harrison M.D., Executive Director

    Name of petitioner: American Association of Pro-Life Obstetricians and Gynecologists

    Mailing address: PO Box 395, Eau Claire, MI 49111-0395

    Telephone number: (202) 230-0997

    Signature: /s/ Quentin L. Van Meter, M.D., FCP, President

    Name of petitioner: American College of Pediatricians

    Mailing address: PO Box 357190, Gainesville, FL 32635-7190

    Telephone number: (352) 376-1877




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                               EXHIBIT 30

       2019 FDA ANDA Approval Letter to GenBioPro




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 ANDA 091178


                                                                                ANDA APPROVAL

                                                  (b) (6), (b) (4)

                  GenBioPro, Inc.
                (b) (6), (b) (4)



 Attention:                    (b) (6), (b) (4)




 Dear Sir:

 This letter is in reference to your abbreviated new drug application (ANDA) received for review
 on February 3, 2009, submitted pursuant to section 505(j) of the Federal Food, Drug, and
 Cosmetic Act (FD&C Act) for Mifepristone Tablets, 200 mg.

 Reference is also made to the complete response letter issued by this office on
 February 23, 2018, and to any amendments thereafter.

 We have completed the review of this ANDA and have concluded that adequate information has
 been presented to demonstrate that the drug is safe and effective for use as recommended in
 the submitted labeling. Accordingly, the ANDA is approved, effective on the date of this
 letter. The                      (b) (6) has determined your Mifepristone Tablets, 200 mg, to be

 bioequivalent and, therefore, therapeutically equivalent to the reference listed drug (RLD),
 Mifeprex Tablets, 200 mg, of Danco Laboratories, LLC.

 Under section 506A of the FD&C Act, certain changes in the conditions described in this ANDA
 require an approved supplemental application before the change may be made.

 RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENTS

 Section 505-1 of the FD&C Act authorizes FDA to require the submission of a risk evaluation
 and mitigation strategy (REMS), if FDA determines that such a strategy is necessary to ensure
 that the benefits of the drug outweigh the risks [section 505-1(a)]. In accordance with section
 505-1(i) of the FD&C Act, a drug that is the subject of an ANDA under section 505(j) is subject
 to certain elements of the REMS required for the applicable listed drug.

 The details of the REMS requirements were outlined in our letter dated June 15, 2011. In that
 letter, you were also notified that pursuant to section 505-1(i) of the FD&C Act, a drug that is the
 subject of an ANDA and the listed drug it references must use a single, shared system for
 elements to assure safe use (ETASU), unless FDA waives that requirement.

 Your REMS, known as the Mifepristone REMS Program, submitted on May 30, 2017; is
 approved, and will be posted on the FDA REMS website: http://www.fda.gov/rems

 The REMS consists of ETASU and an implementation system.


 U.S. Food & Drug Administration
 10903 New Hampshire Avenue
 Silver Spring, MD 20993
 www.fda.gov

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 Your REMS must be fully operational before you introduce Mifepristone Tablets, 200 mg, into
 interstate commerce.

 The Mifepristone REMS uses a single, shared system for the ETASU. This single, shared
 system REMS Program currently includes the products listed on the FDA REMS website,
 available at http://www.fda.gov/rems. Other products may be added in the future if additional
 NDAs or ANDAs are approved.

 Under section 505-1(g)(2)(C) of the FD&C Act, FDA can require the submission of a REMS
 assessment if FDA determines an assessment is needed to evaluate whether the REMS should
 be modified to ensure the benefits of the drug outweigh the risks or to minimize the burden on
 the healthcare delivery system of complying with the REMS.

 We remind you that you must include an adequate rationale to support a proposed REMS
 modification for the addition, modification, or removal of any goal or element of the REMS, as
 described in section 505-1(g)(4) of the FD&C Act.

 We also remind you that section 505-1(f)(8) of the FD&C Act prohibits holders of an approved
 covered application from using any element to assure safe use to block or delay approval of an
 application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could result in
 enforcement action.

 Prominently identify any submission containing a REMS assessment or proposed modifications
 of the REMS with the following wording in bold capital letters at the top of the first page of the
 submission as appropriate:

         ANDA 091178 REMS ASSESSMENT

         NEW SUPPLEMENT FOR ANDA 091178/S-000
         CHANGES BEING EFFECTED IN 30 DAYS
         PROPOSED MINOR REMS MODIFICATION

                          or

         NEW SUPPLEMENT FOR ANDA 091178/S-000
         PRIOR APPROVAL SUPPLEMENT
         PROPOSED MAJOR REMS MODIFICATION

                          or

         NEW SUPPLEMENT FOR ANDA 091178/S-000
         PRIOR APPROVAL SUPPLEMENT
         PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABELING CHANGES
         SUBMITTED IN SUPPLEMENT XXX

 Should you choose to submit a REMS revision, prominently identify the submission containing
 the REMS revisions with the following wording in bold capital letters at the top of the first page
 of the submission:


 U.S. Food & Drug Administration
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 www.fda.gov

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         REMS REVISION FOR ANDA 091178

 To facilitate review of your submission, we request that you submit your proposed modified
 REMS and other REMS-related materials in Microsoft Word format. If certain documents, such
 as enrollment forms, are only in PDF format, they may be submitted as such, but the preference
 is to include as many as possible in Word format.

 SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

 In addition to submitting the proposed REMS as described above, you can also submit the
 REMS document in Structured Product Labeling (SPL) format. If you intend to submit the
 REMS document in SPL format, include the SPL file with your proposed REMS submission.

 For more information on submitting REMS in SPL format, please email
 REMSWebsite@fda.hhs.gov

 REPORTING REQUIREMENTS

 Postmarketing reporting requirements for this ANDA are set forth in 21 CFR 314.80-81 and
 314.98 and at section 506I of the FD&C Act. The Agency should be advised of any change in
 the marketing status of this drug or if this drug will not be available for sale after approval. In
 particular, under section 506I(b) of the FD&C Act, you are required to notify the Agency in
 writing within 180 days from the date of this letter if this drug will not be available for sale within
 180 days from the date of approval. As part of such written notification, you must include (1) the
 identity of the drug by established name and proprietary name (if any); (2) the ANDA number;
 (3) the strength of the drug; (4) the date on which the drug will be available for sale, if known;
 and (5) the reason for not marketing the drug after approval.

 PROMOTIONAL MATERIALS

 You may request advisory comments on proposed introductory advertising and promotional
 labeling materials prior to publication or dissemination. Please note that these submissions are
 voluntary. To do so, submit, in triplicate, a cover letter requesting advisory comments, the
 proposed materials in draft or mock-up form with annotated references, and the package insert
 (PI), Medication Guide, and patient PI (as applicable) to:

                          OPDP Regulatory Project Manager
                          Food and Drug Administration
                          Center for Drug Evaluation and Research
                          Office of Prescription Drug Promotion
                          5901-B Ammendale Road
                          Beltsville, MD 20705

 Alternatively, you may submit a request for advisory comments electronically in eCTD format.
 For more information about submitting promotional materials in eCTD format, see the draft
 Guidance for Industry (available at:
 http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/U
 CM443702.pdf).


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 You must also submit final promotional materials and package insert(s), accompanied by a
 Form FDA 2253, at the time of initial dissemination or publication [21 CFR 314.81(b)(3)(i)].
 Form FDA 2253 is available at
 http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM083570.pdf.
 Information and Instructions for completing the form can be found at
 http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM375154.pdf. For
 more information about submission of promotional materials to the Office of Prescription Drug
 Promotion (OPDP), see http://www.fda.gov/AboutFDA/CentersOffices/CDER/ucm090142.htm.

 ANNUAL FACILITY FEES

 The Generic Drug User Fee Amendments of 2012 (GDUFA) (Public Law 112-144, Title III)
 established certain provisions1 with respect to self-identification of facilities and payment of
 annual facility fees. Your ANDA identifies at least one facility that is subject to the
 self-identification requirement and payment of an annual facility fee. Self-identification must
 occur by June 1st of each year for the next fiscal year. Facility fees must be paid each year by
 the date specified in the Federal Register notice announcing facility fee amounts.

 All finished dosage forms (FDFs) or active pharmaceutical ingredients (APIs) manufactured in a
 facility that has not met its obligations to self-identify or to pay fees when they are due will be
 deemed misbranded. This means that it will be a violation of federal law to ship these products
 in interstate commerce or to import them into the United States. Such violations can result in
 prosecution of those responsible, injunctions, or seizures of misbranded products. Products
 misbranded because of failure to self-identify or pay facility fees are subject to being denied
 entry into the United States.




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 CONTENT OF LABELING

 As soon as possible, but no later than 14 days from the date of this letter, submit, using the FDA
 automated drug registration and listing system (eLIST), the content of labeling [21 CFR
 314.50(l)] in structured product labeling (SPL) format, as described at
 http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/default.htm, that is
 identical in content to the approved labeling (including the package insert, and any patient
 package insert and/or Medication Guide that may be required). Information on submitting SPL
 files using eLIST may be found in the guidance for industry titled “SPL Standard for Content of
 Labeling Technical Qs and As” at
 http://www.fda.gov/downloads/DrugsGuidanceComplianceRegulatoryInformation/Guidances/UC
 M072392.pdf. The SPL will be accessible via publicly available labeling repositories.

                                            Sincerely yours,

                                            {See appended electronic signature page}
                                                                              (b) (6)




                                            Center for Drug Evaluation and Research




 1   Some of these provisions were amended by the Generic Drug User Fee Amendments of 2017 (GDUFA II) (Public
     Law 115-52, Title III).




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                          Digitally signed by
                          Date: 4/11/2019 02:22:21PM
                          GUID: 54078879000a1b9e15dd31ed6f0343ca




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                                 EXHIBIT 31

       Letter from ACOG and SMFM to FDA (April 2020)




                                                                   App. 000639
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 April 20, 2020

 Stephen M. Hahn, M.D.
 Commissioner
 U.S. Food and Drug Administration
 10903 New Hampshire Avenue NW
 Silver Spring, MD 20993

 Re: Docket Number: FDA-2020-D-1106; Policy for Certain REMS Requirements During the COVID-19
 Public Health Emergency Guidance for Industry and Health Care Professionals


 Dear Commissioner Hahn:

 On behalf of more than 60,000 of the nation’s primary care obstetrician-gynecologists and subspecialty
 and high-risk obstetric practitioners dedicated to advancing women’s health, thank you for your recent
 action to suspend enforcement of Risk Evaluation and Mitigation Strategy (REMS) requirements for
 certain drugs with laboratory testing or imaging requirements for the duration of the COVID-19 public
 health emergency. The American College of Obstetricians and Gynecologists and the Society for
 Maternal-Fetal Medicine urge the U.S. Food and Drug Administration (FDA) to immediately expand this
 policy to REMS and Elements to Assure Safe Use (ETASU) requirements for certain prescription drugs
 requiring in-person health care professional administration, where treatment could safely occur through
 telehealth or self-administration. In addition, physicians who provide such services in accordance with
 current clinical guidelines during this pandemic should not be held liable.

 Obstetrician-gynecologists are serving on the front lines responding to the COVID-19 crisis. In order to
 provide the safest care for their patients and themselves, in-person visits are limited to emergency and
 essential physically necessary visits. We support the FDA’s acknowledgment that REMS-required health
 care professional in-person dispensation is difficult because patients may need to avoid public places and
 patients suspected of having COVID-19 may be self-isolating and/or subject to quarantine. Under these
 circumstances, undergoing in-person clinic administration in order to obtain a drug subject to a REMS
 can put patients and others, including health care professionals and their families, at risk for COVID-19
 transmission. As referenced in ACOG Committee Opinion #798, Implementing Telehealth in Practice,
 evidence suggests that telehealth provides comparable health outcomes when compared with traditional
 methods of health care delivery without compromising the patient–physician relationship. 1 Telehealth has
 quickly become integrated into nearly every aspect of obstetrics and gynecology. During this pandemic, it
 is essential to use telehealth services to limit COVID-19 transmission.

 It is critical that the FDA promptly expand its recent policy to apply to the REMS and ETASU
 requirements for certain drugs requiring in-person dispensation, especially mifepristone. The current
 REMS and ETASU requirements for mifepristone are outdated and serve as a barrier to accessing this
 safe, effective medication. Further, they cause unnecessary delays in obtaining time-sensitive health care,
 without supporting improvements to patient safety or outcomes. During this federally declared public
 health emergency, these antiquated and superfluous requirements put patients and their physicians at risk,
 with no demonstrated benefit. As noted in the ACOG Position Statement, Improving Access to




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 Mifepristone for Reproductive Health Indications, mifepristone has been used by over 3 million women
 in the United States since FDA approval in 2000 and strong evidence exists regarding the safety of
 mifepristone for medication-induced abortion and medical management of early pregnancy loss.2,3,4,5

 Restricting access to mifepristone interferes with the ability of obstetrician–gynecologists and other
 women’s health clinicians to deliver the highest quality care for their patients, especially during the
 COVID-19 pandemic. Abortion is an essential component of comprehensive health care and is a time-
 sensitive service for which a delay of several weeks, or in some cases days, may increase the risks or
 potentially make it completely inaccessible.6 Temporarily waiving REMS and ETASU requirements that
 certain drugs be dispensed in-person by certain medical professionals is particularly important for patients
 who suffer from other medical conditions and are at higher risk of serious complications from COVID-19,
 as well as those in rural areas for whom hours of travel for in-person administration would disallow social
 distancing recommendations and travel advisories.

 In addition, we urge you to consider waiving the requirement for health care professional administration
 of subcutaneous depot medroxyprogesterone acetate (DMPA). Several studies have shown patient interest
 in self-administration and increased continuation of DMPA via subcutaneous at-home delivery. 7,8,9 In a
 period when limiting patient interactions with the health care system is essential to prevent COVID-19
 transmission, it is in our patients’ best interest to have unencumbered access to the contraceptive method
 of their choice, including DMPA.

 Ensuring the safety of patients and physicians during the COVID-19 pandemic requires policy changes
 such as those already enacted by FDA to waive the REMS requirements for certain drugs with laboratory
 testing or imaging requirements. We strongly urge FDA to further protect patients and their health care
 professionals from the risk of transmission by promptly expanding the existing policy to waive REMS
 and ETASU requirements that certain drugs be dispensed in-person by certain medical professionals.
 Thank you for your consideration. We are available to answer any questions you may have regarding
 these issues.

 Sincerely,




 Maureen G. Phipps, MD, MPH, FACOG                         Judette Louis, MD, MPH
 Chief Executive Officer                                   President
 American College of Obstetricians and                     Society for Maternal-Fetal Medicine
 Gynecologists




                                  Matt J. Granato, LL.M., MBA
                                  Chief Executive Officer
                                  Society for Maternal-Fetal Medicine




                                                                                             App. 000641
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 1
   Implementing telehealth in practice. ACOG Committee Opinion No. 798. American College of Obstetricians and
 Gynecologists. Obstet Gynecol 2020;135:e73–9.
 2
   Improving Access to Mifepristone for Reproductive Health Indications. Position Statement. American College of
 Obstetricians and Gynecologists. June 2018. Available at https://www.acog.org/clinical-information/policy-and-
 position-statements/position-statements/2018/improving-access-to-mifepristone-for-reproductive-health-indications.
 3
   Cleland K, Smith N. Aligning mifepristone regulation with evidence: Driving policy change using 15 years of
 excellent safety data. Contraception. 2015;92(3):179-181. doi:10.1016/j.contraception.2015.06.016.
 4
   Sixteen Years of Overregulation: Time to Unburden Mifeprex. N Engl J Med. 2017;376(8):790-794.
 5
   Song LP, Tang SY, Li CL, Zhou LJGYK, Mo XT. Early medical abortion with self-administered low-dose
 mifepristone in combination with misoprostol. J Obstet Gynaecol Res. 2018;44(9):1705-1711.
 doi:10.1111/jog.13716.
 6
   Joint Statement on Abortion Access During the COVID-19 Outbreak. March 18, 2020. Available at
 https://www.acog.org/news/news-releases/2020/03/joint-statement-on-abortion-access-during-the-covid-19-
 outbreak.
 7
   Upadhyay UD, Zlidar VM, Foster DG. Interest in self-administration of subcutaneous depot medroxyprogesterone
 acetate in the United States. Contraception. 2016;94(4):303-313. doi:10.1016/j.contraception.2016.06.006.
 8
   Kohn JE, Simons HR, Della Badia L, et al. Increased 1-year continuation of DMPA among women randomized to
 self-administration: results from a randomized controlled trial at Planned Parenthood. Contraception.
 2018;97(3):198-204. doi:10.1016/j.contraception.2017.11.009.
 9
   Burke HM, Chen M, Buluzi M, et al. Effect of self-administration versus provider-administered injection of
 subcutaneous depot medroxyprogesterone acetate on continuation rates in Malawi: a randomised controlled trial.
 Lancet Glob Heal. 2018;6(5):e568-e578. doi:10.1016/S2214-109X(18)30061-5.




                                                                                                  App. 000642
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                               EXHIBIT 32

          2021 FDA Letter to ACOG and SMFM About
                     Mifepristone REMS




                                                                   App. 000643
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                                                                      April 12, 2021

 Maureen G. Phipps, MD, MPH, FACOG
 Chief Executive Officer
 American College of Obstetricians and Gynecologists
 c/o    Rachel Tetlow, Federal Affairs Director
        rtetlow@acog.org

         Skye Perryman, General Counsel
         sperryman@acog.org

 William Grobman, MD, MBA
 President
 Society for Maternal-Fetal Medicine
 w-grobman@northwestern.edu


 Dear Drs. Phipps and Grobman,

 In your letter of April 20, 2020, to former Commissioner Stephen Hahn, you expressed concerns
 about the in-person dispensing requirements for certain prescription drugs during the current
 public health emergency. In my letter to you of March 19, 2021, I indicated that staff in the
 Food and Drug Administration’s (FDA) Center for Drug Evaluation and Research (CDER) were
 evaluating the issues you raised.

 Following up on my March 19, 2021, letter I am writing to report the results of CDER’s review
 and analysis.

 CDER conducted a literature search for studies pertinent to the in-person dispensing requirement
 in the Mifepristone REMS Program during the COVID-19 pandemic. Based on this literature
 search, CDER identified four publications that included relevant clinical outcome data. 1 CDER

 1
  Chong E, et al. Expansion of a Direct-to-Patient Telemedicine Abortion Service in the United States and
 Experience during the COVID-19 Pandemic. Contraception 2021 (accepted manuscript).
 https://www.sciencedirect.com/science/article/pii/S0010782421000913; Kerestes C, et al. Provision of
 medication abortion in Hawai’i during COVID-19: Practical experience with multiple care delivery
 models. Contraception 2021 (accepted manuscript). https://doi.org/10.1016/j.contraception.2021.03.025;
 Aiken A et al. Effectiveness, Safety and Acceptability of No‐test Medical Abortion Provided Via Telemedicine: a
 National Cohort Study. British J Obstet Gynecol 2021. https://obgyn.onlinelibrary.wiley.com/doi/10.1111/1471-
 0528.16668; Reynolds-Wright JJ et al. Telemedicine medical abortion at home under 12 weeks’ gestation:
 a prospective observational cohort study during the COVID-19 pandemic. BMJ Sex Reprod Health 2021.
 https://srh.bmj.com/content/early/2021/02/04/bmjsrh-2020-200976


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 found that although there are limitations to the study designs, the overall findings from these
 studies do not appear to show increases in serious safety concerns (such as hemorrhage, ectopic
 pregnancy, or surgical interventions) occurring with medical abortion as a result of modifying
 the in-person dispensing requirement during the COVID-19 pandemic.

 CDER also reviewed postmarketing adverse events that reportedly occurred from January 27,
 2020 - January 12, 2021, with mifepristone use for medical termination of early pregnancy,
 along with available information about deviations or noncompliance events associated with the
 Mifepristone REMS Program. 2 CDER found that the small number of adverse events reported to
 FDA during the COVID-19 public health emergency (PHE) provide no indication that any
 program deviation or noncompliance with the Mifepristone REMS Program contributed to the
 reported adverse events.

 In summary, provided the other requirements of the Mifepristone REMS Program are met, and
 given that the in-person dispensing of mifepristone for medical termination of early pregnancy
 may present additional COVID-related risks to patients and healthcare personnel because it may
 involve a clinic visit solely for this purpose, CDER intends to exercise enforcement discretion
 during the COVID-19 PHE with respect to the in-person dispensing requirement of the
 Mifepristone REMS Program, including any in-person requirements that may be related to the
 Patient Agreement Form. Further, to the extent all of the other requirements of the Mifepristone
 REMS Program are met, CDER intends to exercise enforcement discretion during the COVID-
 19 PHE with respect to the dispensing of mifepristone through the mail either by or under the
 supervision of a certified prescriber, or through a mail-order pharmacy when such dispensing is
 done under the supervision of a certified prescriber.

 CDER is communicating this decision to the approved application holders subject to the
 Mifepristone REMS Program.

                                                    Sincerely yours,




                                                    Janet Woodcock, M.D.
                                                    Acting Commissioner of Food and Drugs




 2
  See Mifepristone REMS Program at
 https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390. CDER’s
 analysis covers both products that are subject to the Mifepristone REMS Program (Mifeprex and the approved
 generic, Mifepristone Tablets, 200 mg).



                                                                                                App. 000645
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                               EXHIBIT 33

             2021 FDA Letter to Dr. Graham Chelius




                                                                   App. 000646
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             Center for Drug Evaluation and Research             Food and Drug Administration




 December 16, 2021

 Graham Chelius, M.D.
 The Society of Family Planning
 The California Academy of Family Physicians

 Dear Dr. Chelius:

 This letter is to inform you that FDA has completed its review of the Mifepristone Risk Evaluation and
 Mitigation System (REMS) Program.1 The agency has determined that the Mifepristone REMS
 Program continues to be necessary to ensure that the benefits of the drug outweigh the risks. However,
 we have determined that it must be modified to minimize the burden on the health care delivery system
 of complying with the REMS and to ensure that the benefits of the drug outweigh the risks. See 21 USC
 355-1(g)(4)(B). The modifications to the REMS will consist of: (1) removing the requirement that
 mifepristone be dispensed only in certain healthcare settings, specifically clinics, medical offices, and
 hospitals (i.e., the “in-person dispensing requirement”); and (2) adding a requirement that pharmacies
 that dispense the drug be specially certified.

 A REMS Modification Notification letter has been sent to both Applicants subject to the Mifepristone
 REMS Program. The letter describes the modifications and directs the Applicants to submit prior
 approval supplements within 120 days. We have also answered a related citizen petition from the
 American Association of Pro-Life Obstetricians and Gynecologists and
 the American College of Pediatricians. That response will be posted in the public docket (Docket No.
 FDA-2019-P-1534; available at www.regulations.gov).


                                                        Sincerely,
                                                         Patrizia A.         Digitally signed by Patrizia A.
                                                                             Cavazzoni -S
                                                         Cavazzoni -S        Date: 2021.12.16 15:05:01 -05'00'

                                                        Patrizia Cavazzoni, M.D.
                                                        Director
                                                        Center for Drug Evaluation and Research




 1
     We also note your letter of September 29, 2021 to us on this subject.




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                               EXHIBIT 34

   FDA Letter denying in part and granting in part 2016
                    Citizens Petition




                                                                   App. 000648
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Donna J. Harrison, M.D.
Executive Director
American Association of Pro-Life Obstetricians and Gynecologists
P.O. Box 395
Eau Claire, MI 49111-0395

Quentin L. Van Meter, M.D., FCP
President
American College of Pediatricians
P.O. Box 357190
Gainesville, FL 32635-7190
                                                                               December 16, 2021
                  Re: Docket No. FDA-2019-P-1534

Dear Drs. Harrison and Van Meter:

This letter responds to your citizen petition submitted to the Food and Drug Administration (FDA
or Agency) on March 29, 2019, on behalf of the American Association of Pro-Life Obstetricians
and Gynecologists and the American College of Pediatricians (Petition). In the Petition, you
request that FDA: (1) restore and strengthen elements of the Mifeprex regimen and prescriber
requirements approved in 2000, and (2) retain the Mifeprex Risk Evaluation and Mitigation
Strategy (REMS) and continue limiting the dispensing of Mifeprex to patients in clinics, medical
offices, and hospitals, by or under the supervision of a certified prescriber.

Specifically, in your Petition you request that the Agency:

    (1) Restore and strengthen elements of the Mifeprex regimen and prescriber requirements
        approved in 2000, to include the following:

       •    Indications and Usage - Mifeprex, in a regimen with misoprostol, for the termination of
            intrauterine pregnancy, should be limited to 49 days gestation.

       •    Dosage and Administration:
             o Mifeprex should be administered by or under the supervision of a physically present
                and certified physician who has ruled out ectopic pregnancy.

             o The use of Mifeprex and misoprostol for the termination of pregnancy should
               require three office visits by the patient.

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          •   Contraindications - Mifeprex use is contraindicated for patients who do not have
              convenient access to emergency medical care.

          • Adverse Event Reporting - Certified prescribers, emergency medical personnel,
            physicians treating complications, and Danco Laboratories should report to FDA’s
            MedWatch Reporting system any deaths, hospitalizations, blood transfusions, emergency
            room visits, failures requiring surgical completion, ongoing pregnancy, or other major
            complications following the use of Mifeprex and misoprostol.

          • Additional studies - The Mifeprex REMS should require a formal study of outcomes for
            at-risk populations, including: patients under the age of 18; patients with repeat Mifeprex
            abortions; patients who have limited access to emergency room services; and patients
            who self-administer misoprostol.

      (2) Retain the Mifeprex REMS and continue limiting the dispensing of Mifeprex to patients in
          clinics, medical offices, and hospitals, by or under the supervision of a certified prescriber.

We have carefully considered the information submitted in your Petition and other relevant data
available to the Agency. Based on our review of this information, your Petition is granted in part
and denied in part.

I.         BACKGROUND

      A. Mifeprex

On September 28, 2000, FDA approved Mifeprex for the medical termination of intrauterine
pregnancy through 49 days’ pregnancy (new drug application (NDA) 020687). The application
was approved under part 314, subpart H (21 CFR part 314, subpart H), “Accelerated Approval of
New Drugs for Serious or Life-Threatening Illnesses” (subpart H). Specifically, § 314.520 of
subpart H provides for approval with restrictions that are needed to assure the safe use of the drug
product. In accordance with § 314.520, FDA restricted the distribution of Mifeprex as specified in
the September 2000 approval letter.1

Subsequently, Mifeprex was identified as one of the products that was deemed to have in effect an
approved REMS under the Food and Drug Administration Amendments Act of 2007 (FDAAA)
because on the effective date of Title IX, subtitle A of FDAAA (March 28, 2008), Mifeprex had in
effect elements to assure safe use.2 Accordingly, in June 2011, we approved a REMS for
Mifeprex, consisting of a Medication Guide, elements to assure safe use (ETASU), an
implementation system, and a timetable for submission of assessments of the REMS.

Elements to assure safe use included: (1) prescriber certification (ETASU A); (2) that Mifeprex is
dispensed only in certain healthcare settings by or under the supervision of a certified prescriber

1
    See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687appltr.pdf.
2
    73 FR 16313 (Mar. 27, 2008).



                                                       2
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(ETASU C); and (3) that Mifeprex is dispensed only with documentation of safe use conditions
(ETASU D). Documentation of safe use conditions consists of a Patient Agreement Form between
the prescriber and the patient indicating that the patient has received counseling from the prescriber
regarding the risk of serious complications associated with Mifeprex.

On March 29, 2016, we approved an efficacy supplement (S-020) to NDA 020687 for Mifeprex
submitted by the applicant Danco Laboratories, LLC (S-020 efficacy supplement). The approval
included changes in the dose of Mifeprex and the dosing regimen for taking Mifeprex and
misoprostol (including the dose of misoprostol and a change in the route of misoprostol
administration from oral to buccal (in the cheek pouch); the interval between taking Mifeprex and
misoprostol; and the location at which the patient may take misoprostol). The approval also
modified the gestational age up to which Mifeprex has been shown to be safe and effective, as well
as the process for follow-up after administration of the drug.

Specifically, the following changes, among others, were made as part of the 2016 approval:3

    •   Revised the dosing regimen to consist of 200 mg of Mifeprex taken by mouth, followed in
        24-48 hours by 800 mcg of misoprostol taken buccally (in the cheek pouch). This differs
        from the originally approved dosing regimen of 600 mg of oral Mifeprex followed 48 hours
        later by 400 mcg of oral misoprostol.

    •   Revised the indication for use of Mifeprex, in a regimen with misoprostol, to extend the
        maximum gestational age for the medical termination of intrauterine pregnancy from 49
        days to 70 days.

    •   Reduced the number of office visits by the patient under the approved regimen from three
        to one.

    •   Replaced the term “physician” with the term “healthcare provider.”

In addition, after reviewing the data and information submitted by the applicant in the S-020
efficacy supplement, and after taking into consideration the safety data that had become available
since the initial approval of Mifeprex in 2000, we determined the Mifeprex REMS continued to be
necessary to ensure the benefits of the product outweigh the risks. However, we approved
modifications to the Mifeprex REMS that reflected the changes approved in the efficacy
supplement. These changes to the REMS included, among others:4

    •   Updating the Prescriber Agreement Form to reflect the revised indication and dosing
        regimen.

    •   Removing the Medication Guide as a REMS element (but retaining the Medication Guide
        as labeling).


3
  See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2016/020687Orig1s020ltr.pdf and
https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
4
  See https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf.


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    •    Removing the requirement that certified prescribers report certain enumerated adverse
         events to the applicant (specifically, any hospitalization, transfusion or other serious
         adverse events), but retaining the requirement that certified prescribers report all deaths to
         the sponsor.

Under the March 2016 approval, the Mifeprex REMS also continued to require that Mifeprex be
dispensed to patients only in certain healthcare settings, specifically, clinics, medical offices, and
hospitals, by or under the supervision of a certified prescriber.5

    B. Generic Version of Mifeprex

On April 11, 2019, we approved GenBioPro, Inc.’s generic version of Mifeprex, Mifepristone
Tablets, 200 mg (abbreviated new drug application (ANDA) 091178). This action took place after
this Petition was submitted to the Agency. As required by 21 CFR 314.94(a)(8), GenBioPro’s
approved generic version of Mifeprex, Mifepristone Tablets, 200 mg, has the same labeling (with
certain permissible differences) as the brand product it references, Mifeprex. Accordingly,
although we refer to the Mifeprex labeling in several sections of this response, our discussions in
this response apply equally to both the NDA and the generic product labeling, unless otherwise
specifically noted.6

GenBioPro’s generic version of Mifeprex is subject to the same ETASU as its listed drug (21
U.S.C. -1(i)). At the time we approved GenBioPro’s generic version of Mifeprex, that ANDA
product was required to use a single, shared system for the ETASU with the brand drug product,
Mifeprex, unless the requirement was waived by FDA (21 U.S.C. 355-1(i)). FDA did not waive
this requirement. Accordingly, at the same time that FDA approved GenBioPro’s generic version
of Mifeprex in 2019, FDA approved a supplemental new drug application (sNDA) for Mifeprex,
approving modifications to the existing, approved REMS for Mifeprex to establish a single, shared
system REMS for mifepristone products for the medical termination of intrauterine pregnancy
through 70 days gestation (referred to as the Mifepristone REMS Program). In establishing the
single, shared system REMS in 2019, no substantive changes were made to the ETASU in the
March 2016 Mifeprex REMS. References to the REMS in this response refer to the Mifepristone
REMS Program established in 2019, unless otherwise noted.

    C. In-Person Dispensing Requirement During the COVID-19 PHE



5
  See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2016/020687Orig1s020ltr.pdf.
6
  We note that Korlym and the generic version of Korlym (Mifepristone Tablets, 300 mg) contain the same
active ingredient – mifepristone - as Mifeprex and the generic version of Mifeprex (Mifepristone Tablets, 200
mg). Although these drug products contain the same active ingredient, their intended uses target different
receptors, and the products have different strengths and use different dosing regimens. Korlym and the
generic version of Korlym are approved for the control of hyperglycemia (high blood sugar levels) due to
hypercortisolism in adult patients with endogenous Cushing’s syndrome who have type 2 diabetes or glucose
intolerance, and have failed surgery or are not candidates for surgery. References to mifepristone in this
response refer to the use of mifepristone for the medical termination of intrauterine pregnancy through 70
days gestation, unless otherwise noted.




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FDA has recognized that during the COVID-197 public health emergency (PHE),8 certain REMS
requirements for various products may be difficult to comply with because patients may need to
avoid public places and patients suspected of having COVID-19 may be self-isolating and/or
subject to quarantine. The Agency has also received queries concerning products with REMS that
have ETASUs, including REMS with ETASUs that restrict distribution, and the impact of such
ETASUs on patient access when patients self-isolate or are subject to quarantine.

In April 2021, FDA communicated its intent to exercise enforcement discretion during the
COVID-19 PHE regarding the requirement in the Mifepristone REMS Program that mifepristone
used for medical termination of intrauterine pregnancy through 70 days gestation be dispensed to
patients by or under the supervision of a certified prescriber only in certain healthcare settings,
specifically clinics, medical offices, and hospitals (referred to as the “in-person dispensing
requirement”).

Specifically, FDA communicated that provided all other requirements of the Mifepristone REMS
Program are met, the Agency intends to exercise enforcement discretion with respect to the in-
person dispensing requirement of the Mifepristone REMS Program, including any in-person
requirements that may be related to the Patient Agreement Form, during the COVID-19 PHE. This
determination, which FDA made on April 12, 2021, was effective immediately. We also note that
from July 13, 2020 to January 12, 2021, per a court order, FDA was enjoined from enforcing the
in-person dispensing requirement of the Mifepristone REMS Program.9

Further, and as we also communicated on April 12, 2021, to the extent all of the other requirements
of the Mifepristone REMS Program are met, the Agency intends to exercise enforcement discretion
during the COVID-19 PHE with respect to the dispensing of Mifeprex or the approved generic
version of Mifeprex, Mifepristone Tablets, 200 mg, through the mail, either by or under the
supervision of a certified prescriber, or through a mail-order pharmacy when such dispensing is
done under the supervision of a certified prescriber.

FDA’s intent to exercise enforcement discretion with respect to these requirements during the
COVID-19 PHE was the result of a thorough scientific review by experts within FDA’s Center for
Drug Evaluation and Research (CDER), who evaluated relevant information, including available
clinical outcomes data and adverse event reports.

    D. Minor Modification



7
  The virus has been named “SARS-CoV-2” and the disease it causes has been named “Coronavirus Disease
2019” (COVID-19).
8
  Secretary of Health and Human Services, Determination that a Public Health Emergency Exists (originally
issued Jan. 31, 2020, and subsequently renewed), available at
https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx.
9
  Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 233 (D. Md. July 13, 2020), order
clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020) (preliminarily enjoining FDA from enforcing the in-
person dispensing requirement and any other in-person requirements of the Mifepristone SSS REMS); FDA v.
Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (Jan. 12, 2021) (staying the preliminary injunction
imposed by the District Court).


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In response to a request submitted by the applicants, FDA approved a minor modification to the
Mifepristone REMS Program on May 14, 2021. This minor modification revised the Patient
Agreement Form to use gender neutral language. Specifically, the pronouns “she” and “her” in the
Patient Agreement Form were replaced with “the patient.” The minor modification also included
revisions to the REMS document to be consistent with the revisions to the Patient Agreement
Form. These changes did not affect the substance of the Patient Agreement Form, the REMS
document, or the Mifepristone REMS Program.

     E. Review of the Mifepristone REMS Program

In 2021, FDA also undertook a full review of the Mifepristone REMS Program.10 In conducting
this review, FDA reviewed multiple different sources of information, including published
literature, safety information submitted to the Agency during the COVID-19 PHE, FDA Adverse
Event Reporting System (FAERS) reports, the first REMS assessment report for the Mifepristone
REMS Program, and information provided by advocacy groups, individuals, and the Plaintiffs in
ongoing litigation, as well as information submitted by the sponsors of the NDA and the ANDA
(together, the Applicants). As discussed in more detail below, based on our review of this
information, FDA has determined that certain elements of the Mifepristone REMS Program remain
necessary to assure the safe use of mifepristone for medical termination of intrauterine pregnancy
through 70 days gestation; and therefore, the Mifepristone REMS Program continues to be
necessary to ensure the benefits outweigh the risk. Specifically, we find that the healthcare
provider certification and dispensing of mifepristone to patients with evidence or other
documentation of safe use conditions continue to be necessary components of the REMS to ensure
the benefits of mifepristone outweigh the risks for this indication.

We also find that the in-person dispensing requirement is no longer necessary to assure the safe use
of mifepristone for medical termination of intrauterine pregnancy through 70 days gestation. We
have concluded that mifepristone will remain safe and effective for medical abortion if the in-
person dispensing requirement is removed, provided all the other requirements of the REMS are
met and pharmacy certification is added.11 Removing the in-person dispensing requirement will
render the REMS less burdensome to healthcare providers and patients, and provided all other
requirements of the REMS are met, including the additional requirement for pharmacy
certification, the REMS will continue to ensure that the benefits of mifepristone for medical
abortion outweigh the risks. Accordingly, today we are sending a REMS Modification
Notification letter to both Applicants in the Mifepristone REMS Program. As stated in that letter,
FDA has concluded that a modification is necessary and must include the following changes:

     •   Removing the requirement that mifepristone be dispensed only in certain healthcare
         settings, specifically clinics, medical offices, and hospitals.

10
   We note that the Agency is in litigation regarding the Mifepristone REMS Program and committed to
conducting a full review of the Mifepristone REMS Program, including reviewing any relevant data and
evidence submitted to the Agency by the Plaintiffs in that litigation (Chelius et al v. Becerra, Joint Mot. to
Stay Case Pending Agency Review, ECF No. 148, May 7, 2021, Civ. No. 1:17-00493 (D. Haw.)).
11
   Although we have determined that the Mifepristone REMS Program must be modified to add a requirement
for pharmacy certification, this was not raised in your Petition and therefore is not discussed further in this
response.


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          •   Adding a requirement that pharmacies that dispense the drug be specially certified.


    II.       DISCUSSION OF ISSUES RAISED

                 A. Mifeprex Regimen

              1. Indications and Usage

    In the Petition, you ask FDA to restore and strengthen elements of the Mifeprex regimen
    and prescriber requirements approved in 2000, to limit Mifeprex, in a regimen with
    misoprostol, for the termination of intrauterine pregnancy, to 49 days gestation (Petition at
    1 and 3). For the reasons explained below, we deny this request.

    Citing to a 2011 study and a practice bulletin issued by the American College of
    Obstetricians and Gynecologists (ACOG), you state that medical abortion12 regimens
    demonstrate an increase in complications and failures, including serious risks of
    hemorrhage, infection, and ongoing pregnancy, after 49 days gestation (Petition at 3-4).

    Our review of the S-020 efficacy supplement in 2016 concluded that Mifeprex, in a
    regimen with misoprostol, is safe and effective for medical termination of intrauterine
    pregnancy through 70 days gestation.13 Complete medical abortion rates from the pivotal
    clinical trials relied on for the initial approval of Mifeprex (with an indication for medical
    termination of intrauterine pregnancy through 49 days gestation) were 92.1 percent and
    95.5 percent in the United States and French trials, respectively.14 The studies reviewed in
    support of the 2016 approval for Mifeprex (with an indication for medical termination of
    intrauterine pregnancy through 70 days gestation) showed comparable efficacy. The 2016
    Clinical Review of the S-020 efficacy supplement summarized clinical outcomes and
    adverse effects from 22 studies (7 in the United States and 15 from outside the United
    States) through 70 days gestation, using the currently approved regimen of 200 mg oral
    mifepristone with 800 mcg buccal misoprostol. The ranges of complete medical abortion
    rates calculated by the clinical reviewer were 93.2 percent to 98.7 percent in the United
    States studies, and 92 percent to 98 percent in the non-United States studies.15

    Serious adverse events associated with the use of mifepristone through 70 days gestational
    age are rare. Per the current mifepristone labeling, the rates of serious adverse events are
    low: transfusions are 0-0.1 percent, sepsis is less than 0.01 percent, hospitalization related
    to medical abortion is 0-0.7 percent, and hemorrhage is 0.1 percent.16 As discussed

    12
       In this response, the terms “medical abortion” and “medication abortion” both refer to the use of
    mifepristone, in a regimen with misoprostol, for the medical termination of intrauterine pregnancy.
    13
        See 2016 Clinical Review available at
    https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf, at 32-38 and 47-47.
    14
       See 1999 Medical Officer’s Review, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/nda/2000/20687_Mifepristone_medr_P1.pdf, at 11 (Table 1)
    and 16.
    15
       See 2016 Clinical Review, supra n. 13, at 28-31.
    16
       See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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   throughout this response, the benefit/risk assessment supported our 2016 conclusion that
   the product is safe and effective through 70 days gestation.

   In support of your assertion that medical abortion demonstrates an increase in
   complications after 49 days gestation, you cite to Mentula, et al.,17 a register-based,
   retrospective cohort study that included 18,248 women in Finland who underwent medical
   abortion between January 1, 2003, and December 31, 2006 (Petition at 3). As an initial
   matter, we note that the Mentula study was primarily designed to assess the immediate
   adverse events following medical abortion in the second trimester (13 to 24 gestational
   weeks as defined by the authors) and then compare those events to those identified with
   medical abortion in the first trimester (up to 12 gestational weeks as defined by the
   authors). The study was not designed to compare rates of complications across gestational
   weeks within the first trimester. It is true that the Mentula publication includes information
   on the percentages of women who had surgical evacuation following medical abortion and
   the percentages of women who had infection following medical abortion, based on weekly
   gestational age, from 5 weeks to 20 weeks gestation.18 However, the data in the Mentula
   study are relatively old (2003-2006); in our 2016 review of the S-020 efficacy supplement,
   we conducted an extensive review of more recent data19 and concluded that Mifeprex, in a
   regimen with misoprostol, is safe and effective for medical termination of intrauterine
   pregnancy through 70 days gestation.

   You also cite to ACOG Practice Bulletin No. 143, which states: “the risk of clinically
   significant bleeding and transfusion may be lower in women who undergo medical abortion
   of gestations up to 49 days compared with those who undergo medical abortion of
   gestations of more than 49 days.”20 This statement is based on a 1998 publication which
   evaluated patients undergoing medical abortion with mifepristone 600 mg and then oral
   misoprostol 400 mcg two days later.21 The regimen studied in this 1998 publication is not
   the currently approved regimen for mifepristone in the United States. Further, ACOG
   Practice Bulletin No. 143 has been withdrawn and replaced by Practice Bulletin No. 225,
   which was published in October 2020 and no longer contains this statement.22

   You also state that the failure rate of the approved regimen (which you refer to as the
   “buccal misoprostol regimen”) increases as the gestational age increases, especially at

   17
      Mentula MJ, Niinimake M, Suhonen S, et al. Immediate Adverse Events After Second Trimester Medical
   Termination of Pregnancy: Results of a nationwide registry study, Human Reproduction. 2011;26(4):927-932.
   18
      Id. at Fig. 2 and Fig. 3. Surgical intervention after medical abortion and infection after medical abortion are
   two distinct adverse events. The calculation of abortion completion rates accounts for the need for surgical
   intervention. In clinical studies we reviewed, success of medical abortion was defined as the complete
   expulsion of the products of conception without the need for surgical intervention.
   19
      See 2016 Cross-Discipline Team Leader Review, available at
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020CrossR.pdf, at 37 (Table 4).
   20
      Petition at 3. See Medical Management of First-Trimester Abortion. ACOG Practice Bulletin Number 143.
   March 2014 (Reaffirmed 2016. Replaces Practice Bulletin Number 67, October 2005); Obstet Gynecol. 2014
   Mar;123(3):676-692 at 680.
   21
      Spitz I, Bardin CW, Benton L, Robbins A. Early pregnancy termination with mifepristone and misoprostol
   in the United Sates, NEJM. 1998;338 (18):1241-1247.
   22
      See ACOG Practice Bulletin No. 225. Medication Abortion Up to 70 Days of Gestation. Obstetrics and
   Gynecology 2020; 136(4); e31 to e47.


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   gestational ages greater than 49 days, relying on a 2015 meta-analysis,23 and that the
   gestational limit should not have been increased (Petition at 3-4). We agree that the failure
   rate of medical abortion regimens, including the currently approved regimen, generally
   increases with increasing gestational age. However, the increase in failure rate with each
   incremental week of gestation, as described in approved mifepristone labeling and in this
   2015 meta-analysis, is small, and we believe that the benefit/risk profile for medical
   termination of intrauterine pregnancy between 49 and 70 days gestation remains acceptable.

   For these reasons, we deny your request that FDA limit mifepristone, in a regimen with
   misoprostol for the termination of intrauterine pregnancy, to 49 days gestation.

        2. Dosage and Administration

                a. Prescriber Qualifications

   You state that FDA should limit the “ability” to prescribe and dispense Mifeprex to
   qualified, licensed physicians, rather than permitting non-physicians to apply to be certified
   prescribers, because of the regimen’s serious risks and because physicians are better trained
   to diagnose patients who have contraindications to Mifeprex and to verify gestational age
   (Petition at 4). We do not agree.

   Healthcare providers who are licensed to prescribe can become certified in REMS
   programs if they are able to meet the applicable REMS requirements. To become certified
   to prescribe mifepristone under the Mifepristone REMS Program, the prescriber must
   review the prescribing information for mifepristone and complete a Prescriber Agreement
   Form. By signing the form, the prescriber agrees that they meet certain qualifications,
   including the ability to date pregnancies accurately and to diagnose ectopic pregnancies.
   These healthcare providers must also: (1) be able to provide any necessary surgical
   intervention or have made arrangements for others to provide for such care; or (2) be able
   to assure patient access to medical facilities equipped to provide blood transfusions and
   resuscitation, if necessary.24

   In our review of the S-020 efficacy supplement in 2016, we determined that available data
   support that Mifeprex is safe and effective when prescribed by midlevel providers, such as
   physician assistants and nurse practitioners, as well as by physicians.25 Our 2016 review
   included four studies that evaluated the safety and efficacy of medical abortion when
   performed by non-physician healthcare providers. Two trials evaluated the currently




   23
      Petition at 4, fn. 6 (citing Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical
   Abortion, Obstet. Gynecol 126 (1) July 2015 12-21).
   24
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf; see also
   https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   25
      See 2016 Clinical Review, supra n. 13, at 79; see also 2016 Cross-Discipline Team Leader Review, supra n.
   19, at 17-18. We also note that in most states, midlevel clinicians, such as physician assistants and nurse
   practitioners, are licensed to prescribe medications.


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   approved Mifeprex and buccal misoprostol regimen (Olavarrieta and Kopp Kallner);26,27
   one trial studied a regimen using vaginal misoprostol (Warringer);28 a fourth study did not
   specify the route of misoprostol administered (Puri).29 Olavarrieta reported a completion
   rate of 97.9 percent when medical abortion was provided by nurses as compared with 98.4
   percent with physicians. Kopp Kallner reported a completion rate of 99 percent with
   certified nurse midwives versus 97.4 percent with physicians. Warriner reported an
   abortion completion rate of 97.4 percent with nurses as compared with 96.3 percent with
   physicians. Puri reported an abortion completion rate of 96.8 percent when the service was
   provided by nurse-midwives as compared with 97.4 percent in the “standard care” group.30
   Our 2016 review also included a systematic review of six controlled clinical studies by
   Renner;31 the authors concluded that the evidence “indicates that trained mid-level
   providers may effectively and safely provide first trimester surgical and medical
   termination of pregnancy services.” Additionally, Barnard et al., in a Cochrane systematic
   review, assessed the safety and effectiveness of abortion procedures administered by mid-
   level providers (nurse practitioners, midwives, other non-physician healthcare providers)
   compared to doctors.32 The authors concluded, based in part on two of the studies that we
   had reviewed in 2016,33 that there was no statistically significant difference in the risk of
   failure for medical abortions performed by mid-level providers compared with doctors.

   We also believe that the identification of patients for whom the use of mifepristone is
   contraindicated can be done by mid-level healthcare providers, as well as physicians.
   Mifepristone in a regimen with misoprostol for medical termination of intrauterine
   pregnancy through 70 days gestation is contraindicated in patients with any of the
   following conditions:34

                •    Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass

   26
      Olavarrieta CD, Ganatra B, Sorhaindo A, et al. Nurse versus Physician-provision of Early Medical
   Abortion in Mexico: A Randomized Controlled Non-Inferiority Trial. Bull World Health Organ.
   2015;93:249-258.
   27
      Kopp Kallner H, Gomperts R, Salomonsson E, et al. The efficacy, safety and acceptability of medical
   termination of pregnancy provided by standard care by doctors or by nurse-midwives: a randomised
   controlled equivalence trial. BJOG. 2015; 122: 510-517.
   28
      Warriner IK, Wang D, et al. Can midlevel health-care providers administer early medical abortion as safely
   and effectively as doctors? A randomized controlled equivalence trial in Nepal. Lancet. 2011; 377: 1155-61.
   29
      Puri M, Tamang A, Shrestha P, et al. The role of auxiliary nurse-midwives and community health
   volunteers in expanding access to medical abortion in rural Nepal. Reproductive Health Matters. 2015; 22(44)
   94-103.
   30
      2016 Clinical Review, supra n. 13, at 43.
   31
      Renner RM, Brahmi D, Kapp N. Who can provide effective and safe termination of pregnancy care? A
   systematic review. BJOG 2013 Jan;120(1):23-31.
   32
      Barnard S, Kim C, Park MN, Ngo TD. Doctors or mid-level providers for abortion (Review). Cochran
   Database of Systematic Reviews. 2015, Issue 7.
   33
      Of the medical abortion studies reviewed by Barnard et al (Id.), two were reviewed by the Agency as part of
   the review of the S-020 supplement in 2016. See Warriner et al (supra n. 28) and Kopp Kallner et al (supra n.
   27). The third used a different dose of misoprostol than the currently approved regimen. See Jejeebhoy SJ,
   Kalyanwalaa S, Zaviera AJF, Kumara R, Mundleb S, Tankc J, et al. Feasibility of expanding the medication
   abortion provider based in India to include avurvedic physicians and nurses. International Perspectives on
   Sexual and Reproductive Health 2012;38(3)133-42)
   34
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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                •   An intrauterine device in place
                •   Chronic adrenal failure
                •   Concurrent long-term corticosteroid therapy
                •   History of allergy to mifepristone, misoprostol, or other prostaglandins
                •   Hemorrhagic disorder or concurrent anticoagulant therapy
                •   Inherited porphyrias

   These contraindications can be assessed by trained healthcare providers who prescribe
   mifepristone by obtaining a medical history, from medical records, and/or from physical
   examination or ultrasound if appropriate. We continue to believe that available data
   support the conclusion that mid-level healthcare providers, as well as physicians, possess
   the clinical and counseling skills necessary to provide medical abortion. We note this is
   consistent with ACOG’s statement in its current practice bulletin that “[i]n addition to
   physicians, advanced practice clinicians, such as nurse-midwives, physician assistants, and
   nurse practitioners, possess the clinical and counseling skills necessary to provide first-
   trimester medical abortion.”35 Further, if necessary, ultrasound training and certification is
   available to nurse practitioners and physician assistants, as well as physicians.36 In sum,
   available information supports that mid-level healthcare providers as well as physicians can
   determine whether mifepristone is an appropriate treatment for a particular patient and
   dispense it.

   You also assert that FDA should strengthen the requirement that providers accurately assess
   the duration of the pregnancy by mandating that gestational age be assessed by ultrasound
   (Petition at 5). We refer you to FDA’s 2016 Response to the citizen petition submitted to
   Docket No. FDA-2002-P-0364 (the “2016 CP Response”), where FDA stated that the
   determination of gestational age does not always require an ultrasound. In the 2016 CP
   Response, FDA stated it had “determined that it was inappropriate for us to mandate how
   providers clinically assess women for duration of pregnancy and for ectopic pregnancy.
   These decisions should be left to the professional judgment of each provider, as no method
   (including TVS [transvaginal ultrasound]) provides complete accuracy. The approved
   labeling for Mifeprex recommended ultrasound evaluation as needed, leaving this decision
   to the judgment of the provider.”37

   In the Petition, you reference the Prescriber Agreement Form, in which the provider must
   attest they have the ability to: (1) accurately assess the duration of the pregnancy; (2)
   diagnose ectopic pregnancies; and (3) provide surgical intervention if needed (or have made
   plans to provide such care through others), and you state that a provider who does not
   physically meet with and examine a patient, but simply consults with the patient over the
   Internet, is not capable of fulfilling these requirements, or of ruling out additional

   35
      ACOG Practice Bulletin No. 225, supra n. 22.
   36
      American Institute of Ultrasound in Medicine. Accessed November 26, 2021.
   https://www.aium.org/officialStatements/70.
   37
      FDA’s citizen petition response dated March 29, 2016, to the citizen petition submitted by the American
   Association of Pro-Life Obstetricians and Gynecologists, the Christian Medical and Dental Association, and
   Concerned Women for America on August 20, 2002, Docket No. FDA-2002-P-0364 at 18. See
   https://www.regulations.gov/document/FDA-2002-P-0364-0002.


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   contraindications (Petition at 5-6). You state that FDA should require certified prescribers
   to be physically present when Mifeprex is dispensed so that they can appropriately examine
   patients and rule out contraindications to the use of Mifeprex (Petition at 4).

   Certified prescribers do not have to be physically present with the patient as long as they
   have confirmed the patient’s gestational age and intrauterine pregnancy. As noted above,
   in the 2016 CP response, FDA “determined that it was inappropriate for us to mandate how
   providers clinically assess women for duration of pregnancy and for ectopic pregnancy.”38
   Moreover, the evaluation of patients for contraindications to medical abortion does not
   necessarily require direct physical contact with the certified prescriber and can be done in
   different types of healthcare settings. A certified prescriber can also review the Patient
   Agreement Form39 with the patient, fully explain the risks of the mifepristone treatment
   regimen, and answer any questions, as in any consent process, without physical proximity.
   See also section II.B.1.c (ETASU C – In-person Dispensing).

   With respect to providing surgical intervention in cases of incomplete abortion or severe
   bleeding and assuring patient access to medical facilities equipped to provide blood
   transfusions and resuscitation (if necessary), the Prescriber Agreement Form does not
   reflect a requirement that the certified prescriber must provide such care personally; rather,
   the prescriber must agree that they have the ability to provide such care or that they have
   made plans to provide such care through others, and that they have the ability to assure the
   patient has access to appropriate medical facilities. It is common practice for healthcare
   providers to provide emergency care coverage for other healthcare providers’ patients, and
   in many places, hospitals employ “hospitalists” to provide care to all hospitalized patients.
   We also note ACOG’s statement that “[i]n rare cases, a patient who undergoes a medication
   abortion may need to obtain an additional intervention, such as uterine aspiration. If the
   prescribing clinician does not perform the intervention, it is medically appropriate to
   provide a referral.”40

   For these reasons, we deny your request that FDA limit the “ability” to prescribe and
   dispense mifepristone to licensed physicians, and we deny your request that FDA require
   certified providers to physically meet with and examine the patient.

               b. Office Visits and Administration of Mifepristone/Misoprostol

   In the Petition, you state that the use of mifepristone and misoprostol should require three
   office visits by the patient (Petition at 7). In support of this position, you state the
   following:

        •   Drug-induced abortion is contraindicated for patients who are not available for
            follow-up contact or evaluation (Petition at 10).



   38
      Id.
   39
      See https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   40
      ACOG Practice Bulletin Number 225 supra n. 22.


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        •   Abortion complications are more frequent when women abort at home and more
            healthcare oversight is needed (Petition at 8).

        •   Home administration of misoprostol does not permit healthcare providers to control
            when their patients take misoprostol and without monitoring:

                o a patient may take buccal misoprostol before the minimum 24-hour period
                  after taking Mifeprex, which leads to a significantly increased failure rate
                  (Petition at 7).

                o a patient may swallow misoprostol rather than administer it buccally, and
                  oral administration is not as effective as buccal administration in ending the
                  pregnancy (Petition at 7).

        •   Because providers may now “confirm” that a patient’s drug-induced abortion was
            successful without a clinic visit, this increases the threat that Rh-negative patients
            will not receive Rhogam, which is necessary to prevent serious risks in subsequent
            pregnancies (Petition at 7 and 9).

   We address each of these points below.

                              i. Follow-up Care

   The safe use of mifepristone when used in the approved regimen with misoprostol is not
   contingent on a specific number of office visits being made by the patient undergoing a
   medical termination of pregnancy. The 2016 labeling change for Mifeprex regarding post-
   treatment assessment, including the change to the approved regimen to reduce the number
   of offices visits from three to one, was based on evidence reviewed in the S-020 efficacy
   supplement. We concluded, upon reviewing the data, that three office visits were not
   necessary to assure the safe use of Mifeprex.41

   In your Petition, you point to statements by ACOG that medical abortion is contraindicated
   for patients who are not available for follow-up contact or evaluation (Petition at 8, 10).
   The ACOG statements you point to are from ACOG Practice Bulletin No. 143, which has
   been withdrawn and replaced by Practice Bulletin No. 225.42 Neither of the statements
   from the withdrawn Practice Bulletin nor Practice Bulletin No. 225 contraindicate medical
   abortion in women who are not available for an in-clinic follow-up visit. The current
   ACOG recommendations indicate that for medical abortion, “[f]ollow-up can be performed
   by telephone at 1 week, with subsequent at-home urine pregnancy testing at 4 weeks after
   treatment, which avoids the need for the patient to go to a facility.”43 The patient and their
   healthcare provider should determine the best option for follow-up as part of the
   consultation and consent process.44 As reflected in ACOG’s guidance, appropriate follow-

   41
      See 2016 Clinical Review, supra n. 13, at 44 and 64-67.
   42
      ACOG Practice Bulletin Number 225, supra n. 22.
   43
      Id.
   44
      Id.


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   up after medical termination of a pregnancy may be accomplished in multiple ways and not
   all require an in-clinic visit.

   You also question findings in multiple studies that evaluated the effectiveness of
   semiquantitative urine pregnancy tests (multi-level pregnancy tests, or MLPT) and low
   sensitivity urine pregnancy tests (LSPT) to rule out on-going pregnancies and assessed the
   ability of patients to self-administer these tests and interpret the test results (Petition at 9-
   10). Overall, these studies concluded that in the majority of women, it is feasible to use a
   simplified test to determine if further follow-up is necessary. A recent systematic review
   and meta-analysis by Baiju assessed the effectiveness and safety of self-assessment of the
   outcome of medical abortion completed at home versus routine clinic follow-up after
   medical abortion, concluding self-assessment was not inferior to routine clinic follow-up.45
   We note that this is consistent with current ACOG recommendations, which state that
   “follow-up can be performed by telephone at 1 week, with subsequent at-home urine
   pregnancy testing at 4 weeks after treatment, which avoids the need for the patient to go to
   a facility.”46

   You also assert that it is important for a patient to be under observation after taking
   misoprostol to ensure that they are appropriately monitored and provided sufficient pain
   medication (Petition at 8). You cite the World Health Organization (WHO)’s statement in
   guidance that up to 90 percent of women will abort within 4-6 hours after taking
   misoprostol; you further state that the 2000 regimen permitted patients to be in the clinic
   during this time period (Petition at 8). Your reference to the WHO guidance document47
   appears to be out of context. The WHO guidance takes no position on whether women
   should return to and remain in the clinic during a follow-up visit for purposes of taking
   misoprostol; in fact, it explicitly recognizes that post-abortion care may not require a
   follow-up visit if the patient is adequately counseled.48 In the United States, and as
   reflected in the approved labeling, medical termination of pregnancy usually involves
   patients terminating the pregnancy at home, with appropriate follow-up that may not
   include a return visit.

                              ii. At Home Medical Abortion and Healthcare Oversight

   In addition, you cite a 2018 study to support your statement that abortion complications are
   more frequent when women abort at home (Petition at 8). The study evaluated
   complications following medical abortion (both less than 12 weeks and more than 12 weeks
   gestation) as well as following surgical abortion, at one hospital in Sweden between 2008
   and 2015.49 For the years 2008 to 2010, data were collected retrospectively; for the years

   45
      Baiju, N, Acharya, G, D’Antonio, F, et al. 2019. Effectiveness, safety and acceptability of self-assessment
   of the outcome of first-trimester medical abortion: a systematic review and meta-analysis. BJOG; 126:1536-
   1544.
   46
      ACOG Practice Bulletin Number 225, supra n. 22.
   47
      World Health Organization, Safe Abortion: technical and policy guidance for health systems – 2nd edition.
   2012. Page 45 and Section 2.2.2.1 Medication for pain.
   48
      Id. at Section 2.3 Post-abortion care and follow-up, at 52.
   49
      Carlsson I, Breding K, Larsson PG, 2018, Complications Related to Induced Abortion: A Combined
   Retrospective and Longitudinal Follow-up Study, BMC Women’s Health 18:158.


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   2011 to 2015, data were collected prospectively. In this study, medical abortions after 12
   gestational weeks all occurred at the hospital. The authors report that, among medical
   abortions less than 12 weeks, the complication frequency increased from 5.4 percent (2008
   to 2010) to 8.2 percent (2015). However, the authors also compared the complications
   related to medical abortions that occurred at less than 12 gestational weeks between “at
   home” abortions (managed as an outpatient) and “at the hospital” abortions, in 2015 and
   found no statistically significant difference (8.2 percent “at home” versus 8.0 percent at the
   hospital). For pregnancies less than or equal to 9 gestational weeks, the rates are similar for
   the “at home” group (10.0 percent) and the “at the hospital” group (9.3 percent). Notably,
   as part of our review and approval of the S-020 efficacy supplement in 2016, we assessed
   serious adverse events by gestational age, including hospitalizations, serious infection
   requiring hospitalization or intravenous antibiotics, bleeding requiring transfusion, and
   ectopic pregnancy, as reported in the literature submitted by the Applicant. We concluded
   that these serious adverse events are rarely reported in the literature and that the regimen of
   mifepristone 200 mg followed by buccal misoprostol 800 mcg in 24-48 hours is safe to
   approve for use through 70 days gestation.50

   You also state that medical abortion is a longer process than surgical abortion and that it
   requires more attention and care from healthcare providers (Petition at 10). We agree that
   medical abortion can be a longer process than surgical abortion,51 but we disagree that
   medical abortion always requires in-person follow-up with a healthcare provider. Not all of
   the complications associated with medical abortion necessarily require more intensive
   management from healthcare providers during a follow-up visit. The question of whether
   to include an in-person follow-up visit should be discussed by the healthcare provider and
   the patient. We have concluded that medical abortions are safe and effective for patients
   who are appropriate candidates and reducing the number of clinic visits does not
   compromise patient safety.

   The current approved labeling for mifepristone for medical termination of pregnancy states
   that complete pregnancy termination “can be confirmed by medical history, clinical
   examination, human Chorionic Gonadotropin (hCG) testing, or ultrasonographic scan.”
   Not all these modalities require an in-clinic assessment during a follow-up visit. Our
   review of the S-020 efficacy supplement concluded that “available data support … that
   there are a variety of follow-up modalities that can adequately identify the need for
   additional intervention.”52 We note that these findings are also consistent with ACOG
   guidelines, which state that “[r]outine in-person follow-up is not necessary after
   uncomplicated medication abortion” and recommend several methods for post-treatment
   follow-up, as appropriate, including serial serum hCG testing alone or telephone follow-up
   at one week after treatment followed by urine pregnancy testing at four weeks after
   treatment.53 Because there is more than one effective method to detect an on-going
   pregnancy, we conclude that the way in which post-treatment follow-up is performed may
   be determined by the healthcare provider and the patient.

   50
      2016 Clinical Review, supra n. 13, at 51-57.
   51
      See ACOG Practice Bulletin Number 225, supra note 22.
   52
      2016 Cross Discipline Team Leader Review, supra n. 19, at 17.
   53
      ACOG Practice Bulletin Number 225, supra note 22.


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                     iii.     Misoprostol

    In the Petition, you make a number of assertions regarding the use of misoprostol. We
    address each in turn.

    First, you assert that a patient may take misoprostol before the prescribed minimum 24-
    hour period after taking Mifeprex, thereby rendering the regimen ineffective, and that home
    administration of misoprostol does not permit health providers to control when their
    patients take misoprostol (Petition at 7). You similarly assert that the use of buccal
    misoprostol sooner than 24 hours after administering mifepristone leads to significantly
    increased failure rates (Petition at 7).

    As an initial matter, our review of the S-020 efficacy supplement in 2016 included data that
    evaluated the home use of misoprostol in over 30,000 women. The data showed that
    Mifeprex was safe and effective in a regimen with misoprostol when misoprostol was self-
    administered at home.54 Therefore, any incorrect administration resulting in a failed
    abortion was infrequent and did not significantly affect the safety and efficacy of medical
    abortion. Furthermore, because the process of expelling the pregnancy may begin as soon
    as 2 hours after taking misoprostol, there is a benefit in allowing patients to choose when
    and where to start this process, to maximize the possibility of their being at a safe place at a
    convenient time to experience cramping and bleeding.55

    In support of your assertion of significantly increased failure rates, you cite a pilot study by
    Lohr et al.56 Lohr et al. assessed the complete abortion rate using simultaneous oral
    mifepristone and buccal misoprostol in three gestational age groupings (less than or equal
    to 49 days, 50-56 days, 57-63 days) and compared the rates with those published in
    previous pilot investigations57 using simultaneous oral mifepristone and vaginal
    misoprostol in the same three gestational age groupings. The complete abortion rates
    reported by Lohr at 24 hours for oral mifepristone and buccal misoprostol were 72.5
    percent, 69.2 percent, and 72.5 percent, respectively; the complete abortion rates at two
    weeks, however, were 97.5 percent, 100 percent, and 94.9 percent, respectively (and are
    consistent with the completion rates as described in the approved labeling).58 The
    published complete abortion rates at 24 hours for simultaneous oral mifepristone and
    vaginal misoprostol administration were 90 percent, 88 percent, and 83 percent,
    respectively, for the gestational age groupings and the complete abortion rates at 2 weeks
    were 98 percent, 93 percent, 90 percent, respectively. Based on the data presented in Lohr,

    54
       See 2016 Clinical Review, supra n. 13, at 41 and 48.
    55
       Id. at 38.
    56
       Petition at 7 (referencing Lohr PA, Reeves MF, Hayes JL, et al., 2007, Oral Mifepristone and Buccal
    Misoprostol Administered Simultaneously for Abortion: A Pilot Study, Contraception, 76:215-220).
    57
       Schreiber CA, Creinin MD, Harwood B, Murthy AS. A pilot study of mifepristone and misoprostol
    administered at the same time for abortion in women with gestation from 50 to 63 days. Contraception
    2005;71:447–50; Murthy AS, Creinin MD, Harwood B, Schreiber C. A pilot study of mifepristone and
    misoprostol administered at the same time for abortion up to 49 days gestation. Contraception 2005;71:333–6.
    58
       See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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    the use of buccal misoprostol at the same time as oral mifepristone does not adversely
    affect efficacy, although expulsion may be delayed. As recommended in Section 2.3 of the
    approved labeling, follow-up at 7-14 days after administration of mifepristone is more
    appropriate to evaluate efficacy.59 It is misleading to only reference the abortion
    completion rates observed at the 24-hour timepoint from Lohr. Therefore, we do not agree
    that data from Lohr indicate higher failure rate with misoprostol taken before the prescribed
    minimum 24-hour period after taking mifepristone.

    Although we disagree that Lohr demonstrates a higher failure rate with misoprostol taken
    before 24-hours after taking mifepristone, we note that our 2016 review of the S-020
    efficacy supplement referenced a 2013 systematic review by Raymond, which concluded
    that if the interval between mifepristone and misoprostol interval is less than or equal to 24
    hours, the procedure is less effective compared to an interval of 24-48 hours.60 As
    explained above, the data reviewed in 2016 showed that Mifeprex, in a regimen with
    misoprostol administered at home, was safe and effective. Therefore, incorrect
    administration, if it occurred, was infrequent and did not significantly affect the safety and
    efficacy of medical abortion. However, in light of the data reviewed, section 2.1 of the
    labeling approved in 2016 (as well as the currently approved labeling and Medication
    Guide) states that there should be a “minimum 24-hour interval between” mifepristone and
    misoprostol (emphasis included in the labeling).61 The approved dosing regimen also states
    that misoprostol is taken within 24 to 48 hours after taking mifepristone and acknowledges
    that the effectiveness of the regimen may be lower if misoprostol is administered less than
    24 hours after mifepristone administration.

    In addition to your concerns that a woman may take misoprostol too soon after
    administering mifepristone, you also state that waiting until 24 hours after administering
    mifepristone does not guarantee success (Petition at 7-8). In support of this concern, you
    cite a 2015 review by Chen and Creinin. You state that this review found “women taking
    misoprostol earlier than 48 hours after Mifeprex are more likely to fail the regimen”
    (Petition at 8). Chen and Creinin included studies in which the intervals between
    mifepristone and buccal misoprostol were 24 hours or 24-48 hours and stated that “based
    on the available literature, the overall efficacy of regimens with a 24-hour interval between
    mifepristone and buccal misoprostol is significantly lower than those with a 24- to 48-hour
    interval (94.2 percent compared with 96.8 percent).”62 The rate differences were
    statistically significant, but both regimens were more effective than the 92 percent efficacy
    rate of the original regimen approved in 2000 (administering misoprostol 48 hours after
    taking mifepristone).

    Finally, you also express concern that if misoprostol is self-administered, a woman may
    swallow it rather than keep the pill between her cheek and gum, and oral administration of

    59
       See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
    60
       2016 Clinical Review, supra n. 13, at 31 (citing 8 Raymond EG, et al. First-trimester medical abortion with
    mifepristone 200 mg and misoprostol: a systematic review. Contraception 2013;87(1):26-37.)
    61
       See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
    62
       See Chen MJ and Creinin MD. Mifepristone with buccal misoprostol for medical abortion. Obstet
    Gynecol. 2015;126(1):12-21; see also 2016 Clinical Review, supra n. 13, at 21.


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    misoprostol (i.e., swallowing the pill) following the lower dose of mifepristone in the
    current regimen is not as effective in ending the pregnancy (Petition at 7). Winikoff et al.
    specifically studied the use of oral compared to buccal misoprostol 24-36 hours after
    mifepristone 200 mg with overall success rates of 91.3 percent and 96.2 percent,
    respectively.63 Both regimens resulted in a greater than 91 percent successful medical
    abortion. Although the study showed decreased efficacy with oral versus buccal
    administration in 57-63 days gestational age, there were no statistical differences in other
    gestational age groupings. Even assuming there is a small proportion of women who are
    57-63 days gestational age and use oral administration of misoprostol (rather than buccal as
    labeled), a small decrease in the reported efficacy in that population would not justify
    requiring a clinic visit for all women undergoing medical abortion.

    Overall, studies support the efficacy of the mifepristone, in a regimen with misoprostol
    when taken by the patient at home, Therefore, we do not agree that an in-person visit is
    necessary to manage administration of misoprostol.


                              iii.     Rh-Negative Patients

    In the Petition, you state that a follow-up examination is particularly critical for Rh-
    negative patients and that without that follow-up examination, women will not receive
    Rhogam after the abortion, increasing their risk of subsequent Rh isoimmunization, which
    can endanger future pregnancies (Petition at 9). You suggest that a clinic visit after the
    administration of Mifeprex is important for Rh-negative women to receive Rhogam and
    that removing the required follow-up visit puts Rh-negative women at risk for
    isoimmunization. We do not agree.

    Rh testing is standard of care in the United States and RhD immunoglobulin (such as
    Rhogam) should be administered if indicated. Further, administration of RhD
    immunoglobulin should be given within 72 hours of a sensitizing event (e.g., medical
    abortion).64 However, the facility where the RhD immunoglobulin injection occurs (clinic,
    hospital or laboratory) is not critical. A shift from medical clinics to hospitals for
    administration of injections has occurred over the years due to shortages of RhD
    immunoglobulin and poor reimbursement for RhD immunoglobulin injection from third-
    party payers.65 This has resulted in pregnant women frequently obtaining routine 28-week
    RhD immunoglobulin injections at hospitals/laboratories with a prescription provided by
    their healthcare providers. This same process of obtaining RhD immunoglobulin via
    prescription is available to patients after medical termination of pregnancy and does not
    require a follow-up clinic visit.




    63
       Winikoff B, Dzuba, IG, Creinin MD, et al, 2008, Two Distinct Oral Routes of Misoprostol in Mifepristone
    Medical Abortion, Obstet Gynecol 112(6):1303-1310.
    64
       ACOG Practice Bulletin No. 181. Prevention of Rh D Alloimmunization. August 2017.
    65
       See https://www.mdedge.com/obgyn/article/61083/practice-management/rhogam-injections-payment-
    levels-vary-among-insurers.


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    In summary, the totality of data on the efficacy and safety of medical abortion at less than
    70 days gestation, derived from numerous studies, has characterized the complications and
    rates of complications for completing medical abortion at home, and the findings show
    medical abortion at home is both safe and effective without three office visits. We
    therefore deny your request that the use of mifepristone in a regimen with misoprostol
    require three office visits by the patient.

                 c.   Contraindications

    In the Petition, you assert that critical language contraindicating Mifeprex for patients
    without access to appropriate emergency medical care was excluded from the 2016
    Mifeprex labeling. You cite to a study66 and ACOG statements as evidence that medical
    abortions have greater risks and more need for emergency “operation” than a surgical
    abortion, particularly for patients in rural areas with limited access to emergency medical
    care (Petition at 11).

    Although inadequate access to medical facilities for appropriate care was removed from the
    list of contraindications in section 4 of the approved labeling when we approved the S-020
    efficacy supplement, the 2016 Mifeprex labeling and the currently approved mifepristone
    labeling, as well as the Mifepristone REMS Program, continue to include appropriate
    instructions for providers regarding patient access to appropriate medical care.67 For
    example, the Boxed Warning includes language directing healthcare providers to ensure
    that the patient knows whom to call and what to do, including potentially going to an
    emergency room, if the patient experiences serious events associated with the use of
    mifepristone. The labeling also directs healthcare providers, as part of the dosing regimen,
    to give the patient the name and phone number of a healthcare provider who will be
    handling emergencies.68 In addition, one of the required qualifications listed in the
    Prescriber Agreement Form is the “[a]bility to provide surgical intervention in cases of
    incomplete abortion or severe bleeding, or to have made plans to provide such care through
    others, and ability to assure patient access to medical facilities equipped to provide blood
    transfusions and resuscitation, if necessary.”69 Therefore, although certain language about
    access to medical facilities was removed from the approved labeling in 2016, we disagree
    that critical language about access to appropriate emergency medical care is lacking from
    the approved labeling.




    66
       See Petition Reference Document No. 17 (Harrison Affidavit: Donna Harrison, M.D., Aff. Okla. Coalition
    for Reproductive Justice v. Cline, Case No. CV-2014-1886 (Feb. 24, 2015), ¶115 (referencing M. Niinimaki
    et al., Immediate Complications after Medical compared with Surgical Termination of Pregnancy, Obstet.
    Gynecol. 114:795 (Oct. 2009)).
    67
       See Mifeprex labeling, approved 2016.
    https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf. See also current labeling at
    https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
    68
       Id.
    69
       Mifepristone REMS Program,
    https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
    Emphasis added.


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    You also cite information in Box 1, Features of Medical and Surgical Abortion (page 3) in
    the ACOG Practice Bulletin No. 143.70 As mentioned above, the ACOG Practice Bulletin
    No. 143 has been withdrawn and the language you cite is not included in the current
    Practice Bulletin No. 225.

                     d.      Adverse Event Reporting

    In the Petition, you assert that even under the regimen approved in 2000, it was difficult to
    collect accurate and complete adverse event information for Mifeprex, and that collecting
    such information is virtually impossible under the regimen approved in 2016 because
    prescribers only are required to report deaths associated with Mifeprex (Petition at 12).
    You also assert that FDA cannot adequately assess the safety of the current Mifeprex
    regimen without comprehensive information on adverse events (Petition at 12). You state
    that certified prescribers should at a minimum be required to report the following to FDA’s
    MedWatch reporting system and to the sponsor: deaths, hospitalizations, blood
    transfusions, emergency room visits, failures requiring surgical completion, ongoing
    pregnancy, or other major complications, including detailed information on these events
    (Petition at 13).

    We acknowledge that there is always a possibility with any drug that some adverse events
    are not being reported, because reporting to the Agency’s MedWatch program by health
    care professionals and patients is voluntary. We do not agree, however, that the 2016
    changes to the prescriber reporting requirements limit our ability to adequately monitor the
    safety of mifepristone for medical termination of pregnancy. Prior to the 2016 approval of
    the S-20 efficacy supplement, we assessed approximately 15 years of adverse event reports
    both from the Applicant and through the MedWatch program and determined that certain
    ongoing additional reporting requirements under the Mifeprex REMS, such as
    hospitalization and blood transfusions, were not warranted. This assessment was based on
    the well-characterized safety profile of Mifeprex, with known risks occurring rarely, along
    with the essentially unchanged safety profile of Mifeprex during this 15-year period of
    surveillance. Accordingly, the Prescriber Agreement Form was amended as part of our
    2016 approval of the S-20 efficacy supplement to require, with respect to adverse event
    reporting, only that prescribers report any cases of death to the Applicant.

    We also note that the reporting changes to the Prescriber Agreement Form as part of our
    2016 approval do not change the adverse event reporting requirements for the Applicants.
    Like all other holders of approved NDAs and ANDAs, the Applicants are required to report
    all adverse events, including serious adverse events, to FDA in accordance with the
    requirements set forth in FDA’s regulations (see 21 CFR 314.98, 21 CFR 314.80, and 21
    CFR 314.81). FDA also routinely reviews the safety information provided by the
    Applicants in the Annual Reports. As with all drugs, FDA continues to closely monitor the
    postmarketing safety data on mifepristone for the medical termination of pregnancy.


    70
     Petition at 11. Medical Management of First-Trimester Abortion. ACOG Practice Bulletin Number 143.
    March 2014 (Reaffirmed 2016. Replaces Practice Bulletin Number 67, October 2005); Obstet Gynecol. 2014
    Mar;123(3):676-692 at 680.


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    You state that FDA should provide guidance to emergency healthcare providers and
    physicians so that they know how to distinguish complications following drug-induced
    abortion from complications following spontaneous miscarriage (Petition at 13). We
    disagree that specific guidance is needed at this time. In the past, when appropriate, FDA
    has worked with the NDA Applicant to issue communications to healthcare providers and
    emergency department providers concerning certain serious adverse events.71 Furthermore,
    the approved Medication Guide advises patients to take the Medication Guide with them if
    they need to go to the emergency room or seek care from a healthcare provider other than
    the one who dispensed the medication to them, so the emergency room or healthcare
    provider understands the patient is having a medical abortion. We have not identified a
    change in the safety profile of mifepristone that would warrant additional communications
    to healthcare providers and emergency department providers concerning complications
    following medical abortion. If we become aware of safety information that merits further
    communications with emergency department providers or healthcare providers, or that
    warrants revisions to the approved labeling, we will act as appropriate.

    You also assert that many Mifeprex prescribers “violate FDA protocol,” instructing their
    patients to lie to emergency medical personnel, and that this prevents emergency healthcare
    providers from appropriately caring for their patients and further decreases the likelihood
    that adverse events will be reported (Petition at 12). Your only support for this claim is a
    reference to instructions from the organization Aid Access72 to patients that they can tell
    emergency room staff that they had a miscarriage and do not need to tell medical staff that
    they had a medical abortion. The Petition does not provide any data or additional
    information establishing “many Mifeprex prescribers violate FDA protocol, instructing
    their patients to lie,” or that these providers thereby prevented appropriate care and
    decreased the number of adverse events reported.

         B. REMS

         1. Request to Retain Mifeprex REMS

    In your Petition, you request that FDA retain the Mifeprex REMS (Petition at 14). We
    agree that a REMS is necessary to ensure that the benefits of mifepristone in a regimen with
    misoprostol outweigh the risks. FDA’s determination as to whether a REMS is necessary

    71
       See Historical Information on Mifepristone (Marketed as Mifeprex), available at
    http://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm11133
    4.htm. For example, the NDA applicant and FDA agreed that there was a need to issue a Dear Health Care
    Provider letter in April 2002 and a Dear Emergency Room Director letter in September 2004. The fact that
    these letters were issued does not imply that the approved mifepristone regimen is unsafe; it is not
    uncommon for drug sponsors to issue “Dear Health Care Provider” letters, and, as noted in the Mifepristone
    Q&A document posted on our Web site in April 2002, “[w]hen FDA receives and reviews new information,
    the agency provides appropriate updates to doctors and their patients so that they have essential information
    on how to use a drug safely.”
    72
       We note that Aid Access facilitated the sale of unapproved mifepristone and misoprostol to U.S. consumers
    and that FDA sent Aid Access a warning letter asking it to promptly cease causing the sale of unapproved and
    misbranded drugs to U.S. consumers. US FDA Warning Letter to Aidaccess.org, dated March 8, 2019.
    https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
    letters/aidaccessorg-575658-03082019.


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    to ensure that the benefits of a drug outweigh its risks is a complex, drug-specific inquiry,
    reflecting an analysis of multiple, interrelated factors and of how those factors apply in a
    particular case.73 In conducting this analysis, FDA considers whether (based on
    premarketing or postmarketing risk assessments) there is a particular risk or risks associated
    with the use of the drug that, on balance, outweigh its benefits and whether additional
    interventions beyond FDA-approved labeling are necessary to ensure that the drug’s
    benefits outweigh its risks.74

    As described in the background section of this response (see section I.A.), FDA determined
    that interventions in addition to the FDA-approved labeling were necessary to ensure that
    the benefits of Mifeprex outweighed its risks when the drug was initially approved in 2000,
    and periodic re-evaluations of the REMS since that time have reached the same conclusion.
    As further described in the background section of this response (see section I.E.), FDA
    recently undertook a review of the Mifepristone REMS Program. As explained below, the
    Mifepristone REMS Program continues to be necessary to ensure the benefits outweigh the
    risks.
    After review of multiple different sources of information, including published literature,
    safety information submitted to the Agency during the COVID-19 PHE, FAERS reports,
    the first REMS assessment report for the Mifepristone REMS Program, and information
    provided by advocacy groups, individuals, and the Plaintiffs in ongoing litigation,75 as well
    as information submitted by the Applicants, we have concluded that the REMS can be
    modified to reduce the burden on the health care delivery system without compromising
    patient safety. As explained below, we agree that the healthcare provider certification
    (ETASU A) and dispensing of mifepristone to patients with evidence or other
    documentation of safe use conditions (ETASU D) continue to be necessary components of
    the REMS to ensure the benefits outweigh the risks. However, we have concluded that the
    Mifepristone REMS Program must be modified to remove the requirement under ETASU C
    that mifepristone be dispensed only in certain healthcare settings, specifically clinics,
    medical offices, and hospitals.
    Below, we discuss each of these elements of the Mifepristone REMS Program.

                         a. ETASU A – Prescriber Certification/Qualifications

    ETASU A under the Mifepristone REMS Program requires healthcare providers who
    prescribe mifepristone to be certified. In order to become certified, prescribers must: 1)
    review the prescribing information for mifepristone and 2) complete the Prescriber
    Agreement Form. In signing the Prescriber Agreement Form, prescribers agree they meet
    the qualifications listed below:


    73
       See FDA Guidance for Industry, REMS: FDA’s Application of Statutory Factors in Determining When a
    REMS Is Necessary (Apr. 2019).
    74
       Id.
    75
       See supra n. 10.


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       •   Ability to assess the duration of pregnancy accurately
       •   Ability to diagnose ectopic pregnancies
       •   Ability to provide surgical intervention in cases of incomplete abortion or severe
           bleeding, or to have made plans to provide such care through others, and ability to
           assure patient access to medical facilities equipped to provide blood transfusions
           and resuscitation, if necessary.
       •   Has read and understood the Prescribing Information of mifepristone (which the
           provider can access by phone or online).


    In addition to meeting these qualifications, as a condition of certification the healthcare
    provider also agrees to follow the guidelines for use below:

       •   Review the Patient Agreement Form with the patient and fully explain the risks of
           the mifepristone treatment regimen. Answer any questions the patient may have
           prior to receiving mifepristone.
       •   Sign and obtain the patient’s signature on the Patient Agreement Form.
       •   Provide the patient with a copy of the Patient Agreement Form and the Medication
           Guide.
       •   Place the signed Patient Agreement Form in the patient’s medical record.
       •   Record the serial number from each package of mifepristone in each patient’s
           record.
       •   Report deaths to the Applicant, identifying the patient by a non-identifiable patient
           reference and the serial number from each package of mifepristone.

    Our review of the published literature did not identify any studies comparing healthcare
    providers who met these qualifications with healthcare providers who did not. In the
    absence of such studies, there is no evidence to contradict our previous finding that
    prescribers’ ability to accurately date pregnancies, diagnose ectopic pregnancies, and
    provide surgical intervention either personally or through others, is necessary to mitigate
    the serious risks associated with the use of mifepristone in a regimen with misoprostol.
    Therefore, our conclusion continues to be that a healthcare provider who prescribes
    mifepristone in a regimen with misoprostol should meet the above qualifications. Absent
    these provider qualifications, we are concerned that serious and potentially fatal
    complications associated with medical abortion, including missed ectopic pregnancy and
    heavy bleeding from incomplete abortion, may not be detected or appropriately managed.

    Accordingly, we have determined that ETASU A must remain an element of the
    Mifepristone REMS Program to ensure the benefits outweigh the risks. Maintaining the
    requirement for prescriber certification ensures that providers meet the necessary
    qualifications and adhere to the guidelines for use listed above. The burden of prescriber
    certification has been minimized to the extent possible by requiring prescribers to certify
    only one-time for each applicant.


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    Although we agree with your request to retain the REMS for mifepristone (now the
    Mifepristone REMS Program) insofar as it pertains to ETASU A, as discussed in section
    II.A.2.a of this response, we do not agree with your request that the healthcare provider
    needs to be a licensed physician to meet this requirement.

                   b. ETASU D – Requirement For The Drug To Be Dispensed With
                      Evidence Or Other Documentation Of Safe-Use Conditions

    ETASU D under the Mifepristone REMS Program requires mifepristone to be dispensed
    with evidence or other documentation of safe-use conditions. To receive mifepristone for
    medical termination of intrauterine pregnancy through 70 days gestation, the patient must
    sign a Patient Agreement Form indicating that the patient has received, read, and been
    provided a copy of the Patient Agreement Form and received counseling from the
    prescriber regarding the risk of serious complications associated with mifepristone for this
    indication. The Patient Agreement Form ensures that patients are informed of the risks of
    serious complications associated with mifepristone for this indication. In a number of
    approved REMS, Patient Agreement Forms or Patient Enrollment Forms ensure that
    patients are counseled about the risks of the product and/or informed of appropriate safe use
    conditions.76

    As a condition of certification under the Mifepristone REMS Program, healthcare providers
    must follow the guidelines for use of mifepristone, including reviewing the Patient
    Agreement Form with the patient, fully explaining the risks of the treatment regimen and
    answering any questions the patient may have before receiving the medication. With this
    form, the patient acknowledges that they have received and read the form, and that they
    have received the counseling regarding when to take mifepristone, the risk of serious
    complications associated with mifepristone and what to do if they experience adverse
    events (e.g., fever, heavy bleeding). Both the healthcare provider and patient must sign the
    document and the patient must receive a copy of the signed form. In addition to the
    counseling described in the Patient Agreement Form, patients also receive a copy of the
    Medication Guide for mifepristone. Ultimately, the Patient Agreement Form serves as an
    important counseling component, and documentation that the safe use conditions of the
    Mifepristone REMS Program have been satisfied, as the prescriber is required to place the
    signed Patient Agreement Form in the patient’s medical record.

    In addition, we conducted an updated review of published literature since 2016 to assess the
    utility of maintaining the Patient Agreement Form as part of the Mifepristone REMS
    Program, and these studies do not provide evidence that would support removing ETASU
    D. For these reasons, we have determined that ETASU D must remain an element of the
    Mifepristone REMS Program to ensure the benefits outweigh the risks.




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         REMS@FDA, https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm, Accessed November 15, 2021.


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                 c. ETASU C – In-Person Dispensing

    ETASU C under the Mifepristone REMS Program currently requires mifepristone to be
    dispensed to patients only in certain healthcare settings, specifically clinics, medical
    offices, and hospitals, by or under the supervision of a certified prescriber. This creates
    what we refer to in this response as an in-person dispensing requirement under the REMS;
    i.e., the patient must be present in person in the clinic, medical office, or hospital when the
    drug is dispensed. The mifepristone REMS document currently states that mifepristone
    may not be distributed to or dispensed through retail pharmacies or settings other than a
    clinic, medical office, or hospital. As explained below, based on a recent review of the
    REMS, we believe that the Mifepristone REMS Program must be modified to remove the
    requirement that mifepristone be dispensed only in certain healthcare settings, specifically
    clinics, medical offices, and hospitals, because this requirement is no longer necessary to
    ensure that the benefits of the drug outweigh the risks. This conclusion is based on our
    review of information from the Mifepristone REMS Program one-year (1st) REMS77
    assessment data and postmarketing safety information, and supported by our review of the
    published literature.

                              i. Assessment Data

    As part of our review of the REMS, we evaluated information included in the 1st REMS
    assessment report for the Mifepristone REMS Program, which included healthcare provider
    certification data, program utilization data, and non-compliance data. This 1st REMS
    assessment report covers a reporting period between April 11, 2019 through February 29,
    2020. During this reporting period, a small number of non-compliance events were
    reported.

    As described in section I.C. of this response, during the timeframe from January 27, 2020
    through September 30, 2021, there were periods when the in-person dispensing requirement
    was not enforced. To better understand whether there was any impact on safety or non-
    compliance during the periods when the in-person dispensing requirement was not
    enforced, we requested additional information from the Applicants to provide for more
    comprehensive assessment of the REMS for the time period from January 27, 2020 (the
    effective date of the COVID-19 PHE) to September 30, 2021. We requested the Applicants
    provide a summary and analysis of any program deviation or non-compliance events from
    the REMS requirements and any adverse events that occurred during this time period that
    had not already been submitted to FDA. The NDA and the ANDA Applicants reported a
    total of eight cases reporting adverse events between January 27, 2020 and September 30,
    2021. These eight cases were also identified in the FAERS database and are described
    below.

    The number of adverse events reported to FDA during the COVID-19 PHE with
    mifepristone use for medical termination of pregnancy is small, and the data provide no


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     This REMS assessment report was the first submitted following the approval of the single, shared system
    REMS for mifepristone.


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    indication that any program deviation or noncompliance with the Mifepristone REMS
    Program contributed to these reported adverse events.


                              ii. FAERS/Postmarketing Safety Data

    FDA routinely monitors postmarketing safety data for approved drugs through adverse
    events reported to our FAERS database,78 through our review of published medical
    literature, and when appropriate, by requesting applicants submit summarized
    postmarketing data. For our recent review of the REMS, we searched our FAERS
    database, reviewed the published medical literature for postmarketing adverse event reports
    for mifepristone for medical termination of pregnancy, and requested that the Applicants
    submit a summary and analysis of certain adverse events. Our review of this postmarketing
    data indicates there have not been any new safety concerns with the use of mifepristone for
    medical termination of pregnancy through 70 days gestation, including during the time
    when in-person dispensing was not enforced.

    In order to evaluate the periods when in-person dispensing was and was not enforced, we
    conducted a search of the FAERS database and the published medical literature to identify
    U.S. postmarketing adverse events that reportedly occurred from January 27, 2020 through
    September 30, 2021 with mifepristone use for medical termination of pregnancy. The data
    for this time period were then further divided into the date ranges when in-person
    dispensing was enforced per the REMS (January 27, 2020 - July 12, 2020 and January 13,
    2021 - April 12, 2021) versus when in-person dispensing was not enforced: July 13, 2020 -
    January 12, 2021 (in-person dispensing enforcement was temporarily enjoined) and April
    13, 2021 - September 30, 2021 (enforcement discretion for in-person dispensing because of
    the COVID-19 PHE).

    Based on the above search, a total of eight cases were identified in FAERS and no
    additional case reports were identified in the medical literature. Two of the eight cases
    reported adverse events that occurred when in-person dispensing was being enforced (i.e.,
    January 27, 2020-July 12, 2020 and January 13, 2021-April 12, 2021). These two cases
    reported the occurrence of uterine/vaginal bleeding (case 1) and uterine/vaginal bleeding
    and sepsis (case 2). Of note, uterine/vaginal bleeding and sepsis are labeled adverse events.
    Five of the eight cases reported adverse events that occurred when in-person dispensing
    was not enforced (i.e., July 13, 2020-January 12, 2021 and April 13, 2021-September 30,
    2021); however, the narratives provided in the FAERS reports for three of the five cases
    explicitly stated that mifepristone was dispensed in-person. These five cases reported the
    occurrence of ongoing pregnancy (case 3), drug intoxication and death approximately 5
    months after ingestion of mifepristone (case 4), death [cause of death is currently unknown]
    (case 5), sepsis and death (case 6), and pulmonary embolism (case 7). Of note, ongoing
    pregnancy and sepsis, including the possibility of fatal septic shock, are labeled adverse
    events. The remaining case reported the occurrence of oral pain/soreness (case 8) in July

    78
      FAERS is a database that contains adverse event reports, medication error reports and product quality
    complaints resulting in adverse events that were submitted to FDA. The database is designed to support
    FDA's post-marketing safety surveillance program for drug and therapeutic biologic products.


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    2021, but did not provide sufficient information to determine the exact date of the adverse
    event.

    As discussed in section II.A.2.d., the Applicants report adverse events, including serious
    adverse events, to FDA in accordance with applicable regulations.79 To enable additional
    review of adverse events, Applicants were requested to provide a summary and analysis for
    adverse events reported with incomplete medical abortion requiring surgical intervention to
    complete abortion, blood transfusion following heavy bleeding or hemorrhage, ectopic
    pregnancies, sepsis, infection without sepsis, hospitalization related to medical abortion,
    and emergency department/urgent care encounter related to medical abortion. The
    Applicant for Mifeprex provided the requested summary of postmarketing safety
    information from March 29, 2016, when S-020 was approved, through September 30, 2021.
    The Applicant for the generic provided the requested summary of postmarketing safety
    information from April 11, 2019 (date of initial approval) through September 30, 2021.
    The information provided by the Applicants included the same cases identified in FAERS,
    as discussed above.

    We analyzed the FAERS data referenced above to determine if there was a difference in
    adverse events when in-person dispensing was and was not enforced. Based on FDA’s
    review of this data, we concluded that there does not appear to be a difference in adverse
    events when in-person dispensing was and was not enforced and that mifepristone may be
    safely used without in-person dispensing. FDA’s review of the summary and analysis data
    submitted by the Applicants (which, as noted above, included the same cases identified
    from FAERS) did not change this conclusion.

                                iii. Published Literature

    As noted above, we also conducted an extensive review of the published literature since
    March 29, 2016 (the date the S-020 efficacy supplement for Mifeprex was approved)
    through September 30, 2021.80 Published studies have described alternatives in location and
    method for dispensing mifepristone by a certified prescriber (or equivalent healthcare
    provider in countries other than the United States). Some studies have examined replacing
    in-person dispensing in certain healthcare settings with dispensing at retail pharmacies81

    79
       See 21 CFR 314.98, 21 CFR 314.80, and 21 CFR 314.81.
    80
       In support of your request that we retain the REMS and continue limiting the dispensing of Mifeprex to
    patients in clinics, medical offices, and hospitals by or under the supervision of a certified prescriber, you
    reference two studies that you assert do not comply with the REMS (Petition at 19-22). Outcomes from both
    of the studies you reference have been reported in the published literature and are addressed in the discussion
    that follows. We note that as a general matter, a clinical investigation of an approved drug that is subject to a
    REMS can take place in healthcare settings outside those provided for in the REMS. When an approved drug
    that is subject to a REMS is studied in a clinical trial, the REMS does not apply to the use of the drug in that
    clinical trial. However, FDA reviews the protocol to ensure that it will be conducted in a manner that
    adequately addresses the risks that the REMS is intended to mitigate, such that the trial participants will not
    be exposed to an unreasonable and significant risk of illness or injury. See 21 CFR 312.42(b)(1)(i) and
    (b)(2)(i).
    81
       Grossman D, Baba CF, Kaller S, et al. Medication Abortion With Pharmacist Dispensing of Mifepristone.
    Obstet Gynecol 2021;137:613–22; Rocca CH, Puri M, et al. Effectiveness and safety of early medication



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    and dispensing mifepristone from pharmacies by mail.82 Other studies have evaluated two
    modes of dispensing by prescribers: (1) prescribers mailing the medications to patients,83
    and (2) prescribers using couriered delivery of medications.84 Different studies have
    evaluated dispensing mifepristone by mail by an entity described as “a partner
    organization.”85

    We note that the ability to generalize the results of these studies to the United States
    population is hampered by differences between the studies with regard to pre-abortion care
    (e.g., telemedicine versus in-person). In addition, the usefulness of the studies is limited in
    some instances by small sample sizes and lack of follow-up information on outcomes with
    regard to both safety and efficacy. There are also factors which complicate the analysis of
    the dispensing element alone. Some of these factors are: (1) only a few studies have
    evaluated alternatives for in-person dispensing of mifepristone in isolation (for example,
    most studies on mail dispensing of mifepristone also include telemedicine consultation);
    and (2) because most serious adverse events with medical abortion are infrequent, further
    evaluation of changes in dispensing would require studies with larger numbers of
    participants. We did not find any large clinical studies that were designed to collect safety
    outcomes in healthcare systems similar to the United States. Despite the limitations of the
    studies we reviewed, we have concluded that overall the outcomes of these studies are not
    inconsistent with our conclusion that, based on the 1st year REMS assessment report and
    postmarketing safety data, mifepristone will remain safe and efficacy will be maintained if
    the in-person dispensing requirement is removed from the Mifepristone REMS Program.



    abortion provided in pharmacies by auxiliary nurse-midwives: A non-inferiority study in Nepal. PLoS ONE
    13(1): e0191174. https://doi.org/10.1371/journal.pone.019117; Wiebe ER, Campbell M, et al. Comparing
    telemedicine to in-clinic medication abortions induced with mifepristone and misoprostol. Contracept X.
    2020; 2: 100023.
    82
       Grossman D, Raifman S, Morris N, et.al. Mail-order pharmacy dispensing of mifepristone for medication
    abortion after in-person clinical assessment. Contraception 2021, ISSN 0010-7824,
    https://doi.org/10.1016/j.contraception.2021.09.008, Available online 20 September 2021; Upadhyay UD,
    Koenig LR, Meckstroth KR. Safety and Efficacy of Telehealth Medication Abortion in the US During the
    COVID-19 Pandemic. JAMA Network Open. 2021;4(8):e2122320,
    doi:10.1001/jamanetworkopen.2021.22320; Hyland P, Raymond EG, Chong E. A direct-to-patient
    telemedicine abortion service in Australia: Retrospective analysis of the first 18 months. Aust N Z J Obstet
    Gynaecol 2018;58: 335-340.
    83
       See Anger HA, Raymond EG, et al. Clinical and service delivery implications of omitting ultrasound before
    medication abortion provided via direct-to-patient telemedicine and mail. Contraception 2021 Jul 28;S0010-
    7824(21)00342-5. doi: 10.1016/j.contraception.2021.07.108. Published online. Raymond E, Chong E, et al.
    TelAbortion: evaluation of a direct to patient telemedicine abortion service in the United States.
    Contraception 2019; 100:173-177. See also Chong et al., infra n. 103 Kerestes et al., infra n. 105, and Aiken
    et al., infra n. 106.
    84
       Reynolds-Wright JJ, et al. BMJ Sex Reprod Health 2021;0:1–6. doi:10.1136/bmjsrh-2020-200976.
    85
       Endler M, Beets L, Gemzell Danielsson K, Gomperts R. Safety and acceptability of medical abortion
    through telemedicine after 9 weeks of gestation: a population-based cohort study. BJOG 2019;126;609-618.
    Norten H, Ilozumba O, Wilkinson J, Gemzell Danielsson K, Gomperts R. 10-year evaluation of the use of
    medical abortion through telemedicine: a retrospective cohort study. BJOG 2021;
    https://doi.org/10.1111/1471-0528.16765; Aiken ARA, Digol I, Trussell J, Gomperts R. Self-reported
    outcomes and adverse events after medical abortion through online telemedicine: population based study in
    the Republic of Ireland and Northern Ireland. BMJ 2017;357:j2011 http://dx.doi.org/10.1136/bmj.j2011.


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    Below is a summary of our review of the literature, organized by the methods of dispensing
    mifepristone that were studied.


         (a) Retail pharmacy dispensing

    Three studies reported medical abortion outcomes for retail pharmacy dispensing of
    mifepristone after clinical evaluation (Grossman,86 Rocca,87 Wiebe88). Grossman
    conducted a US-based study in which mifepristone and misoprostol were dispensed from a
    pharmacy partnered with the clinic. Complete abortion without additional procedures
    occurred in 93.5 percent of participants with known outcomes. The reported proportion of
    complete abortion is within the range described in the approved mifepristone labeling. No
    participants experienced a serious adverse event, were hospitalized or required transfusion.
    Three participants had emergency department (ED) visits with treatment (intravenous
    hydration, pain medication, pelvic infection after uterine aspiration for incomplete
    abortion). The study safety and efficacy outcomes are consistent with labeled outcome
    frequencies. The study has limited generalizability because it was conducted in two US
    states and involved partnered pharmacies, some of which were in the same building as the
    clinic. Additionally, all participating pharmacies in this study were required to have a
    pharmacist on duty during clinic hours who had been trained in the study protocol and was
    willing to dispense mifepristone. The study conditions may not be generalizable to United
    States retail pharmacies; there is insufficient information to assess this.

    Rocca89 conducted an observational study evaluating participants who obtained medical
    abortions in Nepal by comparing the provision of medical abortion service by newly trained
    nurse midwives in pharmacies to medical abortion provided in government-certified clinics.
    The authors reported that, with respect to complete abortion (greater than 97 percent) and
    complications (no hospitalizations or transfusions), evaluation and dispensing in pharmacy
    was non-inferior to in-clinic evaluation and dispensing.

    Wiebe,90 in a retrospective, chart review study conducted in Canada, compared abortion
    outcomes of women who underwent medical abortion with telemedicine consult, and either
    received medications by courier or picked them up at a local pharmacy, with outcomes of a
    matched control cohort of women who received the medications at a pharmacy after an in-
    clinic visit. The groups had similar documented complete medical abortion outcomes
    (equal to or greater than 95 percent participants with known outcomes). The telemedicine
    group had one case of hemorrhage (0.5 percent) and one case of infection requiring
    antibiotics (0.5 percent) compared with no cases of hemorrhage or infection requiring
    antibiotics in the in-clinic cohort. The telemedicine group had more ED visits (3.3 percent
    compared to 1.5 percent in-clinic cohort). Both models of dispensing mifepristone resulted
    in efficacy and safety outcomes within labeled frequency.

    86
       Grossman et al., supra n. 81.
    87
       Rocca et al., supra n. 81.
    88
       Wiebe et al., supra n. 81.
    89
       Rocca et al., supra n. 81.
    90
       Wiebe et al., supra n. 81.


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    None of the three studies allow a determination regarding differences in safety between in-
    person dispensing by a certified prescriber in a health care setting and dispensing through a
    retail pharmacy, due to limitations on the generalizability of the results of the studies to the
    current retail pharmacy environment in the United States. The outcome findings from the
    one United States study (Grossman)91, in which the pharmacies were partnered with
    prescribers, are unlikely to be broadly generalizable to the current retail pharmacy
    environment and do not reflect typical prescription medication availability with use of retail
    pharmacy dispensing. For the retail pharmacy dispensing study in Canada (Wiebe),92
    timely provision of medication from the retail pharmacy was accomplished by either
    courier to the woman or faxed prescription to the woman’s pharmacy. It is unknown
    whether conditions that would allow timely access to medications for medical abortion
    would occur in retail pharmacies throughout the United States, suggesting the findings from
    that study may not be broadly generalizable. The third study (Rocca)93 evaluated medical
    abortion provided in Nepali pharmacies and essentially moved the abortion provider and
    clinical examination into the pharmacy, a scenario that is not, at this time, applicable to the
    United States retail setting.

         (b) Mail order pharmacy

    Three studies evaluated mail order pharmacy dispensing (Grossman,94 Upadhyay,95
    Hyland96). Grossman published an interim analysis of an ongoing prospective cohort study
    evaluating medical abortion with mifepristone and misoprostol dispensed by mail-order
    pharmacy after in-person clinical assessment. Complete abortion without additional
    procedures occurred in 96.9 percent of participants with known outcomes. Two (0.9
    percent) participants experienced serious adverse events; one received a blood transfusion
    and one was hospitalized overnight. Nine (4 percent) participants attended 10 ED visits. In
    this interim analysis, the outcomes are consistent with labeled frequencies.

    Upadhyay97 reports findings from a retrospective cohort study of women undergoing
    medical abortion in the United States without a consultation or visit. Eligibility was
    assessed based on a participant-completed online form collecting pregnancy and medical
    history. Participants who were considered eligible received medication delivered by a
    mail-order pharmacy. Abortion outcome was determined by either an assessment on day 3
    or a 4-week pregnancy test. The investigators reported a complete abortion rate without
    additional procedures of 95 percent for participants with known outcomes and stated that
    no participants had any major adverse events. The proportion of abortion outcomes
    assessed at 3 days versus 4 weeks is not reported. Regardless, determining outcomes at 3
    days is insufficient to determine outcome rates or safety findings because a 3-day follow-up
    period is too short. As recommended in Section 2.3 of the approved labeling, follow-up at
    91
       Grossman et al., supra n. 81.
    92
       Wiebe et al., supra n. 81.
    93
       Rocca et al., supra n. 81.
    94
       Grossman et al, supra n. 82.
    95
       Upadhyay et al., supra n. 82.
    96
       Hyland et al., supra n. 82.
    97
       Upadhyay et al., supra n. 82.


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    7-14 days after administration of mifepristone is more appropriate to evaluate safety and
    efficacy. This study used a model with numerous deviations from standard provision of
    medical abortion in the United States, such as no synchronous interaction with the
    prescriber during informed consent or prior to prescribing medication and no confirmation
    of self-reported medical, surgical, and menstrual history. These deviations, limited follow-
    up information, and small sample size limit the usefulness of this study.

    Hyland98 describes findings from a cohort study in Australia evaluating medical abortion
    outcomes utilizing telemedicine and a central mail order pharmacy. Complete abortions
    without additional procedures occurred in 96 percent of participants with documented
    outcomes and is consistent with labeled efficacy. Of the participants included in the
    analysis, 95 percent had no face-to-face clinical encounters after medications were mailed
    while 3 percent were admitted to the hospital and 2 percent had an outpatient encounter.
    One participant who was hospitalized and underwent a surgical uterine evacuation received
    a transfusion. Not included in the findings are 7 hospitalizations occurring in 7 participants
    who did not have “full follow up.” The authors do not report any other adverse events and
    conclude use of the telemedicine medical abortion service is safe. However, the reasons for
    hospitalization are not discussed by the authors; therefore, it is unknown why the patients
    were hospitalized. Although the reported frequency of hospitalizations (3 percent) is higher
    than the less than 1 percent in the FDA-approved mifepristone labeling, conclusions on the
    safety findings cannot be made in the absence of information about the reasons for
    hospitalization. Other limitations of this study include incomplete information about
    outcomes with face-to-face encounters.

    Overall, the three studies evaluating mail order pharmacy dispensing suggest that efficacy
    of medical abortion is maintained with mail order pharmacy dispensing. With respect to
    safety, in the Grossman study99 the interim analysis, although small, does not raise serious
    safety concerns. Safety findings from the Hyland100 study are difficult to interpret.
    Although only one transfusion is reported and the authors state the findings demonstrate
    safety, a higher hospitalization rate and lack of information on the reasons for
    hospitalization preclude reaching any conclusions about the safety findings. Lastly, the
    Upadhyay101 study had no reported adverse events, but the findings are less useful because
    of the limited follow-up, and because medical abortions were provided using a model with
    numerous deviations from standard provision of medical abortion in the United States.

         (c) Clinic dispensing by mail

    A total of five studies evaluated clinic dispensing by mail. Gynuity Health Projects
    conducted a prospective cohort study (the “TelAbortion” study) evaluating use of
    telemedicine for remote visits and mifepristone being dispensed from clinics via overnight
    or regular tracked mail. Three publications reviewed have reported outcomes for the
    Gynuity population exclusively: Raymond (outcomes from May 2016 to December

    98
       Hyland et al., supra n. 82.
    99
       Grossman et al., supra n. 82.
    100
        Upadhyay et al., supra n. 82.
    101
        Hyland et al., supra n. 82.


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    2018),102 Chong (outcomes from May 2016 to September 2020)103 and Anger (outcomes
    from March 2020 to September 2020).104 A fourth study, Kerestes,105 reports outcomes of
    medical abortion at the University of Hawai’i from April 2020 to November 2020 and a
    fifth study, Aiken (2021)106 reports outcomes of medical abortion up to 70 days gestational
    age in the United Kingdom before and during the COVID-19 PHE in a retrospective cohort
    study.

    In Raymond,107 complete abortion without additional procedures occurred in 93 percent of
    participants with known outcomes. There were two hospitalizations (one participant
    received a transfusion for severe anemia despite having had a complete abortion) and 7
    percent of participants had clinical encounters in ED/urgent care centers. The reported
    outcomes are similar to outcomes described in approved labeling except the combined
    ED/urgent care center encounters (7 percent) exceeded the ED visits in approved labeling
    (2.9-4.6 percent).108 Of note, the authors state that half of the ED/urgent care visits did not
    entail any medical treatment. In Chong,109 approximately 50 percent of the medical
    abortions occurred during the period of the COVID-19 PHE. Complete abortion without an
    additional procedure occurred in 95 percent of those with known outcomes. Transfusions
    were 0.4 percent and hospitalizations were 0.7 percent; 6 percent of participants had
    unplanned clinical encounters in ED/urgent care. Surgical interventions were required in
    4.1 percent to complete abortion. The reported outcomes in Chong (which updated the
    findings described in Raymond) are similar to outcomes described in approved labeling
    except that (as with the Raymond study it updated) the combined ED/urgent care center
    encounters (6 percent) exceeded the ED visits in approved labeling (2.9-4.6 percent).

    Anger,110 which compared outcomes among participants enrolled in the Gynuity study who
    did (“test medical abortion cohort”) versus did not (“no-test medical abortion cohort”)111

    102
        Raymond et al., supra n. 83.
    103
        Chong E, Shochet T, et al. Expansion of a direct-to-patient telemedicine abortion service in the United
    States and experience during the COVID-19 pandemic. Contraception 2021;104:43-48.
    104
        Anger et al., supra n. 83.
    105
        Kerestes C, Murayama S, et al. Provision of medication abortion in Hawai‘i during COVID-19: Practical
    experience with multiple care delivery models. Contraception 2021 Jul;104(1):49-53.
    doi:10.1016/j.contraception.2021.03.025. Epub 2021 Mar 28.
    106
        Aiken ARA, Lohr PA, et al. Effectiveness, safety and acceptability of no-test medical abortion
    (termination of pregnancy) provided via telemedicine: a national cohort study. BJOG 2021;128:1464–1474.
    107
        Raymond, supra n. 83.
    108
        The authors reported the combined frequency of emergency department/urgent care visits, whereas the
    approved labeling includes the frequency for emergency department (emergency room) visits. Therefore it is
    unknown whether the frequency of emergency department visits in the trial, as distinct from the combined
    frequency of emergency department/urgent care visits, is comparable to the frequency of emergency
    department visits reflected in approved labeling.
    109
        Chong et al., supra n. 103.
    110
        Anger et al., supra n. 83.
    111
        “No-test medication abortion” refers to medical abortion provided without a pretreatment ultrasound,
    pelvic examination or laboratory tests when, in the judgment of the provider, doing so is medically
    appropriate (appropriateness based on history and symptoms); “no-test medication abortion” does include
    post-abortion follow up. A sample protocol is described by Raymond et al.” (Raymond EG, Grossman D,
    Mark A, et.al. Commentary: No-test medication abortion: A sample protocol for increasing access during a
    pandemic and beyond. Contraception 2020;101:361-366)


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    have confirmation of gestational age/intrauterine location with an examination or
    ultrasound, found that those without an examination or ultrasound prior to medical abortion
    were more likely to require procedural interventions and had more unplanned clinical
    encounters.112 There were no reported ectopic pregnancies in either group. The number of
    ED/urgent care visits and the proportion of unplanned clinical encounters that led to
    medical treatment were not reported. In the “test” group, complete medical abortion was
    confirmed in 98 percent of participants with known outcomes; one participant was
    “hospitalized and/or blood transfusion” and 8 percent had an unplanned clinic encounter
    (participant sought in-person medical care related to abortion and the visit was not planned
    prior to abortion). In the “no-test” group, complete medical abortion was confirmed in 94
    percent of participants with known outcomes; two participants were “hospitalized and/or
    blood transfusion” and 12.5 percent had an unplanned clinical encounter.

    Kerestes113 included three different delivery models: traditional in-person visits,
    telemedicine consultation with in-person pick-up of medications, and telemedicine
    consultation with delivery of medications by mail (most of the latter were enrolled through
    Gynuity’s TelAbortion study). Among participants with follow-up data, the rates of
    successful medical abortion without surgery were consistent with outcomes in approved
    labeling. Blood transfusion was given to two participants (both in the telemedicine plus in-
    person pickup group). Although ED visits occurred the most frequently in the telemedicine
    plus mail group (four participants or 5.8 percent) and the least in the in-person group (two
    participants or 2.1 percent), the study reported no increases in other serious adverse events.
    Aiken (2021)114 reported outcomes before and during the pandemic in a retrospective
    cohort study in the United Kingdom. The study compared the two cohorts: one before the
    pandemic with in-person visits and dispensing (traditional model) and one during the
    pandemic with either an in-person visit and in-person dispensing or a telemedicine visit and
    dispensing by mail or picked up from the clinic (hybrid model). Complete abortion
    occurred in greater than 98 percent in both cohorts; the rate was slightly higher in the
    telemedicine group than in the in-person group. There were no significant differences in
    the rates of reported serious adverse events. The investigators’ analysis determined that the
    efficacy and safety were comparable between both cohorts and concluded the hybrid model
    for medical abortion is effective and safe.

    Taken together, data from the three Gynuity study reports (Raymond, Chong, and Anger),
    Kerestes, and Aiken (2021) support that efficacy of medical abortion was maintained when
    mifepristone was dispensed by mail from the clinic. Study reports of Raymond, Chong,
    and Kerestes all suggest there may be an increase in ED/urgent care visits with
    telemedicine visits and dispensing by mail from the clinic, but without increases in other
    serious adverse events. Anger’s comparative analysis suggests a pre-abortion examination
    may decrease the occurrence of procedural intervention and decrease the number of
    unplanned visits for postabortion care. The Aiken (2021) study appears to be of sufficient

    112
        We note that the two cohorts were not randomized in the Anger study; they had different baseline
    characteristics. Consequently, findings based on the comparisons between the two cohorts should be
    interpreted carefully.
    113
        Kerestes et al., supra n. 105.
    114
        Aiken et al., supra n. 106.


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    sample size to determine whether safety outcomes with mail dispensing differ from in-
    person dispensing; however, significant limitations include that the analysis was based on
    deidentified information and the investigators were unable to verify the outcomes extracted.
    Further, the study’s design did not capture all serious safety outcomes, thus limiting the
    certainty of the findings.

    Notwithstanding the limitations discussed above, these studies overall support that
    dispensing by mail from the clinic is safe and effective. Although the literature suggests
    there may be more frequent ED/urgent care visits related to the use of mifepristone when
    dispensed by mail from the clinic, there are no apparent increases in other serious adverse
    events related to mifepristone use.

           (d) Clinic dispensing by courier

    Reynolds-Wright115 reported findings from a prospective cohort study of participants at less
    than 12 weeks gestational age in Scotland undergoing medical abortion at home that
    provided mifepristone for pick up at the service or by couriered delivery to woman’s home.
    The outcomes from this study in Scotland are consistent with the outcomes in the approved
    mifepristone labeling. However, the number of couriered deliveries was not reported. Thus
    this study does not provide abortion outcomes separately for couriered delivery of
    mifepristone and misoprostol. The study shares the same limitations as the Aiken (2021)
    study; the study’s design did not capture all serious safety outcomes, thus limiting the
    certainty of the findings.

           (e) Partner organization dispensing by mail

    Women on Web (WoW), an internet group, connects patients and providers outside of the
    US and provides medical abortion globally, dispensing mifepristone through “a partner
    organization” by mail. WoW uses a model with numerous deviations from the standard
    provision of medical abortion in the United States. For example, this model has no
    synchronous interaction with the prescriber during informed consent or prior to prescribing
    medication and no confirmation of self-reported medical, surgical, and menstrual history or
    confirmed pregnancy testing. Three studies (Endler, Norten, and Aiken (2017))116 reported
    outcomes based on dispensing through this model. Endler and Norten reported outcomes
    from WoW cohorts but do not provide relevant information on mifepristone dispensing by
    mail because neither provide meaningful outcomes data for consideration. Although Aiken
    (2017) is a large cohort study, the outcomes are self-reported and an unusually high rate of
    outcomes are unaccounted for; these limitations result in the data being insufficient to
    determine the safety of dispensing mifepristone by mail though a partner organization.

    In sum, there are insufficient data from the literature we have reviewed to determine the
    safety and efficacy of dispensing from a retail pharmacy, by courier, or by a partner
    organization. With respect to dispensing mifepristone by mail, our review of the literature
    indicates that dispensing mifepristone by mail from the clinic or from a mail order

    115
          Reynolds-Wright JJ, et al. BMJ Sex Reprod Health 2021;0:1–6. doi:10.1136/bmjsrh-2020-200976.
    116
          Endler et al., Norten et al., and Aiken et al., supra n. 85.


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    pharmacy does not appear to jeopardize the efficacy of mifepristone for medical abortion.
    While the studies we reviewed are not adequate on their own to establish the safety of the
    model of dispensing mifepristone by mail, the safety and efficacy outcomes reported in
    these studies remain within the ranges labeled for the approved mifepristone products.
    Although the literature suggests there may be more frequent ED/urgent care visits related to
    the use of mifepristone when dispensed by mail from the clinic, there are no apparent
    increases in other significant adverse events related to mifepristone use.

    Based on the REMS assessment data, FAERS data from the time period when the in-person
    dispensing requirement was not being enforced, and our review of the literature, we
    conclude that mifepristone will remain safe and effective if the in-person dispensing
    requirement is removed, provided all the other requirements of the REMS are met and
    pharmacy certification is added. Removing the in-person dispensing requirement will
    render the REMS less burdensome to healthcare providers and patients, and provided all
    other requirements of the REMS are met, including the additional requirement for
    pharmacy certification, the REMS will continue to ensure that the benefits of mifepristone
    for medical abortion outweigh the risks. Therefore, to reduce the burden imposed by the
    Mifepristone REMS Program, the REMS must be modified to remove the in-person
    dispensing requirement, which would allow, for example, dispensing of mifepristone by
    mail via certified prescribers or pharmacies, in addition to in-person dispensing in clinics,
    medical offices and hospitals as currently outlined in ETASU C.

    In your Petition, you state that “[e]liminating or relaxing the REMS to facilitate Internet or
    telephone prescriptions would be dangerous to women and adolescent girls” and that
    “health care providers prescribing abortion-inducing drugs over the Internet or phone or
    before a patient is even pregnant cannot adequately evaluate patients for contraindications
    to the drugs” (Petition at 18-19).

    We do not agree that eliminating the REMS requirement for the dispensing of Mifeprex in
    certain healthcare settings will be dangerous to patients, nor do we agree that doing so will
    affect the ability of healthcare providers to evaluate women for contraindications to
    mifepristone in a regimen with misoprostol for medical termination of intrauterine
    pregnancy through 70 days gestation. There are many factors that contribute to patient
    safety, including evaluation of a patient, informed consent, development of a follow-up
    plan, and provision of a contact for emergency care. All of these can occur in many types
    of healthcare settings. The evaluation of patients for contraindications to medical abortion
    does not necessarily require direct physical contact with the certified prescriber.

    You also assert that telemedicine abortion absolves abortion providers of responsibility for
    the well-being of their patients (Petition at 19). We do not agree. Healthcare providers
    who prescribe mifepristone are responsible for the well-being of their patients regardless of
    mode of evaluation or dispensing of medication. The Agency agrees with the American
    Medical Association that a healthcare provider-patient relationship is entered when the
    “physician serves a patient’s medical needs;”117 in the context of medical abortion, this


    117
          See www.ama-assn.org/delivering-care/ethics/patient-physician-relationships.


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    healthcare provider-patient relationship continues until resolution of the pregnancy or
    transfer of care to another healthcare provider.118

    We also note that patients who are not pregnant at the time of evaluation would not be
    appropriate candidates for being prescribed mifepristone for medical termination of
    pregnancy because they do not fulfill the approved indication of having an intrauterine
    pregnancy of up to 70 days gestation.


             2.       Other Safety Issues and Additional Studies

    In support of your request that we retain the Mifeprex REMS, you cite the Council for
    International Organizations of Medical Sciences’ (CIOMS) definition of “rare” to assert
    that because “about 1 out of 100 women” using Mifeprex and misoprostol require surgery,
    serious complications are common, not rare (Petition at 15-16).119 Although we agree that
    certain elements of the Mifepristone REMS Program are necessary to assure the safe use of
    mifepristone, we do not agree with your assertion.

    In the Petition, you state that the Medication Guide improperly downplays the risks of the
    use of Mifeprex in a regimen with misoprostol and you cite the Medication Guide as stating
    “‘rarely, serious and potentially life-threatening bleeding, infections, and other problems
    can occur following . . . medical abortion.’ Specifically, ‘in about 1 out of 100 women
    [administered Mifeprex and misoprostol] bleeding can be so heavy that it requires a
    surgical procedure.” (Petition at 15). Using these two separate statements in the
    Medication Guide, you argue that the CIOMS’s definition of rare (“1 out of 1000”) means
    that if 1 out of 100 women using Mifeprex in a regimen with misoprostol require surgery,
    serious complications are common, not rare. (Petition at 16). However, your reference to
    the two sentences in the Medication Guide conflates two different clinical scenarios: (1) the
    adverse event of serious and potentially life-threatening bleeding, and (2) treatment failure.

    The first sentence you reference states: “Although cramping and bleeding are an expected
    part of ending a pregnancy, rarely, serious and potentially life-threatening bleeding,
    infections, or other problems can occur following a miscarriage, surgical abortion, medical
    abortion, or childbirth.” This statement refers to life-threatening adverse events that can
    occur during termination regardless of gestational age or during miscarriage or childbirth
    regardless of the mode of delivery (e.g., vaginal delivery or cesarean section). At the time
    of our review of the clinical studies submitted to support the S-020 efficacy supplement, the
    reported rate of death in the studies reviewed, based on one death, was 0.007 percent (very
    rare under the CIOMS definition).120 The rate of infections requiring hospitalization or



    118
        See https://www.ama-assn.org/delivering-care/ethics/ethical-practice-telemedicine.
    119
        Council for International Organizations of Medical Sciences. Guidelines for Preparing Core Clinical Safety
    Information on Drugs Second Edition. 1999. https://cioms.ch/wp-content/uploads/2018/03/Guidelines-for-
    Preparing-Core-Clinical-Safety-Info-Drugs-Report-of-CIOMS-Working-Group-III-and-V.pdf. Accessed
    December 13, 2021 (CIOMS).
    120
        Id. at 36 (defining the “very rare” standard category of frequency as less than 0.01 percent).


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    intravenous antibiotics was less than 0.1 percent (rare under the CIOMS definition),121 and
    rates of transfusion were 0.03-0.7 percent (rare to uncommon under the CIOMS
    definition).122 Therefore, “rarely” accurately refers to the frequency of the adverse events
    referenced in this statement.

    The second sentence you reference from the Medication Guide states: “In about 1 out of
    100 women, bleeding can be so heavy that it requires a surgical procedure (surgical
    aspiration or D&C).” This statement refers to the rate of surgical procedures for bleeding
    following treatment with mifepristone. Heavy bleeding or hemorrhage after medical
    abortion is a small subset of bleeding and can require a surgical procedure due to ongoing
    pregnancy or incomplete expulsion; these are considered failed treatment rather than
    adverse events and are not characterized using the CIOMS definitions. Even if heavy,
    bleeding after medical abortion may not be considered a serious adverse event unless
    clinically diagnosed as hemorrhage or requiring a transfusion. Furthermore, in the vast
    majority of medical abortions, surgical intervention is not necessary.

    You also cite a 2009 study and a 2018 study to assert that medical abortions carry greater
    risks than surgical abortions (Petition at 16). The 2009 Niinimaki, et al.123 study reported
    overall incidences of immediate adverse events (up to 42 days) in medical and surgical
    abortions performed in women undergoing induced abortion from 2000-2006 based on data
    from the Finnish national registries. We agree that the overall incidence of adverse events
    for medical abortion was fourfold higher when compared with surgical abortion (20.0
    percent versus 5.6 percent). Specifically, the incidence of hemorrhage, incomplete
    abortion, and surgical (re)evacuation were higher for medical abortion. However, the
    authors specifically noted that because medical abortion is associated with longer uterine
    bleeding, the high rate of events, which were pulled from a national registry reflecting both
    inpatient and outpatient visits, is not surprising. They opined that uterine bleeding
    requiring surgical evacuation probably better reflects the severity of bleeding after
    termination of pregnancy; the incidence of such bleeding was relatively low, although it
    was more common with medical abortion. In addition, the authors acknowledged there are
    inherent weaknesses in registry-based studies; there is variable reliability both of diagnoses
    and of severity of diagnoses. Nevertheless, the authors concluded that both methods are
    generally safe and recommended discussing the adverse event profiles of different methods
    when counseling women seeking pregnancy termination.

    We note that Ireland, et al.124 reported findings from a more recent retrospective cohort
    study of 30,146 United States women undergoing pregnancy termination before 64 days of
    gestation from November 2010 to August 2013. Efficacy of pregnancy termination was
    99.6 percent and 99.8 percent for medical and surgical abortion, respectively.

    121
        Id. at 36 (defining the “rare” standard category of frequency as greater than or equal to 0.01 percent and
    less than 0.1 percent).
    122
        Id. at 36 (defining the “uncommon” standard category of frequency as greater than or equal to 0.1 percent
    and less than 1 percent); see also 2016 Clinical Review, supra n. 13, at 47 and 51.
    123
        Niinimaki M, Pouta A, Bloigu A, et al. Immediate complications after medical compared with surgical
    termination of pregnancy. Obstet Gynecol. 2009;114(4):795-804.
    124
        Ireland LD, Gatter, M, Chen, A. 2015. Medical Compared with Surgical Abortion for Effective Pregnancy
    Termination in the Frist Trimester. Obstetrics & Gynecology 126;22-28.


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    Unanticipated aspiration for persistent pain, bleeding or both were 1.8 percent and 0.4
    percent for medical and surgical abortion respectively. These findings are compatible with
    the Niinimaki study findings. There was no difference in major adverse events as defined
    by the authors (emergency department visit, hospitalization, uterine perforation, infection,
    hemorrhage requiring transfusion) between the groups. The authors conclude medical and
    surgical abortion before 64 days of gestation are both highly effective with low
    complication rates.

    The 2018 Carlsson study is addressed above in section II.A.2.b.ii. of this response; as
    discussed above, that study showed no statistically significant difference between the
    overall complication rates between an “at home” and “at the hospital” abortion.125

    We acknowledge that medical abortion is known to have more days of bleeding and
    increased rates of incomplete abortion compared to surgical abortion. However, as noted
    above, in the vast majority of medical abortions, surgical intervention is not necessary.
    Thus, medical abortion and surgical abortion are two options; both have benefits, side
    effects, and potential complications. Patients and their healthcare providers should discuss
    which method is preferable and safer according to each woman’s unique situation.

    You state that the Mifeprex REMS should require a formal study for at-risk populations,
    including: patients under the age of 18; patients with repeat Mifeprex abortions; patients
    with limited access to emergency room services; and patients who self-administer
    misoprostol (Petition at 13-14). As we explain below, additional studies are not needed at
    this time.

    In justifying your assertion that a formal study is required in patients under the age of 18,
    you state that Mifeprex was approved for use in the pediatric population in 2000 after the
    requirement for studies in the pediatric population was waived (Petition at 13-14). The
    approved indication for mifepristone does not limit its use by age. Although patients age
    17 and under were not included in the clinical trials supporting the initial approval of
    Mifeprex in 2000, we stated at the time that the safety and efficacy were expected to be the
    same for postpubertal (i.e., post-menarchal) adolescents. Our conclusion in 2000 that
    pediatric studies of Mifeprex were not needed for approval was consistent with FDA’s
    implementation of the regulations in effect at that time. Because we determined that there
    were sufficient data from studies of mifepristone, the original Mifeprex approval should
    have reflected the Agency’s conclusion that the pediatric study requirements were waived
    for pre-menarchal females and that the pediatric study requirements were met for post-
    menarchal adolescents, rather than stating that the Agency was waiving the requirements
    for all pediatric age groups.

    As currently required by the Pediatric Research Equity Act (PREA),126 certain applications
    or supplemental applications must include pediatric assessments of the safety and
    effectiveness of the drug for the claimed indication(s) in all relevant pediatric


    125
          Carlsson et al., supra n. 49.
    126
          Section 505B of the FD&C Act (21 U.S.C. 355c).


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    subpopulations, unless that requirement is waived or deferred.127 In accordance with
    PREA, when FDA reviewed the S-020 efficacy supplement, a partial waiver was granted
    for pediatric studies in pre-menarchal females because pregnancy does not occur in
    premenarchal females. We also determined that the applicant had fulfilled the pediatric
    study requirement in post-menarchal adolescents. This determination was based on data
    extrapolated from adults and information in literature. Review of these findings found the
    safety and efficacy in this population to be similar to the safety and efficacy in the adult
    population.128 Therefore, we do not agree that a formal study is required in patients under
    18.

    With regard to your concerns about repeat abortions and your assertion that a study is
    necessary in this population, we acknowledge that published data concerning adverse
    reproductive health outcomes in U.S. women who undergo repeat medical abortions are
    limited. We concluded in our 2016 review of the S-020 efficacy supplement that there is
    no evidence that repeated medical or surgical abortion is unsafe or that there is a tolerance
    effect. We also noted that return to fertility after the use of mifepristone is well
    documented. 129 This is reflected both in Section 17 of the approved labeling, Patient
    Counseling Information, which states that the provider should “inform the patient that
    another pregnancy can occur following medical abortion and before resumption of normal
    menses,” and in the Medication Guide, which states “You can become pregnant again right
    after your pregnancy ends.” Although you state that more than one out of every three
    abortions in the United Sates is a repeat abortion (Petition at 14),130 we are not aware of
    reports suggesting greater safety concerns in repeat abortions than a first-time abortion.
    Therefore, we do not agree that a study is necessary in this population. You also cite a
    published study, using a mouse model, of repeated medical termination of pregnancy that
    showed repeat medical abortion impaired the reproductive function of female mice
    (Petition at 14).131 Per our 2016 review, there is no evidence in available clinical data that
    repeated medical or surgical abortion is unsafe, or that fertility is impaired by the use of
    mifepristone; therefore, data from a single non-clinical study in mice are not persuasive.132

    With respect to your request for a formal study of mifepristone for medical abortion in
    women without access to emergency care, we disagree that such a study is necessary. In
    order to become a certified prescriber, a healthcare provider must agree that they have the
    ability to provide surgical intervention in cases of incomplete abortion or severe bleeding or
    have made plans to provide such care through others, and that they have the ability to
    assure patient access to medical facilities equipped to provide blood transfusions and
    resuscitation, if necessary. These prescriber qualifications ensure that mifepristone is
    prescribed to women for whom emergency care is available.


    127
        Section 505B(a)(2) of the FD&C Act (21 U.S.C. 355c(a)(2)).
    128
        2016 Clinical Review, supra n. 13, at 74-76.
    129
        Id. at 47.
    130
        In support of this assertion, you cite Jones R, Jerman J, Ingerick M. Which abortion patients have had a
    prior abortion? Findings from the 2014 U.S. Abortion Patient Survey. J Womens Health.
    131
        Lv F, Xu X, Zhang S, et al. Repeated abortion affects subsequent pregnancy outcomes in BALB/c mice.
    PLoS One. 2012;7(10):e48384. doi:10.1371/journal.pone.0048384.
    132
        2016 Clinical Review, supra n. 13, at 47.


                                                          39
                                                                                                       App. 000687
Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                               Page 124 of 245 PageID 10192
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 Finally, you assert that FDA should require a formal study in patients who self-administer
 misoprostol. As explained in section II.A.2.b.ii of this response, FDA conducted a literature
 review of self-administration of misoprostol at home as part of its review of the S-020
 efficacy supplement and found no safety or efficacy concerns with home self-
 administration of misoprostol. Therefore, we disagree that a formal study is required in this
 population.

 With regard to safety generally, in addition to the FAERS data provided above (see section
 II.B.1.c.ii. in this response), FDA routinely monitors adverse events reported to FAERS and
 published in the medical literature for mifepristone for medical termination of pregnancy
 through 70 days gestation. We have not identified any new safety concerns with the use of
 mifepristone for this indication.


          3.       Other Articles

 In your Petition, you reference several documents that discuss alternative models of
 providing abortion medications and advocate for the lifting of the REMS on mifepristone
 (Petition at 23-24). You assert that these recent publications demonstrate how abortion
 advocates will continue to pressure FDA to eliminate the REMS and move towards over-
 the-counter access for Mifeprex.133
 We agree that the overarching message in the publications you reference appears to be
 advocating self-management of medical abortion. Nonetheless, as discussed in this
 response, we have determined that the Mifepristone REMS Program continues to be
 necessary for the safe use of this drug product, with some modifications.


 III.     CONCLUSION

 For the reasons set forth above, we deny your request that FDA restore and strengthen elements of
 the Mifeprex regimen and prescriber requirements approved in 2000; and we grant in part and deny
 in part your request to retain the Mifepristone REMS Program. As with all approved drug
 products, we will continue to monitor the safety of mifepristone for the approved indication and
 take any appropriate actions.

                                                        Sincerely,
                                                        Patrizia A.              Digitally signed by Patrizia A.
                                                                                 Cavazzoni -S
                                                        Cavazzoni -S             Date: 2021.12.16 15:05:41 -05'00'


                                                        Patrizia Cavazzoni, M.D.
                                                        Director
                                                        Center for Drug Evaluation and Research

 133
    You also reference clinical trials relating to the use of mifepristone for spontaneous miscarriage
 management and question the results of studies related to this use (Petition at 16-18). The use of mifepristone
 for the management of early miscarriage is not an approved indication for this drug product and is outside the
 scope of the Mifepristone REMS Program. Therefore, we do not address it in this response.


                                                       40
                                                                                                                     App. 000688
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                                EXHIBIT 35

       Questions and Answers on FDA's Adverse Event
                 Reporting System (FAERS)




                                                                   App. 000689
10/10/23, 1:36 PM                                Questions and Answers on FDA's Adverse Event Reporting System (FAERS) | FDA
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           Questions and Answers on FDA's Adverse Event Reporting System
                                     (FAERS)

     What is FAERS?
     The FDA Adverse Event Reporting System (FAERS) is a database that contains adverse event reports, medication
     error reports and product quality complaints resulting in adverse events that were submitted to FDA. The database
     is designed to support the FDA's post-marketing safety surveillance program for drug and therapeutic biologic
     products. The informatic structure of the FAERS database adheres to the international safety reporting guidance
     issued by the International Conference on Harmonisation (ICH E2B (/drugs/guidances-drugs/international-
     council-harmonisation-efficacy)). Adverse events and medication errors are coded using terms in the Medical
     Dictionary for Regulatory Activities (MedDRA) (http://www.meddra.org/)  (http://www.fda.gov/about-
     fda/website-policies/website-disclaimer) terminology.


     How does FDA use the information in FAERS?
     FAERS is a useful tool for FDA for activities such as looking for new safety concerns that might be related to a
     marketed product, evaluating a manufacturer's compliance to reporting regulations and responding to outside
     requests for information. The reports in FAERS are evaluated by clinical reviewers, in the Center for Drug
     Evaluation and Research (CDER) and the Center for Biologics Evaluation and Research (CBER), to monitor the
     safety of products after they are approved by FDA.
      If a potential safety concern is identified in FAERS, further evaluation is performed. Further evaluation might
     include conducting studies using other large databases, such as those available in the Sentinel System. (/sentinel-
     initiative-transforming-how-we-monitor-product-safety) Based on an evaluation of the potential safety concern,
     FDA may take regulatory action(s) to improve product safety and protect the public health, such as updating a
     product’s labeling information, restricting the use of the drug, communicating new safety information to the public,
     or, in rare cases, removing a product from the market.


     Who sends reports to FAERS?
     Healthcare professionals, consumers, and manufacturers submit reports to FAERS. FDA receives voluntary reports
     directly from healthcare professionals (such as physicians, pharmacists, nurses and others) and consumers (such as
     patients, family members, lawyers and others). Healthcare professionals and consumers may also report to the
     products’ manufacturers. If a manufacturer receives a report from a healthcare professional or consumer, it is
     required to send the report to FDA as specified by regulations.


     How can I report an adverse event or medication error to FDA?
     The MedWatch (https://www.fda.gov/Safety/MedWatch/default.htm) website provides information about
     voluntary and mandatory reporting (https://www.fda.gov/Safety/MedWatch/HowToReport/default.htm).


     Can mandatory reporters submit adverse events electronically?
     Yes, the FDA Adverse Events Reporting System (FAERS) Electronic Submissions (/drugs/fda-adverse-event-
     reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-submissions) website provides drug
     and therapeutic biological product manufacturers, distributors, packers, and other interested parties with
     information about FDA Adverse Event Reporting System (FAERS) electronic submissions and instructions on how
     to electronically submit post-marketing individual case safety reports (ICSRs), with and without attachments.
                                                                                                                    App. 000690
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                            1/4
10/10/23, 1:36 PM                                Questions and Answers on FDA's Adverse Event Reporting System (FAERS) | FDA
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     Does FAERS data have limitations?
     Yes, FAERS data does have limitations. First, there is no certainty that the reported event (adverse event or
     medication error) was due to the product. FDA does not require that a causal relationship between a product and
     event be proven, and reports do not always contain enough detail to properly evaluate an event. Furthermore, FDA
     does not receive reports for every adverse event or medication error that occurs with a product. Many factors can
     influence whether an event will be reported, such as the time a product has been marketed and publicity about an
     event. There are also duplicate reports where the same report was submitted by a consumer and by the sponsor.
     Therefore, FAERS data cannot be used to calculate the incidence of an adverse event or medication error in the U.S.
     population. For more information, please refer to the question “ What points should I consider while viewing the
     dashboard content? (https://fis.fda.gov/extensions/fpdwidgets/2e01da82-13fe-40e0-8c38-
     4da505737e36.html#_Toc493751926)”


     Is FAERS data available to the public?
     FAERS data is available to the public in the following ways:

            FAERS dashboard (/drugs/fda-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-
            faers-public-dashboard): a highly interactive web-based tool that allows for the querying of FAERS data in a
            user friendly fashion.
            FAERS data files (/drugs/fda-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-
            faers-latest-quarterly-data-files): provides raw data consisting of individual case safety reports extracted from
            the FAERS database. A simple search of FAERS data cannot be performed with these files by persons who are
            not familiar with the creation of relational databases.
            Individual case safety reports from the FAERS database can also be obtained by sending a Freedom of
            Information (FOI) request to FDA (/how-make-foia-request).


     How do I find or confirm my report is in FAERS?
     To confirm that your report is in FAERS, please send a Freedom of Information (FOI) request to FDA (/how-make-
     foia-request).


     What are the benefits of the FAERS public dashboard?
     This tool makes the data easier to query and produces user-friendly information and charts. For example, users can
     view a summary of adverse event reports received from 1968 to the present or for a specific timeframe. In addition,
     users can search on a product of interest within a specific timeframe.


     Will there be a tutorial so I can learn how to use this database?
     Yes, a recorded webinar (/about-fda/pharmacy-student-experiential-program/fda-drug-topics-fda-adverse-events-
     reporting-system-faers-public-dashboard-january-30-2018) is available which reviews the capabilities, and
     limitations, of the FAERS public dashboard.


     Is the FAERS public dashboard accessible on an Android™ or iPhone®?
     Yes, but the user interface layout may not be very user friendly. FDA will continue to work on the dashboard to make
     the user interface Android and iPhone friendly.




                                                                                                                    App. 000691
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                            2/4
10/10/23, 1:36 PM                                Questions and Answers on FDA's Adverse Event Reporting System (FAERS) | FDA
         Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                                    Page 128 of 245 PageID 10196
     Can I download my search results from the dashboard?
     Yes, you will be able to export a limited set of search data to an Excel® spreadsheet and then download it. FDA will
     still continue to provide the FAERS Latest Quarterly Data Files (/drugs/fda-adverse-event-reporting-system-
     faers/fda-adverse-event-reporting-system-faers-latest-quarterly-data-files) online.

     Note: The data fields listed on the FAERS Dashboard currently is a subset of the data fields available in the FAERS
     Quarterly Data files. Future release of the FAERS Dashboard plans to make the other data fields available. Also the
     data displayed in the FAERS Dashboard may not be identical to the data in the FAERS Quarterly Data files due to
     different data extraction dates.


     Where else can I find safety information?
            Potential Signals of Serious Risks/New Safety Information Identified from the FDA Adverse Event Reporting
            System (FAERS): quarterly reports on potential serious side effects identified by FAERS. (/drugs/fda-adverse-
            event-reporting-system-faers/potential-signals-serious-risksnew-safety-information-identified-fda-adverse-
            event-reporting-system)
            Post-marketing Drug and Biologic Safety Evaluations (/drugs/surveillance/postmarket-drug-and-biologic-
            safety-evaluations): provides summary information about ongoing and completed post-marketing safety
            evaluations of adverse experience reports made to FDA for New Drug Applications (NDAs) and Biologic
            License Applications (BLAs) approved since September 27, 2007.
            Center for Drug Evaluation and Research (CDER): Drug Safety and Availability
            (https://www.fda.gov/Drugs/DrugSafety/default.htm)
            Post-market Drug Safety Information for Patients and Providers
            (https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/default.htm)
            MedWatch: The FDA Safety Information and Adverse Event Reporting Program
            (https://www.fda.gov/Safety/MedWatch/default.htm)


     How are versions of a case in FAERS handled?
     Each unique submission of a case received is assigned a version number (for example, Case #1234567, version 1).
     The initial version received will be version 1. If a follow up is received on a previously submitted case, then that
     version of the case will be version 2, and so on. The latest version of a case represents the most current information
     about that case.

     The data is updated quarterly.


     What points should I consider while viewing the dashboard content?
     When you view the website output of reported reactions (side effects or adverse drug reactions) for a drug product, it
     is important to consider the following points:

            Data Quality: There are many instances of duplicative reports and some reports do not contain all the
            necessary information. Duplicate reporting occurs when the same report is submitted by the consumer and the
            sponsor. The information in FAERS evolves daily and the number of individual cases may increase or decrease.
            It is therefore possible that the information on this website may change over time.
            Existence of a report does not establish causation: For any given report, there is no certainty that a
            suspected drug caused the reaction. While consumers and healthcare professionals are encouraged to report
            adverse events, the reaction may have been related to the underlying disease being treated, or caused by some

                                                                                                                    App. 000692
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                            3/4
10/10/23, 1:36 PM                                Questions and Answers on FDA's Adverse Event Reporting System (FAERS) | FDA
         Case
           other2:22-cv-00223-Z      Document
                 drug being taken concurrently, or 195-4
                                                   occurredFiled 10/11/24
                                                           for other           Page
                                                                     reasons. The     129 of 245
                                                                                  information        PageID
                                                                                              in these         10197
                                                                                                       reports reflects
            only the reporter's observations and opinions.
            Information in reports has not been verified: Submission of a report does not mean that the
            information included in it has been medically confirmed nor it is an admission from the reporter that the drug
            caused or contributed the event.
            Rates of occurrence cannot be established with reports: The number of suspected reactions in FAERS
            should not be used to determine the likelihood of a side effect occurring. The FDA does not receive reports for
            every adverse event or medication error that occurs with a product. Many factors can influence whether an
            event will be reported, such as the time a product has been marketed and publicity about an event. Therefore,
            information in these reports cannot be used to estimate the incidence (occurrence rates) of the reactions
            reported.
            Patients should talk to their doctor before stopping or changing how they take their medications.
            Patient Outcomes received in FAERS: These data describe the outcome of the patient as defined in U.S.
            reporting regulations (21 CFR 310.305, 314.80, 314.98, 600.80). Serious means that one or more of the
            following outcomes were documented in the report: death, hospitalization, life-threatening, disability,
            congenital anomaly, and/or other serious outcome. Documenting one or more of these outcomes in a report
            does not necessarily mean that the suspect product(s) named in the report was the cause of the outcomes.

     Importantly, the FAERS data by themselves are not an indicator of the safety profile of the drug.




                                                                                                                    App. 000693
https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-reporting-system-faers                            4/4
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                                EXHIBIT 36

         Kathi A. Aultman et al., Deaths and Severe
      Adverse Events after the use of Mifepristone as an
                        Abortifacient




                                                                   App. 000694
Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                                 Page 131 of 245 PageID 10199




                   Deaths and Severe Adverse
                     Events after the use of
                       Mifepristone as an
                      Abortifacient from
                      September 2000 to
                        February 2019
                       Kathi A. Aultman M.D.,* Christina A. Cirucci M.D.,
                      Donna J. Harrison M.D.,** Benjamin D. Beran M.D.,***
                      Michael D. Lockwood D.O.,**** Sigmund Seiler M.D.*****

         ABSTRACT: Objectives: Primary: Analyze the Adverse Events (AEs)
         reported to the Food and Drug Administration (FDA) after use of
         mifepristone as an abortifacient. Secondary: Analyze maternal intent
         after ongoing pregnancy and investigate hemorrhage after mifepristone
         alone.
              Methods: Adverse Event Reports (AERs) for mifepristone used as an
         abortifacient, submitted to the FDA from September 2000 to February
         2019, were analyzed using the National Cancer Institute’s Common
         Terminology Criteria for Adverse Events (CTCAEv3).
                Results: The FDA provided 6158 pages of AERs. Duplicates, non-
         US, or AERs previously published (Gary, 2006) were excluded. Of the
         remaining, there were 3197 unique, US-only AERs of which there were
         537 (16.80%) with insufficient information to determine clinical
         severity, leaving 2660 (83.20%) Codable US AERs (Figure 1). Of these, 20
         were Deaths, 529 were Life-threatening, 1957 were Severe, 151 were
         Moderate, and 3 were Mild.

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              **** Department of Osteopathic Manipulative Medicine, Liberty University College of Osteopathic

          Medicine.
              ***** Associate Professor of Family Medicine, Liberty University College of Osteopathic Medicine.

                                                                                            App. 000695
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              The deaths included: 9 (45.00%) sepsis, 4 (20.00%) drug toxicity/
         overdose, 1 (5.00%) ruptured ectopic pregnancy, 1 (5.00%)
         hemorrhage, 3 (15.00%) possible homicides, 1 (5.00%) suicide, 1
         (5.00%) unknown (Table 1).
              Retained products of conception and hemorrhage caused most
         morbidity. There were 75 ectopic pregnancies, including 26 ruptured
         ectopics (includes one death).
              There were 2243 surgeries including 2146 (95.68%) D&Cs of which
         only 853 (39.75%) were performed by abortion providers.
              Of 452 patients with ongoing pregnancies, 102 (22.57%) chose to
         keep their baby, 148 (32.74%) had terminations, 1 (0.22%) miscarried,
         and 201 (44.47%) had unknown outcomes.
              Hemorrhage occurred more often in those who took mifepristone
         and misoprostol (51.44%) than in those who took mifepristone alone
         (22.41%).
              Conclusions: Significant morbidity and mortality have occurred
         following the use of mifepristone as an abortifacient. A pre-abortion
         ultrasound should be required to rule out ectopic pregnancy and confirm
         gestational age. The FDA AER system is inadequate and significantly
         underestimates the adverse events from mifepristone.
              A mandatory registry of ongoing pregnancies is essential
         considering the number of ongoing pregnancies especially considering
         the known teratogenicity of misoprostol.
              At the very least, the FDA should reinstate the original 2011 REMS
         and strengthen the reporting requirements.
              Conflict of Interest Statement: The authors did not report any
         potential conflicts of interest. Authors note that although Dr. Harrison is
         an associate editor for Issues in Law and Medicine, she recused herself
         from any involvement in the peer review process for this manuscript.
              Keywords:     Mifepristone,     Mifeprex,     RU-486,    Misoprostol,
         Abortifacient, Medical Abortion, Abortion Pill, Medical Abortion
         Complications, No touch abortion, DIY Abortion, Self-Administered
         Abortion, Adverse Events, Adverse Event Reports, Post-marketing
         Surveillance, FAERS, Drug Safety, Emergency Medicine, FDA, REMS, Risk
         Evaluation Mitigation Strategy.




                                                                      App. 000696
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         Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient                               5



                                                       Introduction
              The application for mifepristone (RU-486, RU-38486, Mifeprex) as an
         abortifacient was submitted to the Food and Drug Administration (FDA) in 1996
         by the Population Council, which was given the manufacturing and distribution
         rights from Roussel Uclaf. 1 The Population Council partnered with Danco
         Laboratories, newly created in 1995, and gave them the manufacturing,
         marketing, and distribution rights. The FDA approved mifepristone in September
         2000 under restricted distribution regulations (Subpart H) due to the FDA’s
         conclusion that restrictions “on the distribution and use of mifepristone are
         needed to ensure safe use of this product.” 2
              Included in these restrictions was the requirement that all serious Adverse
         Events (AEs), after the use of mifepristone as an abortifacient, be reported to the
         FDA by Danco as part of post-marketing surveillance. According to the FDA,3 the
         purpose of such post-marketing surveillance includes identification of potential
         risks recognized after the time of approval, identification of unexpected deaths,
         causal attribution of AEs based on the product’s known pharmacological action,
         and AEs for which a Risk Evaluation Mitigation Strategy (REMS) is intended to
         mitigate the risk.
              In 2006, in response to the deaths of 4 women from a rare bacterial sepsis
         from Clostridium sordellii (C. sordellii), the FDA and CDC convened a workshop,
         during which mifepristone alteration of the immune system was detailed, and
         they concluded that such alteration could lead to impaired ability to respond to C.
         sordellii toxin.4




               1
                 Citizen petition re: Request for Stay and Repeal of the Approval of Mifeprex (mifepristone) for the Medical
         Termination of Intrauterine Pregnancy through 49 Day’s Gestation Final. Before the Department of Health and
         Human Services: Food and Drug Administration. AAPLOG. 2002. 7-10. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/Documents/2002%20Aug%2020%20Citizen%20Petition_Mifeprex.pdf
               2
                 Center for Drug Evaluation and Research. Approval Letter for Mifeprex NDA 20-687. February 18, 2000.
         Food and Drug Administration. p 5. Accessed November 16, 2020.
         https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687approvable00.pdf
               3
                 US Department of Health and Human Services, Food and Drug Administration Center for Drug Evaluation and
         Research, Center for Biologics Evaluation and Research. Best Practices in Drug and Biological Product Postmarket
         Safety Surveillance for FDA Staff. November 2019. p 7-8. Accessed Jan 16 2021.
         https://www.fda.gov/media/130216/download p7-8
               4
                 Emerging Clostridial Disease Workshop: May 11, 2006, Atlanta, GA. Department of Health and Human
         Services, Centers for Disease Control and Prevention, Food and Drug Administration, National Institutes of Health.
         2006. p. 109,110. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/2006%20CDC%20FDA%20Clostridial%20Disease%20Transcript.pdf
                                                                                                 App. 000697
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         There is evidence that both mifepristone 5 , 6 , 7 and misoprostol 8 can suppress
         immune response to C. sordellii in animal models.
              In response to the septic deaths, Planned Parenthood changed their off-label
         protocol from vaginal administration of misoprostol to buccal in 2006. 9,10 Yet, as
         we found in our analysis, sepsis deaths from C. sordellii and other bacteria
         continued to occur after 2007. All sepsis deaths occurred with either vaginal or
         buccal misoprostol, which were both off label routes of administration until the
         buccal route was authorized in 2016. 11
              In 2011, the FDA approved a Risk Evaluation and Mitigation Strategy (REMS)
         for Mifepristone incorporating the original restrictions. 12 In May 2015,
         Mifepristone’s sponsor submitted a supplemental new drug application to the
         FDA to obtain approval to revise the drug’s labeling, which the FDA approved in
         2016.13,14 The 2016 changes in the Regimen and Prescriber Agreement extended
         the original gestational age limit from 49 days to 70 days, changed the
         mifepristone dose from 600 mg to 200 mg orally, changed the misoprostol dose
         from 400 mcg orally on Day 3 to 800 mcg buccally on Day 2 or 3, allowed non-
         physicians to become prescribers, reduced the number of required office visits
         from 3 to just one initial office visit, and allowed a repeat dose of misoprostol if
         complete expulsion did not occur.15 The prescriber agreement was changed so

               5
                 Emerging Clostridial Disease Workshop: May 11, 2006, Atlanta, GA. Department of Health and Human
         Services, Centers for Disease Control and Prevention, Food and Drug Administration, National Institutes of Health.
         2006. p. 109, 110 Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/2006%20CDC%20FDA%20Clostridial%20Disease%20Transcript.pdf
               6
                 Webster JI, Sternberg EM. Role of the hypothalamic-pituitary-adrenal axis, glucocorticoids and glucocorticoid
         receptors in toxic sequelae of exposure to bacterial and viral products. J Endocrinol. 2004;181(2):212, 213, 216, 217.
         doi.org/10.1677/joe.0.1810207
               7
                 Hawes AS, Rock CS, Keogh CV, Lowry SF, Calvano SE. In vivo effects of the antiglucocorticoid RU 486 on
         glucocorticoid and cytokine responses to Escherichia coli endotoxin. Infect Immun. 1992;60(7):2645, 2646.
         doi:10.1128/IAI.60.7.2641-2647.1992
               8
                 Aronoff DM, Hao Y, Chung J, et al. Misoprostol impairs female reproductive tract innate immunity against
         Clostridium sordellii. J Immunol. 2008;180(12):8227-8229. https://doi.org/10.4049/jimmunol.180.12.8222
               9
                 Trussell, J, Nucatola, D, Fjerstad, M, Lichtenberg, ES. Reduction in infection-related mortality since
         modifications in the regimen of medical abortion. Contraception, 2014;89(3):193-196.
         https://doi.org/10.1016/j.contraception.2013.11.020
               10
                  Fjerstad M, Trussell, J, Sivin, I, Lichtenberg, ES, Rates of Serious Infection after Changes in Regimens for
         Medical Abortion. N Engl J Med. 2009 July 9;361(2):148-149. July 9, 2009 N Engl J Med 2009; 361:145-151.
         doi:10.1056/NEJMoa0809146
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                  GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
         Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
         p. 7. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
               12
                  NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
         Food and Drug Administration. 2011. 1-11. Reference ID: 2957855. Published June 8, 2011. Accessed November 13,
         2020. https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2011-06-08_Full.pdf
               13
                  GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
         Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
         p. 1. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
               14
                  NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
         Food and Drug Administration. 2016. 1-8. Reference ID: 3909592. Published March 29, 2016. Accessed November
         13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf
               15
                  GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
         Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
         p.7. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
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         that instead of being required to “report any hospitalization, transfusion or other
         serious event to Danco Laboratories,”16 providers were only required to report
         deaths.17 The requirement to report ongoing pregnancies that are not terminated
         was also eliminated. “The FDA approved GenBioPro, Inc.’s abbreviated new drug
         application (ANDA) for generic Mifeprex on April 11, 2019” and “established a
         single, shared system REMS for mifepristone products” without substantially
         changing the REMS.18
               During the COVID-19 pandemic the Maryland District Court issued a
         preliminary injunction prohibiting the FDA from enforcing the in-person
         dispensing and signature requirements contained in the mifepristone REMS. 19
         This decision eliminated the need for an initial office visit for dispensing the
         medication and opened the door for dispensing of the drug via telehealth with no
         actual clinician contact. On January 12, 2021, the Supreme Court enabled the FDA
         to enforce the mifepristone REMS. 20 These requirements are essential for the
         safety of women and must be kept in place.
               The first systematic analysis of these Adverse Event Reports (AERs)
         obtained by the Freedom of Information Act (FOIA), was published by Gary and
         Harrison in 2006. 21 This paper extends that analysis to AERs not previously
         published and augments the scant published literature on mifepristone safety.

         Objectives
              Primary: To analyze and codify the significant adverse events and their
         treatment after the use of mifepristone as an abortifacient, extending the
         previously published analysis by Gary in 2006.22 Secondary: To examine maternal
         decisions in the case of ongoing pregnancy after attempted mifepristone
         termination, and to determine if failing to take misoprostol after mifepristone
         increased the risk of hemorrhage.




               16
                  NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
         Food and Drug Administration. 2011. p. 7. Reference ID: 2957855. Published June 8, 2011. Accessed November 13,
         2020. https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2011-06-08_Full.pdf
               17
                  NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg: Risk Evaluation and Mitigation Strategy (REMS).
         Food and Drug Administration. 2016. p. 6. Reference ID: 3909592. Published March 29, 2016. Accessed November
         13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf
               18
                  Questions and Answers on Mifeprex. Food and Drug Administration. March 28, 2018. Updated 4-12-2019.
         Accessed November 13, 2020. https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
         providers/questions-and-answers-mifeprex
               19
                  American College of Obstetricians and Gynecologists, et al., v. Food and Drug Administration, et al., No. 20-
         1320, 2020 WL 3960625 (D. Md. July 13, 2020). Accessed November 16th, 2020.
         https://www.courthousenews.com/wp-content/uploads/2020/07/093111166803.pdf
               20
                  FDA v ACOG. SCOTUS. 20a34_3f14. Accessed January 20, 2021.
         https://www.supremecourt.gov/opinions/20pdf/20a34_3f14.pdf
               21
                  Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
         Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
               22
                  Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
         Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
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         Materials and Methods
              FDA AERs related to the use of mifepristone from September 2000 to
         February 2019 were obtained through the Freedom of Information Act (FOIA)
         from the FDA, and a comparison was made with FDA reports available online on
         the FDA Adverse Events Reporting System (FAERS) Dashboard. 23 Duplicate AERs
         were identified by comparing FDA case identification numbers, manufacturer
         identification numbers, dates of treatment, patient age, and descriptions of case
         scenarios to ensure that each case was included only once in this analysis. The
         authors excluded duplicates, cases originating outside of the United States, and
         cases previously published in the Gary analysis24 (Figure 1).
              One of the concerns in looking at AEs is the risk of falsely assigning causality.
         The FDA does not give guidance for determining causality for AEs in the AERs but
         does give guidance for selecting AEs for inclusion in the Adverse Reaction section
         of the Drug Label.25 They recommend that, “Decisions on whether there is some
         basis to believe there is a causal relationship are a matter of judgment and are
         based on factors such as” the “frequency of reporting,” “the extent to which the
         adverse event is consistent with the pharmacology of the drug,” “the timing of the
         event relative to the time of drug exposure,” and other factors. Although a causal
         relationship cannot be attributed with certainty to all reported AEs for a drug, a
         causal relationship seems probable for each of the categories of AEs we chose to
         analyze based on these factors, except for ectopic pregnancies and some of the
         deaths. Ectopic pregnancies were included in our analysis not because there is a
         causal relationship, but because ectopic pregnancy is a contraindication to the use
         of mifepristone and the diagnosis was missed, putting women’s lives at risk. The
         deaths must be evaluated individually to determine causality.
              Because reporting is often voluntary and sporadic, there is no denominator
         for how many mifepristone abortions are performed in the U.S. It was therefore
         impossible to calculate complication rates for mifepristone and misoprostol
         abortions based on AER data. For clarity, we specified the denominator used in
         each case. Coding for severity was done using the National Cancer Institute’s
         Common Terminology Criteria for Adverse Events (CTCAEv3), 26 since this was




               23
                  FDA Adverse Events Reporting System (FAERS) Public Dashboard. Food and Drug Administration.
         Accessed November 13, 2020. https://fis.fda.gov/sense/app/d10be6bb-494e-4cd2-82e4-
         0135608ddc13/sheet/33a0f68e-845c-48e2-bc81-8141c6aaf772/state/analysis
               24
                  Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
         Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
               25
                  Guidance for Industry Adverse Reactions Section of Labeling for Human Prescription Drug and Biological
         Products — Content and Format. U.S. Department of Health and Human Services, Food and Drug Administration,
         Center for Drug Evaluation and Research (CDER), Center for Biologics Evaluation and Research (CBER); January
         2006. P. 8. Accessed January 8, 2021. https://www.fda.gov/media/72139/download
               26
                  Common Terminology Criteria for Adverse Events v3.0 (CTCAE). Cancer Center Therapy Evaluation
         Program (CTEP); 2003. 1-77. Published December 12, 2003. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/CTCAEv3.pdf
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         the methodology used in the original analysis of the first 607 Adverse Events. 27
         The five levels of coding are: Mild, Moderate, Severe, Life-threatening, and Death.
              Overall severity (Figure 1) for each unique AER was determined
         independently by two board-certified physicians (Obstetrics and Gynecology or
         Family Medicine). Since within each AER, a patient may have experienced several
         Adverse Events (AEs), the overall severity of the AER was based on the highest
         severity of its AEs. For the diagnoses we analyzed (Table 1), each AE was coded
         in the same manner and stratified according to type, severity, and treatment.
         Disagreements were resolved by discussion or review by a third board-certified
         Obstetrician-Gynecologist who also reviewed coding for uniformity. Surgeries,
         transfusions, providers, and location of treatment were analyzed and tabulated.
              Ruptured ectopic pregnancies were coded as Life-threatening and
         unruptured ectopic pregnancies as Severe.
              Infections were coded as Life-threatening when evidence of sepsis was
         present, or ICU-level treatment was required. They were coded as Severe if
         parenteral/IV antibiotics were given and Moderate if oral antibiotics were
         prescribed.
              Life-threatening hemorrhage was defined, as in the previous analysis, to be
         transfusion of two or more units of packed red blood cells (PRBCs), hemoglobin
         less than 7, or documented large volume, rapid blood loss with clinical
         symptomatology of acute blood loss anemia (e.g., syncope, tachycardia,
         hypotension). Severe hemorrhage was defined as requiring surgical intervention
         and/or less than 2 U PRBCs. Moderate hemorrhage was defined as management
         with fluids/medication alone.
              Retained Products of Conception (RPOC) was coded as Severe if a dilatation
         and curettage/evacuation (D&C) was performed. Ongoing viable intrauterine
         pregnancy was considered equivalent in severity to RPOC requiring curettage and
         thus Severe. When the ultimate outcome was unknown, the pregnancy was
         considered ongoing if “ongoing pregnancy” was noted or ultrasound showed
         cardiac motion or significant growth.
              AEs which did not contain sufficient information to assign an accurate
         severity code were deemed “Uncodable.” AERs lacking any codable information
         were deemed overall Uncodable.
              The percent of women with significant hemorrhage after mifepristone alone
         was compared to those who took both mifepristone and misoprostol, to
         investigate the validity of the assertion that lack of subsequent misoprostol
         administration was a causative factor in hemorrhage after mifepristone use.28



              27
                 Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
         Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
              28
                 Creinin MD, Hou MY, Dalton L, Steward R, Chen MJ. Mifepristone Antagonization With Progester-one to
         Prevent Medical Abortion: A Randomized Controlled Trial. Obstet Gynecol. 2020;135(1):158-165.
         doi:10.1097/AOG.0000000000003620
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                                                          Results
         Adverse Event Report Overall Severity
              Figure 1 summarizes the handling of the AERs provided by the FDA and their
         severity coding. The FDA provided 6158 pages of AERs. Of these, any duplicates,
         non-US, or AERs previously published in the Gary paper were excluded from the
         analysis. There were 3197 unique, US-only AERs of which 537 had insufficient
         information to determine clinical severity, leaving 2660 Codable US-only AERs. Of
         these, 20 were Deaths, 529 were Life-threatening, 1957 were Severe, 151 were
         Moderate, and 3 were Mild.

         Deaths (Table 1)
               Our analysis identified 23 of the 24 deaths reported by the FDA as of 2018. 29
         Three of those deaths were previously published in the Gary paper30 leaving 20
         deaths (Table 1). Our analysis yielded a total of 7 sepsis deaths. These included
         five cases of C. sordellii and one case of Clostridium perfringens, all consistent with
         those reported by the FDA. There was an additional death which we categorized
         as a sepsis death whereas the FDA labeled this case as “delayed onset toxic shock-
         like syndrome” but did not include it as a sepsis death. The patient had an
         exploratory laparotomy revealing green pus, which was culture positive for
         prevotella and peptostreptococcus, and she died intraoperatively.31




               29
                  RCM # 2007-525 NDA 20-687 Mifepristone U.S. Post-Marketing Adverse Events Summary through
         12/31/2018. FDA. 1-2. Reference ID: 4401215. Accessed November 13, 2020.
         https://www.fda.gov/media/112118/download
               30
                  Gary M, Harrison D. Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
         Abortifacient. Ann Pharmacother. 2006 Feb 40(2):191-7. https://doi.org/10.1345/aph.1G481
               31
                  Individual Case Safety Report number 4734082-4-00-01. Danco Laboratories, LLC. Office of Post-marketing
         Drug Risk Assessment, Food and Drug Administration. Received August 4, 2005. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/Peptostreptococcus%20death%209.10277-8.pdf
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                                         Figure 1. AER Distribution




             Note: From 2000 to 2016 FDA only required the manufacturer to report AEs which were severe,
         life-threatening or had fatal outcomes. Since 2016, FDA only requires the manufacturer to report
         fatal outcomes.

              We categorized two deaths as suspicious for infectious death. One case was
         labeled by the FDA as “undetermined natural causes,” however, the AER reported
         the cause of death as “acute visceral and pulmonary (1420 grams) congestion and
         edema,” 32 which is consistent with the clinical findings for sepsis/Acute
         Respiratory Distress Syndrome (ARDS). This patient had autopsy-proven
         retained products of conception and blood cultures which grew Strep viridans
         isolated at less than 24 hours incubation. One additional case which the FDA
         labeled “methadone overdose”33,34 we considered suspicious for sepsis. Prior to
         her death, this patient had fever and chills and was treated by an outside physician
         with cephalexin, which would have been ineffective against infections from C.
         sordellii or anaerobic gram-negative bacilli. There was no autopsy report or
         toxicology report in the AER.
              Non-infectious deaths include one death that the FDA listed as “natural,”
         caused by “pulmonary emphysema.” 35 This patient was a 40-year-old chronic
         smoker who died within hours of misoprostol ingestion and had a contusion on
         her head consistent with a fall, a scenario possibly related to a cardiac event or
         acute respiratory reaction to misoprostol. She had an intact fetus at the time of

               32
                  Individual Case Safety Report number 9587011-03-00-01. Danco Laboratories, LLC. Office of Post-
         marketing Drug Risk Assessment, Food and Drug Administration. Received May 21, 2014. Accessed November 13,
         2020. https://aaplog.wildapricot.org/resources/death%20Visc%20pul%20cong.pdf
               33
                  Individual Case Safety Report number 4970303-0-00-01. Danco Laboratories, LLC. Office of Post-marketing
         Drug Risk Assessment, Food and Drug Administration. Received April 21, 2014. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/death%2023%20yo%20meth%20overdose%20fever%20and%20chills.pdf
               34
                  Individual Case Safety Report number 5063156-8-00-01. Danco Laboratories, LLC. Office of Post-marketing
         Drug Risk Assessment, Food and Drug Administration. Received July 27, 2006. Accessed November 13, 2020.
         https://aaplog.wildapricot.org/resources/methadone%20AER%20(1).pdf
               35
                  Individual Case Safety Report number 11283049-02-00-01. Danco Laboratories, LLC. Office of Post-
         marketing Drug Risk Assessment, Food and Drug Administration. Received December 8, 2015. Accessed November
         13, 2020. https://aaplog.wildapricot.org/resources/emphysema.pdf
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         autopsy. Other non-infectious deaths included one death from a ruptured ectopic
         pregnancy, one from hemorrhage, 3 possible homicides, one suicide, and 4 deaths
         from drug toxicity/overdose. It is unknown whether the 8 women who died by
         homicide, suicide, or drug toxicity/overdose were screened for domestic violence,
         drug addiction, or depression prior to the abortion.

         Infection (Table 1)
              Infection was the leading cause of mortality. There were 502 cases of
         infection, which included 9 Deaths, 39 had Life-threatening sepsis, 249 were
         Severe infections, 132 Moderate infections, and 73 infections which were
         Uncodable.

         Ectopic Pregnancy (Table 1)
              There were 75 ectopic pregnancies. Of these, 26 were ruptured, including 1
         death. Twenty-four were unruptured, and there were 25 for which the rupture
         status was not given. Fifty-six ectopic pregnancies were treated surgically and 11
         were treated with methotrexate. The management was not documented in 7
         cases. The patient who died received no treatment as she died on the way to the
         hospital.

         Retained Products of Conception (RPOC) (Tables 1 and 2)
             RPOC was the leading cause of morbidity. There were 977 confirmed cases
         of RPOC, including 2 molar pregnancies, and 1506 likely cases of RPOC
         (documentation was inadequate for confirmation). Of the 2146 total D&Cs, most
         were for RPOC, including 897 for confirmed RPOC, 1058 for bleeding or presumed
         RPOC, but no pathology was provided, and 2 for molar pregnancy. A small
         percentage of RPOC had medical treatment or no treatment.

         Hemorrhage/Bleeding (Table 1)
               There were 1639 bleeding events including one death. These included 466
         Life-threatening and 642 Severe events. There were also 106 events coded as
         Moderate, while 424 reports of bleeding were Uncodable given the information in
         the database.

         Ongoing Pregnancy (Table 1)
              There were 452 ongoing pregnancies. Of these 102 chose to keep their
         baby, 148 chose termination, 1 miscarried, and 201 had an unknown outcome.
         Of those with an unknown outcome, there were 44 patients referred or
         scheduled for termination, who did not follow through (39 no-showed, 3
         canceled, 2 did not schedule).




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         Surgeries (Table 2)
              There      were    2243     surgeries      including    2146     D&Cs,     76
         laparoscopies/laparotomies without hysterectomy, 7 hysterectomies, and 14
         other surgeries. Of the hysterectomies, 3 were performed for sepsis, 2 for
         hemorrhage, 1 for a cervical ectopic, and 1 for placenta accreta. There were 1291
         surgeries performed in the hospital or ER and 952 in an outpatient setting. Of the
         2146 D&Cs, 1194 were performed in the hospital or ER, and 952 in an outpatient
         setting. Of the 2146 D&Cs, 1194 were provided by the Hospital or ER, 853 by the
         abortion provider, and 99 by another outpatient provider.

         Transfusions (Table 2)
             Four hundred and eighty-one patients required blood transfusion following
         medical abortions. Of these, 365 received 1 to 10 units packed red blood cells
         (PRBCs) alone, 1 received fresh frozen plasma (FFP) alone, 8 received a
         combination of PRBCs and FFP, and 107 received an unknown amount of blood
         product.

         Relationship of Misoprostol Use to Hemorrhage (Table 3)
              The use of mifepristone with misoprostol was associated with a higher
         incidence of hemorrhage than the use of mifepristone alone. Of the 3056 women
         who took both mifepristone and misoprostol, 1572 (51.44%) hemorrhaged,
         whereas, among the 58 women who did not take misoprostol, only 13 (22.41%)
         hemorrhaged. It was unclear whether 84 patients took misoprostol or not. Fifty-
         four (64.29%) of them hemorrhaged. The hemorrhage rate was higher for the
         mifepristone with misoprostol group as compared to the mifepristone alone
         group even if all the unknowns were assigned to the mifepristone alone group or
         vice versa.




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                              Table 1 - Diagnosesa




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                               Table 1 – Diagnoses (Continued)




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                        Table 1 – Diagnoses (Continued)




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                                       Table 1 – Diagnoses (Continued)




         a
           Because of rounding, percentages may not appear to add up exactly.
         b
           FDA attributed to methadone overdose.
         c
           40 year old smoker died within hours of misoprostol ingestion. Per FDA, “natural causes due to severe pulmonary emphysema.”
         d
           Patients with documented infection but inadequate information to determine severity.
         e
           One of the ruptured ectopics died on the way to the hospital. The other 25 were treated surgically.
         f
           The unruptured ectopics include two cornual ectopics, one treated surgically and one treated medically.
         g
           Includes two cervical ectopics, one treated with D&C/Hysterectomy/massive transfusion and one with unknown treatment.
         h
           Either with path provided, or described as RPOC, placental fragments, fetus, or tissue.
         i
           Suspected RPOC indicating D&C needed, but not documented as being done.
         j
           Patients with documented bleeding but inadequate information to determine severity.
         k
           Includes one hysterotomy for pregnancy in non-communicating horn.
         l
           After no show for surgical termination.
         m
            Includes 10 with known gestational age 20-29 weeks.




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                              Table 2 – Treatmenta




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                               Table 2 – Treatment (Continued)




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                                        Table 2 – Treatment (Continued)




         a
           Because of rounding, percentages may not appear to add up exactly.
         b
            With or without suction, one with hysteroscopy.
         c
            There were 8 patients who had 2 D&Cs and one who required uterine artery embolization. There were 4 perforations: two had
         resultant hysterectomies, one had a laparoscopy, and one received 2 U PRBCs but no documented surgery.
         d
            Additionally there were 7 patients who likely received transfusion, but was not recorded, 3 patients who refused transfusion,
         and 1 patient for whom transfusion was considered but not given.




                                                                                                               App. 000712
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                    Table 3 – Relationship of Misoprostol to Hemorrhagea




         a
             Because of rounding, percentages may not appear to add up exactly.
         b
             Assumes all unknowns took both mifepristone and misoprostol.
         c
             Assumes all unknowns took mifepristone, but not misoprostol.




                                                                Discussion

               This article is critically important considering the paucity of published
         literature on mifepristone safety and the minimal analysis done on the AERs by
         the FDA.

         Ectopic Pregnancies
              Although reported as AEs, ectopic pregnancies are not a direct adverse event
         from the medication, but rather a contraindication to its administration. They
         were reported as adverse events because the ectopic pregnancies were missed.
              The American College of Obstetricians and Gynecologists (ACOG) notes that
         “According to the Centers for Disease Control and Prevention, ectopic pregnancy
         accounts for approximately 2% of all reported pregnancies. However, the true
         current incidence of ectopic pregnancy is difficult to estimate because many
         patients are treated in an outpatient setting where events are not tracked, and
         national surveillance data on ectopic pregnancy have not been updated since
         1992. Despite improvements in diagnosis and management, ruptured ectopic
         pregnancy continues to be a significant cause of pregnancy-related mortality and
         morbidity. In 2011–2013, ruptured ectopic pregnancy accounted for 2.7% of all
         pregnancy-related deaths and was the leading cause of hemorrhage-related
         mortality.”36

              36
                 ACOG Practice Bulletin No. 193: Tubal Ectopic Pregnancy, Obstet Gynecol: March 2018; 131(3): e91-e103.
         doi:10.1097/AOG.0000000000002560
                                                                                              App. 000713
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              Confirmed/suspected ectopic pregnancy and undiagnosed adnexal mass are
         contraindications to mifepristone use under current prescribing requirements.
         The label warnings state: “Ectopic pregnancy: exclude before treatment.” 37
         Unfortunately, it is difficult to rule out ectopic pregnancy by history alone
         because, “half of all women who receive a diagnosis of an ectopic pregnancy do
         not have any known risk factors.”38 According to ACOG Practice Bulletin No. 193,
         “The minimum diagnostic evaluation of a suspected ectopic pregnancy is a
         transvaginal ultrasound evaluation and confirmation of pregnancy.” Of the 75
         reported ectopic pregnancies in the FDA AERs we analyzed, over a third were
         known to be ruptured including one death. Clearly, an ultrasound should be
         required prior to the administration of mifepristone to document that the
         pregnancy is located within the uterus. Although not 100% effective, this will
         screen for ectopic pregnancy, confirm gestational age, which can be inaccurate
         based on menstrual history alone, 39 and screen for adnexal masses, another
         contraindication to mifepristone use.40

         Ongoing pregnancies
              Of the women with an ongoing pregnancy, less than a third were known to
         have proceeded with termination of the pregnancy, and almost a quarter were
         known to have kept their pregnancy; in almost half, the outcome was unknown.
         The significant percentage of women with ongoing pregnancy who changed their
         mind and chose to keep their pregnancy, after initially choosing termination,
         raises concerns regarding the pre-abortion counseling and informed consent they
         received. Women undergoing abortion should receive the same quality of
         informed consent and pre-procedural counseling that is standard of care prior to
         other medical treatment or surgery. It is imperative that women considering
         abortion be provided adequate and complete information and counseling on risks,
         advantages, disadvantages, and alternative options.
              Additionally, the high percentage of women with ongoing pregnancies for
         whom there is no follow up or known outcome is concerning. As health care
         providers we are to continue to care for our patients and manage any
         complications, yet in the AERs we reviewed this was not typically the case for the
         abortion provider. Furthermore, a federal registry of known outcomes and birth
         defects is imperative. One of the initial FDA post-marketing requirements for


               37
                  MIFEPREX. Package insert. Danco; 2016. Approved March 2016. p. 1. Accessed November 13, 2020.
         https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf
               38
                  ACOG Practice Bulletin No. 193: Tubal Ectopic Pregnancy, Obstet Gynecol: March 2018; 131(3): e91-e103.
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         diagnosis/print?source=history_widget.
               40
                  MIFEPREX. Package insert. Danco; 2016. Approved March 2016. Accessed November 13, 2020.
         https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf
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         Danco was a surveillance study of outcomes of ongoing pregnancies.41 The FDA
         released them from this post-marketing commitment in January 2008 because
         Danco reported that only one or two ongoing pregnancies per year were followed
         for final outcomes in part because of consent requirements.42 This is disturbing in
         light of the percentage of women in our analysis who kept their pregnancies, as
         well as those with ongoing pregnancy and unknown outcomes, all of whom could
         have been followed for final outcomes. The significant lack of follow-up of ongoing
         pregnancies (44.47% with unknown outcomes) and the very minimal information
         on those who chose to keep the pregnancy, highlights the need for a national
         registry especially considering the teratogenicity of misoprostol. 43

         Relationship of Misoprostol to Hemorrhage
              The Creinin study of abortion pill reversal was stopped for safety concerns
         due to hemorrhage in 3 of the 12 study participants.44 One of the conclusions of
         that study was that “Patients who use mifepristone for a medical abortion should
         be advised that not using misoprostol could result in severe hemorrhage, even
         with progesterone treatment.”45 The authors hypothesized that the absence of
         misoprostol caused these women to hemorrhage. The women who had
         documented use of misoprostol in our database hemorrhaged at a higher rate
         than those documented not to have taken misoprostol.

         Reporting of Adverse Events
              Although not the initial goal of this study, the analysis of the AERs revealed
         glaring deficiencies in the AE reporting system making it difficult to properly
         evaluate adverse events. When mifepristone was approved in 2000, FDA required
         that providers “must report any hospitalization, transfusion or other serious
         event to Danco Laboratories.”46 This created an inherent conflict of interest as it
         is not in the best interest of the entities or providers to report adverse events to
         those regulating them. Because only severe events were reportable, this
         requirement likely resulted in an underestimation of moderate and mild AEs. It

               41
                  Center for Drug Evaluation and Research. NDA 20-687. Approval Letter for MIFEPREX (mifepristone)
         Tablets, 200 mg to Population Council. Food and Drug Administration. Written September 28, 2000. Accessed
         November 13, 2020. https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687appltr.htm
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                  2016 03 20 FDA resp to Cit Pet.pdf. Docket No. FDA-2002-P-0364. FDA. March 29, 2016. p. 31. Accessed
         November 13, 2020.
         https://aaplog.wildapricot.org/resources/2016%2003%2020%20%20FDA%20resp%20to%20Cit%20Pet.pdf
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         doi:10.1097/AOG.0000000000003620
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                  M I F E P R E XTM(Mifepristone) Tablets, 200 mg Prescriber’s agreement. Food and Drug Administration.
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         it.org/7993/20170113112742/http://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationfor
         PatientsandProviders/ucm111364.pdf
                                                                                               App. 000715
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         is also likely that some of the AEs that we coded as Mild or Moderate were actually
         Severe but there was not enough information in the AER for us to justify coding
         them as Severe. In March 2016, the FDA substantially reduced the prescribing
         requirements and changed the drug protocol 47 and yet at the same time
         eliminated reporting requirements except for deaths. 48 With the relaxation of
         reporting requirements, the ability to perform any relevant post-marketing
         evaluation of mifepristone was lost. It is imperative for the safety of women that
         the FDA restore and strengthen the 2011 REMS requirements.
               The information in the AERs is almost exclusively obtained from abortion
         providers, rather than the physician treating the complication, yet in this analysis,
         abortion providers managed only 39.75% of surgical complications (a number
         which is likely much lower since these are only the cases which are known to the
         abortion provider). Throughout the reports, there was also a lack of detail and
         many patients who were simply “lost to follow-up.” This resulted in 16.80% of
         the AERs being Uncodable as to severity and likely under-coding of many AERs
         and AEs, as coding could only be assigned based on the scant information
         provided. Many of the AEs experienced by women were unknown to the abortion
         provider until the follow-up examination, which is troubling considering the poor
         follow-up rate and elimination of the requirement for an in-office follow up visit.
         Some of the patient deaths were not known to the abortion provider until they
         saw the death in an obituary or were contacted by an outside source. Because of
         this, in addition to abortion providers, hospitals, emergency departments, and
         private practitioners should be required to report AEs.
               Complications occur in the best of hands in all areas of medicine, but as
         physicians, we are responsible to manage those complications and follow our
         patients through to resolution. The findings that: 1. the most common outcome
         of ongoing pregnancy was unknown outcome, 2. abortion providers performed
         less than half the D&Cs done for complications, and 3. a third of ectopic
         pregnancies (missed prior to administering the abortifacient) had unknown
         rupture status, leave us deeply concerned regarding the care these women
         received. A post-marketing requirement was that there be a “cohort-based study
         of safety outcomes of patients having medical abortion under the care of
         physicians with surgical intervention skills compared to physicians who refer
         their patients for surgical intervention.”49 The applicant was released from this
         requirement because they stated that because there were so few providers



               47
                  GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
         Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
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         without surgical intervention skills, no meaningful study could be done. 50 Yet,
         that same year the FDA changed the provider agreement to allow non-physicians
         to become prescribers. 51 These findings highlight the importance of follow-up
         and management of complications by the abortion provider. Allowing any further
         relaxation of mifepristone prescribing requirements will put women at an even
         higher risk of adverse events

         Limitations and Strengths
               It was not possible to calculate complication rates for mifepristone and
         misoprostol abortions based on AER data because there is no denominator for
         how many mifepristone abortions are performed in the U.S. since reporting is
         often voluntary and sporadic. For clarity, we specified the denominators we used.
               Our analysis was limited by the fact that the number of AEs for which we
         received reports is likely a gross underestimation of the actual number of AEs that
         occurred. In our analysis, the surgical management of over half the complications
         was performed by someone other than the abortion provider, yet treating
         physicians are not required to report complications. Few reports were generated
         by those in Emergency Departments and hospitals who treated the complications.
               Our analysis was also limited by the lack of information in the AERs,
         including redaction of critical dates, a paucity of diagnosis and treatment
         information, and lack of follow up.
               Our study has several strengths. Our data comes from information provided
         to the FDA and is the largest analysis of AERs for mifepristone abortions. This data
         is publicly available under the Freedom of Information Act so that anyone can
         verify the data for themselves. This analysis reviews all AERs not reported in the
         first study by Gary.52 Although heavily redacted, there was sufficient information
         in over 80% of the AERs to evaluate severity. An objective standardized system,
         CTCAEv3, was used to code for severity, and each AER was coded by at least two
         board-certified obstetrician-gynecologists or family medicine physicians.


                                         Conclusions and Relevance
              This article is important because it augments the scant published literature
         on mifepristone safety.
              Due to the lack of adequate reporting of adverse events, especially by those
         treating them, these unique AERs represent a fraction of the actual adverse events
         occurring in American women.

               50
                  2016 03 20 FDA resp to Cit Pet.pdf. Docket No. FDA-2002-P-0364. FDA. March 29, 2016. p. 31. Accessed
         November 13, 2020.
         https://aaplog.wildapricot.org/resources/2016%2003%2020%20%20FDA%20resp%20to%20Cit%20Pet.pdf
               51
                  GAO-18-292 Revised Mifeprex Labeling: Food and Drug Administration Information on Mifeprex Labeling
         Changes and Ongoing Monitoring Efforts. Report to Congressional Requesters. Food and Drug Administration. 2018.
         p. 7. Published March 2018. Accessed November 13, 2020. https://www.gao.gov/assets/700/690914.pdf
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                                                                                              App. 000717
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              Significant morbidity and mortality have occurred with the use of
         mifepristone as an abortifacient, including at least 24 US deaths reported by the
         FDA from September 2000 to December 2018. Because of this and the significant
         morbidity associated with this drug, the FDA should consider at a minimum
         reinstating the original 2011 REMS and strengthening the reporting
         requirements. The reporting of transfusions, hospitalizations, and other serious
         adverse events are essential.
              Given the morbidity and mortality of undiagnosed ectopic pregnancy, a clear
         contraindication to the use of mifepristone, an ultrasound to confirm pregnancy
         location is essential before mifepristone is dispensed.
              Considering the significant percentage of women with ongoing pregnancies
         who chose to continue their pregnancy, there must be reasonable waiting periods,
         parental involvement, and adequate pre-abortion counseling on all pregnancy
         options. It is also critical that a pregnancy registry be established.
              In our analysis, the patients who used mifepristone alone had a lower rate of
         hemorrhage than those using mifepristone followed by misoprostol.
              The FDA Adverse Event Reporting System is woefully inadequate to
         determine the post-marketing safety of mifepristone due to its inability to
         adequately assess the frequency or severity of adverse events. The reliance solely
         on interested parties to report, the large percentage of uncodable events, the
         redaction of critical clinical information unrelated to personally identifiable
         information, and the inadequacy of the reports highlight the need to overhaul the
         current AER System.
              This analysis evaluated 3197 adverse events resulting from the use of
         mifepristone as an abortifacient and brought to light serious concerns about the
         safety requirements and care of women undergoing mifepristone abortion.
         Although complications may occur in the best of hands, and no medical procedure
         is without risks, safety measures must be employed to minimize these adverse
         outcomes. Women undergoing abortion should receive the same quality of
         informed consent and pre-procedural counseling that is standard of care prior to
         other medical treatment or surgery. It is imperative that women considering
         abortion be provided adequate and complete information and counseling on risks,
         advantages, disadvantages, and alternative options. Although there may be
         disagreements about the ethics of abortion, there must be total agreement that
         our patients—whether undergoing a medical abortion or otherwise—deserve the
         highest standard of medical care.

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                                EXHIBIT 37

              Cirucci, Mifepristone Adverse Events




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Research Letter
                                                                                                                                     Health Services Research and
                                                                                                                                     Managerial Epidemiology
Mifepristone Adverse Events Identiﬁed by                                                                                             Volume 8: 1-5
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Planned Parenthood in 2009 and 2010                                                                                                  sagepub.com/journals-permissions
                                                                                                                                     DOI: 10.1177/23333928211068919
Compared to Those in the FDA Adverse                                                                                                 journals.sagepub.com/home/hme


Event Reporting System and Those Obtained
Through the Freedom of Information Act

Christina A. Cirucci1                   , Kathi A. Aultman2                        , and Donna J. Harrison3



Abstract
Background: As part of the accelerated approval of mifepristone as an abortifacient in 2000, the Food and Drug Administration
(FDA) required prescribers to report all serious adverse events (AEs) to the manufacturer who was required to report them to
the FDA. This information is included in the FDA Adverse Event Reporting System (FAERS) and is available to the public online.
The actual Adverse Event Reports (AERs) can be obtained through the Freedom of Information Act (FOIA).
Methods: We compared the number of speciﬁc AEs and total AERs for mifepristone abortions from January 1, 2009 to
December 31, 2010 from 1. Planned Parenthood abortion data published by Cleland et al. 2. FAERS online dashboard, and
3. AERs provided through FOIA and analyzed by Aultman et al.
Results: Cleland identiﬁed 1530 Planned Parenthood mifepristone cases with speciﬁc AEs for 2009 and 2010. For this period,
FAERS online dashboard includes a total (from all providers) of only 664, and the FDA released only 330 AERs through FOIA.
Cleland identiﬁed 1158 ongoing pregnancies in 2009 and 2010. FAERs dashboard contains only 95, and only 39 were released
via FOIA.
Conclusions: There are signiﬁcant discrepancies in the total number of AERs and speciﬁc AEs for 2009 and 2010 mifepristone
abortions reported in 1. Cleland’s documentation of Planned Parenthood AEs, 2. FAERS dashboard, and 3. AERs provided
through FOIA. These discrepancies render the FAERS inadequate to evaluate the safety of mifepristone abortions.

Keywords
mifepristone, misoprostol, adverse drug reaction reporting systems, drug-related side effects and adverse reactions,
postmarketing product surveillance, induced abortion, steroidal abortifacient agents, United States food and drug administration



Introduction                                                                         days and less performed by Planned Parenthood in 2009 and
                                                                                     2010. They analyzed hospital admissions, blood transfusions,
The accelerated approval of mifepristone in the United States (US)
                                                                                     emergency department (ED) treatments, intravenous (IV)
in 2000 included post-marketing restrictions to monitor safety.
Prescribers were required to report any ongoing pregnancies, hos-
pitalizations, transfusions, and other serious events to the manufac-                1
                                                                                       Sewickley, PA
                                                                                     2
turer, who was required to submit them to the Food and Drug                            Charlotte Lozier Institute
                                                                                     3
Administration (FDA).1 Adverse events (AEs) are documented                             American Association of Pro-Life Obstetricians and Gynecologists, USA
in the FDA Adverse Event Reporting System (FAERS), available                         Submitted November 22, 2021. Revised December 3, 2021. Accepted
online.2 Copies of the actual Adverse Event Reports (AERs) can                       December 3, 2021.
be obtained via the Freedom of Information Act (FOIA).3
                                                                                     Corresponding Author:
    A paper published by Cleland et al. analyzed eight adverse                       Christina A. Cirucci, Sewickley, Pennsylvania, United States.
events/outcomes (AEs) from mifepristone abortions at 63                              Email: chris@aaplog.org


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2                                                                              Health Services Research and Managerial Epidemiology


antibiotics, infections requiring IV antibiotics or hospitaliza-     AERs for the events in Cleland and conﬁrmed any missing
tion, deaths, ongoing pregnancies, and ectopic pregnancies.          reports by searching the 6158 pages of AERs related to mifep-
Cleland explained that Planned Parenthood reports all signiﬁ-        ristone abortion obtained by FOIA. In analyzing FOIA data,
cant AEs to Danco Laboratories, which submits them to the            Aultman accounted for duplicates. In the FAERS data, we
FDA, per the mifepristone prescribing information. Their anal-       accounted for duplicates for deaths and ectopic pregnancies,
ysis for these speciﬁc AEs led them to conclude that, “Among         but FAERS did not provide sufﬁcient detail to do so for hospital
the 233 805 medical abortions provided at Planned Parenthood         admissions and ongoing pregnancies. We then compared the
health centers in 2009 and 2010, signiﬁcant adverse events or        total number of reports, as well as hospitalizations, ongoing
outcomes were reported in 1530 (0.65%) cases.”4 Unless asso-         pregnancies, ectopic pregnancies, and deaths from Cleland,
ciated with another AE, they did not include data on incomplete      FAERS, and FOIA AERs for 2009 and 2010. Adverse events
abortion managed at Planned Parenthood or hemorrhage                 not reported by Cleland were not evaluated. The FAERS and
without transfusion, two of the most common AEs resulting            FOIA total AERs include reports from all sources, not just
from mifepristone abortion. They also admit that “we cannot          from Planned Parenthood, and include all reports for those
exclude the possibility that some clinically signiﬁcant adverse      years, not just those with the eight AEs evaluated by Cleland.
events or outcomes were not included. Some patients may
have experienced a signiﬁcant adverse event or outcome but
did not follow up after their medical abortion.”4 Cleland did        Results
not provide the loss to follow-up rate.                              Our analysis shows signiﬁcant discrepancies between the
    In 2021, Aultman et al. published an analysis of the AERs        number of AERs identiﬁed by Planned Parenthood as reported
for mifepristone abortion from September 2000 to February            in Cleland, the number in the FAERS database, and the number
2019 (excluding those published by Gary in 2006) utilizing           received under FOIA. There are also discrepancies in the
AERs obtained through FOIA.5,6                                       number of hospitalizations, ectopic pregnancies, and ongoing
    The objective of this paper was to compare the total number      pregnancies.
of AERs/cases (which may include more than one AE) and the
individual AEs identiﬁed by Cleland for 2009 and 2010 mifep-
ristone abortions from three sources: those identiﬁed by             Total Reports (Figure 1)
Planned Parenthood as published by Cleland, those currently          Cleland identiﬁed 1530 cases involving eight speciﬁc AEs after
posted on the FAERS dashboard, and those provided by the             Planned Parenthood mifepristone abortion in 2009 and 2010.
FDA in response to FOIA and analyzed by Aultman.                     The FAERS dashboard contains only 664 AERs for this
                                                                     period, and only 330 were provided through FOIA. Both
                                                                     include AERS with other types of adverse events not included
Methods                                                              by Cleland and include reports from all sources, not just
                                                                     Planned Parenthood.
We searched the FAERS dashboard for any US AERs related to
mifepristone abortion occurring from January 1, 2009 through
December 31, 2010 and tabulated the total number of AERs,            Speciﬁc Adverse Events/Outcomes (Table 1)
hospital admissions, deaths, ongoing pregnancies, and ectopic
                                                                     Cleland identiﬁed 548 ongoing pregnancies after mifepristone
pregnancies. The FAERS did not have enough information to
                                                                     abortion in 2009, the FAERS dashboard includes just 56, and
evaluate for transfusion, ED visits, IV antibiotics, or infections
                                                                     only seven were received via FOIA. For 2010, Cleland identi-
requiring IV antibiotics or hospital admission. Since FAERS
                                                                     ﬁed 610 ongoing pregnancies, FAERS contains just 39, and
does not provide the “abortion date,” we used the “event
                                                                     only 32 were obtained via FOIA. Cleland identiﬁed 70 hospital
date”; in cases where there was no “event date,” we used the
                                                                     admissions in 2009 and 65 in 2010. FAERS includes 87 and
“latest manufacturer received date.” We evaluated Aultman’s
                                                                     125, respectively, but the FDA only provided 14 and 94 via
                                                                     FOIA. Ectopic pregnancy, although not caused by mifepristone,
                                                                     is a contraindication to its use. Cleland reported eight ectopic
                                                                     pregnancies in 2009 and eight in 2010. FAERS includes eight
                                                                     for 2009 and nine for 2010. The FOIA AERs have only one
                                                                     ectopic for 2009 and eight for 2010. Cleland reported no
                                                                     deaths in 2009 and one in 2010. FAERS and FOIA were con-
                                                                     sistent with one death in 2009 and two in 2010.


                                                                     Discussion
                                                                     The total number of AEs published in Cleland is signiﬁ-
Figure 1. Comparison of total adverse event reports from three       cantly higher than the number in the FAERs database,
sources.                                                             even though Cleland did not evaluate all AEs, including

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Table 1. Comparison of Number of Speciﬁc Adverse Eventsa from Three Sources.

                                                          2009                         2010                         Total 2009 to 2010
                                                                            b                            b
                                                          Cleland   FAERS       FOIA   Cleland   FAERS       FOIA   Cleland   FAERSb     FOIA

Hospital Admission                                          70       87          14      65       125         94     135       212       108
Transfusion                                                 42                   10      72                   59     114                 69
ED Treatment                                                87                   27     151                  105     238                 132
IV Antibiotics                                              23                   5       34                   27      57                 32
Infection requiring IV Antibiotics or Admission             14                   4       23                   21      37                 25
Death                                                       0         1          1        1        2           2       1         3        3
Ongoing Pregnancy                                          548       56          7      610        39         32     1158       95       39
Ectopic Pregnancy                                           8         8          1        8        9           8      16        17        9
a
Events are not mutually exclusive.
b
If blank, FAERS dashboard does not provide this detail.




failed abortions treated at Planned Parenthood.4 The dis-                 that, based on a review of post-marketing AEs from January
crepancy is particularly concerning because the total                     27, 2020, to January 12, 2021, the in-person dispensing require-
number of AEs and AERs in the FAERS should be signiﬁ-                     ments in the mifepristone REMS would not be enforced.13 It is
cantly higher than Cleland since Planned Parenthood per-                  alarming that policy decisions that affect women’s safety are
forms only 37% of US abortions.7 It is unclear why so                     based on a lack of information in the FAERS. Whether the inac-
many cases identiﬁed by Planned Parenthood in Cleland                     curacy of FAERS extends to required reporting for other med-
do not appear in FAERS. Cleland states, “In accordance                    ications is unknown to us, but the ﬁndings in this paper have
with the mifepristone prescribing information, Planned                    signiﬁcant implications for drug safety evaluation in general.
Parenthood Federation of America reports all signiﬁcant                       The ability of the FAERS to accurately identify complica-
adverse events and outcomes to Danco Laboratories, the US dis-            tions from mifepristone abortion depends on 1. the abortion
tributor of mifepristone, which in turn reports them to the               provider being aware of the adverse event, 2. the provider
FDA.”4 If this claim is true, then either Danco did not report a          reporting the adverse event to the manufacturer, 3. the manufac-
signiﬁcant number of adverse events to the FDA, or the FDA                turer reporting to the FDA, and 4. the FDA including the event
did not include them in FAERS. It also raises the question of             in the FAERS. One problem inherent in this system is that
whether FAERS includes all complications reported by the                  adverse events unknown to the abortion provider or occurring
other 63% of abortion providers.                                          in patients lost to follow-up will be missed. In addition, ED
    We are concerned that FDA and others will continue to rely            physicians or treating physicians other than the abortion pro-
on Cleland’s statement, “signiﬁcant adverse events or outcomes            vider were never obligated to report and may not even be
were reported in 1530 (0.65%) cases”4 to claim that the compli-           aware of the system. For those events known to Planned
cation rate for the abortion pill regimen is low. Although                Parenthood, it is unclear whether the error occurred in the abor-
Cleland’s paper is a study of over 200 000 abortions and is               tion provider reporting to the manufacturer, the manufacturer
cited extensively in support of the safety of medical abor-               reporting to the FDA, or the FDA uploading to the database.
tion8–11 the analysis excludes the most common adverse                        FDA compliance in response to FOIA requests is required by
events (retained products of conception and hemorrhage not                law.3 The number of AERs supplied under FOIA is much lower
requiring transfusion). Additionally, Cleland’s reported compli-          than the number in the FAERS database and known to the FDA
cation rate of 0.65% is only a report of the complications known          at the time. Although there may be extenuating circumstances
to Planned Parenthood. Cleland does not report the percent of             requiring that some information be withheld, withholding infor-
patients lost to follow-up.4                                              mation, especially to this extent, interferes with independent,
    There is also concern that the FDA will continue to rely on           scientiﬁc analysis necessary to validate claims of safety and
the FAERS to make decisions about removing mifepristone                   efﬁcacy.
REMS, despite the ﬁndings herein that FAERS does not
include all the events even known to the abortion provider.
To compound this problem, in 2016, the FDA eliminated the                 Strengths and Limitations
requirement to report adverse events resulting from mifepris-             One of the limitations of this study is that Cleland only reported
tone other than death.12 Nevertheless, in her April 12, 2021              on a limited number of possible AEs. Because of the scant
letter to the American College of Obstetricians and                       information included in the FAERS, we could not even
Gynecologists, FDA Commissioner Janet Woodcock stated                     compare all AEs reported by Cleland. Since we do not have

                                                                                                                    App. 000723
    Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                                       Page 160 of 245 PageID 10228
4                                                                                     Health Services Research and Managerial Epidemiology


access to the Planned Parenthood records, reports cannot be                 4. Cleland K, Creinin MD, Nucatola D, Nshom M, Trussell J.
evaluated on a patient-by-patient basis but only as a composite.               Signiﬁcant adverse events and outcomes after medical abortion.
    One of the strengths of this study is that it is the ﬁrst known            Obstet Gynecol. 2013;121(1):166‐171. https://doi.org/10.1097/aog.
study comparing FAERS data with an outside report of mifep-                    0b013e3182755763
ristone complications.                                                      5. Aultman K, Cirucci C, Harrison D, et al. Deaths and severe
                                                                               adverse events after the Use of mifepristone as an abortifacient
                                                                               from September 2000 to February 2019. Issues Law Med.
Conclusions                                                                    2021;36(1):326. https://issuesinlawandmedicine.com/wp-content/
There are signiﬁcant discrepancies in the number of AEs and                    uploads/2021/01/Deaths-and-Severe-Adverse-Events-after-the-
total AERs reported for 2009 and 2010 mifepristone abortions                   use-of-Mifepristone-as-an-Abortifacient-from-September-2000-to-
identiﬁed by Planned Parenthood as reported by Cleland,                        February-2019-copy5.pdf.
those in FAERS, and those provided by FOIA, impugning the                   6. Gary MM, Harrison DJ. Analysis of severe adverse events related
reliability of FAERS to evaluate the safety or efﬁcacy of mifep-               to the Use of mifepristone as an abortifacient. Ann Pharmacother.
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eliminate REMS on mifepristone.14,15 The FDA used their                     7. Communities Need Clinics: The Essential Role of Independent
review of post-marketing adverse events that occurred in                       Abortion Clinics in the United States. Abortion Care Network.
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nated in 2016.13 Whether Planned Parenthood did not submit                     The Safety and Quality of Abortion Care in the United
all the AEs to Danco, Danco did not submit all to the FDA,                     States. The National Academies Press; 2018: Kindle
or the FDA did not include all is unknown. By withholding a                    Locations 1351–1367. Accessed 11–29–21. https://doi.org/10.
signiﬁcant number of AERs, the FDA did not adequately                          17226/24950
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paper, hampering their ability to analyze the data. These dis-                 ling safety myths, with facts. Mhealth. 2018;4(3):1–4. https://doi.
crepancies, and the fact that since 2016, reporting AEs other                  org/10.21037/mhealth.2018.01.01
than deaths is no longer required,12 demonstrate that the                  10. Upadhyay UD, Schroeder R, Roberts SCM. Adoption of no-test
FAERS is inadequate to evaluate the safety of mifepristone.                    and telehealth medication abortion care among independent abor-
                                                                               tion providers in response to COVID-19. Contracept X. 2020;2-
                                                                               (100049):1–5. https://doi.org/10.1016/j.conx.2020.100049
Declaration of Conﬂicting Interests
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The author(s) declared no potential conﬂicts of interest with respect to       abortion using mifepristone and buccal misoprostol through 63
the research, authorship, and/or publication of this article.
                                                                               days. Contraception. 2015;91(4):269‐273. https://doi.org/10.
                                                                               1016/j.contraception.2015.01.005
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The author(s) received no ﬁnancial support for the research, authorship        Labeling Changes and Ongoing Monitoring Efforts. GAO-18-
and/or publication of this article.                                            292 Report to Congressional Requesters. March 2018:8.
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ORCID iDs                                                                      690914.pdf
                                                                           13. Letter from Woodcock J. (Acting Commissioner of Food and
Christina A. Cirucci   https://orcid.org/0000-0002-4681-6529
                                                                               Drugs) to Phipps MG (Chief Executive Ofﬁcer ACOG) and
Kathi A. Aultman     https://orcid.org/0000-0002-9235-5049
                                                                               Grobman, W (Pres Society for Fetal-Maternal Medicine).
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    16, 2021. https://www.foia.gov/about.html                                  review_may_7_2021.pdf


                                                                                                                       App. 000724
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Cirucci et al.                                                                                                                             5


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                                                                                                                  App. 000725
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                                EXHIBIT 38

        FDA Adverse Event Reporting System (FAERS)
         Electronic Submissions FDA (printed 9.17.24)




                                                                   App. 000726
9/17/24, 11:31 AM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA
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    FDA Adverse Event Reporting System (FAERS) Electronic Submissions

      This page is intended to assist industry when making certain regulatory submissions in electronic format to the
      FDA’s Adverse Event Reporting System (FAERS) database for the Center for Drug Evaluation and Research
      (CDER) and the Center for Biologics Evaluation and Research (CBER).

      On January 16, 2024, FDA began accepting electronic submissions of both expedited and non-expedited
      postmarketing individual case safety reports (ICSRs) for human drugs, including biological products regulated by
      CDER, in electronic format using the E2B(R3) standard endorsed by the International Council for Harmonisation
      (ICH) and adopted by FDA.

      In addition, on April 1, 2024, FDA began accepting electronic submissions of premarketing (IND study or IND-
      exempt BA/BE study) individual case safety reports (ICSRs) in electronic format using ICH E2B(R3) standard. The
      following timelines apply to companies submitting ICSRs electronically using database-to-database transmission
      (E2B).


      Timelines
             Postmarketing Safety Reporting for human drug and biological products using the E2B standard:

                    On January 16, 2024, FDA implemented the E2B(R3) standard for electronic transmission of ICSRs and
                    submitters have until April 1, 2026, to implement E2B(R3) standard for electronic transmission.

                    Submitters to FAERS may continue to submit using E2B(R2) data standards for two (2) years during the
                    E2B(R3) implementation period.

                    Continue to submit postmarketing ICSRs in E2B(R2) format as you prepare to submit ICSRs using
                    E2B(R3) data standards.

                    Once your company has begun submitting in the E2B(R3) standard, your company may not revert to
                    legacy methods or standards

             If you are submitting ICSRs via the Safety Reporting Portal (SRP) no action is required.

             FDA issued a final rule on June 10, 2014, requiring industry to submit postmarketing safety reports in an
             electronic format.

             Premarketing Reporting (IND safety reports) using the E2B standard:

                    Submitters have until April 1, 2026, (24 months after publication of the final guidance for industry,
                    Providing Regulatory Submissions in Electronic Format: IND Safety Reports) to comply with electronic
                    submission requirements for IND safety reports under 21 CFR 312.32(c)(1)(i) for serious and
                    unexpected suspected adverse reactions.

                    As you prepare to submit ICSRs electronically during the voluntary submission period, sponsors may
                    continue to submit a PDF copy of the Form FDA-3500A MedWatch form using the eCTD standard until
                    April 1, 2026.

             Premarketing Reporting (IND-exempt BA/BE safety reports) using the E2B standard:

                    The electronic submission of the ICSRs from IND-exempt BA/BE studies is a voluntary option for
                    submission.
                                                                                                                        App. 000727
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-sub…   1/3
9/17/24, 11:31 AM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA
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               As you prepare to submit ICSRs electronically, continue to submit IND-exempt BA/BE safety reports on
                    Form FDA-3500A MedWatch to ogd-premarketsafetyreports@fda.hhs.gov (mailto:ogd-
                    premarketsafetyreports@fda.hhs.gov)


      Submitting Individual Case Safety Reports (ICSRs), Periodic Safety
      Reports (PSRs):
      1. Submitting ICSRs

       You have two options for submitting ICSRs electronically:

       Option A: Database-to-Database Transmission (“E2B”)

       ICSRs should be submitted in XML format using the one of the standards below via Electronic Submission
      Gateway (ESG):

             E2B(R3) standard (/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-
             event-reporting-system-faers-electronic-submissions-e2br3-standards): in accordance with the ICH E2B(R3)
             and FDA’s regional technical specifications.

             E2B(R2) standard (/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-
             event-reporting-system-faers-electronic-submissions-e2br2-standards): only for postmarketing ICSRs until
             April 1, 2026, during the E2B(R3) implementation period.

       Option B: Safety Reporting Portal (SRP (https://www.safetyreporting.hhs.gov/SRP2/en/Home.aspx))

      Applicants for human drug products, biological products, and responsible persons for companies with reporting
      requirements who do not have E2B capability may submit postmarketing ICSRs and respective attachments
      electronically via SRP (https://www.safetyreporting.hhs.gov/SRP2/en/Home.aspx) by manually entering the data into
      a web form. To submit via SRP, you must first establish an SRP account. A Gateway partner (i.e., a company that
      submits ICSRs electronically via the ESG) cannot use SRP to submit ICSRs, and respective attachments.

      Steps for requesting an SRP account

      Contact faersesub@fda.hhs.gov (mailto:faersesub@fda.hhs.gov) to advise FDA of your intent to begin submitting
      via the SRP and establish an account.

      SRP account activation

             Your account will be activated in about 7 to 10 business days from the date of request.

             You will be notified via email with the subject line “SRP Account Activation” that will include the Web link to the
             SRP portal along with your account information.

             After receiving this email, your account will be considered active, and you may begin submitting your ICSR via
             SRP.

      2. Submitting PSRs

      Please note that a PSR submission is comprised of both a descriptive portion and the non-expedited ICSRs
      received during the reporting interval of the PSR (21 CFR 314.80(c)(2) and 600.80(c)(2)).


                                                                                                                        App. 000728
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-sub…   2/3
9/17/24, 11:31 AM                                  FDA Adverse Event Reporting System (FAERS) Electronic Submissions | FDA
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           Descriptive Portion:
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                    Use Electronic Common Technical Document (eCTD) (/drugs/electronic-regulatory-submission-and-
                    review/electronic-common-technical-document-ectd) specifications to submit electronically.

                    Indicate in the descriptive portion that the ICSRs have been submitted electronically as XML files to the
                    ESG or via the SRP.

             Non-expedited ICSRs:

                    Must be submitted as described above for electronic submission of ICSRs and on or before the PSR due
                    date. Please do NOT re-submit any ICSRs that were previously submitted.

      Resources For You
             FAQ: CDER and CBER-Regulated Combination Products (/media/131508/download?attachment)

             FAQ: FAERS Submissions (/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/faers-
             submissions-frequently-asked-questions)

             Public Meeting: Electronic Submission of Adverse Event Reports to FDA Adverse Event Reporting System
             (FAERS) using International Council for Harmonisation (ICH) E2B(R3) Standards (/drugs/news-events-human-
             drugs/electronic-submission-adverse-event-reports-fda-adverse-event-reporting-system-faers-using)

             FAQs: Safety Reporting Portal (/drugs/questions-and-answers-fdas-adverse-event-reporting-system-
             faers/faqs-safety-reporting-portal)

             FDA issues final rule on postmarketing safety report in electronic format (http://wayback.archive-
             it.org/7993/20170111002213/http:/www.fda.gov/Drugs/DrugSafety/ucm400526.htm) 
             (http://www.fda.gov/about-fda/website-policies/website-disclaimer)




                                                                                                                        App. 000729
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-sub…   3/3
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                                EXHIBIT 39

  Specifications for Preparing and Submitting Electronic
               ICSRs and ICSR Attachments




                                                                   App. 000730
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      Specifications for Preparing and Submitting
         Electronic ICSRs and ICSR Attachments


                       Technical Specifications Document



 Associated Guidance Documents and Conformance Guide:

 Draft Guidance for Industry: Providing Submissions in Electronic Format –
 Postmarketing Safety Reports (June 2014)

 Guidance for Industry and FDA Staff: Postmarketing Safety Reporting for
 Combination Products (July 2019)

 Draft Guidance for Industry: Providing Regulatory Submissions in Electronic
 Format: IND Safety Reports (October 2019)

 Electronic Submissions of IND Safety Reports Technical Conformance Guide
 (October 2019)


 For questions regarding this technical specifications document, contact the Office of Surveillance
 and Epidemiology, Center for Drug Evaluation and Research, Food and Drug Administration, at
 FAERSESUB@fda.hhs.gov; or Office of Communication, Outreach and Development, Center
 for Biologics Evaluation and Research, Food and Drug Administration, at
 CBERICSRSubmissions@fda.hhs.gov.


                       U.S. Department of Health and Human Services
                                 Food and Drug Administration
                      Center for Drug Evaluation and Research (CDER)
                     Center for Biologics Evaluation and Research (CBER)

                                            April 2021


 Draft Version 1.9                              1
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      Specifications for Preparing and Submitting
        Electronic ICSRs and ICSR Attachments
                            Revision History Table

          Date            Version                         Summary of Changes

    2008-06-11              1.0         Initial Version

    2008-08-06              1.1         Added Filename format information

    2008-10-10              1.2         Updated UTF-8 to ISO-8859-1 encoding; indicated
                                        simultaneous acceptance of ICSR and ICSR
                                        attachments; provided another acceptable file
                                        extension for SGML files; and clarified use of
                                        abbreviations (NDA, ANDA, and STN)
    2008-10-22              1.3         Provided clarification in Section II; updated footnote
                                        3; and added new paragraph to Section V.C.
    2013-07-05              1.4         Updated AERS to FAERS migration changes,
                                        removed references to SGML file formatting,
                                        incorporated updates from CBER
    2018-02-06              1.5         Added a new section to highlight data fields for
                                        reporting ICSRs on Combination Products
    2019-09-30              1.6         Added two new sections to provide regional data
                                        elements for electronic submissions of certain IND
                                        safety reports (section I) and IND-exempt
                                        Bioavailability (BA)/Bioequivalence (BE) studies
                                        (section J).
                                        Added an appendix (II) highlighting various case
                                        scenarios for electronic submissions of IND safety
                                        reports to FAERS.




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    2020-02-11              1.7         Added a new value to the data element B.4.k.1 for
                                        drug characterization to accommodate a similar
                                        device.
                                        Updated the data element B.4.k.18.2 to specify
                                        values.
                                        Updated the data element B.4.k.18.3 to use default
                                        value.
    2020-12-18              1.8         Added a new regional data element
                                        A.1.FDA.16 (FDA Safety Report Type) in
                                        Table 2 Detailed Description of
                                        Administrative Tags
                                        Added section Submission Rules
                                        Added a new value to the data element
                                        B.4.k.1 and B.4.k.19 in section J. IND-
                                        exempt BA/BE Studies
    2021-03-26              1.9         Updated section XML Header to include
                                        DTD 3.0 for premarketing reporting
                                        Updated the reference description to data
                                        element A.1.FDA.16 in Table 2 Detailed
                                        Description of Administrative Tags
                                        Updated section ICSR Message Header
                                        Information to include information in
                                        premarketing reporting
                                        Updated section AS2 Headers and Routing
                                        IDs for Premarketing Safety Report
                                        Submissions
                                        Updated section Submission Rules




 Draft Version 1.9                     3
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                           Specifications for Preparing and Submitting
                              Electronic ICSRs and ICSR Attachments

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                            Specifications for Preparing and Submitting
                               Electronic ICSRs and ICSR Attachments

     This document provides current specifications for submitting individual case safety reports
     (ICSRs) and ICSR attachments in electronic form. The specifications apply to electronic
     submission of ICSRs for drug and biological products studied under an investigational new drug
     application (IND) (including bioequivalence studies conducted under IND), ICSRs from IND-
     exempt bioavailability (BA)/bioequivalence (BE) studies, and ICSRs for marketed drug and
     biological products and combination products to the FDA Adverse Event Reporting System
     (FAERS). The specifications do not apply to the following marketed biological products:
     prophylactic vaccines, whole blood or components of whole blood, human cells, tissues, and
     cellular and tissue-based products (HCT/Ps) regulated by FDA.
     This document discusses the technical specifications for electronic submission of ICSRs and
     ICSR attachments through the FDA Electronic Submissions Gateway (ESG). 1 ICSRs (and any
     ICSR attachments) are to be prepared in accordance with the International Council for
     Harmonisation (ICH) E2B(R2) data elements in extensible markup language (XML) file format
     for compatibility with the FAERS database. ICSRs for marketed products should not be
     submitted to the electronic Common Technical Document (eCTD). 2
     If you have not previously submitted an ICSR in electronic format to FAERS, you should contact
     the FAERS electronic submission coordinator at faersesub@fda.hhs.gov and they will assist you
     with submission of a test file.


I.       ELECTRONIC SUBMISSIONS OF ICSRS AND ICSR ATTACHMENTS

     Each initial ICSR or follow-up ICSR may consist of structured information and non-structured
     information, such as ICSR attachments.
     For the FDA to process, review, and archive the ICSRs, prepare your ICSRs for electronic
     submission by following these steps:

         •   Provide a unique filename for the submission; see section II of this document.

         •   Add a file header and file extension; see section IV of this document.

         •   Populate the elements of the ICSR file; see section V of this document.

     1
      For information on providing submissions using the ESG, refer to
     https://www.fda.gov/ForIndustry/ElectronicSubmissionsGateway/default.htm.
     2
      See FAERS Electronic Submissions at
     https://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Surveillance/AdverseDrugEffects/ucm115894.htm.


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       •   If applicable, add ICSR attachments to ICSRs; see section VI of this document.


 II.   SUBMISSION FILE NAME

   Each electronic submission of ICSRs or attachments to ICSRs must have a unique filename (e.g.,
   your named file + date and time stamp down to the second: filenameYYYYMMDDHHMMSS).
   You may choose your own format to maintain uniqueness.


III.   ICSR ACKNOWLEDGEMENTS


       A. ESG Acknowledgement
   After submitting an ICSR or ICSR attachment, you should receive an ESG message delivery
   notice (MDN) notifying the sender of the receipt of their submission, but not acknowledging the
   acceptance of the submission. If the MDN is not received within 2 hours, go to the ESG System
   Status web page. If the ESG web page is non-operational, go to the ESG Home Page for further
   information.

       B. FAERS Acknowledgment
   The MDN is then followed by a FAERS acknowledgment within 2 hours of the ESG
   acknowledgement. The FAERS acknowledgement notifies the sender whether their submission
   has been processed. If you do not receive the FAERS acknowledgement, resubmit the ICSRs
   without changing the filename.
   If you receive a report acknowledgement code 02, indicating that your submission did not
   process due to file error/s that are specified in the acknowledgment, then proceed as follows:

       •   For submission with a single ICSR, resubmit the corrected ICSR with a new unique
           filename.

       •   For a submission consisting of multiple ICSRs, if one or more ICSRs in the submission
           failed to process, separate those ICSRs from the processed ICSRs, correct them and
           resubmit only the corrected ICSRs as a new submission with a unique filename. For
           example, if there were 50 ICSRs in an original submission and 15 of them failed to
           process, then only those 15 ICSRs must be separated, corrected appropriately, and
           resubmitted with a new unique filename. The resubmission should not contain any of the
           previously processed ICSRs.


IV.    ELECTRONIC TRANSPORT FORMAT: XML FILES

   FDA accepts the data elements defined in the “Guidance for Industry E2BM Data Elements for



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 Transmission of Individual Case Safety Reports (April 2002).”3 The ICH E2B(R2) guidance
 provides additional information and clarification of the previously issued guidances. 4
 The electronic transport format also known as the Document Type Definition (DTD) for XML
 files is described in the associated document “XML Formatted DTD” (DTD Version 2.1, DTD
 Version 2.2 and DTD Version 3.0) (see links to the documents below in section C).

      A. AS2 Headers and Routing IDs for Postmarketing Safety Report Submissions
 For postmarketing safety report submissions, the sponsors should include the unique AS2
 headers or routing IDs for safety reports and attachments in one of the two ways listed below.

        •    AS2 Headers
                - Destination: “CDER”
                - XML files: AERS
                - PDF’s: AERS_ATTACHMENTS
        or

        •    Routing IDs
                - XML files: FDA_AERS
                - PDF’s: FDA_AERS_ATTACHMENTS

      B. AS2 Headers and Routing IDs for Premarketing 5 Safety Report Submissions
 For premarketing safety report submissions, the sponsors should include the unique AS2 headers
 or routing IDs for premarketing safety reports and attachments, as listed below, to differentiate
 these reports between CDER and CBER, and from postmarketing ICSRs.




 3
  For information on Guidance for Industry on E2BM Data Elements for Transmission of Individual Case Safety
 Reports, please refer to the following:
 https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM073092.pdf.
 4
   See the guidance for industry entitled E2B Data Elements for Transmission of Individual Case Safety Reports
 (January 1998) (E2B). FDA currently supports use of E2B data elements in addition to the E2BM data elements.
 However, it is preferred that ICSRs be submitted with E2BM data elements to allow for the most efficient
 processing of the submissions. For those who wish to use E2B data elements and the corresponding electronic
 transport format (ICH M2 Electronic Transmission of Individual Case Safety Reports Message Specification Final
 Version 2.3 Document Revision February 1, 2001 (ICH ICSR DTD Version 2.1)), please refer to documentation
 provided at https://www.fda.gov/downloads/drugs/ucm149932.pdf
 5
     The term premarketing safety report refers to IND safety reports and IND-exempt BA/BE studies safety reports.


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        1. Submitting premarketing safety reports for CDER IND and IND-Exempt BA/BE

             •   AS2 Headers
                     - Destination: “CDER”
                     - XML files: AERS_PREMKT_CDER
                     - PDF’s: AERS_ATTACHMENTS_PREMKT_CDER
        or
             •   Routing IDs
                     - XML files: FDA_AERS_PREMKT_CDER
                     - PDF’s: FDA_AERS_ATTACHMENTS_PREMKT_CDER


        2. Submitting premarketing safety reports for CBER IND

             •   AS2 Headers
                     - Destination: “CBER”
                     - XML files: AERS_PREMKT_CBER
                     - PDF’s: AERS_ATTACHMENTS_PREMKT_CBER
        or
             •   Routing IDs
                     - XML files: FDA_AERS_PREMKT_CBER
                     - PDF’s: FDA_AERS_ATTACHMENTS_PREMKT_CBER

    C. XML Header
 The addition of an XML header enables FDA to process ICSRs in an XML format successfully.
 FDA supports only the ISO-8859-1 character set for encoding the submissions.

        1. For submissions of postmarketing safety reports for drug and biological products,
        add the following XML header to the ICSR file:
        <?xml version=“1.0” encoding=“ISO-8859-1”?>
        <!DOCTYPE ichicsr SYSTEM “https://www.accessdata.fda.gov/xml/icsr-xml-
        v2.1.dtd”>

        2. For submissions of postmarketing safety reports for combination products, add the
        following XML header to the ICSR file:
        <?xml version=“1.0" encoding=“ISO-8859-1”?>
        <!DOCTYPE ichicsr SYSTEM “https://www.accessdata.fda.gov/xml/icsr-xml-

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            v2.2.dtd”>

            3. For submissions of premarketing safety reports, add the following XML header to
            the ICSR file:
            <?xml version=“1.0" encoding=“ISO-8859-1”?>
            <!DOCTYPE ichicsr SYSTEM “https://www.accessdata.fda.gov/xml/icsr-xml-
            v3.0.dtd”>

       D. ICSR Message Header Information

            1. For submissions of postmarketing drug and biological product safety reports, use
            the value “2.1” for the DTD Descriptor <messageformatversion>:
                    <messageformatversion>2.1</messageformatversion>

            2. For submissions of postmarketing combination product safety reports, use the
            value “2.2” for the DTD Descriptor <messageformatversion>:
                    <messageformatversion>2.2</messageformatversion>

            3. For submissions of premarketing safety reports, use the value “3.0” for the DTD
            Descriptor <messageformatversion>:
                    <messageformatversion>3.0</messageformatversion>

       E. ICSR File Extension
     Use “xml” as the file extension for ICSRs in XML format. The name of the file should be 200
     characters or less, excluding the three-digit extension. FDA does not support file names with
     multiple periods “.” or the use of any special or foreign characters except underscore “_” and
     dash “-”.


V.      DATA ELEMENTS FOR ELECTRONIC SUBMISSIONS

       A. Minimum Data Elements Requirements
     For a submission to be successfully processed, submit an ICSR with the minimum data elements
     for reporting that are appropriate for the product type. If a sponsor submits an ICSR without the
     minimum data elements, they will receive a FAERS acknowledgement code 02 stating that the
     submission was not processed (see section III.B above). The minimum data elements for
     reporting are provided in Table 1 and the bullets that follow list the data elements to include in
     an ICSR by product type.




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 Table 1.      Minimum Data Elements

                       Element                                     Data

                          B.1                               Identifiable Patient

                          A.2                              Identifiable Reporter

                          B.2                                Reaction or Event

                          B.4                              Suspect Drug Product

    •   Adverse event reports submitted for unapproved prescription drug products, unapproved
        nonprescription drug products and products approved for marketing under an abbreviated
        new drug application (ANDA), biologics license application (BLA), or new drug
        application (NDA), including combination products should have, at a minimum, the four
        data elements listed in Table 1.

    •   Adverse event reports for compounded drugs submitted by registered outsourcing
        facilities should have at a minimum, a suspect product and an adverse event.

    •   IND safety reports should include, at a minimum, the four data elements listed in Table 1
        and the IND number under which the clinical trial where the event occurred is conducted.

    •   Serious adverse event reports from IND-exempt BA/BE studies should include, at a
        minimum, the four data elements listed in Table 1 and the pre-assigned ANDA number
        (hereafter referred as, Pre-ANDA number).

    B. Administrative and Identification Elements
 For FDA to successfully process your electronic ICSR submissions, populate the administrative
 and identification elements as indicated in Table 2.




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 Table 2.            Detailed Description of Administrative Tags*

           Element         DTD Descriptor 2.1          Length             Element Values for DTD 2.1
      A.1.9               <fulfillexpeditecriteria>    1N           1= Yes (15-Day expedited)
                                                                    2= No (non-expedited)
                                                                    4= 5-Day
                                                                    5= 30-Day
                                                                    6= 7-Day expedited
      A.1.0.1             <safetyreportid>             100AN        Sender’s (Case) Safety
                                                                    Report Unique Identifier†
      A.1.10.1            <authoritynumb>              100AN        Regulatory authority’s case report
                                                                    number
      A.1.10.2            <companynumb>                100AN        Other sender’s case report number

      A.3.1.2             <senderorganization>         60AN         Sender identifier
      A.2.3.2 ^           <sponsorstudynumb>           35AN         IND or Pre-ANDA number under
                                                                    which the clinical trial where the event
                                                                    occurred is conducted
                     ††
      A.1.FDA.16          <fdasafetyreporttype>        1N           1=IND Safety Report
                                                                    2=IND-Exempt BA/BE Safety Report
                                                                    3=Postmarketing Safety Report
  *
    Include either <companynumb> or <authoritynumb> values. FDA cannot process the ICSR without one of these
  element values.
  †
    The Sender’s Safety Report Unique Identifier is comparable to the Manufacturer
  Report Number (also referred to as the Manufacturer Control Number (MCN)) provided on paper in FDA Form
  3500A. This number is the company’s unique case identification number, which is used for the life of the case.
  ^
    For IND and IND-exempt BA/BE study safety reports only. An IND-exempt BA/BE study refers to a BA/BE
  study not conducted under IND.
  ††
     The FDA Safety Report Type data element distinguishes premarketing (IND and IND-Exempt BA/BE) safety
  reports from postmarketing safety reports and is used to determine which reports are posted publicly. The FDA
  Safety Report Type data element is optional when using DTD 2.1 and 2.2 for postmarketing safety report submission
  but is mandatory when using DTD 3.0 for premarketing safety report submission.

      C. Authorization/ Application Number Format
 In the section designated for drug and biological products information, use the following format
 for the “Authorization/ Application Number” element (B.4.k.4.1) <drugauthorizationnumb> as
 indicated in Table 3 and described below.

       •    For approved drug and biological products marketed under an approved application,
            include the acronym “NDA” or “ANDA,” followed by a space and then the number for
            the application (e.g., NDA 012345, ANDA 012345). For prescription drug products
            marketed without an approved application (Rx No Application), use “000000.” For a
            nonprescription drug product marketed without an approved application (Non-Rx No

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        Application), use “999999.” For adverse event reports for compounded drug products
        submitted by registered outsourcing facilities, use “COMP99.”

    •   For marketed biological products, include the appropriate acronym “BLA,” “STN,” or
        “PLA” followed by a space and the primary six-digit number (e.g., STN 123456).

 Table 3.       Detailed Description of Application Number Formats

                      Type of Application                     Recommended Format

            NDA/ ANDA                                 NDA, ANDA 012345

            STN/ BLA/ PLA                             STN or BLA or PLA 123456

            Rx No Application                         000000

            Non-Rx No Application                     999999
            Compounded Products                       COMP99

    D. Unique Case Identification Numbers for Initial and Follow-Up ICSRs
 For the follow-up ICSR safety reports to be correctly linked to your initial ICSR report, follow
 these steps:
    •   Use the same <safetyreportid> for the E2BM elements in section A.1.0.1 for the initial
        ICSR and any of its follow-up ICSRs; this allows the follow-up report to be linked to the
        initial report in the FAERS database.

    •   If the initial ICSR was submitted on paper but its follow-up ICSR is submitted
        electronically, include the Manufacturer Control Number (MCN) listed in Box G9 of the
        FDA paper Form 3500A from the initial report in both A.1.0.1 <safetyreportid> and in
        A.1.10.2 <companynumb> field in the follow-up electronic submission.

    •   Always use the <safetyreportid> that was assigned to the initial ICSR when submitting
        follow-up reports. If you need to change the <safetyreportid> internally, note the
        internally reassigned <safetyreportid> in the narrative section of the follow-up report
        (i.e., element B.5.1) (e.g., “This ICSR has been reassigned to the Company ID number
        COA12345”). Do not use the internally reassigned <safetyreportid> for any follow-up
        reports.

    •   In the event that an incorrect <safetyreportid> has been used in a follow-up report,
        contact the FAERS electronic submission coordinator at faersesub@fda.hhs.gov so that
        the follow-up ICSR can be matched to the initial ICSR.


    E. MedDRA Specific Elements
 Use the ICH Medical Dictionary for Regulatory Activities (MedDRA) to code medical


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 terminology. 6 When possible, use the Lowest Level Term (LLT), and record the LLT as the
 MedDRA numeric code rather than the LLT name (e.g., the LLT name is Rash; the MedDRA
 numeric code for LLT Rash is 10378444).

            1. Reaction/Event
                 a) Reaction/Event as reported by the primary source field
         Record the original reporter’s words verbatim and/or use short phrases to describe the
         reaction/event in element (B.2.i.0).
                 b) Reaction/Event MedDRA Term LLT numeric code or text field
         Record the MedDRA LLT that most closely corresponds to the term reported by the
         original reporter in element (B.2.i.1).
                 c) Reaction/Event MedDRA Preferred Term (PT) numeric code or text field
         Record the MedDRA PT that most closely corresponds to the term reported by the
         original reporter in element (B.2.i.2).

            2. Other E2B Elements
 For the E2B elements listed in Table 4, use either MedDRA text or, preferably, the
 corresponding numeric code.

 Table 4.        Additional E2B Elements for Preferred MedDRA Coding

               Element               DTD Descriptor 2.1                       Length
            B.1.7.1a.2         <patientepisodename>                     250 AN
            B.1.8f.2           <patientdrugindication>                  250 AN
            B.1.8g.2           <patientdrugreaction>                    250 AN
            B.1.9.2b           <patientdeathreport>                     250 AN
            B.1.9.4b           <patientdetermineautopsy>                250 AN
            B.1.10.7.1a.2      <parentmedicalepisodename>               250 AN
            B.1.10.8f.2        <parentdrugindication>                   250 AN
            B.1.10.8g.2        <parentdrugreaction>                     250 AN
            B.3.1c             <testname>                               100 AN
            B.4.k.11b          <drugindication>                         250 AN
            B.4.k.17.2b        <drugrecuraction>                        250 AN
            B.4.k.18.1b        <drugreactionasses>                      250 AN
            B.5.3b             <senderdiagnosis>                        250 AN



 6
   Companies can license MedDRA from an international maintenance and support services organization (MSSO)
 (toll free number 877-258-8280; Direct 571-313-2574; fax 571-313-2345; e-mail MSSOhelp@mssotools.com).


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      F. Drug Description and Case Narrative Elements
 To ensure the successful processing of your electronic ICSR submission, applicants are advised
 to populate the drug description and narrative elements as indicated in Table 5.
                                                                                     †
 Table 5.           Detailed Description of Drug(s) and Narrative Elements*

      Element           DTD Descriptor 2.1           Length          Element Values for DTD 2.1
     B.4.k.1         <drugcharacterization>       1N             1=Suspect
                                                                 2=Concomitant
                                                                 3=Interacting
                                                                 4=Drug not administered
     B.4.k.2.1       <medicinalproduct>           70AN           Proprietary Medicinal Product Name

     B.4.k.2.2       <activesubstancename>        100AN          Drug Substance Name

     B.5.1           <narrativeincludeclinical> 20000AN          Case Narrative
 *
   Include <medicinalproduct> and/or <activesubstancename>. FDA cannot process the ICSR without at
 least one of these elements.
 †
   Appendix I lists various examples of correct drug element formats.


               1. Recording Multiple Drugs
 If you are submitting safety reports for products containing multiple drugs, you should follow
 these steps:
       •     List the proprietary drug product name in element (B.4.k.2.1) and/or list the drug
             substance name in element (B.4.k.2.2).

       •     List the characterization of each reported drug’s role, such as suspect, concomitant,
             interacting, drug not administered, or similar device in element (B.4.k.1).

               2. Medicinal Product Name and Active Drug Substance Name
 FDA validates medicinal product names to the available Structured Product Labeling (SPL) 7, the
 submitted label (as ICSR attachment), and the Substance Registration System (SRS). These are
 further described below:
       •     When the product has an SPL, use the same naming convention as it appears in the SPL
             when submitting the ICSR.



 7
  The SPL is a document markup standard approved by Health Level Seven (HL7) and adopted by FDA as a
 mechanism for exchanging product and facility information. See
 https://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/default.htm.


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     •   When submitting a product label as an attachment to an ICSR, use the name as it appears
         on the submitted product label.

     •   If no medicinal product is named and only the active substance is named, use the name of
         the active substance as it appears in the SRS. 8

           3. Case Narrative
                 a) Initial ICSR
         Record all case narrative information including clinical course, therapeutic measures,
         outcome, and all additional relevant information in element (B.5.1). If the information
         exceeds the field length, consider describing the information using fewer words.
         Although the use of only the most widely used medical abbreviations is permissible if
         necessary, their use should be limited when possible.
                 b) Follow-up ICSR
         Record both new information and corrections to previously submitted ICSRs in element
         (B.5.1).

     G. Other Data Elements

           1. Dosage Information Field
 If dosage information cannot be captured in the structured fields in B.4.k.5, then use the element
 (B.4.k.6) <drugdosagetext>.

           2. Pharmaceutical Form Field
 Record the pharmaceutical form in element (B.4.k.7) <drugdosageform>. FDA accepts the
 European Medicines Agency (EMA) dosage codes or text. 9

           3. Route of Administration Field
 Code the route of administration in element (B.4.k.8) <drugadministrationroute> as described in
 the ICH E2B(R2) guidance.

           4. Receiver Field (A.3.2)
 Complete the receiver using the code or text listed in Table 6.



 8
  https://www.fda.gov/ForIndustry/DataStandards/SubstanceRegistrationSystem-
 UniqueIngredientIdentifierUNII/default.htm.
 9
  For a complete list of EMA dosage form codes and text, please refer to
 https://www.ema.europa.eu/documents/other/list-pharmaceutical-dosage-forms_en.xls


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 Table 6.        Receiver Information

     Element          DTD Descriptor 2.1                        Code or Text
   A.3.2.1        <receivertype>                2
   A.3.2.2a       <receiverorganization>        FDA
   A.3.2.2b       <receiverdepartment>          Office of Surveillance and Epidemiology
   A.3.2.2d       <receivergivename>            FAERS
   A.3.2.3a       <receiverstreetaddress>       10903 New Hampshire Avenue
   A.3.2.3b       <receivercity>                Silver Spring
   A.3.2.3c       <receiverstate>               MD
   A.3.2.3d       <receiverpostcode>            20993
   A.3.2.3e       <receivercountrycode>         US
   A.3.2.3l       <receiveremailaddress>        faersesub@fda.hhs.gov


            5. Message Receiver Field (M.1.6)
 The following two message receiver identifiers are used by FDA to distinguish between test and
 production submissions:
    •   Test ICSRs: <messagereceiveridentifier>ZZFDATST</messagereceiveridentifier>

    •   Production ICSRs: <messagereceiveridentifier>ZZFDA</messagereceiveridentifier>


    H. Data Elements for Electronic Submissions of Safety Reports for Postmarketing
       Combination Products
 To ensure the successful processing of your electronic ICSR submission for a marketed drug- or
 therapeutic biologic led- combination product (e.g., a combination product containing a
 drug/biologic and device and marketed under an NDA or a BLA), you should populate the data
 elements indicated in Table 7.
 Note: Some of the DTD descriptors listed in Table 7 are under existing E2B(R2) header
 elements, and some DTD descriptors are under new data elements. Those data element numbers
 that are new, have the word “FDA” incorporated into the number and are U.S.-specific regional
 elements related to reporting on combination products.




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Table 7.      Combination Product Data Elements
                                                                                                     Element Values
   Data Element            DTD Descriptor 2.2            Title            Description       Length                                   Notes
                                                                                                       for DTD 2.2
 M.1.2              <messageformatversion>           Message           Version number       3AN      2.2                Use value 2.2 if using icsr-
                                                     Format            of Message                                       xml-v2.2.dtd
                                                     Version           Format
                                                                                                                        Use value 2.1 if using icsr-
                                                                                                                        xml-v2.1.dtd
 A.1                <safetyreport>                   Header/           Identification of
                                                     Entity            the case safety
                                                                       report
 A.1.9              <fulfillexpeditecriteria>        Does this                              1N       1=Yes              Element values= 1 for 15-Day
                                                     case fulfill                                    2=No               Expedited* and 2 for periodic
                                                     the local                                       4=5-Day            non-expedited†
                                                     criteria for an                                 5=30-Day
                                                     expedited                                                          Element value= 4 for remedial
                                                     report                                                             action to prevent an
                                                                                                                        unreasonable risk of
                                                                                                                        substantial harm to the public
                                                                                                                        health

                                                                                                                        Element value= 5 for
                                                                                                                        malfunction with no associated
                                                                                                                        adverse event

                                                                                                                        Do not use element value of 3.
 A.1.FDA.15         <combinationproductreport>       Combination       Combination          1N       1=Yes
                                                     Product           Product Report                2=No
                                                     Report Flag       Flag
 A.2                <primarysource>                  Primary           Header/ Entity                Area below
                                                     source(s) of                                    should be a
                                                     information                                     repeatable block

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                                                                                                      Element Values
   Data Element              DTD Descriptor 2.2            Title          Description        Length                                   Notes
                                                                                                        for DTD 2.2
 A.2.1                                                 Primary         Header
                                                       source(s)
 A.2.1.3.FDA.4      <reporteremailaddress>             Reporter’s                            100AN
                                                       Email
                                                       Address
 B.1.1              <patientinitial>                   Patient         Patient Identifier    10AN                        If a single report is reported
                                                                                                                         for a malfunction with no
                                                                                                                         adverse event, the element
                                                                                                                         value should be “NONE.”

                                                                                                                         If there are multiple
                                                                                                                         malfunction reports with no
                                                                                                                         adverse event, then the
                                                                                                                         element value should be
                                                                                                                         “SUMMARY.”
 B.4                <drug>                             Drug(s)         Header/ Entity                 Area below
                                                       Information                                    should be a
                                                                                                      repeatable block
 B.4.k.1            <drugcharacterization>             Characterizat                          1N      1=Suspect          If the product in the report is
                                                       ion of drug                                    2=Concomitant      about a similar device, the
                                                       role                                           3=Interacting      element value should be
                                                                                                      5=Similar          5=Similar Device.
                                                                                                      Device
 B.4.k.2                                               Drug           Header
                                                       Identification
 B.4.k.2.4.FDA.1a   <expirationdateformat>             Expiration     Product                3N       102=CCYYMM
                                                       date format    Expiration date                 DD
                                                                                                      610=CCYYMM
                                                                                                      602=CCYY
 B.4.k.2.4.FDA.1b   <expirationdate>                   Expiration      Product               8N
                                                       date            Expiration date

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                                                                                                   Element Values
   Data Element            DTD Descriptor 2.2             Title         Description       Length                                 Notes
                                                                                                     for DTD 2.2
 B.4.k.2.FDA.5      <productavailableforevaluation>   Product         Indicate whether    1N       1=Yes
                                                      available for   product is                   2=No
                                                      evaluation      available for                3=Return
                                                                      evaluation
 B.4.k.2.6.FDA.1a   <productreturndateformat>         Product         Date Format         3N       102=CCYYMM
                                                      return date                                  DD
                                                      format                                       610=CCYYMM
                                                                                                   602=CCYY
 B.4.k.2.6.FDA.1b   <productreturndate>               Product      Date when              8N
                                                      return date  Product was
                                                                   returned
 B.4.k.20.FDA.1     <brandname>                       Brand Name The trade or             80AN                       At least one of the 3 must be
                                                                   proprietary name                                  reported <brandname> or
                                                                   of the device                                     <commondevicename> or
                                                                   constituent part                                  <productcode> for the device
                                                                   of the suspect                                    constituent part
                                                                   combination
                                                                   product as used
                                                                   in product
                                                                   labeling or in the
                                                                   catalog
 B.4.k.20.FDA.2     <commondevicename>                Common       Generic or             80AN                       At least one of the 3 must be
                                                      Device Name common name of                                     reported <brandname> or
                                                                   the device                                        <commondevicename> or
                                                                   constituent part                                  <productcode> for device
                                                                   of the suspect                                    constituent part
                                                                   combination
                                                                   product or a
                                                                   generally
                                                                   descriptive name
 B.4.k.20.FDA.3     <productcode>                     Product Code Product code           3AN      http://www.acce   At least one of the 3 must be

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                                                                                                   Element Values
   Data Element            DTD Descriptor 2.2           Title          Description        Length                               Notes
                                                                                                     for DTD 2.2
                                                                    assigned to the                ssdata.fda.gov/p reported <brandname> or
                                                                    device                         remarket/ftparea <commondevicename> or
                                                                    constituent part               /foiclass.zip    <productcode> for device
                                                                    based upon the                                  constituent part
                                                                    medical device
                                                                    product
                                                                    classification
 B.4.k.20.FDA.4     <manufacturer>                   Manufacturer   Header/ Entity

 B.4.k.20.FDA.4a    <manufacturername>               Device         Manufacturer          100AN
                                                     Manufacturer   name of the
                                                     Name           device
                                                                    constituent part
                                                                    of the suspect
                                                                    combination
                                                                    product
 B.4.k.20.FDA.4b    <manufactureraddress>            Manufacturer   Manufacturer          100AN
                                                     Address        address of the
                                                                    device
                                                                    constituent part
                                                                    of the suspect
                                                                    combination
                                                                    product
 B.4.k.20.FDA.4c    <manufacturercity>               Manufacturer   Manufacturer          35AN
                                                     City           city of the device
                                                                    constituent part
                                                                    of the suspect
                                                                    combination
                                                                    product
 B.4.k.20.FDA.4d    <manufacturerstate>              Manufacturer   Manufacturer          40AN
                                                     State          state of the
                                                                    device
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                                                                                                 Element Values
   Data Element           DTD Descriptor 2.2           Title         Description        Length                               Notes
                                                                                                   for DTD 2.2
                                                                   constituent part
                                                                   of the suspect
                                                                   combination
                                                                   product
 B.4.k.20.FDA.4e    <manufacturercountry>           Manufacturer   Manufacturer         2AN      ISO3166
                                                    Country        country of the
                                                                   device
                                                                   constituent part
                                                                   of the suspect
                                                                   combination
                                                                   product
 B.4.k.20.FDA.5     <modelnumber>                   Model          Model number of      30AN
                                                    Number         the device
                                                                   constituent part
 B.4.k.20.FDA.6     <catalognumber>                 Catalog        Catalog number       30AN
                                                    Number         of the device
                                                                   constituent part
 B.4.k.20.FDA.7     <serialnumber>                  Serial         Serial number of     30AN
                                                    Number         the device
                                                                   constituent part
 B.4.k.20.FDA.8     <udinumber>                     Unique         Unique identifier    50AN
                                                    Identifier     of the device
                                                    UDI#           constituent part
 B.4.k.20.FDA.9a    <dateimplantedformat>           Device         Date format of       3N       102=CCYYMM       For medical devices that are
                                                    Implant Date   device implant in             DD               implanted in the patient,
                                                    Format         the patient                   610=CCYYMM       provide the implant date or
                                                                                                 602=CCYY         best estimate. If day is
                                                                                                                  unknown, month and year are
                                                                                                                  acceptable. If month and day
                                                                                                                  are unknown, year is
                                                                                                                  acceptable

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                                                                                                Element Values
   Data Element           DTD Descriptor 2.2           Title         Description       Length                               Notes
                                                                                                  for DTD 2.2
 B.4.k.20.FDA.9b    <dateimplanted>                 Device         Date of device      8N                        For medical devices that are
                                                    Implant Date   implant in the                                implanted in the patient,
                                                                   patient                                       provide the implant date or
                                                                                                                 best estimate. If day is
                                                                                                                 unknown, month and year are
                                                                                                                 acceptable. If month and day
                                                                                                                 are unknown, year is
                                                                                                                 acceptable
 B.4.k.20.FDA.10a   <dateexplantedformat>           Device         Date format of      3N       102=CCYYMM       If an implanted device was
                                                    Explant Date   device explant               DD               removed from the patient,
                                                    Format         from the patient             610=CCYYMM       provide the explant date or
                                                                                                602=CCYY         best estimate. If day is
                                                                                                                 unknown, month and year are
                                                                                                                 acceptable. If month and day
                                                                                                                 are unknown, year is
                                                                                                                 acceptable
 B.4.k.20.FDA.10b   <dateexplanted>                 Device         Date of device      8N                        If an implanted device was
                                                    Explant Date   explant from the                              removed from the patient,
                                                                   patient                                       provide the explant date or
                                                                                                                 best estimate. If day is
                                                                                                                 unknown, month and year are
                                                                                                                 acceptable. If month and day
                                                                                                                 are unknown, year is
                                                                                                                 acceptable
 B.4.k.20.FDA.11a   <deviceage>                     Approximate    Age of device       5N
                                                    age of         constituent part
                                                    device/
                                                    product
 B.4.k.20.FDA.11b   <deviceageunit>                 Approximate    Age unit of         3N       800=Decade
                                                    age unit of    device                       801=Year
                                                    device/        constituent part             802=Month

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                                                                                                   Element Values
   Data Element             DTD Descriptor 2.2            Title         Description       Length                         Notes
                                                                                                     for DTD 2.2
                                                      product                                      803=Week
                                                                                                   804=Day
                                                                                                   805=Hour
 B.4.k.20.FDA.12     <labeledsingleusedevice>         Single Use     Indicate whether     1N       1=Yes
                                                      Device         the device                    2=No
                                                                     constituent part
                                                                     was labeled for
                                                                     single use or not
 B.4.k.20.FDA.13a    <devicemanufacturedateformat>    Device         Device               3N       102=CCYYMM
                                                      Manufacture    Manufacture                   DD
                                                      Date Format    Date format                   610=CCYYMM
                                                                                                   602=CCYY
 B.4.k.20.FDA.13b    <devicemanufacturedate>          Device         Device               8N
                                                      Manufacture    Manufacture
                                                      Date           Date
 B.4.k.20.FDA.14                                      Remedial       Header
                                                      action
                                                      initiated/
                                                      Remedial
                                                      action taken
                                                      for the
                                                      product
 B.4.k.20.FDA.14.1   <remedialactionrecall>           Recall         Recall initiated     1N       1=Yes
 a                                                                                                 2=No
 B.4.k.20.FDA.14.1   <remedialactionrepair>           Repair         Repair initiated     1N       1=Yes
 b                                                                                                 2=No
 B.4.k.20.FDA.14.1   <remedialactionreplace>          Replace        Replace initiated    1N       1=Yes
 c                                                                                                 2=No
 B.4.k.20.FDA.14.1   <remedialactionrelabel>          Relabeling     Relabeling           1N       1=Yes
 d                                                                   initiated                     2=No
 B.4.k.20.FDA.14.1   <remedialactionnotify>           Notification   Notification         1N       1=Yes

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                                                                                                  Element Values
   Data Element              DTD Descriptor 2.2            Title        Description      Length                         Notes
                                                                                                    for DTD 2.2
 e                                                                   initiated                    2=No
 B.4.k.20.FDA.14.1    <remedialactioninspection>       Inspection    Inspection          1N       1=Yes
 f                                                                   initiated                    2=No
 B.4.k.20.FDA.14.1    <remedialactionpatientmonitor>   Patient       Patient             1N       1=Yes
 g                                                     monitoring    monitoring                   2=No
 B.4.k.20.FDA.14.1    <remedialactionmodifyadjust>     Modification/ Modification/       1N       1=Yes
 h                                                     Adjustment    Adjustment                   2=No
                                                                     initiated
 B.4.k.20.FDA.14.1i   <remedialactionother>            Other         Other Remedial      75AN
                                                                     Action initiated
 B.4.k.20.FDA.15      <deviceusage>                    Device        Indicate the use    1N       1=Initial Use of
                                                       Usage         of the device                Device
                                                                     constituent part             2=Reuse
                                                                     of the suspect               3=Unknown
                                                                     combination
                                                                     product
 B.4.k.20.FDA.16      <devicelotnumber>                Device Lot    Lot number of       35AN
                                                       Number        the device
                                                                     constituent part
                                                                     of the suspect
                                                                     combination
                                                                     product
 B.4.k.20.FDA.17      <malfunction>                    Malfunction Malfunction of        1N       1=Yes
                                                                     product                      2=No
 B.4.k.20.FDA.18                                       Follow-up     Header
                                                       type
 B.4.k.20.FDA.18.1    <followupcorrection>             Correction    Correction          1N       1=Yes
 a                                                                                                2=No
 B.4.k.20.FDA.18.1    <followupadditionalinfo>         Additional     Additional         1N       1=Yes
 b                                                     information    information                 2=No
 B.4.k.20.FDA.18.1    <followupresponsetoFDA>          Response to    Response to FDA    1N       1=Yes

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                                                                                                Element Values
   Data Element             DTD Descriptor 2.2            Title       Description      Length                                Notes
                                                                                                  for DTD 2.2
 c                                                    FDA request   request                     2=No
 B.4.k.20.FDA.18.1   <followupdeviceevaluation>       Device        Device             1N       1=Yes
 d                                                    Evaluation    Evaluation                  2=No
 B.4.k.20.FDA.19     <deviceproblemandevaluation>     Device        Header/ Entity              Area Below
                                                      Problem and                               Should be a
                                                      evaluation                                Repeatable
                                                      codes                                     Block
 B.4.k.20.FDA.19.1   <evaluationtype>                 Evaluation    Type of problem    2N       01=Device
 a                                                    Type          and/or the                  Problem
                                                                    evaluation                  02=Method
                                                                                                03=Result
                                                                                                04=Conclusion
 B.4.k.20.FDA.19.1   <evaluationvalue>                Evaluation    The FDA code       6N                        The value depends on the
 b                                                    Value         value based on                               respective <evaluationtype>
                                                                    the respective
                                                                    evaluation type                              If <evaluationtype> = 01 -->
                                                                                                                 https://www.fda.gov/media/14
                                                                                                                 6825/download

                                                                                                                 If <evaluationtype> = 02 -->
                                                                                                                 https://www.fda.gov/media/14
                                                                                                                 6827/download

                                                                                                                 If <evaluationtype> = 03 -->
                                                                                                                 https://www.fda.gov/media/14
                                                                                                                 6828/download

                                                                                                                 If <evaluationtype> = 04 -->
                                                                                                                 https://www.fda.gov/media/14
                                                                                                                 6829/download
 B.4.k.20.FDA.20     <operatorofdevice>               Operator of   Operator of the    100AN                     Use the value “Health

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                                                                                                                    Element Values
    Data Element                 DTD Descriptor 2.2                   Title           Description        Length                                       Notes
                                                                                                                      for DTD 2.2
                                                                 the Device        Device                                               Professional” or “Lay
                                                                                                                                        User/Patient.” If none
                                                                                                                                        applicable, then specify the
                                                                                                                                        “Other” value
*
 21 CFR 314.80(c)(1) and 600.80(c)(1) use the term “15-day Alert reports.” In the combination product PMSR final rule (21 CFR 4.101), these reports are defined as
“Fifteen-day reports.”
†
 Periodic non-expedited ICSRs are the reports required under 21 CFR 314.80(c)(2)(ii)(B) and 21 CFR 600.80(c)(2)(ii)(B) for serious, expected and nonserious adverse
drug experiences.




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   I. Data Elements for Electronic Submissions of IND Safety Reports
 To ensure the successful processing of your electronic IND ICSR submission, you should populate the following data elements as
 described in Table 8.

 Table 8.      Investigational New Drug Clinical Data Elements

  Data                                                                      Field     Element Values for
                DTD Descriptor 3.0             Title         Description                                              Notes
 Element                                                                   Length         DTD 3.0
A.1.4         <reporttype>                 Type of                         1N        1=Spontaneous           Element value= 2 for
                                           Report                                    2=Report from           Report from Study
                                                                                     Study
                                                                                     3=Other
                                                                                     4=Not Available to
                                                                                     Sender (unknown)
A.1.9         <fulfillexpeditecriteria>    Does this                       1N        1=Yes                   Element value=1 for 15-
                                           case fulfill                              2=No                    Day Expedited
                                           the local                                 4=5-Day
                                           criteria for an                           5=30-Day                Element value= 6 for 7-
                                                                                     6=7-Day                 Day Expedited
                                           expedited
                                           report?
A.1.12        <linkreportnumb>             Identification                  100AN                             Used to link all
                                           Number of                                                         individual cases
                                           the report                                                        (safetyreportid) that make
                                           which is                                                          up an IND Safety Report
                                           linked to this                                                    submitted as a result of
                                           report                                                            an Aggregate Analysis as
                                                                                                             per 312.32(c)(1)(i)(C) or
                                                                                                             for several events


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  Data                                                            Field   Element Values for
                DTD Descriptor 3.0       Title     Description                                             Notes
 Element                                                         Length       DTD 3.0
                                                                                                  submitted as per
                                                                                                  (312.32(c)(1)(i)(B)) when
                                                                                                  a Narrative Summary
                                                                                                  Report is provided, this
                                                                                                  field should be populated
                                                                                                  in the IND Safety Report
                                                                                                  that contains the
                                                                                                  Narrative Summary
                                                                                                  Report.
A.2.3.1       <studyname>            Study Name                  100AN    Study                   The Study ID should be
                                                                          ID_$Abbreviated         the same value used in
                                                                          Trial Name              the study tagging file
                                                                                                  format of the eCTD
                                                                                                  submission.
A.2.3.2       <sponsorstudynumb>     Sponsor                     35AN     IND number under        Populate this field with
                                     Study                                which the clinical      the Primary IND in the
                                     Number                               trial where the event   first block and repeat
                                                                          occurred is             block A.2 with elements
                                                                          conducted               A.2.3.2 and A.2.3.3.as
                                                                                                  noted below with element
                                                                          Use the “Parent”        value= 5 for sponsor’s
                                                                          IND number* for         other INDs evaluating
                                                                          reports submitted       suspect product (where
                                                                          from an Aggregate       applicable)
                                                                          Analysis as per         Include the acronym
                                                                          (312.32(c)(1)(i)(C))    "IND" followed by a
                                                                          or for several events   space and then the IND


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  Data                                                              Field   Element Values for
                DTD Descriptor 3.0       Title       Description                                              Notes
 Element                                                           Length       DTD 3.0
                                                                            submitted as per        number for the
                                                                            (312.32(c)(1)(i)(B)),   application (e.g. IND
                                                                            from trials             123456)
                                                                            conducted under         See Appendix II (Case
                                                                            more than one IND       Scenarios) for additional
                                                                                                    information on how to
                                                                                                    submit reports from
                                                                                                    sponsor’s other INDs
                                                                                                    (Cross-reporting).
A.2.3.3       <observestudytype>     Study type in                 1N       1= Clinical Trials      Required if element value
                                     which the                                                      for A.1.4 is 2=Report
                                     Reaction(s)/                           2= Individual Patient   from Study
                                     Event(s)                               Use (e.g.,
                                     were                                   ‘Compassionate          Repeat this field as
                                     observed                               Use’ or ‘Named          needed with element
                                                                            Patient Basis’)         value= 5 for each Cross-
                                                                                                    reported IND.
                                                                            3= Other Studies
                                                                            (e.g.,                  The first block of this
                                                                            Pharmacoepidemiolo      element in the report
                                                                            gy,                     must not be 5.
                                                                            Pharmacoeconomics,
                                                                            Intensive               If element value 4 is
                                                                            Monitoring)             chosen, then A.1.9= 1.

                                                                            4= Report from          See Appendix II (Case


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  Data                                                            Field   Element Values for
                DTD Descriptor 3.0       Title     Description                                             Notes
 Element                                                         Length       DTD 3.0
                                                                          Aggregate Analysis      Scenarios) for additional
                                                                          as per                  information on how to
                                                                          312.32(c)(1)(i)(C) or   submit reports from an
                                                                          for several events      Aggregate Analysis.
                                                                          submitted as per
                                                                          312.32(c)(1)(i)(B) if
                                                                          a Narrative
                                                                          Summary Report is
                                                                          provided

                                                                          5= Cross-reported
                                                                          IND Safety Report
B.1.1         <patientinitial>       Patient                     10AN                             For a report from an
                                     Identifier                                                   Aggregate Analysis as
                                                                                                  per 312.32(c)(1)(i)(C) or
                                                                                                  for several events
                                                                                                  submitted as per
                                                                                                  312.32(c)(1)(i)(B) if a
                                                                                                  Narrative Summary
                                                                                                  Report is provided, the
                                                                                                  element value should be
                                                                                                  “AGGREGATE”
B.4.k.2.1     <medicinalproduct>     Proprietary                 70AN                             For investigational drug
                                     Medicinal                                                    and biological products
                                     Product                                                      without an established
                                     Name                                                         name (i.e. INN or USAN


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  Data                                                                 Field   Element Values for
                DTD Descriptor 3.0           Title      Description                                           Notes
 Element                                                              Length       DTD 3.0
                                                                                                    name), prior to
                                                                                                    submitting IND safety
                                                                                                    reports to FAERS, the
                                                                                                    sponsor should submit a
                                                                                                    clinical information
                                                                                                    amendment to the IND,
                                                                                                    listing the names of the
                                                                                                    active drug substance/s
                                                                                                    and the medicinal product
                                                                                                    as they will be reported in
                                                                                                    E2B file submissions.
                                                                                                    The names should fit
                                                                                                    within the established
                                                                                                    E2B character length
                                                                                                    limits.
                                                                                                    Use company product
                                                                                                    code if no established
                                                                                                    name, for multi-
                                                                                                    ingredient products, or if
                                                                                                    name exceeds character
                                                                                                    length
B.4.k.2.2     <activesubstancename>       Active Drug                 100AN
                                          Substance
                                          Names
B.4.k.18      <drugreactionrelatedness>   Relatedness                                               For IND Safety Reports,
                                          of Drug to                                                at least one suspect


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  Data                                                                  Field    Element Values for
                DTD Descriptor 3.0            Title      Description                                            Notes
 Element                                                               Length        DTD 3.0
                                           Reaction/                                                  product should have
                                           Event                                                      relatedness of drug to
                                                                                                      reaction/ event
B.4.k.18.1a   <drugreactionassesmeddra     MedDRA                      8AN
              version>                     Version for
                                           Reaction
                                           Assessed
B.4.k.18.1b   <drugreactionasses>          Reaction                    250AN
                                           Assessed
B.4.k.18.2    <drugassessmentsource>       Source of                   60AN                           Use the value “Sponsor” or
                                           Assessment                                                 “Investigator”. Include
                                                                                                      sponsor and investigator
                                                                                                      assessment when
                                                                                                      reporting both in separate
                                                                                                      blocks
B.4.k.18.3    <drugassessmentmethod>       Method of                   35AN                           Use the value “FDA”.
                                           Assessment
B.4.k.18.4    <drugresult>                 Result                      35AN      1=Suspected          For IND Safety Reports,
                                                                                 2=Not suspected      at least one suspect
                                                                                                      product should have
                                                                                                      relatedness of drug to
                                                                                                      reaction/ event
B.5.1         <narrativeincludeclinical>   Case                        20,000                         FDA strongly encourages
                                           Narrative                   AN                             sponsors to construct
                                           Including                                                  narratives that fit within
                                           Clinical                                                   the ICH E2B character


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 Data                                                            Field   Element Values for
               DTD Descriptor 3.0       Title     Description                                          Notes
Element                                                         Length       DTD 3.0
                                    Course,                                                   limit of 20,000 AN. If
                                    Therapeutic                                               your narrative exceeds
                                    Measures,                                                 this limit, sponsors
                                    Outcome,                                                  should include as much
                                    and                                                       of the narrative as
                                    Additional                                                possible in this field and
                                    Relevant                                                  submit an ICSR
                                    Information                                               attachment for any text
                                                                                              that exceeds the character
                                                                                              limit. Sponsors should
                                                                                              not submit an ICSR
                                                                                              attachment containing the
                                                                                              entire narrative and leave
                                                                                              the case narrative field
                                                                                              empty.
                                                                                              For reports from
                                                                                              Aggregate Analysis as
                                                                                              per 312.32(c)(1)(i)(C) or
                                                                                              for several events
                                                                                              submitted as per
                                                                                              312.32(c)(1)(i)(B) where
                                                                                              PDF is attached, put “see
                                                                                              attached Narrative
                                                                                              Summary Report” in this
                                                                                              field.




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      Data                                                                                         Field       Element Values for
                        DTD Descriptor 3.0                     Title          Description                                                                Notes
     Element                                                                                      Length           DTD 3.0
    B.5.4            <sendercomment>                     Sender’s                                2000                                        Identification and
                                                         Comments                                AN                                          analysis of previously
                                                                                                                                             submitted events (as
                                                                                                                                             required by 312.32(c)(1))
                                                                                                                                             should be reported in this
                                                                                                                                             field.
*
 The “parent IND” is the IND under which clinical investigations were initiated in the United States. (If the drug is being evaluated in multiple INDs, this is
generally the IND with the lowest number.) NOTE: This may not be the same as the first A.2.3.2 block if the drug is being evaluated under multiple INDs.


     NOTE: See FAERS Webpage for case scenario examples for reporting IND safety reports (e.g., IND safety reports where the sponsor
     is evaluating suspect product under more than one IND, IND safety reports that are a result of an aggregate analysis, and IND safety
     reports with unapproved and approved drugs listed as suspect products).

        J. Data Elements for Electronic Submissions of ICSRs from IND-Exempt Bioavailability (BA)/ Bioequivalence (BE)
           Studies
     For successful processing of your electronic ICSRs submissions for a BA/BE study not conducted under an IND, you should populate
     the following data elements as described in Table 9.

     Table 9.         Data Elements for IND-Exempt BA/BE Studies

     Data                                                                                        Field         Element Values for DTD
                   DTD Descriptor 3.0                      Title             Description                                                                    Notes
    Element                                                                                     Length                  3.0
    A.1.4        <reporttype>                     Type of Report                                1N            1=Spontaneous                        Element value= 2
                                                                                                              2=Report from Study                  for Report from
                                                                                                              3=Other                              Study
                                                                                                              4=Not Available to Sender
                                                                                                              (unknown)


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 Data                                                                     Field    Element Values for DTD
            DTD Descriptor 3.0               Title         Description                                                Notes
Element                                                                  Length             3.0
A.1.9      <fulfillexpeditecriteria>   Does this Case                    1N        1=Yes                        Element value=1
                                       Fulfill the Local                           2=No                         for 15-Day
                                       Criteria for an                             4=5-Day                      Expedited
                                       Expedited                                   5=30-Day                     Or
                                       Report?                                     6=7-Day                      Element value= 6
                                                                                                                for 7-Day
                                                                                                                Expedited
A.2.3.1    <studyname>                 Study Name                        100AN     Abbreviated Trial Name
A.2.3.2    <sponsorstudynumb>          Sponsor Study                     35AN      Pre-ANDA number for the      Include the
                                       Number                                      IND-Exempt BA/BE             acronym "Pre-
                                                                                   Studies                      ANDA" followed
                                                                                                                by a space and then
                                                                                                                the Pre-ANDA
                                                                                                                number for the
                                                                                                                application (e.g.
                                                                                                                Pre-ANDA 123456)
A.2.3.3    <observestudytype>          Study Type in                     1N        1= Clinical Trials           Element value=“1”
                                       Which the                                                                for Clinical Trials.
                                       Reaction(s)/                                2= Individual Patient Use
                                       Event(s) were                               (e.g., ‘Compassionate Use’
                                       Observed                                    or ‘Named Patient Basis’)

                                                                                   3= Other Studies (e.g.,
                                                                                   Pharmacoepidemiology,
                                                                                   Pharmacoeconomics,
                                                                                   Intensive Monitoring)

                                                                                   4= Report from Aggregate
                                                                                   Analysis as per
                                                                                   312.32(c)(1)(i)(C) or for


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 Data                                                                  Field     Element Values for DTD
             DTD Descriptor 3.0            Title        Description                                                   Notes
Element                                                               Length              3.0
                                                                                Several Events Submitted
                                                                                as per 312.32(c)(1)(i)(B) if
                                                                                a Narrative Summary
                                                                                Report is Provided

                                                                                5= Cross-Reported IND
                                                                                Safety Report
B.4.k.2.1   <medicinalproduct>       Proprietary                      70AN
                                     Medicinal
                                     Product Name

B.4.k.1     <drugcharacterization>   Characterization                 1N        1 = Suspect                    For no exposure to a
                                     of drug role                               2 = Concomitant                study drug use
                                                                                3 = Interacting                4=Drug not
                                                                                                               administered
                                                                                4 = Drug not administered
B.4.k.2.2   <activesubstancename>    Active Drug                      100AN
                                     Substance Name


B.4.k.19    <drugadditional>         Additional                       100AN     1 = Test drug                  Specify whether the
                                     Information on                             2 = Reference drug             product exposed is
                                     Drug                                       3 = Placebo/Vehicle            the Test drug,
                                                                                4 = Control (negative or       Reference drug,
                                                                                positive)                      Placebo, Vehicle,
                                                                                5 = Other drug                 Control or Other
                                                                                                               drug




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VI.   ELECTRONIC FORMAT FOR ICSR ATTACHMENTS

  FDA can accept and archive ICSR attachments in PDF format. Currently approved formats for the non-
  structured component of an ICSR, such as ICSR attachments, are PDF versions 1.4 (current ICH
  standard) or 1.6 (current version in use at FDA). An ICSR attachment should be electronically
  submitted to FAERS after the associated ICSR has been submitted and accepted by FAERS.

      A. Converting the ICSR Attachment to PDF
  Applicants should provide an individual PDF file for each ICSR attachment. If you are submitting
  multiple ICSR attachments for a particular ICSR, include each attachment in the same PDF file and
  provide a PDF bookmark to distinguish each attachment. For example, if you are submitting a hospital
  discharge summary and an autopsy report for a single ICSR, include both in a single PDF file with a
  bookmark to the hospital discharge summary and a bookmark to the autopsy report.

      B. Identification Information in the PDF Document Information Fields
  Each PDF file contains fields to be completed by the author of the document. FAERS uses these fields
  to locate and retrieve the attachments to specific ICSRs. To enable FDA to match the attachment(s) to
  the correct ICSR, applicants should fill in the PDF document information fields with the appropriate
  E2B(R2) data elements for the ICSR as indicated in Table 10.




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   Table 10.        Document Information Fields in ICSR Attachments

        PDF Document               Include/
                                                               Document Information*         Length
       Information Field           Optional
       Title                     Include           A.1.0.1 <safetyreportid>                  100AN
                                                   Sender’s (Case) Safety Report Unique
                                                   Identifier
       Subject                   Include           A.1.10.1 <authoritynumb> Regulatory       100AN
                                                   Authority’s Case Report Number
                                                   OR
                                                   A.1.10.2 <companynumb>
                                                   Other Sender’s Case Report Number

       Author                    Optional          A.1.11.2 <duplicatenumb> Other            100AN
                                                   Identification Number

       Keywords                  Optional          A.1.7b <receiptdate>                      8N
                                                   Date of Receipt of the Most Recent
                                                   Information for this ICSR
       * The information refers to the data elements in E2B(R2)




   In addition:

       •   Use the ISO-8859-1 character set for the information fields.

       •   Do not exceed the character length indicated above for each information field.

       •   Avoid creating any custom fields with names identical to the information fields listed in Table
           10.

   If you need assistance, you can contact the FAERS electronic submission coordinator at
   faersesub@fda.hhs.gov.


VII.   SUBMISSION RULES

   The submission rules define the condition that shall result in a negative acknowledgement and not be
   accepted by FAERS.




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  Table 111.     Submission Rules and Acknowledgement Status
Data           DTD Descriptor       Rejection Rule Description            Acknowledgement
Element        2.1/2.2/3.0
NA             NA                   ICSR submitted via AS2 Header         reportacknowledgmentcode
                                    where XML file: AERS                  (B.1.8) = 02
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS and using DTD 3.0
NA             NA                   ICSR submitted via AS2 Header         reportacknowledgmentcode
                                    where XML file:                       (B.1.8) = 02
                                    AERS_PREMKT
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS_PREMKT and using
                                    DTD 2.1 or 2.2
A.1.FDA.16 <fdasafetyreporttype>    ICSR submitted via AS2 Header reportacknowledgmentcode
                                    where XML file: AERS_PREMKT (B.1.8) = 02
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS_PREMKT using
                                    DTD 3.0 and data value is empty
A.2.3.2        <sponsorstudynumb>   ICSR submitted via AS2 Header reportacknowledgmentcode
                                    where XML file: AERS_PREMKT (B.1.8) = 02
                                    or
                                    Routing ID where XML file:
                                    FDA_AERS_PREMKT using
                                    DTD 3.0 and data value is empty
                                    or not prefixed with ‘IND’ or ‘Pre-
                                    ANDA’




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 APPENDIX I. EXAMPLES OF CORRECT AND INCORRECT APPLICATION NUMBER AND DRUG ELEMENT
 FORMATS

 Table 122.     Examples of Application Number Formats and Drug Element Formats

                        Examples of Application Number Format                                        Comment
Correct       <drugauthorizationnumb>NDA 012345</drugauthorizationnumb>

Correct       <drugauthorizationnumb>BLA 123456</drugauthorizationnumb>

Correct       <drugauthorizationnumb>NDA 012345</drugauthorizationnumb>
              <drugauthorizationholder>COMPANYX</drugauthorizationholder>

Incorrect     <drugauthorizationnumb>123456/10300</drugauthorizationnumb>             Use the appropriate prefix for the
                                                                                      NDA/ ANDA/ STN/ BLA/ PLA. Do not
                                                                                      include additional data after the
                                                                                      application number
Incorrect     <drugauthorizationnumb>NDA 12-345;IND12,345 </drugauthorizationnumb>    Omit hyphens and commas in the
                                                                                      application number. Do not populate the
                                                                                      tag with two application numbers
Incorrect     <drugauthorizationnumb>OTC Product</drugauthorizationnumb>              For a non-prescription drug product
                                                                                      marketed without an approved application
                                                                                      (Non-Rx No Application), use “999999"

Incorrect     <drugauthorizationnumb>NDA                                              Do not populate the company name in the
              012345(COMPANYX)</drugauthorizationnumb>                                <drugauthorizationnumb> tag
              <drugauthorizationholder></drugauthorizationholder>


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                     Examples of Application Number Format                                     Comment
Correct     <medicinalproduct>TYLENOL</medicinalproduct>
            <activesubstancename>ACETAMINOPHEN</activesubstancename>

Correct     <medicinalproduct>MIRACLE WONDER DRUG</medicinalproduct>
            <activesubstancename>ACETAMINOPHEN</activesubstancename>

Incorrect   <medicinalproduct>AMAZING DRUG OTC®</medicinalproduct>
            <activesubstancename>ACETAMINOPHEN 500 mg</activesubstancename>

Incorrect   <medicinalproduct>NEW DRUG 40 mcg/mL</medicinalproduct>
            <activesubstancename>NEWSUBSTANCE Inj </activesubstancename>

Incorrect   <medicinalproduct>MWD</medicinalproduct>                            Do not use abbreviations for the brand
            <activesubstancename>APAP</activesubstancename>                     name or active substance in the
                                                                                <medicinalproduct> and
                                                                                <activesubstance>
                                                                                tags




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 APPENDIX II. CASE SCENARIOS FOR IND SAFETY REPORTS SUBMITTED TO
 FAERS

 The following case scenarios are intended to provide examples to sponsors on the use of ICH
 E2B data standard elements for submission of IND safety reports to FAERS that may differ from
 postmarketing safety reports.
 1. For any IND safety report where the sponsor is evaluating the suspect product under more
    than one IND (i.e. “Cross-reporting”)
        a. Repeat block A.2 for each IND
               i. Use first block A.2 to designate IND where the event occurred = “primary
                  IND”
                      1. A.2.3.2 = primary IND
                      2. A.2.3.3 = data value could either be 1, 2, 3, or 4
                      3. Other relevant information for the report to be populated in block A.2
               ii. Repeat block A.2 as many times as needed with only the following data
                   elements for each IND that the sponsor holds where that suspect product is
                   being evaluated:
                      1. A.2.3.2 = IND number for each cross-reported IND
                      and
                      2. A.2.3.3 = 5

 Table 133.    Case Scenario 1. For IND Safety Reports Submitted to FAERS
    Data
              DTD Descriptor 3.0           Title              Element Values for DTD
   Element
   A.2.3.2    <sponsorstudynumb>       Sponsor           IND number under which the Clinical
                                       Study             Trial where the event occurred is
                                       Number            conducted




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    Data
               DTD Descriptor 3.0           Title                Element Values for DTD
   Element
   A.2.3.3     <observestudytype>       Study Type in      1= Clinical Trial
                                        Which the
                                        Reaction(s)        2= Individual Patient Use (e.g.
                                        were               ‘Compassionate Use’ or ‘Named
                                        observed           Patient Basis’)

                                                           3= Other Studies (e.g.
                                                           Pharmacoepidemiology,
                                                           Pharmacoeconomics, Intensive
                                                           Monitoring)

                                                           4= Report from Aggregate Analysis
                                                           312.32(c)(1)(i)(C) or for several
                                                           events submitted as per
                                                           312.32(c)(1)(i)(B) if a Narrative
                                                           Summary report is provided.

                                                           5=Cross-reported IND safety report


 2. For an IND safety report that is a result of an aggregate analysis as per 312.32(c)(1)(i)(C) or
    for several events submitted as per 312.32(c)(1)(i)(B) if a narrative summary report is
    provided:
        a. Submit one IND safety report with the IND where the event occurred in A.2.3.2
           <sponsorstudynumb> (or the “parent” IND if the events occurred in multiple INDs).
             For this IND safety report, populate the data elements below in addition to other
             relevant information regarding the event and suspect product.
                 i. Use data element = 4 in A.2.3.3<observestudytype>
                ii. Use the term “AGGREGATE” in B.1.1 <patientinitial>
        b. Section VII.A.2. of the FDA Guidance for Industry – “Safety Reporting Requirements
           for INDs and BA/BE Studies” (December 2012) discusses several submission
           requirements for IND safety reports that are a result of an aggregate analysis. The
           following two sections describe these submission elements and how they are
           accomplished with electronic submission to FAERS.
                        1. The guidance states that IND safety reports that are a result of an
                           aggregate analysis should contain a narrative description of the event
                           and the results of the analysis (hereafter referred to as a “narrative

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                         summary report”). For IND reports submitted to FAERS, attach the
                         narrative summary report to the IND safety report as a PDF attachment
                         (do not put the narrative summary report in the E2B narrative field).
                              a. These instructions also apply to several events submitted as per
                                 312.32(c)(1)(i)(B) if a narrative summary report is provided.
                      2. The guidance states that all the individual cases that were analyzed in
                         the aggregate analysis should be submitted. Use the repeatable block
                         A.1.12 to link all the safety report numbers for the individual
                         supportive ICSRs (i.e. the numbers in A.1.0.1 for all the individual
                         cases that are summarized in the narrative summary report).

                              a. These instructions also apply to several events submitted as per
                                 312.32(c)(1)(i)(B) if a narrative summary report is provided.
                              b. IND safety reports previously submitted as ICSRs to FAERS
                                 do not have to be resubmitted (place the safety report numbers
                                 for these previously submitted reports in A.1.12).
                              c. For IND safety reports previously submitted in eCTD format,
                                 the sponsor should list the eCTD sequence number and date of
                                 submission in the narrative summary report. (The eCTD
                                 sequence number is the unique four-digit number for each IND
                                 submission the sponsor submits in the us-regional.xml file for
                                 the eCTD submission.)
                              d. IND safety reports previously submitted on paper should be
                                 attached to the IND safety report as PDF attachments.

 Table 144.    Case Scenario 2. For IND Safety Reports Submitted to FAERS
  Data
              DTD Descriptor 3.0           Title                Element Values for DTD
 Element
A.1.12     <linkreportnumb>           Identification    Used to link all individual cases
                                      number of         (safetyreportid) that make up an IND
                                      the report(s)     Safety Report submitted as a result of an
                                      which are         Aggregate Analysis as per
                                      linked to this    312.32(c)(1)(i)(C) or for several events
                                      report            submitted as per 312.32(c)(1)(i)(B) if a
                                                        narrative summary report is provided
A.2.3.2    <sponsorstudynumb>         Sponsor           IND number under which the Clinical Trial
                                      Study             where the event occurred is conducted
                                      Number


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  Data
                DTD Descriptor 3.0         Title               Element Values for DTD
 Element
A.2.3.3     <observestudytype>         Study Type      1= Clinical Trials
                                       in Which the
                                       Reaction(s)     2= Individual Patient Use (e.g.
                                       were            ‘Compassionate Use’ or ‘Named Patient
                                       Observed        Basis’)

                                                       3= Other Studies (e.g.
                                                       Pharmacoepidemiology,
                                                       Pharmacoeconomics, Intensive
                                                       Monitoring)

                                                       4= Report from Aggregate Analysis
                                                       312.32(c)(1)(i)(C)

                                                       5=Cross-reported IND safety report
B.1.1       <patientinitial>           Patient         For a Report from an Aggregate Analysis,
                                       Identifier      the element value should be
                                                       “AGGREGATE”


 3. For adverse events that occur with a marketed drug being evaluated under an IND that meets
    both IND and post-marketing safety reporting requirements (21 CFR 312.32 and 314.80,
    600.80, or 310.305), sponsors must submit two separate ICSRs:
          a. for the marketed drug for the NDA/BLA
          and
          b. for the study drug for the IND (IND number in A.2.3.2)




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 APPENDIX III. CASE SCENARIOS FOR SAFETY REPORTS FROM IND-EXEMPT
 BA/BE STUDIES TO FAERS

 Table 15 illustrates the ICH E2B data elements and element values for each IND-exempt BA/BE
 study exposure scenario described below:


 Scenario 1: Exposure to a study drug:
 This scenario applies to all drugs specified in the study protocol. For example, if a BA/BE study
 protocol for a generic opiate includes administration of naltrexone to each study subject prior to
 administration of a test or reference drug, naltrexone is a study drug, although it is not the test or
 reference drug. Similarly, a selective 5-HT3 receptor antagonist to prevent nausea and vomiting
 is considered a study drug if the BA/BE study protocol states that the drug is administered to
 each study subject prior to administration of a test or reference drug.


 Scenario 2: Exposure to an other drug:
 Other drugs are drugs taken by or administered to a subject that are not part of study conduct per
 protocol. For example, a subject with a diagnosis of hypertension has normal blood pressure
 while treated with a beta blocker. The subject meets study enrollment criteria and continues to
 take his beta blocker during study participation. In this situation, the beta blocker is an other
 drug. Similarly, if a subject develops symptoms of heartburn during participation in a BA/BE
 study and is permitted, by the investigator, to use a nonprescription antacid or H2 blocker for
 symptomatic relief, the nonprescription drug taken by the subject is an other drug.


 Scenario 3: No exposure to a study drug:
 A serious adverse event a subject experiences after enrollment to the study, but prior to exposure
 to a study drug, is subject to the expedited safety reporting requirement. To report a serious
 adverse event with no study drug exposure, the submitter should select values as shown in the
 Table 15, Scenario 3.




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 Table 155.     ICH E2B Data Element & Value Selections for IND-Exempt BA/BE Study
 Exposures
  Drug Exposure Scenario Data Element       Element Values
                           B.4.k.1          Select one element value
                           B.4.k.2.1        Proprietary medicinal product name
                           B.4.k.2.2        Drug substance name
  Scenario 1:
                                            Select one from the following:
  Exposure to a study
  drug                                      1 = Test drug
                           B.4.k.19         2 = Reference drug
                                            3 = Placebo/Vehicle
                                            4 = Control (negative or positive)
  Scenario 2:              B.4.k.1          Select one element value
  Exposure to an other     B.4.k.2.1        Proprietary medicinal product name
  drug
                           B.4.k.2.2        Drug substance name
                           B.4.k.19         5 = Other drug
  Scenario 3:              B.4.k.1          4 = Drug not administered
  No exposure to a study   B.4.k.2.1        Proprietary medicinal product name
  drug
                           B.4.k.2.2        Drug substance name
                           B.4.k.19         1 = Test drug




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                                EXHIBIT 40

     2023 FDA Letter to Students for Life of Am. denying
                    2022 SFLA Petition




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 Kristan Hawkins, President
 Students for Life of America
 1000 Winchester Street, Suite 301
 Fredericksburg, VA 22401

 Kristi Hamrick, Chief Media & Policy Strategist
 Students for Life of America
 1000 Winchester Street, Suite 301
 Fredericksburg, VA 22401
                                                                                               January 3, 2023
                  Re: Docket No. FDA-2022-P-3209

 Dear Ms. Hawkins and Ms. Hamrick:

 This letter responds to your citizen petition submitted to the Food and Drug Administration (FDA or
 Agency) on December 13, 2022, on behalf of Students for Life of America and other signatories
 (Petition). In the Petition, you request that the “2021 and 2016 modifications to mifepristone’s REMS
 be reversed and the REMS as they were in 2011 be restored.” Specifically, you request that:

         (1) FDA reverse the 2021 and 2016 modifications to the risk evaluation and mitigation strategy
             (REMS) for mifepristone1 by requiring that:

                  a. “Mifepristone only be administered, in a regimen with misoprostol, for the
                     termination of intrauterine pregnancy, for up to 49 days (7 weeks) gestation” (Petition
                     at 1).
                  b. “Mifepristone only be administered by or under the supervision of a physically
                     present physician” (Petition at 1).
                  c. “the use of Mifepristone and misoprostol for the termination of pregnancy necessitate
                     three office visits by the patient” (Petition at 1).



 1
   Mifepristone products for medical termination of intrauterine pregnancy through 70 days gestation are subject to a
 single, shared system REMS known as the Mifepristone REMS Program. We note that on December 16, 2021, FDA
 completed its review of the Mifepristone REMS Program and determined, among other things, that the REMS must
 be modified to remove the in-person dispensing requirement and add pharmacy certification. On December 16,
 2021, FDA sent REMS Modification Notification letters to the applicants for Mifeprex and the approved generic
 version of Mifeprex, Mifepristone Tablets, 200 milligrams. Following receipt of these letters, the applicants
 prepared proposed REMS modifications and submitted them to FDA. On January 3, 2022, FDA approved the REMS
 modifications.
 U.S. Food & Drug Administration
 10903 New Hampshire Avenue
 Silver Spring, MD 20993
 w ww.fda.gov

                                                                                                    App. 000780
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 Docket No. FDA-2022-P-3209

           (2) “Mifepristone use should be contraindicated for patients who do not have convenient access
               to emergency medical care,” and “[t]his use should be as limited as possible” (Petition at 1).

           (3) “Telehealth should not be an option to all women, but only to women in absolute need under
               extreme circumstances that would make access to a medical care facility impracticable, with
               a substantial risk that the woman would die without immediate administration of
               Mifepristone” (Petition at 1).

           (4) “To alter the Mifepristone REMS, a formal study should be required” (Petition at 1).

 The actions you request in your Petition are the same or substantially the same as the actions requested
 in the March 29, 2019 citizen petition submitted by the American Association of Pro-Life Obstetricians
 and Gynecologists (AAPLOG) and the American College of Pediatricians (ACP) (FDA-2019-P-1534)
 (AAPLOG/ACP petition), which were addressed in FDA’s December 16, 2021 response to that
 petition.2 Your Petition does not provide any new data or evidence beyond what was provided in
 support of the AAPLOG/ACP Petition. FDA carefully considered the information submitted in the
 AAPLOG/ACP Petition and issued a detailed response. The December 16, 2021 citizen petition
 response is available at regulations.gov.

 For the reasons explained above, we deny your Petition.

                                                     Sincerely,

                                                     Patrizia A. Digitally  signed by
                                                                  Patrizia A. Cavazzoni -S

                                                     Cavazzoni -S Date: 2023.01.03
                                                                  09:41:02 -05'00'
                                                     Patrizia Cavazzoni, M.D.
                                                     Director
                                                     Center for Drug Evaluation and Research




 2
     Available at https://www.regulations.gov/document/FDA-2019-P-1534-0016.


                                                        2
                                                                                         App. 000781
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                                EXHIBIT 41

    REMS Single Shared System for Mifepristone 200mg




                                                                   App. 000782
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               Initial Shared System REMS approval: 04/2019
               Most Recent Modification: 01/2023

                                                           Mifepristone Tablets, 200 mg
                                                              Progestin Antagonist
                                     RISK EVALUATION AND MITIGATION STRATEGY (REMS)
                                      SINGLE SHARED SYSTEM FOR MIFEPRISTONE 200 MG

               I.     GOAL
               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated with
               mifepristone by:
                    a) Requiring healthcare providers who prescribe mifepristone to be certified in the Mifepristone
                       REMS Program.
                    b) Ensuring that mifepristone is only dispensed by or under the supervision of certified prescribers, or
                       by certified pharmacies on prescriptions issued by certified prescribers.
                    c) Informing patients about the risk of serious complications associated with mifepristone.

               II. REMS ELEMENTS
               A. Elements to Assure Safe Use
               1. Healthcare providers who prescribe mifepristone must be specially certified.
                        a. To become specially certified to prescribe mifepristone, healthcare providers must:
                            i. Review the Prescribing Information for mifepristone.
                            ii. Complete a Prescriber Agreement Form. By signing1 a Prescriber Agreement Form,
                                 prescribers agree that:
                                1) They have the following qualifications:
                                   a) Ability to assess the duration of pregnancy accurately
                                   b) Ability to diagnose ectopic pregnancies
                                   c) Ability to provide surgical intervention in cases of incomplete abortion or severe
                                      bleeding, or to have made plans to provide such care through others, and ability to
                                      assure patient access to medical facilities equipped to provide blood transfusions and
                                      resuscitation, if necessary
                                2) They will follow the guidelines for use of mifepristone (see b.i-vii below).
                        b. As a condition of certification, prescribers must follow the guidelines for use of mifepristone
                           described below:
                            i. Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the
                                 mifepristone treatment regimen are fully explained. Ensure any questions the patient may
                                 have prior to receiving mifepristone are answered.
                            ii. Ensure that the healthcare provider and patient sign the Patient Agreement Form.



               1
                   In this REMS, the terms “sign” and “signature” include electronic signatures.



                                                                                                              App. 0007831
Reference ID: 5103833
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                            iii. Ensure that the patient is provided with a copy of the Patient Agreement Form and
                                Medication Guide.
                            iv. Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                            v. Ensure that any deaths are reported to the Mifepristone Sponsor that provided the
                                mifepristone, identifying the patient by a non-identifiable reference and including the NDC
                                and lot number from the package of mifepristone that was dispensed to the patient.
                            vi. If mifepristone will be dispensed by a certified pharmacy:
                               1) Provide the certified pharmacy a signed Prescriber Agreement Form.
                               2) Assess appropriateness of dispensing mifepristone when contacted by a certified
                                  pharmacy about patients who will receive mifepristone more than 4 calendar days after
                                  the prescription was received by the certified pharmacy.
                               3) Obtain the NDC and lot number of the package of mifepristone the patient received in
                                  the event the prescriber becomes aware of the death of the patient.
                            vii. The certified prescriber who dispenses mifepristone or who supervises the dispensing of
                                mifepristone must:
                               1) Provide an authorized distributor with a signed Prescriber Agreement Form.
                               2) Ensure that the NDC and lot number from each package of mifepristone dispensed are
                                  recorded in the patient’s record.
                               3) Ensure that healthcare providers under their supervision follow guidelines i.-v.
                        c. Mifepristone Sponsors must:
                            i. Ensure that healthcare providers who prescribe their mifepristone are specially certified in
                                accordance with the requirements described above and de-certify healthcare providers who
                                do not maintain compliance with certification requirements.
                           ii. Ensure prescribers previously certified in the Mifepristone REMS Program complete the
                               new Prescriber Agreement Form:
                               1) Within 120 days after approval of this modification, for those previously certified
                                  prescribers submitting prescriptions to certified pharmacies.
                               2) Within one year after approval of this modification, if previously certified and ordering
                                  from an authorized distributor.
                            iii. Ensure that healthcare providers can complete the certification process by email or fax to an
                                authorized distributor and/or certified pharmacy.
                            iv. Provide the Prescribing Information and their Prescriber Agreement Form to healthcare
                                providers who inquire about how to become certified.
                            v. Ensure annually with each certified prescriber that their locations for receiving mifepristone
                                are up to date.
                            The following materials are part of the Mifepristone REMS Program:
                             • Prescriber Agreement Form for Danco Laboratories, LLC
                             • Prescriber Agreement Form for GenBioPro, Inc.
                             • Patient Agreement Form



                                                                                                              App. 0007842
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               2. Pharmacies that dispense mifepristone must be specially certified
                        a. To become specially certified to dispense mifepristone, pharmacies must:
                            i. Be able to receive Prescriber Agreement Forms by email and fax.
                            ii. Be able to ship mifepristone using a shipping service that provides tracking information.
                            iii. Designate an authorized representative to carry out the certification process on behalf of the
                                pharmacy.
                            iv. Ensure the authorized representative oversees implementation and compliance with the
                                Mifepristone REMS Program by doing the following:
                               1) Review the Prescribing Information for mifepristone.
                               2) Complete a Pharmacy Agreement Form. By signing a Pharmacy Agreement Form, the
                                  authorized representative agrees that the pharmacy will put processes and procedures in
                                  place to ensure the following requirements are completed:
                                   a) Verify that the prescriber is certified by confirming their completed Prescriber
                                      Agreement Form was received with the prescription or is on file with the pharmacy.
                                   b) Dispense mifepristone such that it is delivered to the patient within 4 calendar days of
                                      the date the pharmacy receives the prescription, except as provided in c) below.
                                   c) Confirm with the prescriber the appropriateness of dispensing mifepristone for
                                      patients who will receive the drug more than 4 calendar days after the date the
                                      pharmacy receives the prescription and document the prescriber’s decision.
                                   d) Record in the patient’s record the NDC and lot number from each package of
                                      mifepristone dispensed.
                                   e) Track and verify receipt of each shipment of mifepristone.
                                   f)   Dispense mifepristone in its package as supplied by the Mifepristone Sponsor.
                                   g) Report any patient deaths to the prescriber, including the NDC and lot number from
                                      the package of mifepristone dispensed to the patient, and remind the prescriber of
                                      their obligation to report the deaths to the Mifepristone Sponsor that provided the
                                      mifepristone. Notify the Mifepristone Sponsor that provided the dispensed
                                      mifepristone that the pharmacy submitted a report of death to the prescriber,
                                      including the name and contact information for the prescriber and the NDC and lot
                                      number of the dispensed product.
                                   h) Not distribute, transfer, loan or sell mifepristone except to certified prescribers or
                                      other locations of the pharmacy.
                                   i)   Maintain records of Prescriber Agreement Forms.
                                   j)   Maintain records of dispensing and shipping.
                                   k) Maintain records of all processes and procedures including compliance with those
                                      processes and procedures.
                                   l)   Maintain the identity of the patient and prescriber as confidential, including limiting
                                        access to patient and prescriber identity only to those personnel necessary to dispense
                                        mifepristone in accordance with the Mifepristone REMS Program requirements, or as
                                        necessary for payment and/or insurance purposes.
                                   m) Train all relevant staff on the Mifepristone REMS Program requirements.



                                                                                                                App. 0007853
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                                   n) Comply with audits carried out by the Mifepristone Sponsors or a third party acting
                                      on behalf of the Mifepristone Sponsors to ensure that all processes and procedures
                                      are in place and are being followed.
                        b. Mifepristone Sponsors must:
                            i. Ensure that pharmacies are specially certified in accordance with the requirements described
                                above and de-certify pharmacies that do not maintain compliance with certification
                                requirements.
                            ii. Ensure that pharmacies can complete the certification process by email and fax to an
                                authorized distributor.
                            i. Verify annually that the name and contact information for the pharmacy’s authorized
                                representative corresponds to that of the current designated authorized representative for the
                                certified pharmacy, and if different, require the pharmacy to recertify with the new
                                authorized representative.
                            The following materials are part of the Mifepristone REMS Program:
                              • Pharmacy Agreement Form for Danco Laboratories, LLC
                              • Pharmacy Agreement Form for GenBioPro, Inc.
               3. Mifepristone must be dispensed to patients with evidence or other documentation of safe use
                  conditions as ensured by the certified prescriber in signing the Prescriber Agreement Form.
                        a. The patient must sign a Patient Agreement Form indicating that the patient has:
                            i. Received, read and been provided a copy of the Patient Agreement Form.
                            ii. Received counseling from the healthcare provider regarding the risk of serious complications
                                associated with mifepristone.

               B. Implementation System
               1. Mifepristone Sponsors must ensure that their mifepristone is only distributed to certified prescribers and
                  certified pharmacies by:
                        a. Ensuring that distributors who distribute their mifepristone comply with the program
                           requirements for distributors.
                            i. The distributors must put processes and procedures in place to:
                                1) Complete the certification process upon receipt of a Prescriber Agreement Form or
                                   Pharmacy Agreement Form.
                                2) Notify healthcare providers and pharmacies when they have been certified by the
                                   Mifepristone REMS Program.
                                3) Ship mifepristone only to certified pharmacies or locations identified by certified
                                   prescribers.
                                4) Not ship mifepristone to pharmacies or prescribers who become de-certified from the
                                   Mifepristone REMS Program.
                                5) Provide the Prescribing Information and their Prescriber Agreement Form to healthcare
                                   providers who (1) attempt to order mifepristone and are not yet certified, or (2) inquire
                                   about how to become certified.
                            ii. Put processes and procedures in place to maintain a distribution system that is secure,



                                                                                                              App. 0007864
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                                 confidential and follows all processes and procedures, including those for storage, handling,
                                 shipping, tracking package serial numbers, NDC and lot numbers, proof of delivery and
                                 controlled returns of mifepristone.
                            iii. Train all relevant staff on the Mifepristone REMS Program requirements.
                            iv. Comply with audits by Mifepristone Sponsors or a third party acting on behalf of
                                 Mifepristone Sponsors to ensure that all processes and procedures are in place and are being
                                 followed for the Mifepristone REMS Program. In addition, distributors must maintain
                                 appropriate documentation and make it available for audits.
                        b. Ensuring that distributors maintain secure and confidential distribution records of all shipments
                           of mifepristone.
               2. Mifepristone Sponsors must monitor their distribution data to ensure compliance with the
                  Mifepristone REMS Program.
               3. Mifepristone Sponsors must ensure that adequate records are maintained to demonstrate that the
                  Mifepristone REMS Program requirements have been met, including, but not limited to records of
                  mifepristone distribution; certification of prescribers and pharmacies; and audits of pharmacies and
                  distributors. These records must be readily available for FDA inspections.
               4. Mifepristone Sponsors must audit their new distributors within 90 calendar days and annually
                  thereafter after the distributor is authorized to ensure that all processes and procedures are in place
                  and functioning to support the requirements of the Mifepristone REMS Program. Mifepristone
                  Sponsors will take steps to address their distributor compliance if noncompliance is identified.
               5. Mifepristone Sponsors must audit their certified pharmacies within 180 calendar days after the
                  pharmacy places its first order of mifepristone, and annually thereafter audit certified pharmacies that
                  have ordered mifepristone in the previous 12 months, to ensure that all processes and procedures are
                  in place and functioning to support the requirements of the Mifepristone REMS Program.
                  Mifepristone Sponsors will take steps to address their pharmacy compliance if noncompliance is
                  identified.
               6. Mifepristone Sponsors must take reasonable steps to improve implementation of and compliance with
                  the requirements of the Mifepristone REMS Program based on monitoring and assessment of the
                  Mifepristone REMS Program.
               7. Mifepristone Sponsors must report to FDA any death associated with mifepristone whether or not
                  considered drug-related, as soon as possible but no later than 15 calendar days from the initial receipt
                  of the information by the Mifepristone Sponsor. This requirement does not affect the sponsors’ other
                  reporting and follow-up requirements under FDA regulations.

               C. Timetable for Submission of Assessments
               The NDA Sponsor must submit REMS assessments to FDA one year from the date of the approval of the
               modified REMS (1/3/2023) and annually thereafter. To facilitate inclusion of as much information as
               possible while allowing reasonable time to prepare the submission, the reporting interval covered by each
               assessment should conclude no earlier than 90 calendar days before the submission date for that
               assessment. The NDA Sponsor must submit each assessment so that it will be received by the FDA on or
               before the due date.




                                                                                                              App. 0007875
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                                              MIFEPREX® (Mifepristone) Tablets, 200 mg

                                                  PRESCRIBER AGREEMENT FORM
               Mifeprex* (Mifepristone) Tablets, 200 mg, is indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy through 70 days gestation. Please see Prescribing Information and
               Medication Guide for complete safety information.
               To become a certified prescriber, you must:
                 • If you submit Mifeprex prescriptions for dispensing from certified pharmacies:
                    o   Submit this form to each certified pharmacy to which you intend to submit Mifeprex prescriptions.
                        The form must be received by the certified pharmacy before any prescriptions are dispensed by
                        that pharmacy.
                  • If you order Mifeprex for dispensing by you or healthcare providers under your supervision:
                    o   Submit this form to the distributor. This form must be received by the distributor before the first
                        order will be shipped to the healthcare setting.
                    o   Healthcare settings, such as medical offices, clinics, and hospitals, where Mifeprex will be
                        dispensed by or under the supervision of a certified prescriber in the Mifepristone REMS
                        Program do not require pharmacy certification.
               Prescriber Agreement: By signing this form, you agree that you meet the qualifications below and will
               follow the guidelines for use. You are responsible for overseeing implementation and compliance with the
               Mifepristone REMS Program. You also understand that if the guidelines below are not followed, the
               distributor may stop shipping mifepristone to the locations that you identify and certified pharmacies may
               stop accepting your mifepristone prescriptions.
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 • Ability to assess the duration of pregnancy accurately.
                 • Ability to diagnose ectopic pregnancies.
                 • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                   made plans to provide such care through others, and be able to assure patient access to medical
                   facilities equipped to provide blood transfusions and resuscitation, if necessary.
                 • Has read and understood the Prescribing Information for mifepristone. The Prescribing Information is
                   available by calling 1-877-4 EARLY OPTION (1-877-432-7596 toll-free), or by visiting
                   www.earlyoptionpill.com.

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 • Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the mifepristone
                   treatment regimen are fully explained. Ensure any questions the patient may have prior to receiving
                   mifepristone are answered.
                 • Ensure the healthcare provider and patient sign the Patient Agreement Form.
                 • Ensure that the patient is provided with a copy of the Patient Agreement Form and Medication Guide.
                 • Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                 • Ensure that any deaths of patients who received Mifeprex are reported to Danco Laboratories, LLC,
                   identifying the patient by a non-identifiable reference and including the NDC and lot number from the
                   package of Mifeprex that was dispensed to the patient.


                                                                 *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                              P.O. Box 4816-New York, NY 10185
                                                              1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                              App. 000788
Reference ID: 5103833
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               Ensure that healthcare providers under your supervision follow the guidelines listed above.
                 • If Mifeprex will be dispensed through a certified pharmacy:
                    o   Assess appropriateness of dispensing Mifeprex when contacted by a certified pharmacy about
                        patients who will receive Mifeprex more than 4 calendar days after the prescription was received
                        by the certified pharmacy.
                    o   Obtain the NDC and lot number of the package of Mifeprex the patient received in the event the
                        prescriber becomes aware of the death of a patient.
                 • If Mifeprex will be dispensed by you or by healthcare providers under your supervision:
                    o   Ensure the NDC and lot number from each package of Mifeprex are recorded in the patient’s
                        record.

               I understand that a certified pharmacy may dispense mifepristone made by a different manufacturer than
               that stated on this Prescriber Agreement Form.


               Print Name:                                                        Title:
               Signature:                                                         Date:
               Medical License #                                                  State
               NPI #
               Practice Setting Address:
               Return completed form to Mifeprex@dancodistributor.com or fax to 1-866-227-3343.


               Approved 01/2023 [Doc control ID]




                                                              *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                           P.O. Box 4816-New York, NY 10185
                                                           1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                           App. 000789
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               PRESCRIBER AGREEMENT FORM                                                   Mifepristone Tablets, 200 mg
               Mifepristone Tablets, 200 mg, is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation. Please see Prescribing Information and Medication
               Guide for complete safety information.
               To become a certified prescriber, you must:
                 • If you submit mifepristone prescriptions for dispensing from certified pharmacies:
                    o    Submit this form to each certified pharmacy to which you intend to submit mifepristone
                         prescriptions. The form must be received by the certified pharmacy before any prescriptions are
                         dispensed by that pharmacy.
                  • If you order mifepristone for dispensing by you or healthcare providers under your
                    supervision:
                    o    Submit this form to the distributor. This form must be received by the distributor before the first
                         order will be shipped to the healthcare setting.
                    o    Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be
                         dispensed by or under the supervision of a certified prescriber in the Mifepristone REMS
                         Program do not require pharmacy certification.
               Prescriber Agreement: By signing this form, you agree that you meet the qualifications below and will
               follow the guidelines for use. You are responsible for overseeing implementation and compliance with the
               Mifepristone REMS Program. You also understand that if the guidelines below are not followed, the
               distributor may stop shipping mifepristone to the locations that you identify and certified pharmacies may
               stop accepting your mifepristone prescriptions.
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 • Ability to assess the duration of pregnancy accurately.
                 • Ability to diagnose ectopic pregnancies.
                 • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                   made plans to provide such care through others, and be able to assure patient access to medical
                   facilities equipped to provide blood transfusions and resuscitation, if necessary.
                 • Has read and understood the Prescribing Information for mifepristone. The Prescribing Information is
                   available by calling 1-855-MIFE-INFO (1-855—643-3463 toll-free), or by visiting www.MifeInfo.com.

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 • Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the mifepristone
                   treatment regimen are fully explained. Ensure any questions the patient may have prior to receiving
                   mifepristone are answered.
                 • Ensure the healthcare provider and patient sign the Patient Agreement Form.
                 • Ensure that the patient is provided with a copy of the Patient Agreement Form and Medication Guide.
                 • Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                 • Ensure that any deaths of patients who received mifepristone are reported to GenBioPro, Inc. that
                   provided the mifepristone, identifying the patient by a non-identifiable reference and including the
                   NDC and lot number from the package of mifepristone that was dispensed to the patient.
               Ensure that healthcare providers under your supervision follow the guidelines listed above.




                                                                  GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                      1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
                                                                                                              App. 000790
Reference ID: 5103833
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                 • If mifepristone will be dispensed through a certified pharmacy:
                    o    Assess appropriateness of dispensing mifepristone when contacted by a certified pharmacy
                         about patients who will receive mifepristone more than 4 calendar days after the prescription
                         was received by the certified pharmacy.
                    o    Obtain the NDC and lot number of the package of mifepristone the patient received in the event
                         the prescriber becomes aware of the death of a patient.
                 • If mifepristone will be dispensed by you or by healthcare providers under your supervision:
                    o    Ensure the NDC and lot number from each package of mifepristone are recorded in the patient’s
                         record.

               I understand that a certified pharmacy may dispense mifepristone made by a different manufacturer than
               that stated on this Prescriber Agreement Form.


               Print Name:                                                           Title:
               Signature:                                                            Date:
               Medical License #                                                     State
               NPI #
               Practice Setting Address:
               Return completed form to RxAgreements@GenBioPro.com or fax to 1-877-239-8036


               Approved 01/2023 [Doc control ID]




                                                                 GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                     1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
                                                                                                          App. 000791
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                 PATIENT AGREEMENT FORM                                              Mifepristone Tablets, 200 mg
                 Healthcare Providers: Counsel the patient on the risks of mifepristone. Both you and the patient must
                 provide a written or electronic signature on this form.
                 Patient Agreement:
               1.       I have decided to take mifepristone and misoprostol to end my pregnancy and will follow my
                        healthcare provider's advice about when to take each drug and what to do in an emergency.
               2.       I understand:
                        a. I will take mifepristone on Day 1.
                        b. I will take the misoprostol tablets 24 to 48 hours after I take mifepristone.
               3.       My healthcare provider has talked with me about the risks, including:
                         • heavy bleeding
                         • infection
               4.       I will contact the clinic/office/provider right away if in the days after treatment I have:
                          • a fever of 100.4°F or higher that lasts for more than four hours
                          • heavy bleeding (soaking through two thick full-size sanitary pads per hour for two hours in a
                               row)
                          • severe stomach area (abdominal) pain or discomfort, or I am “feeling sick,” including weakness,
                               nausea, vomiting, or diarrhea, more than 24 hours after taking misoprostol
                                — these symptoms may be a sign of a serious infection or another problem (including an
                               ectopic pregnancy, a pregnancy outside the womb).
                         My healthcare provider has told me that these symptoms listed above could require emergency
                         care. If I cannot reach the clinic/office/provider right away, my healthcare provider has told me who
                         to call and what to do.
               5.       I should follow up with my healthcare provider about 7 to 14 days after I take mifepristone to be sure
                        that my pregnancy has ended and that I am well.
               6.       I know that, in some cases, the treatment will not work. This happens in about 2 to 7 out of 100
                        women who use this treatment. If my pregnancy continues after treatment with mifepristone and
                        misoprostol, I will talk with my provider about a surgical procedure to end my pregnancy.
               7.       If I need a surgical procedure because the medicines did not end my pregnancy or to stop heavy
                        bleeding, my healthcare provider has told me whether they will do the procedure or refer me to
                        another healthcare provider who will.
               8.       I have the MEDICATION GUIDE for mifepristone.
               9.       My healthcare provider has answered all my questions.



               Patient Signature:                                  Patient Name (print):                        Date:




               Provider Signature:                                 Provider Name (print):                       Date:

               Patient Agreement Forms may be provided, completed, signed, and transmitted in paper or electronically.
                         01/2023




                                                                                                               App. 000792
Reference ID: 5103833
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                                              MIFEPREX®(Mifepristone) Tablets, 200mg
                                                PHARMACY AGREEMENT FORM
           Pharmacies must designate an authorized representative to carry out the certification process and oversee
           implementation and compliance with the Mifepristone REMS Program on behalf of the pharmacy.
           Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be dispensed by or
           under the supervision of a certified prescriber in the Mifepristone REMS Program do not require pharmacy
           certification.
           By signing this form, as the Authorized Representative I certify that:
           • Each location of my pharmacy that will dispense Mifeprex is able to receive Prescriber Agreement Forms by
              email and fax.
           • Each location of my pharmacy that will dispense Mifeprex is able to ship Mifeprex using a shipping service
              that provides tracking information.
           • I have read and understood the Prescribing Information for Mifeprex. The Prescribing Information is available
              by calling 1-877-4 EARLY OPTION (1-877-432-7596 toll-free) or online at www.earlyoptionpill.com; and
           • Each location of my pharmacy that will dispense Mifeprex will put processes and procedures in place to
              ensure the following requirements are completed. I also understand that if my pharmacy does not complete
              these requirements, the distributor may stop accepting Mifeprex orders.
              o Verify that the prescriber is certified in the Mifepristone REMS Program by confirming their completed
                  Prescriber Agreement Form was received with the prescription or is on file with your pharmacy.
              o Dispense Mifeprex such that it is delivered to the patient within 4 calendar days of the date the pharmacy
                  receives the prescription, except as provided in the following bullet.
              o Confirm with the prescriber the appropriateness of dispensing Mifeprex for patients who will receive the
                  drug more than 4 calendar days after the date the pharmacy receives the prescription and document the
                  prescriber’s decision.
              o Record in the patient’s record the NDC and lot number from each package of Mifeprex dispensed.
              o Track and verify receipt of each shipment of Mifeprex.
              o Dispense mifepristone in its package as supplied by Danco Laboratories, LLC.
              o Report any patient deaths to the prescriber, including the NDC and lot number from the package of
                  Mifeprex dispensed to the patient, and remind the prescriber of their obligation to report the deaths to
                  Danco Laboratories, LLC. Notify Danco that your pharmacy submitted a report of death to the prescriber,
                  including the name and contact information for the prescriber and the NDC and lot number of the
                  dispensed product.
              o Not distribute, transfer, loan or sell mifepristone except to certified prescribers or other locations of the
                  pharmacy.
              o Maintain records of Prescriber Agreement Forms, dispensing and shipping, and all processes and
                  procedures including compliance with those processes and procedures.
              o Maintain the identity of Mifeprex patients and prescribers as confidential and protected from disclosure
                  except to the extent necessary for dispensing under this REMS or as necessary for payment and/or
                  insurance.
              o Train all relevant staff on the Mifepristone REMS Program requirements.
              o Comply with audits carried out by the Mifepristone Sponsors or a third party acting on behalf of the
                  Mifepristone Sponsors to ensure that all processes and procedures are in place and are being followed.

           Any new authorized representative must complete and submit the Pharmacy Agreement Form.
           Authorized Representative Name:                                               Title:


                                                                   *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                                P.O. Box 4816-New York, NY 10185
                                                                1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                            App. 000793
Reference ID: 5103833
            Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                    Page 230 of 245 PageID 10298


           Signature:                                                                Date:
           Email:                                 Phone:                             Preferred __ email __ phone
           Pharmacy Name:
           Pharmacy Address:
           Return completed form to Mifeprex@dancodistributor.com or fax to 1-866-227-3343.




                                                               *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                            P.O. Box 4816-New York, NY 10185
                                                            1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                        App. 000794
Reference ID: 5103833
            Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                       Page 231 of 245 PageID 10299
           PHARMACY AGREEMENT FORM                                                                Mifepristone Tablets, 200 mg
           Pharmacies must designate an authorized representative to carry out the certification process and oversee
           implementation and compliance with the Mifepristone REMS Program on behalf of the pharmacy.
           Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be dispensed by or
           under the supervision of a certified prescriber in the Mifepristone REMS Program do not require pharmacy
           certification.
           By signing this form, as the Authorized Representative I certify that:
           • Each location of my pharmacy that will dispense mifepristone is able to receive Prescriber Agreement Forms
              by email and fax.
           • Each location of my pharmacy that will dispense mifepristone is able to ship mifepristone using a shipping
              service that provides tracking information.
           • I have read and understood the Prescribing Information for mifepristone. The Prescribing Information is
              available by calling 1-855-MIFE-INFO (1-855-643-3463 toll-free) or online at www.MifeInfo.com; and
           • Each location of my pharmacy that will dispense mifepristone will put processes and procedures in place to
              ensure the following requirements are completed. I also understand that if my pharmacy does not complete
              these requirements, the distributor may stop accepting mifepristone orders.
              o Verify that the prescriber is certified in the Mifepristone REMS Program by confirming their completed
                  Prescriber Agreement Form was received with the prescription or is on file with your pharmacy.
              o Dispense mifepristone such that it is delivered to the patient within 4 calendar days of the date the
                  pharmacy receives the prescription, except as provided in the following bullet.
              o Confirm with the prescriber the appropriateness of dispensing mifepristone for patients who will receive
                  the drug more than 4 calendar days after the date the pharmacy receives the prescription and document
                  the prescriber’s decision.
              o Record in the patient’s record the NDC and lot number from each package of mifepristone dispensed.
              o Track and verify receipt of each shipment of mifepristone.
              o Dispense mifepristone in its package as supplied by GenBioPro, Inc.
              o Report any patient deaths to the prescriber, including the NDC and lot number from the package of
                  mifepristone dispensed to the patient, and remind the prescriber of their obligation to report the deaths to
                  GenBioPro, Inc. Notify GenBioPro that your pharmacy submitted a report of death to the prescriber,
                  including the name and contact information for the prescriber and the NDC and lot number of the
                  dispensed product.
              o Not distribute, transfer, loan or sell mifepristone except to certified prescribers or other locations of the
                  pharmacy.
              o Maintain records of Prescriber Agreement Forms, dispensing and shipping, all processes and procedures
                  including compliance with those processes and procedures.
              o Maintain the identity of mifepristone patients and prescribers as confidential and protected from
                  disclosure except to the extent necessary for dispensing under this REMS or as necessary for payment
                  and/or insurance purposes.
              o Train all relevant staff on the Mifepristone REMS Program requirements.
              o Comply with audits carried out by the Mifepristone Sponsors or a third party acting on behalf of the
                  Mifepristone Sponsors to ensure that all processes and procedures are in place and are being followed.

           Any new authorized representative must complete and submit the Pharmacy Agreement Form.
           Authorized Representative Name:                                               Title:
           Signature:                                                                    Date:
           Email:                                    Phone:                              Preferred __ email __ phone
           Pharmacy Name:
           Pharmacy Address:
           Return completed form to RxAgreements@GenBioPro.com or fax to 1-877-239-8036.


                                                                             GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                              1-855-MIFE-INFO (1-855-643-3463)App.     000795
                                                                                                             - www.MifeInfo.com
Reference ID: 5103833
Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24   Page 232 of 245 PageID 10300




                                EXHIBIT 42

    CVS and Walgreens Will Begin Selling Abortion Pills
            This Month - The New York Times




                                                                   App. 000796
9/17/24, 11:38 AM                               CVS and Walgreens Will Begin Selling Abortion Pills This Month - The New York Times
         Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                                     Page 233 of 245 PageID 10301



 CVS and Walgreens Will Begin Selling Abortion Pills
 This Month
 The pill mifepristone will be available with a prescription at pharmacy counters in a few states to
 start.

           By Pam Belluck

 March 1, 2024


 The two largest pharmacy chains in the United States will start dispensing the abortion pill
 mifepristone this month, a step that could make access easier for some patients.

 Officials at CVS and Walgreens said in interviews on Friday that they had received certification to
 dispense mifepristone under guidelines that the Food and Drug Administration issued last year.
 The chains plan to make the medication available in stores in a handful of states at first. They will
 not be providing the medication by mail.

 Both chains said they would gradually expand to all other states where abortion was legal and
 where pharmacies were legally able to dispense abortion pills — about half of the states.

 President Biden said in a statement on Friday that the availability of the pill at pharmacies was “an
 important milestone in ensuring access to mifepristone, a drug that has been approved by the Food
 and Drug Administration as safe and effective for more than 20 years.”

 “I encourage all pharmacies that want to pursue this option to seek certification,” he added.

 Walgreens will start providing the pill within the next week in a small number of its pharmacies in
 New York, Pennsylvania, Massachusetts, California and Illinois, said Fraser Engerman, a
 spokesman for the chain. “We are beginning a phased rollout in select locations to allow us to
 ensure quality, safety and privacy for our patients, providers and team members,” he said.

 CVS will begin dispensing in all of its pharmacies in Massachusetts and Rhode Island “in the
 weeks ahead,” Amy Thibault, a spokeswoman for the company, said.

 The chains will be monitoring the prospects in a few states, including Kansas, Montana and
 Wyoming, where abortion bans or strict limitations have been enacted but are enjoined because of
 legal challenges.

 Mr. Engerman said that Walgreens was “not going to dispense in states where the laws are
 unclear” to protect its pharmacists and staff members.
                                                                             App. 000797
https://www.nytimes.com/2024/03/01/health/abortion-pills-cvs-walgreens.html                                                           1/4
9/17/24, 11:38 AM                               CVS and Walgreens Will Begin Selling Abortion Pills This Month - The New York Times
         Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24     Page 234 of 245 PageID 10302
 As for CVS, “we continually monitor and evaluate changes in state laws and will dispense
 mifepristone in any state where it is or becomes legally permissible to do so,” Ms. Thibault said. In
 some states where abortion is legal, she said, pharmacists are prohibited from dispensing
 mifepristone because laws require that to be done by doctors or in a hospital or clinic.

 It is uncertain how much initial demand there will be for the service at brick-and-mortar
 pharmacies. In the states where the chains will begin dispensing, abortion pills are already
 available in clinics or easily prescribed through telemedicine and sent through the mail. But some
 women prefer to visit doctors, many of whom do not have the medication on hand. The new
 development will allow doctors and other eligible providers to send a prescription to a pharmacy
 for the patient to pick up.

 “Now that doctors no longer have to stock the medicine themselves and dispense it, it increases
 the likelihood that a patient can go to their own doctor, the person with whom they already have a
 relationship, and say, ‘I’m pregnant — I don’t want to be,’” said Kirsten Moore, the director of the
 Expanding Medication Abortion Access Project.

 She said it might also motivate more doctors and other health providers to obtain the special
 certification that the F.D.A. requires for prescribers of mifepristone. The steps to becoming a
 certified prescriber are simple, but some doctors have been deterred because of the paperwork
 and logistics of having to order and stock the pills.

 As the availability in retail pharmacies expands, they may become a more popular alternative, and
 depending on the outcome of a case the Supreme Court will hear later this month, the pharmacy
 option could take on more importance.

 In that case, abortion opponents have sued the F.D.A., seeking to remove mifepristone from the
 market in the United States. An appeals court ruling in that case did not go that far but effectively
 banned the mailing of mifepristone and required in-person doctor visits. If the Supreme Court
 upholds that ruling, it could mean that patients would have to obtain mifepristone by visiting a
 clinic or doctor. If such a ruling allowed pharmacies to continue dispensing, more patients might
 obtain the medication there.

 Abortion opponents criticized the pharmacy chains’ decision. “As two of the world’s largest, most
 trusted ‘health’ brands, the decision by CVS and Walgreens to sell dangerous abortion drugs is
 shameful, and the harm to unborn babies and their mothers incalculable,” Katie Daniel, the state
 policy director of Susan B. Anthony Pro-Life America, said in a statement.

 In order to obtain certification, the pharmacy chains had to take specific steps, including ensuring
 that their computerized systems protected the privacy of prescribers, who are certified under a
 special program that the F.D.A. applies to mifepristone and several dozen other medications.

                                                                                                                         App. 000798
https://www.nytimes.com/2024/03/01/health/abortion-pills-cvs-walgreens.html                                                            2/4
9/17/24, 11:38 AM                               CVS and Walgreens Will Begin Selling Abortion Pills This Month - The New York Times
         Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24   Page 235 of 245 PageID 10303
 Pharmacy certification is granted by manufacturers of mifepristone. Walgreens was certified by
 the brand name manufacturer Danco Laboratories, and is seeking certification from the generic
 manufacturer GenBioPro, Mr. Engerman said. CVS was certified by GenBioPro.

 Medication abortion is a two-drug regimen that is now the most common method of terminating
 pregnancies in the United States and is typically used through 12 weeks of pregnancy.
 Mifepristone, which blocks a hormone necessary for pregnancy development, is taken first,
 followed 24 to 48 hours later by misoprostol, which causes contractions that expel pregnancy
 tissue.

 The same regimen is also used for miscarriages, and those patients can now also obtain
 mifepristone from the pharmacy chains.

 Mifepristone has been tightly regulated by the F.D.A. since its approval in 2000. It had previously
 been available primarily from the prescribers or from clinics or telemedicine abortion services, in
 which the pills were generally shipped from one of two mail-order pharmacies that were
 authorized. Misoprostol has never been as tightly restricted as mifepristone and is used for many
 different medical conditions. It is easily obtained at pharmacies through a typical prescription
 process.

 The American Pharmacists Association urged the F.D.A. to allow retail pharmacies to distribute
 mifepristone, even though the medication is unlikely to generate significant revenue. In a
 statement last year, the association said that it wanted the agency “to level the playing field by
 permitting any pharmacy that chooses to dispense this product to become certified.”

 Shortly after the F.D.A. policy change was announced in January 2023, Walgreens and CVS said
 they planned to become certified and offer mifepristone in states where laws would allow
 pharmacies to dispense it.

 Walgreens later became the focus of a consumer and political firestorm after it responded to
 threatening letters from Republican attorneys general in 21 states, confirming that it would not
 dispense the medication in those states.

 Both chains have had protests outside their stores, mostly from anti-abortion advocates, and
 similar protesters interrupted a meeting of shareholders at Walgreens Boots Alliance, the chain’s
 parent company.

 CVS is the nation’s largest chain with over 9,000 stores in all 50 states. Walgreens has about 8,500
 stores in all states except North Dakota. Neither chain would discuss the price of the medication,
 but both noted that some insurance policies would cover it in some states.

 A handful of small independent pharmacies began dispensing mifepristone last year.

                                                                                                                         App. 000799
https://www.nytimes.com/2024/03/01/health/abortion-pills-cvs-walgreens.html                                                            3/4
9/17/24, 11:38 AM                                   CVS and Walgreens Will Begin Selling Abortion Pills This Month - The New York Times
       Caseis2:22-cv-00223-Z
 Pam Belluck                        Document
              a health and science reporter,      195-4
                                             covering       Filed
                                                      a range      10/11/24
                                                              of subjects,        Page
                                                                           including     236 of 245
                                                                                     reproductive health,PageID   10304
                                                                                                         long Covid, brain
 science, neurological disorders, mental health and genetics. More about Pam Belluck


 A version of this article appears in print on , Section A, Page 1 of the New York edition with the headline: 2 Major Chains Prepare to Sell Abortion Pills




                                                                                                                                      App. 000800
https://www.nytimes.com/2024/03/01/health/abortion-pills-cvs-walgreens.html                                                                                   4/4
Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24   Page 237 of 245 PageID 10305




                                EXHIBIT 43

              Mifeprex prescriber agreement (2023)




                                                                   App. 000801
     Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                      Page 238 of 245 PageID 10306
PRESCRIBER AGREEMENT FORM
Mifeprex* (Mifepristone) Tablets, 200 mg, is indicated, in a regimen with misoprostol, for the medical termination
of intrauterine pregnancy through 70 days gestation. Please see Prescribing Information and Medication Guide for
complete safety information.

TO BECOME A CERTIFIED PRESCRIBER, YOU MUST:
If you submit Mifeprex prescriptions for dispensing from certified pharmacies:
• Submit this form to each certified pharmacy to which you intend to submit Mifeprex prescriptions. The form must
 be received by the certified pharmacy before any prescriptions are dispensed by that pharmacy.

If you order Mifeprex for dispensing by you or healthcare providers under your supervision:
• Submit this form to the distributor. This form must be received by the distributor before the first order will be
 shipped to the healthcare setting.

• Healthcare settings, such as medical offices, clinics, and hospitals, where Mifeprex will be dispensed by or under
 the supervision of a certified prescriber in the Mifepristone REMS Program do not require pharmacy certification.

Prescriber Agreement: By signing this form, you agree that you meet the qualifications below and will follow the
guidelines for use. You are responsible for overseeing implementation and compliance with the Mifepristone REMS
Program. You also understand that if the guidelines below are not followed, the distributor may stop shipping
mifepristone to the locations that you identify and certified pharmacies may stop accepting your mifepristone
prescriptions.

Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
following qualifications:
        • Ability to assess the duration of pregnancy accurately.

        • Ability to diagnose ectopic pregnancies.

        • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have made
          plans to provide such care through others, and ability to assure patient access to medical facilities
          equipped to provide blood transfusions and resuscitation, if necessary.

        • Has read and understood the Prescribing Information for mifepristone. The Prescribing Information is
          available by calling our toll free number, 1-877-4 Early Option (1-877-432-7596), or logging on to our
          website, www.earlyoptionpill.com.

In addition to having these qualifications, you also agree to follow these guidelines for use:
	• Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the mifepristone
          treatment regimen are fully explained. Ensure any questions the patient may have prior to receiving
          mifepristone are answered.

        • Ensure the healthcare provider and patient sign the Patient Agreement Form.

        • Ensure that the patient is provided with a copy of the Patient Agreement Form and Medication Guide.

        • Ensure that the signed Patient Agreement Form is placed in the patient’s medical record.
                                                                                                  App. 000802
    Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                                    Page 239 of 245 PageID 10307
       • Ensure that any deaths of patients who received Mifeprex are reported to Danco Laboratories, LLC,
           identifying the patient by a non-identifiable reference and including the NDC and lot number from the
           package of Mifeprex that was dispensed to the patient.

Ensure that healthcare providers under your supervision follow the guidelines listed above.

If Mifeprex will be dispensed through a certified pharmacy:
       • Assess appropriateness of dispensing Mifeprex when contacted by a certified pharmacy about patients
            who will receive Mifeprex more than 4 calendar days after the prescription was received by the certified
            pharmacy.

       • Obtain the NDC and lot number of the package of Mifeprex the patient received in the event the prescriber
           becomes aware of the death of a patient.

If Mifeprex will be dispensed by you or by healthcare providers under your supervision:
       • Ensure the NDC and lot number from each package of Mifeprex are recorded in the patient’s record.


I understand that a certified pharmacy may dispense mifepristone made by a different manufacturer than that
stated on this Prescriber Agreement Form.



Print Name:                  					                                       Title:



Signature: 						                                                        Date:



Medical License #            					                                       State

NPI # 		



Practice Setting Address: 		




			Return completed form to Mifeprex@dancodistributor.com or fax to 1-866-227-3343.




                                                Danco Laboratories, LLC P.O. Box 4816 New York, NY 10185
                                                1-877-4 Early Option (1-877-432-7596) www.earlyoptionpill.com
               T H E O R I G I N A L E A R LY
                                                *MIFEPREX is a registered trademark of Danco Laboratories, LLC.
                     OPTION PILL
                                                                                                                                1/2023
                                                                                                                  App. 000803
Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24   Page 240 of 245 PageID 10308




                                EXHIBIT 44

                Mifeprex patient agreement (2023)




                                                                   App. 000804
            Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                             Page 241 of 245 PageID 10309



                 PATIENT AGREEMENT FORM                                              Mifepristone Tablets, 200 mg
                 Healthcare Providers: Counsel the patient on the risks of mifepristone. Both you and the patient must
                 provide a written or electronic signature on this form.
                 Patient Agreement:
               1.       I have decided to take mifepristone and misoprostol to end my pregnancy and will follow my
                        healthcare provider's advice about when to take each drug and what to do in an emergency.
               2.       I understand:
                        a. I will take mifepristone on Day 1.
                        b. I will take the misoprostol tablets 24 to 48 hours after I take mifepristone.
               3.       My healthcare provider has talked with me about the risks, including:
                         • heavy bleeding
                         • infection
               4.       I will contact the clinic/office/provider right away if in the days after treatment I have:
                          • a fever of 100.4°F or higher that lasts for more than four hours
                          • heavy bleeding (soaking through two thick full-size sanitary pads per hour for two hours in a
                               row)
                          • severe stomach area (abdominal) pain or discomfort, or I am “feeling sick,” including weakness,
                               nausea, vomiting, or diarrhea, more than 24 hours after taking misoprostol
                                — these symptoms may be a sign of a serious infection or another problem (including an
                               ectopic pregnancy, a pregnancy outside the womb).
                         My healthcare provider has told me that these symptoms listed above could require emergency
                         care. If I cannot reach the clinic/office/provider right away, my healthcare provider has told me who
                         to call and what to do.
               5.       I should follow up with my healthcare provider about 7 to 14 days after I take mifepristone to be sure
                        that my pregnancy has ended and that I am well.
               6.       I know that, in some cases, the treatment will not work. This happens in about 2 to 7 out of 100
                        women who use this treatment. If my pregnancy continues after treatment with mifepristone and
                        misoprostol, I will talk with my provider about a surgical procedure to end my pregnancy.
               7.       If I need a surgical procedure because the medicines did not end my pregnancy or to stop heavy
                        bleeding, my healthcare provider has told me whether they will do the procedure or refer me to
                        another healthcare provider who will.
               8.       I have the MEDICATION GUIDE for mifepristone.
               9.       My healthcare provider has answered all my questions.



               Patient Signature:                                  Patient Name (print):                        Date:




               Provider Signature:                                 Provider Name (print):                       Date:

               Patient Agreement Forms may be provided, completed, signed, and transmitted in paper or electronically.
                         01/2023




                                                                                                               App. 000805
Reference ID: 5103833
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                                EXHIBIT 45

                   2004 Letter from Danco Labs to
                     Emergency Room Doctors




                                                                   App. 000806
    Case 2:22-cv-00223-Z Document 195-4 Filed 10/11/24                      Page 243 of 245 PageID 10311
                                                                          PO Box 4816
                                                                   New York, NY 10185

                                                                              infoline
                                                                                          1.877.4.EARLY OPTION
                                                                             www.earlyoptionpill.com


  November 12, 2004

  Dear Emergency Room Director:

  Danco Laboratories is providing this information to assist you in taking care of patients who may
  present in an emergency room setting following treatment with Mifeprex® (mifepristone) and
  misoprostol. In particular, you should be aware of the rare events – serious infection, prolonged
  heavy bleeding and ruptured ectopic pregnancy – discussed below. From September 2000, when
  Mifeprex* was approved in the United States for marketing, through September 2004, approximately
  360,000 women have been treated with Mifeprex in the U.S.

  The Mifeprex treatment, Mifeprex followed by misoprostol, is indicated for non-surgical abortion in
  patients who are ≤ 49 days pregnant, dated from the first day of the last menstrual period (LMP).
  Medical abortion with Mifeprex and misoprostol presents no differently from a spontaneous abortion,
  with bleeding and cramping expected in the hours after taking misoprostol. In clinical trials, Mifeprex
  was highly effective, with a 92-95% success rate in women who were ≤ 49 days pregnant. The
  remainder have a surgical termination for various reasons, including ongoing pregnancy, incomplete
  abortion, bleeding and patient request; the vast majority of these women are treated by the physician
  who initially provided the Mifeprex treatment or by referral to a colleague.

  However, there may be some women who present to an emergency room with serious and sometimes
  fatal infections and bleeding that occur rarely following spontaneous (miscarriage), surgical and medical
  abortions, including following Mifeprex use, and childbirth. A high index of suspicion is needed for
  timely diagnosis and intervention in these patients. Danco Laboratories has updated the BOXED
  WARNING and WARNINGS sections of the Prescribing Information as well as the MEDICATION
  GUIDE and the PATIENT AGREEMENT to provide information about these topics. Additional
  information is provided on ectopic pregnancy, which is a contraindication for Mifeprex (see
  WARNINGS).

  Copies of the updated Prescribing Information, which includes the MEDICATION GUIDE and the
  PATIENT AGREEMENT, are enclosed, and it is important for you to read them carefully. A summary of
  the updated warnings follows:

           Infection and Sepsis
           In postmarketing experience following the use of Mifeprex and misoprostol, we have received a
           few reports of cases of serious bacterial infection, including very rare cases of fatal septic shock
           (see WARNINGS). No causal relationship between these events and the use of Mifeprex and
           misoprostol has been established. Although infection following medical abortion is rare, we ask
           that you be alert to the possibility of infection in your patients. In particular, a sustained fever of
           100.4 degrees Fahrenheit or higher, severe abdominal pain, or pelvic tenderness in the days
           after taking Mifeprex and misoprostol may be an indication of infection. Atypical presentations
           of serious infection and sepsis, without fever, severe abdominal pain, or pelvic tenderness, but
           with significant leukocytosis, tachycardia, or hemoconcentration can occur.

           Vaginal Bleeding
           Vaginal bleeding occurs in almost all patients during the treatment procedure (see
           WARNINGS). According to data from the U.S. and French trials, women should expect to


* Mifeprex is a registered trademark of Danco Laboratories, LLC.
                                                                                               App. 000807
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         experience vaginal bleeding or spotting for an average of nine to 16 days, while up to 8% of all
         subjects may experience some type of bleeding for 30 days or more. Prolonged heavy bleeding
         (soaking through two thick full-size sanitary pads per hour for two consecutive hours) may be a
         sign of incomplete abortion or other complications and prompt medical or surgical intervention
         may be needed to prevent the development of hypovolemic shock. Patients should be
         counseled to seek immediate medical attention if they experience prolonged heavy vaginal
         bleeding following a medical abortion. Excessive vaginal bleeding usually requires treatment by
         uterotonics, vasoconstrictor drugs, curettage, administration of saline infusions, and/or blood
         transfusions.

         Ectopic Pregnancy
         Additionally, in postmarketing experience we have received a small number of reports of
         ruptured ectopic pregnancy. No causal relationship between these events and Mifeprex and
         misoprostol has been established. Mifeprex is contraindicated in patients with a confirmed or
         suspected ectopic pregnancy since Mifeprex is not effective for terminating these pregnancies
         (see CONTRAINDICATIONS). Physicians should remain alert to the possibility that a patient
         who is undergoing a medical abortion could have an undiagnosed ectopic pregnancy since
         some of the expected symptoms of a medical abortion may be similar to those of a ruptured
         ectopic pregnancy. The presence of an ectopic pregnancy may have been missed even if the
         patient underwent ultrasonography prior to being prescribed Mifeprex.

The MEDICATION GUIDE and PATIENT AGREEMENT have also been updated to reflect the new
safety information. Each patient should have received a MEDICATION GUIDE from her health care
provider before taking Mifeprex and been advised to take her MEDICATION GUIDE with her if she
visits an emergency room, so that you will be aware that the patient is undergoing a medical abortion.

Abortion, whether medical or surgical, is “generally very safe and is therefore infrequently associated
with complications”.1 However, we thought that the enclosed recent publication, Phillip G. Stubblefield,
MD and Lynn Borgatta, MD, “Complications of Induced Abortion” in Obstetric & Gynecologic
Emergencies Diagnosis and Management (New York: McGraw-Hill, 2004), 65-86, may be helpful to you
in your practice as it includes information on the diagnosis and treatment of possible complications
following abortion, including infection and ectopic pregnancy.

The safety and efficacy of Mifeprex and misoprostol were well established in clinical trials reviewed by
the FDA. The overall safety and efficacy profile remains unchanged.

We rely on medical feedback from health care professionals and therefore remind you to report serious
adverse events and any on-going pregnancies following treatment with the Mifeprex regimen to us.
Please provide a brief clinical synopsis (by postal mail, email or phone):

         Medical Director
         Danco Laboratories, LLC
         P.O. Box 4816
         New York, NY 10185
         Medicaldirector@earlyoptionpill.com
         Toll free at 1-877-4-Early Option (1-877-432-7596)




1
 Phillip G. Stubblefield, MD and Lynn Borgatta, MD, “Complications of Induced Abortion” in Obstetric & Gynecologic Emergencies Diagnosis
and Management (New York: McGraw-Hill, 2004), 65-86.

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For more information on Mifeprex, please visit www.earlyoptionpill.com or call our 24-hour toll free
number at 1-877-4-Early Option (1-877-432-7596). If you have an urgent question, a physician will
usually return your call within the hour. For general questions, our Medical Director typically returns
calls within 24 hours.

Sincerely,
Danco Laboratories, LLC

Enclosures




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